     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 1 of 196


1             UNITED STATES DISTRICT AND BANKRUPTCY COURTS

2                     FOR THE DISTRICT OF COLUMBIA

3

4    UNITED STATES OF AMERICA           Case No.     CR-17-232

5             v.                        Washington, D.C.

6    MICHAEL T. FLYNN,                  September 29, 2020

7                   Defendant.          11:00 a.m.

8    --------------------------/

9                      TRANSCRIPT OF MOTIONS HEARING
                     BEFORE THE HONORABLE EMMET G. SULLIVAN
10                     UNITED STATES DISTRICT JUDGE

11   APPEARANCES:

12   For the Government:     KENNETH KOHL, ESQUIRE
                             HASHIM MOOPPAN, ESQUIRE
13

14   For the Defendant:      SIDNEY POWELL, ESQUIRE
                             JESSE BINNALL, ESQUIRE
15                           MOLLY McCANN, ESQUIRE
                             ABIGAIL FRYE, ESQUIRE
16

17

18

19   Court Reporter          Lisa K. Bankins RMR FCRR RDR
                             United States District Court
20                           333 Constitution Avenue, NW
                             Washington, D.C. 20001
21

22   Proceedings recorded by mechanical stenography,
     transcript produced by notereading.
23

24

25




                                                                        1
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 2 of 196


1                     R E M O T E      P R O C E E D I N G S

2               THE CLERK:     Your Honor, this is Criminal Case

3    17-232, United States of America versus Michael Flynn.

4    Will parties on the video feed please identify yourselves

5    for the record, please?

6               MR. KOHL:    Good morning, Your Honor.       This is

7    Ken Kohl and Mr. Hashim Mooppan for the United States.

8               THE COURT:     Good morning, counsel.

9               MR. MOOPPAN:     Good morning, Your Honor.

10              THE COURT:     Good morning.

11              MS. POWELL:     This is Sidney Powell, Jesse

12   Binnall, Molly McCann and Abigail Frye for General Flynn.

13              THE COURT:     Good morning.

14              MR. GLEESON:     Good morning, judge.      John

15   Gleeson, amicus curiae.

16              THE COURT:     Good morning, counsel.

17              All right.     I'm going to spend some time

18   essentially capturing the essence of the main arguments.

19   And I want the attorneys when I finish to tell me whether

20   I misstated any argument, whether there are any objections

21   to what I stated and then I have some questions to ask and

22   then I'll give everyone a few minutes to supplement the

23   record with any additional information they may have.

24   I'll do this quickly.      I'm going to speak quickly and get

25   to the questions.




                                                                        2
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 3 of 196


1               There are some issues I'm not going to focus on,

2    I'll tell you that right now.       I'm not going to focus

3    whether there's a live case of controversy.          The circuit's

4    already addressed that and resolved that question.           I'm

5    not going to focus on the question of whether or not

6    Mr. Flynn should be held in criminal contempt for perjury.

7    I'm not going to focus on that at this point.          The

8    parties' positions and Mr. Gleeson's positions are crystal

9    clear and I don't have any questions at this time.

10              I'm not going to focus on whether the Court has

11   the authority to appoint an amicus in a case like this.

12   The parties' positions are crystal clear again and I don't

13   have any questions.

14              So the scope of the Court's inquiry is going to

15   be significantly limited to the essence of this

16   controversy.

17              Before the Court as everyone knows is the

18   government's motion to -- the unopposed motion to dismiss

19   with prejudice the criminal information against Mr. Flynn

20   pursuant to Federal Rule of Criminal Procedure 48(a),

21   which states and I quote "that the government may with

22   leave of court dismiss an indictment, information or

23   complaint."    In moving to dismiss, the government

24   concluded that continued prosecution of Mr. Flynn would

25   not serve the interest of justice after its extensive




                                                                        3
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 4 of 196


1    review of this investigation including newly-discovered

2    and disclosed information attached to the defendant's

3    supplemental pleadings.

4               For the first time in this case, the government

5    claimed that, one, Mr. Flynn's false statements to the FBI

6    agents were not material to any investigation; two, that

7    the government is doubtful they could prove the falsity of

8    Mr. Flynn's statements; and, three, the government has no

9    substantial federal interest in penalizing a defendant for

10   a crime that is not -- that it is not satisfied occurred

11   and that it does not believe it can prove beyond a

12   reasonable doubt.

13              So the issues that the Court will focus on this

14   morning and hear from counsel are as follows:          Whether the

15   Court has the discretion to review both opposed and

16   unopposed Rule 48(a) motions for prosecutorial abuse and

17   whether this Court should deny the government's -- deny

18   the government leave to dismiss the pending charge against

19   Mr. Flynn.

20              Mr. Flynn pled guilty to one count of making

21   materially false statements to two agents of the Federal

22   Bureau of Investigation in violation of 18 U.S. Code,

23   Section 1001(a) on December 1, 2017 before my colleague,

24   Judge Rudolph Contreras.      Judge Contreras, after an

25   appropriate, thorough colloquy with the defendant accepted




                                                                        4
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 5 of 196


1    the guilty plea finding that Mr. Flynn who was represented

2    by experienced counsel, knowingly, voluntarily and

3    intelligently entered into the plea agreement.

4                Six days later on December the 7th, 2017, the

5    case was randomly reassigned to this Court which

6    eventually scheduled a sentencing hearing for December the

7    18th, 2018.    And that's significant because sentencing has

8    already commenced in this case.       It commenced in this case

9    more than a year and a half ago and only because the Court

10   was concerned that Mr. Flynn receive the full benefit of

11   his cooperation by testifying in a Virginia matter, the

12   Court continued the matter.       But sentencing commenced in

13   December 2018.

14               Now during that hearing also the Court conducted

15   an extension of the plea colloquy in view of statements

16   made in Mr. Flynn's sentencing memorandum that raised

17   significant questions in the Court's mind as to whether

18   Mr. Flynn sought to challenge the circumstances of his FBI

19   interview.    In response to the Court's questions,

20   Mr. Flynn maintained his plea of guilty upon the advice of

21   counsel.    According to the government, Mr. Flynn's

22   substantial assistance to law enforcement authorities led

23   to criminal charges against individuals in the United

24   States District Court for the Eastern District of

25   Virginia.    And rather than imposing a sentence on December




                                                                        5
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 6 of 196


1    the 18th, 2018, the Court followed its usual practice that

2    I follow in every case and delayed sentencing until

3    Mr. Flynn completed his cooperation in that jurisdiction.

4    And that's important because any time someone enters into

5    an agreement with the government and agrees to cooperate,

6    the Court wants to ensure that the person has received the

7    entire benefit of his bargain with the government and

8    that's the reason why I postponed sentencing to give him

9    every opportunity to help himself at the final sentencing

10   stage.

11              Mr. Flynn was scheduled to testify in July of

12   2019 as a government witness against his former business

13   partner.   He hired new counsel in June.        Actually, he was

14   scheduled to testify in early 2019 as a government witness

15   against his former business partner.        He hired new counsel

16   in June 2019 and thereafter, he elected not to fully

17   cooperate with the government.       As a result, the

18   government did not call Mr. Flynn as a witness at trial in

19   the Eastern District of Virginia.

20              Thereafter, Mr. Flynn filed motions to compel

21   the production of certain materials pursuant to Brady v.

22   Maryland, 373 U.S. 83 and the Court's standing Brady order

23   in August 2019 and October 2019 respectively.          It's

24   significant to note that in this case as in every other

25   case before this Court, the Court issues a standing Brady




                                                                        6
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 7 of 196


1    order regardless of the stage of the proceeding that's

2    come before the Court.      It was immaterial to this Court

3    that Mr. Flynn had already entered a plea of guilty at the

4    time the Court entered its standing order.         The Court was

5    not going to depart from its standard practice and that's

6    the reason, the sole reason why the Court entered its

7    standing Brady order.

8               In those motions, Mr. Flynn asserted his

9    innocence for the first time, alleged prosecutorial

10   misconduct and he sought dismissal.        In December 2019, the

11   Court issued a memorandum opinion and separate order

12   denying Mr. Flynn's Brady motions finding that Flynn

13   failed to establish a single Brady violation and also

14   finding that Mr. Flynn's false statements to the FBI were

15   material within the meaning of 18 U.S. Code, Section

16   1001(a) for the purpose of resolving those motions.

17              As the Court and the parties prepared to proceed

18   with the second phase of the sentencing -- and again the

19   sentencing commenced in December 2018 -- Mr. Flynn moved

20   to withdraw his guilty plea in January of 2020.          He

21   submitted a sworn declaration stating that he did not lie

22   to the FBI agents, contradicting his prior sworn

23   admissions to the Court -- to this Court and to Judge

24   Contreras.    On the same day, Mr. Flynn filed a motion to

25   dismiss for alleged egregious government's conduct and in




                                                                        7
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 8 of 196


1    the interest of justice.

2               In February of 2020, the government opposed

3    Mr. Flynn's motion to dismiss stating that Mr. Flynn

4    "relies on allegations that do not pertain to his case

5    that the Court already rejected and that have no relevance

6    to his false statements to the FBI on January the 24th,

7    2017."

8               The government did not file a response to

9    Mr. Flynn's motion to withdraw his guilty pleas due to its

10   incomplete review of Mr. Flynn's former counsel's

11   productions relevant to Flynn's claims of ineffective

12   assistance of counsel as well as the dispute between

13   Mr. Flynn and the his former attorney.

14              Mr. Flynn filed supplemental submissions in

15   support of his motion to dismiss with materials from the

16   review of the United States Attorney for the Eastern

17   District of Missouri, who was appointed by the Attorney

18   General to review the criminal case against Mr. Flynn.

19   The current Attorney General since there have been more

20   than one in this administration.

21              On May 7, 2020, the government filed a motion to

22   dismiss the criminal information against Flynn with

23   prejudice pursuant to Federal Rule of Criminal Procedure

24   48(a).   On the same day with the consent of the

25   government, Mr. Flynn filed a motion to withdraw all of




                                                                        8
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 9 of 196


1    his pending motions without prejudice.         The Court has not

2    ruled on those motions at this time.

3               On May 12, 2020, Mr. Flynn filed a notice of

4    consent to the government's Rule 48(a) motion demanding

5    the immediate dismissal of the case.

6               On May 13, 2020, the Court appointed retired

7    Federal Judge John Gleeson as amicus curie to present

8    arguments in opposition to the government's Rule 48 motion

9    and to address whether Mr. Flynn should be held in

10   criminal contempt of perjury.

11              On May 19, 2020, the Court set a briefing

12   schedule and scheduled oral argument for July 16, 2020

13   adding that the order was subject to a motion for

14   reconsideration for good cause shown.         And no motion was

15   ever filed.

16              Thereafter, Mr. Gleeson filed his brief.

17   Mr. Flynn filed his response and two supplemental motions

18   and the government filed its response.         And recently,

19   Mr. Gleeson filed a reply to all previous pleadings that

20   have been filed by the government and Mr. Flynn.

21              I'm not going to address the appellate

22   proceedings.    There are two outstanding opinions and they

23   speak for themselves.      So there's no need to spend any

24   time addressing what the circuit court did and what the en

25   banc court did.     Suffice it to say, the case was remanded




                                                                        9
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 10 of 196


1    to me by the en banc court early this month.

2                Pursuant to Circuit Rule 41(a)(3), the D.C.

3    Circuit's order denying mandamus relief became effective

4    September the 21st of this year.        And in a joint status

5    report to the Court on September the 4th, the parties

6    agreed that they did not need to wait until September the

7    21st to proceed with briefing on the government's motion

8    to dismiss and the Court scheduled oral argument for

9    September the 29th, which is one of the dates suggested by

10   everyone.

11               Now I want to focus on Rule 48(a) at this time.

12   That rule, Federal Rule of Criminal Procedure 48(a)

13   provides and I quote "the Attorney General or the United

14   States Attorney may by leave of Court file a dismissal of

15   an indictment, information or complaint and the

16   prosecution to thereupon terminate.         Such a dismissal may

17   not be filed during the trial without the consent of the

18   defendant."

19               Now first, with respect to Mr. Gleeson's

20   arguments, Mr. Gleeson argues that the text and history of

21   Rule 48(a) demonstrate that the Court plays a "limited but

22   vital" role in determining whether to grant the government

23   leave to dismiss the pending criminal charge regardless of

24   whether that motion is opposed or supported by the

25   defendant.    And that's his brief ECF Number 225 at 34.




                                                                     10
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 11 of 196


1                First, Mr. Gleeson argues that interpretation of

2    Rule 48(a) begins with its text and a plain text reading

3    of the phrase "leave of court" makes it obvious that the

4    rule vests courts with discretion.

5                As the D.C. Circuit observed in United States

6    versus Ammidown, 497 Fed. 2nd. 615 at 620 and the court

7    quotes "the requirement of judicial leave gives the court

8    a role in dismissals following indictment."          Furthermore,

9    there's no textual limitation on the rule providing that

10   judges only have discretion when the defendant opposes a

11   Rule 48(a) motion; such an interpretation would limit the

12   phrase meaningless in the overwhelming majority of the

13   cases."

14               Second, Mr. Gleeson contends that the plain text

15   interpretation of Rule 48(a) is confirmed by the rule's

16   history.    Prior to the rule's passage in 1944, federal

17   prosecutors enjoyed the unreviewable prerogative to enter

18   a nolle prosequi.      However, the perception that

19   prosecutors were seeking corrupt dismissals against

20   politically well-connected criminal defendants sparked a

21   judicial backlash and the committee appointed by the

22   Supreme Court to draft the Federal Rules of Criminal

23   Procedure took into consideration those concerns.

24               As originally proposed by the Advisory Committee

25   on Criminal Rules, Rule 48(a) allowed a prosecutor to




                                                                     11
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 12 of 196


1    dismiss without leave of court, but required that the

2    prosecutors state reasons for seeking dismissal.           However,

3    in promulgating the rule, the Supreme Court deleted this

4    requirement and added the requirement that the prosecutor

5    obtain leave of court.      But based on this history,

6    Mr. Gleeson argues that, one, the rule was passed

7    specifically to guard against politically corrupt

8    dismissals; and, two, the rule did not distinguish between

9    opposed and unopposed motions, though it could have; and,

10   three, there's no historical support for the claim that

11   Rule 48(a)'s leave of court requirement exists solely to

12   allow judges to protect criminal defendants from

13   prosecutorial harassment.

14               Third, Mr. Gleeson argues that this

15   interpretation is consistent with the constitutional

16   separation of powers principles.        Mr. Gleeson acknowledges

17   that "decisions to dismiss pending criminal charges no

18   less than decisions to initiate charges and to identify

19   which charges to bring lies squarely within the kin of

20   prosecutorial discretion."       Quoting United States versus

21   Fokker Services, 818 Fed 3d. 733.        And that judicial

22   authority in this sphere is limited since "few subjects

23   are less adapted to judicial review than the exercise by

24   the executive of his discretion in deciding when and

25   whether to institute criminal proceedings or what precise




                                                                     12
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 13 of 196


1    charge shall be made or whether to dismiss proceedings

2    once brought."     However, the executive's primacy in this

3    sphere does not wholly displays the judiciary's

4    substantial constitutional interest in maintaining the

5    integrity of the judiciary and the rule of law.

6    Mr. Gleeson argues that because "these interests are

7    imperiled if the executive branch seeks the dismissal of

8    criminal charges for corrupt, politically-motivated

9    reasons" Rule 48(a) "rests on the premise that judges may

10   constitutionally guard against these forms of abuse in

11   their own courts."

12               In making those arguments, Mr. Gleeson relies

13   heavily on the D.C. Circuit's 1973 decision in Ammidown.

14   In Ammidown, the D.C. Circuit addressed whether under Rule

15   11, the judge may reject a plea to a lesser charge

16   endorsed by the prosecutor because the judge believed that

17   the defendant should be tried on a higher charge.           Finding

18   no precedent, the Court considered Rule 48(a) because an

19   element of a plea bargain is the "dismissal of the charge

20   of the greater offense."       The Court noted that when the

21   Supreme Court promulgated the rule in 1944, it rejected

22   the proposal that the prosecutor state the reasons for the

23   dismissal and substitute it without providing a reason for

24   its actions that dismissal may only be obtained by leave

25   of court.




                                                                     13
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 14 of 196


1                The Court stated that the rules "primary concern

2    at least is discerned by subsequent decisions of other

3    federal courts was that of protecting the defendant from

4    harassment."     However, the Court also acknowledged that

5    Rule 48(a) "gives the court a role" when "the defendant

6    concurs in the dismissal but the court is concerned

7    whether the actions sufficiently protects the public."

8                With regard to this situation, the Court

9    articulated the following principles:         First, the court

10   has a role in dismissals following indictment.           Second, in

11   exercising that role, "the court will not be content with

12   a mere conclusory statement by the prosecutor that

13   dismissal is in the public interest, but will require a

14   statement of reasons and underlying factual basis."           And

15   third, because the Court's role is to "guard against abuse

16   of prosecutorial discretion" the court "should be

17   satisfied that the reasons advanced for the proposed

18   dismissal are substantial."       With regard to the reason for

19   the dismissal, the court recognizes that it is the

20   prosecutor's responsibility to determine whether the

21   evidence is sufficient to warrant prosecution and that a

22   request for dismissal made in good faith should be granted

23   unless the reason given "has no basis in fact."

24               Although the determination of the United States

25   Attorney is to be followed in the overwhelming number of




                                                                     14
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 15 of 196


1    cases, the court concluded that Rule 48(a) did not intend

2    "the trial court to serve merely as a rubber stamp for the

3    prosecutor's decision."       And that deserves repeating.          The

4    court concluded that Rule 48(a) did not intend "the trial

5    court to serve merely as a rubber stamp for the

6    prosecutor's decision."

7                Accordingly, the D.C. Circuit later clarified in

8    Fokker that faced with clear evidence that prosecutors

9    have failed to perform their official duties in good

10   faith, courts may pierce the presumption of regularity and

11   deny leave of court under Rule 48(a).         And that's all set

12   forth in the amicus brief at page 40.

13               And finally, Mr. Gleeson notes that separation

14   of powers concerns are heightened in pre-plea settings

15   "since denial of leave would raise questions about

16   continuance of the prosecution over protest by the

17   executive."    But here in a post-plea setting, such

18   concerns are at their nadir because all that is left for

19   the trial court to do is sentence the defendant with a

20   task that is firmly in the district judge's wheelhouse.

21               The government in response concedes that the

22   "leave of court" requirement grants courts some

23   discretion, but that under Fokker, courts are limited to

24   reviewing motions to dismiss only to protect the interest

25   of the defendant.      That's the government's response at ECF




                                                                     15
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 16 of 196


1    Number 227 at 17.

2                The government argues that Fokker is controlling

3    here.   In Fokker, the issue is whether a district court

4    reject a speedy trial exclusion under 18 U.S. Code,

5    Section 3161(h)(2) in connection with the deferred

6    prosecution agreement.      The D.C. Circuit however

7    analogized between DPA, deferred prosecution agreements

8    and Rule 48(a) motions since both concern the dismissal of

9    criminal charges and between relevant provisions of the

10   Speedy Trial Act and Rule 48(a), the former of which

11   requires "approval of the court" similar to the "leave of

12   court" requirement and the latter.

13               Fokker discussed the requirements for Rule 48

14   motions at length and concluded that the same

15   considerations that govern the interpretation of Rule

16   48(a) also govern the interpretation of the Speedy Trial

17   Act provision at issue.

18               First, the government argues that Fokker explain

19   that courts must read Rule 48(a) against the "background

20   of settled constitutional understandings that Article II

21   vest the power to initiate and dismiss crimes in the

22   executive and "the judiciary lacks the power to review the

23   prosecution's initiation and dismissal of charges."

24   Relying upon Fokker.

25               In view of this constitutional understanding,




                                                                     16
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 17 of 196


1    the government argues that the D.C. Circuit in Fokker

2    concluded that judicial intervention is warranted only

3    when the defendant objects to dismissal because "the

4    principal object of the leave of court requirement has

5    been understood to be a narrow one to protect the

6    defendant against prosecutorial harassment.

7                At the same time the D.C. Circuit explained that

8    the "leave of court" authority gives no power to a

9    district court to deny dismissal based on an agreement --

10   based on a disagreement with the prosecution's exercise of

11   charging authority or "to scrutinize and countermand the

12   prosecution's exercise of its traditional authority over

13   charging and enforcement decisions."

14               Quoting Fokker, for instance, a court cannot

15   deny leave of court because of a view that the defendant

16   should stand trial notwithstanding the prosecution's

17   desire to dismiss the charges."

18               The government argues that Ammidown is no longer

19   good law following Fokker because Ammidown involved a plea

20   under Rule 11 and it's Rule 48(a) discussion was dicta.

21   Ammidown's dicta is unambiguous.        On the one hand, the

22   government stated that even "when the defendant concurs in

23   the dismissal," a district court will not be content with

24   the mere conclusory statement by the prosecutor that

25   dismissal is in the public interest, but will require a




                                                                     17
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 18 of 196


1    statement of reasons and underlying factual basis.

2                On the other side, the court acknowledged that

3    the prosecutor's decision is to be followed in the

4    "overwhelming number of cases."        According to the

5    government, Fokker interpreted the latter statement to

6    mean that courts generally lack authority to second guess

7    the prosecution's constitutionally rooted exercise of

8    charging discretion.

9                Further, Ammidown did not address Article II,

10   but since then the Supreme Court has explained that the

11   executive branch has exclusive authority and absolute

12   discretion to decide whether to prosecute a case and that

13   failure to prosecute is not subject to judicial review.

14               Ammidown suggested that the principal object of

15   Rule 48 is guarding against abuse of prosecutorial

16   discretion and assuring that dismissal is in the public

17   interest.    But according to the Supreme Court's subsequent

18   opinion in Rinaldi, the court quotes "the principal object

19   of the leave of court requirement is instead to protect

20   the defendant against prosecutorial harassment.

21               And finally, Ammidown treated dismissal under

22   Rule 48 as similar to the approval of a plea agreement

23   under Rule 11, but the court in Fokker explained that "a

24   dismissal under Rule 48(a) is unlike a plea agreement

25   because the latter leads to the Court's entry of a




                                                                     18
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 19 of 196


1    judgment of conviction and the sentence; whereas the

2    former does not.

3                Next, the government contends that Mr. Gleeson's

4    arguments regarding Rule 48(a)'s history are unsupported.

5    Although Mr. Gleeson argues that the history of Rule 48(a)

6    shows that the original purpose of the rule was to enable

7    courts to guard against favoritism, this understanding

8    contradicts Fokker and the Supreme Court's decision in

9    Rinaldi, both of which stated that the "principal object"

10   of the leave of court requirement is to protect the

11   defendant against prosecutorial harassment.

12               The government argues that such a reading also

13   does not make practical sentence.        Even if a court

14   believes that a refusal to prosecute amounts to abuse, it

15   will lack an impractical mechanism for forcing the

16   executive to prosecute a case against its will.

17               And further, the government argues that Fokker

18   explained that the meaning of Rule 48(a) "turns on its

19   text, read against the backdrop of long-settled

20   understandings.     Not on the intentions or expectations of

21   the rules' drafters.

22               And finally, the government argues that

23   Mr. Gleeson's argument that separation of powers issues

24   have less force in the post-plea setting versus the

25   pre-plea setting is incorrect.        Rather the government may




                                                                     19
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 20 of 196


1    file a motion to dismiss even after conviction.

2                Also, Rule 48(a) makes no such distinction and

3    the Supreme Court has explained that when a legal

4    provision raises constitutional concerns with some

5    settings but not others, the lowest common denominator as

6    it were must govern.

7                The government also argues that although

8    Mr. Gleeson suggests that the judiciary has an interest in

9    avoiding complicity in politically motivated decisions,

10   when the executive obtains dismissals under Rule 48(a),

11   the court never exercises its coercive power by entering a

12   judgment of conviction or imposing a sentence.

13               The government's motion here doesn't involve

14   only "the executive's traditional power over charging

15   decisions, not the judiciary's traditional authority over

16   sentencing decisions.

17               In his reply, Mr. Gleeson contends that the

18   government fails to refute his arguments that courts have

19   a role even when the defendant concurs in the dismissal

20   based on, one, the text and the history of Rule 48(a) and,

21   two, decisions from multiple circuit courts and the D.C.

22   Circuit's opinion in Ammidown.

23               Mr. Gleeson argues that Fokker does not create a

24   categorical rule that courts may deny opposed motions, but

25   not unopposed ones.      Rather, Fokker simply reiterated a




                                                                     20
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 21 of 196


1    number of well-established constitutional provisions

2    concerning the executive's primacy and charging decisions

3    and its presumption of regularity when seeking dismissals.

4    And while Fokker described protecting defendants as the

5    "principal object" of Rule 48(a), yet not the only object.

6    It also stated that clear evidence may overcome the

7    presumption of regularity enjoyed by prosecutors.

8                Mr. Gleeson also argues that this understanding

9    of Fokker refining Ammidown, not side lining it, aligns

10   with the D.C. Circuit's case in United States versus

11   Schweizer.    In Schweizer, qui tam relator objected to a

12   proposed settlement between the government and the

13   defendant citing the provision of the FCA requiring

14   district courts to review proposed settlements for

15   fairness, adequacy and reasonableness.

16               The defendant responded that such review is

17   forbidden by the separation of powers argument.           Courts

18   cannot review the executive dismissal or settlement of

19   claims or the take care clause.        But the D.C. Circuit

20   disagreed relying on cases interpreting Rule 48(a).           And

21   the circuit stated and the court quotes "although

22   decisions not to prosecute may be immune from review, the

23   same cannot be said of decisions to dispose of a pending

24   case.   Some limitations on the executive branch's

25   dismissal authority may be valid despite the separation of




                                                                     21
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 22 of 196


1    powers.

2                Furthermore, Mr. Gleeson contends that the

3    government's argument that the judiciary has no interest

4    of its own to protect on a Rule 48(a) because it "never

5    exercises its coercive power, is unsuccessful and

6    unpersuasive because the rule was drafted with an express

7    recognition that abuse of dismissals imperil core

8    interests of the judiciary.

9                And finally, Mr. Gleeson clarifies that he did

10   not argue that the Court's authority to withhold leave

11   under Rule 48(a) is greater after a guilty plea.           Rather

12   he argued that the separation of powers concerns vary

13   depending on the circumstances including the stage of the

14   case.   Here, there are no concerns that "denial of leave

15   will require a case to be prosecuted against the justice

16   department's expressed position."        So the Court need not

17   account for this.

18               I'm going to focus on the scope of the Court's

19   discretion.    Mr. Gleeson argues that there are two grounds

20   for denying leave of court.       One, where there is "clear

21   evidence" that prosecutors have offered pretextual reasons

22   for dismissal and, two, where there is clear evidence of

23   gross prosecutorial abuse.

24               Regarding denial based on pretextual reasons,

25   Mr. Gleeson cites Ammidown in arguing that it's black




                                                                     22
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 23 of 196


1    letter law.    The prosecutors must provide more than a

2    conclusory statement of the reasons and factual basis

3    supporting a motion to dismiss.

4                He goes on to say that in Ammidown, the D.C.

5    Circuit explained that and the court quotes "in the

6    exercise of its responsibility, the court will not be

7    content with the mere conclusory statement by the

8    prosecutor that dismissal is in the public interest, but

9    will require a statement of reasons and underlying factual

10   basis.

11               In addition, Rule 48(a) contemplates exposure of

12   the reasons for dismissal.       In order to prevent abuse of

13   the uncontrolled power of dismissal previously enjoyed by

14   prosecutors and in pursuance of this purpose to gain the

15   Court's favorable discretion, it should be satisfied that

16   the reasons advanced for the proposed dismissal are

17   substantial.

18               The D.C. Circuit continued that if the reason

19   for dismissal is that "the evidence is not sufficient to

20   warrant prosecution, the court recognizes that the

21   responsibility is on the prosecution and is satisfied if

22   there is a considered judgment in an application made in

23   good faith unless it appears that the assigned reason for

24   the dismissal has no basis in fact.

25               And again the court stated, we do not think Rule




                                                                     23
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 24 of 196


1    48(a) intends the trial court to serve merely as a rubber

2    stamp for the prosecutor's decision.         We agree that the

3    judge should be satisfied that the agreement adequately

4    protects the public interest."

5                Mr. Gleeson argues that this requirement serves

6    the purpose of allowing a judge to responsibly exercise

7    his discretion by understanding the basis for the

8    prosecution's decision allowing appellate courts to

9    properly review district court decisions and preventing

10   abuse of the uncontrolled power of dismissal previously

11   enjoyed by prosecutors.

12               Regarding denial based on gross prosecutorial

13   abuse, Mr. Gleeson contends that the "fundamental basis

14   for denial of leave is the same in both opposed and

15   unopposed motions."      With opposed Rule 48 motions,

16   prosecutorial harassment is often at issue.          In this

17   context, Mr. Gleeson argues that courts review the motions

18   for evidence of prosecutorial abuse and bad faith in

19   seeking to terminate the prosecution that relies upon

20   authorities that the court will not recite at this time.

21               With unopposed Rule 48(a) motions, Mr. Gleeson

22   argues that the same assessment applies when reviewing for

23   gross abuses of prosecutorial power citing as examples

24   "acceptance of a bribe, personal dislike of a victim and

25   dissatisfaction with a jury impaneled."




                                                                     24
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 25 of 196


1                Mr. Gleeson points to the history of 48(a) to

2    contend that corrupt dismissals against the politically

3    well-connected also would constitute prosecutorial abuse.

4                And as Mr. Gleeson argued previously as the

5    court referred to, Fokker did not overrule or disapprove

6    of Ammidown, never addressed whether courts may deny Rule

7    48(a) motions based on clear evidence of bad faith or

8    gross prosecutorial abuse and concerned that "clear

9    evidence may overcome the presumption of regularity that

10   prosecutors enjoy with respect to charging decisions.

11               According to Mr. Gleeson, Fokker refined rather

12   than rejected Ammidown.

13               The government, not surprising, disagrees with

14   Mr. Gleeson's arguments that a court may examine whether

15   the government's reasons are pretextual or involve gross

16   prosecutorial abuse.      The government argues that such an

17   interpretation contradicts Fokker.         In Fokker, the D.C.

18   Circuit stated that district courts lack power "to

19   scrutinize the prosecution's discretionary charging

20   decisions."    That the executive may exercise authority

21   over criminal charging decisions without the involvement

22   of and without oversight power in the judiciary.           That

23   Rule 48(a) can "confers no new power in the courts to

24   scrutinize the prosecution's exercise of its traditional

25   authority and that courts lack authority to scrutinize




                                                                       25
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 26 of 196


1    prosecutorial charging choices."

2                The government further contends that Mr.

3    Gleeson's interpretation would violate Article II because

4    the judiciary lacks the authority to invalidate a

5    coordinate branch's exercise of power on grounds of gross

6    abuse absent a constitutional violation.          The government

7    also argues that such an interpretation would cause grave

8    harm to the executive branch by forcing it to reveal its

9    internal deliberations in order to satisfy a court that

10   its decision is not pretextual or abusive.          The government

11   instead asserts that the proper way to check prosecutorial

12   abuse and favoritism is through "public disapproval,

13   "congressional retaliation" or "impeachment."

14               And, finally, the government argues that even

15   assuming that a district court may deny an unopposed

16   motion to dismiss, the Court's discretion is limited

17   because prosecutors are presumed to have properly

18   discharged their official duties unless "clear evidence"

19   shows otherwise.     The government points out that the Third

20   Circuit has referred to the "leave of court" provision as

21   procedural in granting courts no substantive authority to

22   review the prosecutor's reasons for dismissal, while the

23   Second Circuit has found that a court may deny leave only

24   where there is evidence "clearly contrary to manifest

25   public interest" such as evidence of a bribe preference of




                                                                     26
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 27 of 196


1    vacation rather than going to trial or that he is acting

2    alone rather than at the discretion of D.O.J.

3                Even if those standards are applied in this

4    case, the government argues that leave cannot be denied

5    because the motion here represents the authoritative

6    position of the executive" and is based upon the

7    following:    One, in the executive's assessment, the

8    interests of justice do not support continuing the

9    prosecution; based on the executive's legal analysis and

10   assessment of the strength of case, proving materiality to

11   a jury beyond a reasonable doubt would be difficult; and,

12   three, based on the executive's legal analysis and

13   assessment the strength proving willful falsity to a jury

14   beyond a reasonable doubt can be difficult.          And according

15   to the government, these reasons may be substantially

16   viewed by a court because Fokker explained that the

17   interest of justice standard is unreviewable.

18               I'm going to focus now on the government's

19   motion.    The government moved to dismiss the pending

20   criminal charges against Mr. Flynn having concluded that

21   continued prosecution of Mr. Flynn would not serve the

22   interest of justice after its extensive review of this

23   investigation including newly-discovered and disclosed

24   information attached to the defendant's supplemental

25   pleadings.




                                                                     27
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 28 of 196


1                THE CLERK:    Excuse me one second, please.        Would

2    all the folks that's on the lines right now, please mute

3    your phones, please?      Please mute your phones or your

4    video feed.    Will the individual who has the conversation

5    going on, please mute your phone?

6                THE COURT:    Thank you very much.      We have been

7    getting some feedback.      Thank you for muting your phones.

8    This is the new normal.       Thank you.

9                The government now asserts that "Mr. Flynn pled

10   guilty to making false statements that were not material

11   to any investigation and that the government does not have

12   a substantial federal interest in penalizing a defendant

13   for a crime that is not satisfied occurred and that it

14   does not believe it can prove beyond a reasonable doubt.

15               The government describes the materiality

16   threshold as requiring more than mere relevance, whether

17   the false statement must have "probative weight" and be

18   reasonably likely to influence the tribunal in making a

19   determination required to be made.

20               The government also claims that based on the

21   following facts, it cannot prove beyond a reasonable doubt

22   how Mr. Flynn's false statements are material to Crossfire

23   Razor, the government's investigation.

24               And I'll quickly go through those points.          The

25   evidence shows Mr. Flynn's false statements were not




                                                                     28
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 29 of 196


1    material to any viable counter-intelligence investigation.

2    The communications between Mr. Flynn and the Russian

3    ambassador did not warrant either continuing the existing

4    counter-intelligence investigation or opening a new

5    criminal investigation.       The FBI had word-for-word

6    transcripts of the call.       So "there was no factual basis

7    for the predication of a new counter-intelligence

8    investigation.     The FBI at the time did not open a

9    criminal investigation into whether Mr. Flynn's calls

10   violated the Logan Act because the communications

11   implicated no crime and in bootstrapping the calls with

12   Mr. Kislyak onto the existing authorization without a

13   predicate for further investigative efforts, the FBI

14   sidestepped the predication threshold for investigating

15   American citizens.      Vice President Pence and Sean Spicer's

16   conflicting statements on what had been said on the calls

17   did not "provide a separate or distinct basis for an

18   investigation.

19               The regular procedure that preceded Mr. Flynn's

20   interview suggests that the FBI was eager to interview

21   Mr. Flynn irrespective of any underlying investigations.

22   And because the FBI had transcripts of the calls, Flynn's

23   answers would have shed no light on whether and what he

24   communicated with Mr. Kislyak and those issues were

25   immaterial to the no longer justifiably predicated




                                                                     29
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 30 of 196


1    counter-intelligence investigation.

2                In addition, the government in a footnote

3    contends that Mr. Flynn's false statements were not

4    material to Crossfire Hurricane.        According to the

5    government, Flynn had never been identified by that

6    investigation and had been deemed no longer a viable

7    candidate for it and, two, his interview had nothing to do

8    with the subject matter and nothing in FBI materials

9    suggest any relationship between the interview and the

10   umbrella investigation.

11               In response to the government's arguments,

12   Mr. Gleeson first argues that the government's statement

13   of reasons is deficient under Rule 48(a).          First, he

14   argues that the government's claim that Mr. Flynn's false

15   statements were not material is not credible.          According

16   to Mr. Gleeson, a false statement is material under 18

17   U.S. Code, Section 1001 when it has a natural tendency to

18   influence or is capable of influencing either a discreet

19   decision or any other function of the agency to which it

20   was addressed.     Relying upon United States versus Moore,

21   which I don't believe the government has attempted to

22   distinguish in this case.

23               The relevant test is objective and asks whether

24   a statement is capable of affecting the general function

25   that a federal agency was performing when the statement




                                                                     30
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 31 of 196


1    was made to it.

2                Mr. Gleeson contends that the materiality

3    standard is met here and I quote "while serving as the

4    national security advisor, Flynn repeatedly lied about the

5    nature and extent of his communications with the senior

6    official of a hostile foreign power that was being

7    sanctioned by the U.S. government for interfering with the

8    U.S. presidential election.       He did so to FBI agents

9    carrying out the FBI's general function of conducting

10   investigations into potential threats to national

11   security.    Lies about such communications could

12   "adversely affect the ability of the FBI to perform this

13   function.    Relying upon Moore.

14               Moreover, Mr. Gleeson points out that the

15   government has already argued in this case and this Court

16   agree that Mr. Flynn's false statements affected the FBI

17   investigation by "impacting the FBI's decision to act and

18   follow leads."     In addition, Mr. Gleeson argues that the

19   government's reasons for dismissal are pretextual for the

20   following reasons:      Whether Crossfire Razor was open or

21   closed is pure mis-direction.        The abandoned case closure

22   memorandum is a non-factor even before it was finalized

23   because it reflected no definitive conclusion about

24   Flynn's role.     The materiality standard does not turn on

25   predication issues.      The fact that Mr. Flynn was not




                                                                     31
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 32 of 196


1    guilty of an underlying crime or wrongdoing is irrelevant

2    to the materiality element.       Instead of trying to get

3    Mr. Flynn to make false statements, the FBI agents

4    deliberately refreshed his recollection by repeatedly

5    prompting him with the exact words Flynn used in his

6    conversations with Kislyak when he failed to bring up or

7    claimed to have forgotten aspects of their conversations.

8    And it is never a defense to a false statement charge that

9    the government was not actually deceived and the

10   government regularly rejects this argument in other cases.

11   And in that regard, the court recognizes the circuit

12   opinion in Safavian, 649 F.3rd 691.

13               In response to government's contentions that

14   Mr. Flynn's false statements were not material to

15   Crossfire Hurricane, Mr. Gleeson contends also that the

16   government previously argued that Mr. Flynn's false

17   statements went to the heart of Crossfire Hurricane and

18   Mr. Flynn swore the same in his plea colloquy on at least

19   two occasions.

20               Investigation of Mr. Flynn in Crossfire Razor,

21   it was part and parcel of Crossfire Hurricane.           While

22   Mr. Flynn's false statements related to events after the

23   election, the FBI agents asked about all of Flynn's

24   contacts with any Russians throughout the relevant time

25   period.    And even arbitrarily limiting the focus of the




                                                                      32
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 33 of 196


1    discussion of post-election calls, truthful information

2    about Flynn's dealings with Russian officials on behalf of

3    the transition team could easily have yielded

4    investigative leads or ruled out investigative dead ends.

5                Second, Mr. Gleeson argues that it's implausible

6    that the government now doubts whether it can prove beyond

7    a reasonable doubt that Mr. Flynn knowingly and willingly

8    made a false statement.       He argues that Mr. Flynn has

9    repeatedly admitted to knowingly making a false statement

10   to the FBI including when he pleaded guilty and when he

11   affirmed his guilty plea before this Court.          There are

12   also records of what Flynn stated on the call and what he

13   later told the FBI which Mr. Gleeson contends proves the

14   falsity of his statements.

15               According to Mr. Gleeson, Mr. Flynn also did not

16   make equivocal or indirect responses or claimed not to

17   remember, but instead made categorical denials about

18   specific issues in response to specific questions.

19               Finally, Mr. Gleeson argues that the subjective

20   views of the agents including whether they believe the

21   defendant is lying or telling the truth are irrelevant to

22   a false statements case.       And while the government points

23   to inconsistent FBI records, the government does not

24   explain to which records or inconsistencies it's

25   referring.




                                                                      33
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 34 of 196


1                With respect to gross prosecutorial abuse,

2    Mr. Gleeson argues that the government's actions

3    constitute indeed gross prosecutorial abuse based upon the

4    demonstrated pretextual reasoning described previously

5    placed in context with the additional circumstances

6    surrounding the case.

7                Flynn was serving as an advisor to President

8    Trump's transition team during the events that gave rise

9    to the conviction.      Evidence of coordination between Flynn

10   and other senior transition team members including those

11   located at the President's property at Mar-a-Lago

12   immediately before Flynn engaged in the conversations that

13   he lied about to the FBI.

14               Former FBI Director Comey testified before

15   Congress that President Trump had suggested that the FBI

16   "let this go."

17               President Trump's Twitter feed has "made clear

18   that the President has been closely following these

19   proceedings, is personally invested in showing that

20   Flynn's prosecution ends and has deep animosity toward

21   those who investigated and prosecuted Flynn" and for

22   President Trump's tweets were issued against the

23   background of a severe breakdown in the traditional

24   independence of the justice department for the President."

25               The government's response essentially is that it




                                                                     34
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 35 of 196


1    is entitled to dismissal based on its assessment of the

2    interest of justice.      The record material suggests that

3    the FBI was undertaken predominantly to elicit false

4    statements.    The FBI had determined that Flynn was not an

5    agent of Russia by January 2017.        The FBI agents expressed

6    relief that Crossfire Razor had not been closed and notes

7    of the FBI's assistant director for counter-intelligence

8    questioned the purpose of the interview and whether it was

9    going to be conducted in a manner that would get to the

10   truth or instead would get Flynn to lie so he can

11   prosecute him or get him fired.        Because this rationale is

12   a judgment quintessentially in the executive's

13   prerogative, it fully justifies the executive's decision

14   to dismiss standing alone.

15               And second, the government reiterates that it

16   doubts its ability to prove materiality based on

17   substantial evidence that neither the truthful information

18   or the fact of any false statement was influential in that

19   investigation.

20               Now I'm going to ask the government whether it

21   has any objections to anything the Court has just referred

22   to and then I'll ask Mr. Gleeson as well as the attorney

23   for Mr. Flynn.

24               First, government counsel.       Any objections or

25   any additional information that you wish to put into the




                                                                     35
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 36 of 196


1    record for this hearing?

2                MR. MOOPPAN:    Thank you.     So I think that your

3    summary was fairly comprehensive and largely accurate.

4    There are a couple of points that I think we would like to

5    address at some point.      I don't know if now or if you want

6    to wait --

7                THE COURT:    Why don't you address them now since

8    they are fresh in your mind, counsel, please?

9                MR. MOOPPAN:    Okay.    So the first is I think we

10   disagree respectfully with Your Honor's assessment that

11   (inaudible) decision resolves the Article III issue.

12   There is a footnote in the en banc opinion.          But what the

13   footnote says is that the case is not moot until the Rule

14   48 motion is granted.      That is essentially saying that the

15   Court had jurisdiction to determine whether it had

16   jurisdiction.     Our point is that Article III informs

17   whether the Rule 48 motion should be granted.          Because

18   there is no controversy between the parties, the motion

19   should be granted just as in any other case where the

20   plaintiff decides even after liability has been

21   determined.    But a final judgment (inaudible) --

22               THE CLERK:    Counsel, can you repeat that for the

23   court reporter?     We didn't catch you.

24               MR. MOOPPAN:    I'm hearing a little bit of

25   feedback.




                                                                      36
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 37 of 196


1                THE COURT:     Yes.    You're fading out a little

2    bit.   Yes.

3                MR. MOOPPAN:     So our point is that

4    (inaudible) --

5                THE COURT:     Let's stop for a second, counsel.

6    You're fading out.      Let's see what the technical issue is.

7                MR. MOOPPAN:     What do you propose we do, Your

8    Honor?

9                THE COURT:     This is a new normal here.      So we

10   are all learning.      Mr. Cramer is here.      So we're in expert

11   hands now.

12               Let me just say we are having some technical

13   issues through no one's fault.          No one has done anything

14   wrong.    If anyone has done anything wrong, I will accept

15   responsibility for that.          We are going to recess though.

16   The better part of wisdom is to recess for 30 minutes and

17   then just ask people to reconnect.          So I'm just going to

18   ask everyone to reconnect at 12:35.          Sorry for that.     But

19   it's no one's fault.       So please relax.     No one needs to

20   get stressed out about this.         Thank you.   We'll talk again

21   at 12:35.     Thank you.

22               MS. POWELL:    And I do have a number of

23   objections I would like to put on the record when we

24   return.

25               THE COURT:     All right.    That's fine.    We'll




                                                                      37
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 38 of 196


1    return at 12:35.

2                (Recess.)

3                THE CLERK:    This honorable court is now back in

4    session.

5                THE COURT:    All right.    Let me hear from -- the

6    Court will hear from government counsel again.           Good

7    afternoon.

8                MR. MOOPPAN:    Good afternoon, Your Honor.

9    Hopefully, this works better this time.

10               THE COURT:    Let me just say there are other

11   proceedings in progress in this court.         So the system may

12   degrade after a while.      We'll do the best we can.       But I

13   just want to let you know that's probably one reason for

14   the interruption.      So go right ahead, counsel.

15               MR. MOOPPAN:    Thank you, Your Honor.

16               So as I said, I think your summary of our

17   arguments was comprehensive and generally accurate.             I

18   think there are four points that I would like to briefly

19   address --

20               THE COURT:    Sure.   Go right ahead.

21               MR. MOOPPAN:    -- before I turn it over to Mr.

22   Kohl.

23               So the first is with all respect, I think that

24   the D.C. Circuit en banc opinion doesn't go quite as far

25   as Your Honor suggested.       It is true that the D.C. Circuit




                                                                         38
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 39 of 196


1    en banc in a footnote did say that the case is not moot

2    until the Court rules and grants the motion to dismiss.

3    But that doesn't answer the question that we had posed

4    which is whether Article III requires granting the motion

5    to dismiss.    Whether because there is no adversity between

6    the parties anymore, therefore, the Court must grant the

7    motion.    We don't think that the D.C. Circuit in a

8    footnote in an opinion denying mandamus resolved that

9    fairly significant Article III question especially because

10   in any other case where the plaintiff and the defendant --

11   the plaintiff no longer proceed against the defendant even

12   after a liability finding decides to dismiss, that would

13   be the end of an Article III controversy.

14               So, for example, if there was a false claims

15   suit that the government brought, a district court had

16   entered partial summary judgment on liability, but hadn't

17   reached the damages phase and then the United States

18   decided they wanted to dismiss that civil suit, that would

19   be Article III moot.      And there's no difference between

20   that and a criminal case because Article III applies

21   equally with civil or criminal cases.

22               The second point I'd like to address briefly is

23   the question of the Rule 48 standard in a situation where

24   there's -- the defendant agrees.        We're not suggesting

25   that this Court should act as a rubber stamp or that the




                                                                     39
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 40 of 196


1    Court has no role to play whatsoever.

2                But I think what's important to note, if you

3    look at the examples that Judge Gleeson has pointed to,

4    all of those examples are situations where you have --

5    there's a concern that the individual prosecutor

6    (inaudible) whether because they have favoritism to some

7    local bigwig or because they have been bribed, the

8    examples were are all of that ilk.         And in those

9    situations, we do think the Court has a role to play, but

10   the role is to make sure that the decision to dismiss is

11   the considered view, the authoritative view of the

12   Executive Branch as a whole.       It can ensure that Main

13   Justice, the U.S. Attorney and the Attorney General have

14   determined that this is the position.

15               Our third point and relatedly, what the Court

16   cannot do under Rule 48 is second guess the Executive

17   Branch's authoritative position to determine whether as

18   Judge Gleeson puts it either whether there is pretext or

19   whether there is favoritism.

20               I think there are two key quotes that make this

21   clear.    The first is the quote, this is from the Supreme

22   Court's Nixon decision on page 693.         The executive branch

23   has "the exclusive authority and the (inaudible) whether

24   to prosecute a case.      And the second quote is from the

25   Fokker decision at page 742.       The leave of court authority




                                                                     40
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 41 of 196


1    gives no power to a district court to deny a prosecutor's

2    Rule 48 motion to dismiss charges based on a disagreement

3    with the prosecution's exercise of charging authority.

4    Both of those quotes by their plain and unambiguous terms

5    pick up Judge Gleeson's argument.        They pick up a

6    situation where there's favoritism.         They pick up a

7    situation where there is pretext.        Those are unambiguous

8    quotes from controlling precedent, both of which postdate

9    Ammidown.

10               The last point I'll make before I turn it over

11   to Mr. Kohl is on the materiality standard.          Judge Gleeson

12   has emphasized as Your Honor did as well that the

13   materiality standard is an objective one.          It doesn't

14   matter whether an individual government agent was actually

15   misled and we agree with that.        If you look at page 17 of

16   the motion to dismiss, we ourselves cited Moore and

17   Safavian, which are this circuit's -- the D.C. Circuit's

18   cases behind those principles.

19               But the critical point here is those are cases

20   about whether the evidence is sufficient to sustain a jury

21   verdict.    It is a question about whether a court could

22   convict a defendant.      It is not a question about whether

23   the Court should convict a defendant and it is certainly

24   not a question about whether the Department of Justice

25   should bring a case in such circumstances.




                                                                     41
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 42 of 196


1                It would be fairly remarkable if the Department

2    of Justice was convinced, convinced that the FBI has went

3    out and asked about the questions that they knew the

4    answers to and didn't care what the answers to just to set

5    up a defendant that they would nevertheless be compelled

6    to bring a prosecution and that a jury would convict.

7    That is simply not a proper interpretation of Rule 48 and

8    with that, I will turn it over to Mr. Kohl.

9                THE COURT:    All right.    Thank you, counsel.

10               MR. KOHL:    Good morning, Your Honor.

11               THE COURT:    Good morning, counsel.

12               MR. KOHL:    As you know, I've been around the

13   courthouse for three decades.        I'm the senior-most --

14   senior ranking career person in our office right now and I

15   wanted to appear today because the allegations against our

16   office that we would somehow operate or act with a corrupt

17   political motive just are not true.         I've never seen it in

18   my entire career in our office and it didn't happen here.

19               I'm here to say that the U.S. Attorney's Office

20   decision to dismiss this case was the right call for the

21   right reasons.

22               You know, we're completely unafraid here to

23   address, to get into and address the specifics as to why

24   we thought we needed to dismiss this case.          In my

25   judgment, Your Honor, there isn't a case and we'd be happy




                                                                     42
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 43 of 196


1    to go through the evidence.       But I just want to emphasize

2    one thing.    As the Court knows, once the government finds

3    some evidence of wrongdoing, it's our responsibility to do

4    a proper investigation and, you know, that the Attorney

5    General had asked the U.S. Attorney Jeff Benton to do a

6    review from beginning to end in terms of the origin of

7    this investigation.      There was also the FBI has asked its

8    inspection division to look at some of the work that was

9    done on this case as well.       It is a continuing review.

10               And some of the things that have been found

11   including the case agent -- the statement that was made

12   just recently by the case agent on this case, Bill

13   Barnett, who told us that he was working on the Flynn case

14   when it was discovered that Flynn had talked to Ambassador

15   Kislyak.    That call did not change his assessment that

16   Flynn was in any way compromised by the country of Russia.

17   He later -- he followed this case.         He briefed the Special

18   Counsel's Office that -- of his assessment that there was

19   no crime and his belief that -- and he observed that as he

20   interacted with the Special Counsel's Office and observed

21   them interview witnesses on this case, it was his

22   impression that the Flynn case was being used to get Trump

23   and that it affected how they handled witnesses in the

24   case.

25               Now normally, Your Honor, those accusations




                                                                     43
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 44 of 196


1    alone would be game over for the prosecution.          There

2    certainly would be a need to do a further review.           But

3    it's more than that.      Notes that had been discovered over

4    at DOJ and among the Special Counsel file showed that the

5    Special Counsel prosecutors themselves met with DOJ

6    officials and observed that -- they gave an update on how

7    the Flynn investigation was going and they observed that

8    Flynn had a bad memory.       That's consistent, of course,

9    with his claims of innocence in this case.

10               Plus we have newly discovered the HPSCI

11   transcript that had been classified and that we didn't

12   have access to by the U.S. House of Representatives of

13   James Comey's testimony.       When he was asked directly do

14   you think Flynn lied, he said I don't know, I think there

15   is an argument he lied, it's a close one.

16               Now when the most authoritative voice of the

17   FBI, the director is saying he doesn't know, he thinks

18   there is an argument he lied, that's a problem for the

19   government.    It's not simply a matter of would that

20   statement be admissible against us.         We don't prosecute

21   people -- we don't just throw the evidence on the wall to

22   see what sticks.     We prosecute people when we are certain

23   they committed a crime.       As Your Honor knows, the agents

24   left the interview of Mr. Flynn and they said they could

25   not tell from his demeanor whether he actually knew he was




                                                                       44
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 45 of 196


1    lying and they had doubts as to whether he did lie.

2                The last thing I would point out, we ultimately

3    had to prove this case with witnesses.         I mean in the end,

4    there is no recording of what Mr. Flynn said.          It's going

5    to be the testimony of the case agents who were there.

6    Most of the agents who were there have since this case was

7    charged --

8                THE COURT:    I'm sorry.    I just need to ask you a

9    question.    Are you saying there is no recording of what

10   Mr. Flynn said?

11               MR. KOHL:    There is no audio recording.       There

12   is a 302, Your Honor.      Yes.   There is a write-up of the

13   FBI interview.     Oh, I'm sorry.     Yes.   Let me clarify.        I'm

14   referring now to the January 24, 2017 interview of

15   Mr. Flynn.    That's the basis of this charge.        Right?

16   There's no audio recording of exactly what he said or

17   didn't say during that interview.        It is just the FBI's

18   recollection based on their notes and their 302.

19               There were two agents that were present.           One

20   agent -- I mean who are we going to call as witnesses in

21   this case?    Are we going to call Pete Strzok, the lead

22   agent that had drove this investigation who the Office of

23   Inspector General had said that he -- his test -- I'm

24   quoting -- "implied a willingness to take official action

25   to impact the presidential candidate's electoral process."




                                                                      45
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 46 of 196


1    That was this same administration.         We spoke about how he

2    felt himself that he was a insurance policy.          The work

3    that he was doing would be an insurance policy to blunt

4    Trump if he's elected.      The very next day after he sent

5    that message, he opened this investigation.

6                Do we call the second interview in April?           A

7    whole separate Office of Inspector General report that

8    found that he misleaded the Foreign Intelligence

9    Surveillance Court about material facts concerning another

10   Trump advisor, Carter Page.       Or do we call the deputy

11   director who ordered the interview, Andy McCabe, who was

12   fired by DOJ after they determined he lied under oath

13   including to FBI agents?

14               If we move forward in this case, we would be put

15   in a position of presenting the testimony of Andy McCabe,

16   a person who our office charged and did not prosecute for

17   the same offense that he's being -- that we would be

18   proceeding to trial against with respect to Mr. Flynn.

19               So all of our evidence, all of our witnesses in

20   this case as to what Mr. Flynn did or didn't do have

21   been -- have had specific findings by the Office of

22   Inspector General.      Lying under oath, misleading the

23   Court, acting with political motivation.          Never in my

24   career, Your Honor, have I had a case with witnesses, all

25   of whom have had specific credibility findings and then




                                                                         46
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 47 of 196


1    been pressed to go forward with the prosecution.           We're

2    never expected to do so.

3                Based on all of those concerns, not the least of

4    which again I mentioned, you have the case agent on this

5    case, Bill Barnett, saying he never saw a problem with

6    Flynn's conversation with Ambassador Kislyak.          He did not

7    change his opinion as to whether he was an agent of

8    Russia.    He was left out of the interview of Mr. Flynn and

9    ultimately briefed.      The same charge in this case.       And

10   with his assessment that no crime had occurred.           When,

11   when, Your Honor, has our office ever been pressed to go

12   forward with a prosecution under those circumstances?

13               THE COURT:    All right.    Thank you, counsel.         I

14   was going to -- I don't have in front of me right now a

15   document that I wanted to ask you a question about.           I'll

16   have that document in front of me in about -- in a few

17   minutes or so, counsel.

18               But let me ask you since you raised the question

19   of the reason or the purpose for government action.           There

20   was a letter sent by Mr. Flynn's current attorney to the

21   current Attorney General in June I think of 2019.           Are you

22   familiar with that letter?

23               MR. KOHL:    Your Honor, not specifically.       But

24   please go ahead.

25               THE COURT:    No, no.    Let me -- I've just asked




                                                                       47
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 48 of 196


1    someone on my staff to get it.        I had it.    There are so

2    many binders.     I had it in one of the many binders and I

3    can't put my hand on it.       So just relax for a second.

4    I'll have it within the next -- let me just read this

5    letter to you.

6                It's a letter dated June 6, 2019.        It's

7    addressed -- it's from Mr. Flynn's current attorney to the

8    Attorney General, the current Attorney General and also

9    Jeffrey Rosen, the Deputy Attorney General.          Is he still

10   the Deputy Attorney General?

11               MR. KOHL:    Yes, he is, sir.

12               THE COURT:    All right.    And I'll just read it

13   since you don't have a copy in front of you.

14               "Dear Attorney General Barr and Deputy Attorney

15   General Rosen, I write on behalf of Lieutenant General

16   Michael Flynn and as former Assistant United States

17   Attorney of ten years' service under nine United States

18   Attorneys from both political parties as a lawyer

19   dedicated to the rule of law and a firm believer in the

20   mandate of Gerker versus United States.         That the role of

21   the United States is to seek justice, not convictions.

22               It is my fervent hope that you and the

23   Department of Justice will use this case to restore

24   integrity and trust in the department and reinstate clear

25   application of the rule of law.




                                                                     48
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 49 of 196


1                It's important that to note" -- I'm just -- this

2    is just my postscript here.       It's important to note that

3    at the time she wrote this letter, she had not entered an

4    appearance in this case.       In fact the next paragraph

5    addresses her status, the attorney's status.

6                "Covington and Burling has moved to withdraw,"

7    which means that Covington and Burling are still

8    representing Mr. Flynn "and I will soon appear on the

9    record on behalf of General Flynn.         They -- meaning

10   Covington and Burling -- are not aware of this

11   communication which I will treat with the utmost

12   confidentiality.     My goal is to encourage and allow the

13   department to address these issues internally for the

14   benefit of all concerned especially the department itself.

15   Despite what he and his family have been through, General

16   Flynn firmly believes in our justice system and hopes to

17   be a positive and forceful spokesperson for it in the

18   future.

19               This letter is a preliminary outreach primarily

20   to provide you with an outline and notice of likely

21   exculpatory information.       We ask you to watch for as you

22   and your appointed investigators independent of the

23   Special Counsel Office are re-examining the possible

24   corruption of our beloved government institutions for what

25   appears to be political purposes and to suggest that just




                                                                     49
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 50 of 196


1    resolution of the evidence shows what we believe to be

2    true."

3                And I'm not going to read the letter.         It's a

4    ten-page letter.     It's dated June 1st.      It was filed on

5    the docket in this case in October of '19.          It was filed

6    as an attachment to a government pleading.

7                And she makes a number of requests and one she

8    says she "requests the appointment of new government

9    counsel with no connection to the Special Counsel team of

10   attorneys or agents to conduct review of the entire Flynn

11   case or Brady material that has not been produced in

12   prosecutorial misconduct."       And then she goes on and makes

13   a number of other requests.

14               But what I want to ask you to address is the

15   propriety of this letter.       I mean this letter has been

16   somewhat under the radar screen.        There's not been a lot

17   of public discussion about this letter.         But one must

18   wonder just what the public's reaction would have been had

19   the public known that here's a person, she doesn't

20   represent someone, reaching out to the Attorney General of

21   the United States, which in my opinion would probably be

22   highly unusual, to request that new attorneys be appointed

23   by the Attorney General to prosecute a case that she

24   intends to enter her appearance in.

25               Now I'm not asking you to address on the




                                                                     50
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 51 of 196


1    propriety or the ethics, the legal ethics of what she's

2    done.    She can address that herself and it may well be

3    that the Bar will have to address that at some point.               But

4    I'd like your reaction to this letter because it raises

5    questions about the motive for things that have happened

6    in this case starting with the removal of a team of

7    attorneys who were prosecuting Mr. Flynn.          Mr. Kohl?

8                MR. MOOPPAN:    So, Your Honor, if I can answer

9    that?    So, Your Honor, the Attorney General made his

10   decision here to investigate this case in significant part

11   because of the withdrawal of the plea that ultimately

12   occurred and the emerging evidence of the FBI misconduct.

13   It wasn't based on this letter requested by --

14               THE COURT:    Do you know that for a fact that

15   this -- that there was no action by the Attorney General

16   pursuant to this letter or are you just speculating?

17               MR. MOOPPAN:    So I do not know one way or the

18   other.    I've not spoken to the Attorney General about this

19   precise letter.     I have spoken to the Attorney General

20   about the decisions that were made in this case.           But I

21   would say that if not -- setting aside whatever sort of

22   Bar issues you would raise, it's not apparent to me why it

23   would be a problem for a lawyer or a citizen to raise

24   concern about misconduct in a criminal prosecution, Your

25   Honor.    That is something that the Department of Justice




                                                                     51
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 52 of 196


1    takes seriously and properly takes seriously.

2                THE COURT:    Do you know whether or not there was

3    a response to this letter by the Attorney General?           And if

4    so, I'd like to get a copy of that response.

5                MR. MOOPPAN:    Not to my knowledge, Your Honor.

6    I'll look into it and if there was, we will get back to

7    you about that.

8                THE COURT:    Because when she concludes her

9    letter, she says "we appreciate your attention to and

10   consideration of these important issues."          And again this

11   is from a person -- a lawyer who intends to enter her

12   appearance on behalf of someone who is being prosecuted by

13   the government, in fact someone who has already

14   participated in the preliminary sentencing hearing and she

15   says I look forward to your reply.         And then she gives her

16   cell number.     It's blacked out.     I'm not going to repeat

17   it even if I knew it.      And I would like to schedule a

18   meeting to discuss this further at your convenience and

19   provide you additional information.

20               So I'd like to know what the Attorney General

21   wrote in response.      I want to get a copy of that, his

22   reply to this letter, the reply by the Deputy Attorney

23   General to this letter.       I'd like to know what further

24   meetings were scheduled, what was discussed at those

25   meetings, the minutes of those meetings and any further




                                                                     52
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 53 of 196


1    communication between the Attorney General, Rosen and the

2    attorney for Mr. Flynn.       I would like to get that as soon

3    as possible, counsel.

4                MR. MOOPPAN:    So, Your Honor --

5                MS. POWELL:    Excuse me.    I can probably address

6    that question --

7                THE COURT:    No.   I didn't ask you.     I didn't ask

8    you to address it.      I'll give you a chance at some point.

9                Counsel?

10               MR. MOOPPAN:    So, Your Honor, I don't know

11   whether there was any sort of reply or meeting.           I will

12   look into it.     As to whether we will provide that, of

13   course, as Your Honor is aware, those sort of

14   communications, whether we will produce that is something

15   that I would have to talk with the leadership department

16   who will -- I will look into the factual premise and we

17   will respond to you --

18               THE COURT:    All right.    I appreciate that.      I

19   mean there may be legitimate reasons for not disclosing

20   that.   I certainly don't sit here and say that there

21   aren't.    So I appreciate that.      I would just like a

22   response to my questions, counsel.

23               All right.    Anything further with respect to

24   that letter dated June the 6th, 2019?

25               MR. MOOPPAN:    No.




                                                                     53
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 54 of 196


1                MR. KOHL:    Not from the government, no.

2                THE COURT:    All right.    Okay.   Ms. Powell, you

3    wanted to say something?

4                MS. POWELL:    Yes, sir.    I have a number of

5    things to say.     I'll address the letter issue first if I

6    might.

7                THE COURT:    Sure.

8                MS. POWELL:    The only response that was received

9    from the Department of Justice was from Mr. Van Grack

10   denying that he had any Brady material whatsoever.           There

11   was no response from the Attorney General.          There was no

12   meeting with me at all.

13               I did the same thing writing a letter to

14   Attorney General Eric Holder in the Brown case that's

15   detailed in my book, License to Lie, Exposing Corruption

16   in the Department of Justice.        In that case, I was

17   afforded a meeting with the principal Deputy Assistant

18   Attorney General Rita Glavin and with Gary Grindler, Chief

19   of Staff for Eric Holder, at which I spent a significant

20   amount of effort trying to get the Department of Justice

21   to do the right thing in that case before it was

22   ultimately reversed and dismissed.

23               I have a number of other objections that I would

24   like to make on the record.       We object vehemently --

25               THE COURT:    Let me ask you this before you get




                                                                     54
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 55 of 196


1    to your other objections since we're talking about --

2    since I raised the issue about communications and

3    correspondence with the Department of Justice.           Have you

4    had discussions with the President about this case?

5                MS. POWELL:    I have not, Your Honor, while the

6    case was pending pre-motion to dismiss or otherwise other

7    than an update as to what happened in it.

8                THE COURT:    I'm sorry.    I'm not sure I

9    understand your answer.       The question is whether you've

10   had any discussions at all with the President of the

11   United States about Mr. Flynn and about this case.           Yes or

12   no.

13               MS. POWELL:    I'm sorry, Your Honor.      I can't

14   discuss that.

15               THE COURT:    What's the reason why you can't

16   discuss that?

17               MS. POWELL:    I would think any conversations

18   that I had with the President would be protected by

19   executive privilege.

20               THE COURT:    Well, you don't work for the

21   government.

22               MS. POWELL:    I don't think the executive

23   privilege is limited to people who work for the

24   government.

25               THE COURT:    So you're purporting to invoke




                                                                      55
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 56 of 196


1    executive privilege not to answer the Court's question

2    about whether you discussed Mr. Flynn's case with the

3    President of the United States.        Is that correct?

4                MS. POWELL:    Yes.   Other than the fact that

5    after the government moved to dismiss or at some point in

6    the last month or so, I provided the White House an update

7    on the overall status of the litigation.

8                THE COURT:    How did you provide that update?

9    Was it in writing?

10               MS. POWELL:    No, sir.

11               THE COURT:    How did you provide that update?

12   Who did you speak with?

13               MS. POWELL:    I provided it in person to counsel

14   for the President.

15               THE COURT:    I mean the White House counsel or a

16   deputy or who did you speak to?

17               MS. POWELL:    Your Honor, I spoke with Jenna

18   Alice and I spoke with the President himself to provide a

19   brief update of the status of the litigation within the

20   last couple of weeks.

21               THE COURT:    And did you make any request of the

22   President?

23               MS. POWELL:    No, sir.    Other than he not issue a

24   pardon.

25               THE COURT:    All right.    Prior to that discussion




                                                                     56
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 57 of 196


1    with the President -- how many discussions with the

2    President have you had about this case?

3                MS. POWELL:    That's the only one I recall.

4                THE COURT:    So you're not ruling out other --

5    well, certainly, you would recall a discussion with the

6    President of the United States, wouldn't you?

7                MS. POWELL:    Well, I've had a number of

8    discussions with the President of the United States.            I

9    think the New York Times reported I've had five.           So it

10   seems like they probably have a number better than I know.

11               THE COURT:    Are the New York Times'

12   representations erroneous?

13               MS. POWELL:    I couldn't tell you the number of

14   times I've actually spoken with the President, Your Honor.

15               THE COURT:    All right.    About this case.     But

16   there's been more than one though.

17               MS. POWELL:    No, sir.    I can tell you I spoke

18   with one time to the President about this case to inform

19   him of the general status of the litigation.

20               THE COURT:    And was that within the last two

21   weeks?

22               MS. POWELL:    Time has a way of getting by for

23   me, but it's certainly well after the government moved to

24   dismiss and probably if I recall correctly after the writ

25   of mandamus was entered.




                                                                     57
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 58 of 196


1                THE COURT:    All right.    Did you ever ask the

2    President of the United States to request his Attorney

3    General to appoint more attorneys in this case?

4                MS. POWELL:    Oh, heavens, no.

5                THE COURT:    All right.    So very succinctly just

6    so I have a clear understanding, what precisely -- during

7    the first time you spoke with the President of the United

8    States, what precisely did you ask him to do in connection

9    with this case?     What did you ask him to do in connection

10   with this case?

11               MS. POWELL:    I never discussed this case with

12   the President until recently when I asked him not to issue

13   a pardon and gave him the general update of the status of

14   the litigation.

15               THE COURT:    All right.    All right.    You had a

16   number of other objections --

17               MS. POWELL:    Yes.

18               THE COURT:    -- that you wanted to put on the

19   record.

20               MS. POWELL:    I have a number of objections.

21               THE COURT:    Go right ahead.     Oh, I'm sorry.

22   Before we move on to that, your letter dated June the 6th,

23   2019, at the time you wrote that letter, Mr. Flynn was

24   represented by Covington and Burling.         Was that ethically

25   appropriate for you to write a letter on behalf of someone




                                                                     58
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 59 of 196


1    you didn't represent to request some action on behalf of

2    that person knowing that that person was being represented

3    by other counsel?

4                MS. POWELL:    Mr. Flynn had already terminated

5    Covington and Burling at that point.         I did in fact

6    represent him.     I had simply not entered an appearance yet

7    before the Court for other reasons that constitute work

8    product.

9                THE COURT:    All right.     So your answer is in

10   your opinion, it was ethically appropriate for you to

11   write that letter then.       Correct?

12               MS. POWELL:    Perfectly.

13               THE COURT:    All right.

14               MS. POWELL:    As I said, I did the same thing to

15   Attorney General Eric Holder in the Brown case except that

16   letter was much more substantial and longer and had more

17   exhibits with it.

18               THE COURT:    All right.     So what else would you

19   like to put on the record, counsel?

20               MS. POWELL:    I want to make clear that we object

21   to all the Court's orders appointing Mr. Gleeson or

22   instructing him to do anything.        That we object to any and

23   all amicus appearing in a criminal case against a

24   defendant and request to strike all of that briefing.               We

25   request to strike all of Gleeson's briefing and exhibits.




                                                                     59
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 60 of 196


1    There is no -- he's not a party.        He has no legitimate

2    role in this case under the rules or in the Supreme Court

3    decision in Hollingsworth versus Perry.         It's wholly

4    inappropriate.     It's also inappropriate for all the

5    separation of powers issues that have raised this.           No

6    court has ever appointed someone as a special prosecutor

7    like this effectively to proceed against a criminal

8    defendant when the government has requested to drop the

9    prosecution.

10               THE COURT:    All right.    I think your position

11   is -- your position is crystal clear I believe in the

12   record.    If you believe that it's not, you can file an

13   appropriate motion, counsel.       But I believe the record

14   supports your total disagreement with the appointment of

15   the amicus in this case.       I didn't --

16               MS. POWELL:    There is one more -- I have one

17   more motion, Your Honor.

18               THE COURT:    I didn't spend any time earlier

19   talking about the reasons for or against the appointment

20   of the amicus because I am firmly under the impression

21   that everyone's position is crystal clear.          But if you

22   believe that there's a need to supplement the record

23   before this Court, then certainly you should file whatever

24   you believe is consistent with your client's best

25   interest, counsel.




                                                                       60
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 61 of 196


1                MS. POWELL:    Yes.   And I will do that.       I

2    believe that I also need to move to disqualify the Court

3    and urge that it recuse itself immediately.          It's

4    absolutely unprecedented for proceedings against a

5    defendant to be conducted by a person who actively

6    litigated against him.

7                And further evidence of bias.       This Court did

8    not act forthwith to schedule this hearing or decide the

9    motion.    The Court just allowed a filing against the

10   defendant by attorney for Peter Strzok, one of the

11   dirtiest FBI agents in the case.        When the government and

12   Flynn even expedited their efforts to have this Court hear

13   the case, the Court picked the very last date the parties

14   had possibly agreed to after setting September 21 as a

15   scheduling deadline which was multiple weeks after the

16   Court of Appeals --

17               THE COURT:    Let me just say one thing about

18   that.    We took very seriously the remand by the Court of

19   Appeals en banc.     And I have not practiced law in many

20   years.    I was once the judge on the D.C. Court of Appeals,

21   but I've forgotten all the appellate law I've ever known

22   about when a case is remanded.        After mandamus relief is

23   denied, when can a court properly proceed with any further

24   matters.    So there were a number of questions.

25               My understanding is that I wanted to be fair




                                                                     61
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 62 of 196


1    about this.    I didn't know whether Mr. Flynn was going to

2    file a petition for certiorari and that's, you know, of

3    course, an option available to him.         So we wanted to be

4    mindful of what the timeframe was for him to exercise that

5    discretion.

6                We also wanted to be certain about when the

7    "mandate" was returned to this Court.         I didn't want it to

8    appear that the Court was doing anything prior to its

9    first opportunity to consider a case after remand and

10   that's the reason why the Court issued a scheduling order

11   blocking off a significant amount of time that we believe

12   should elapse before this Court had jurisdiction vested

13   with it again.     So that's the reason for the Court's

14   scheduling order to say by no later than a certain date,

15   tell us how you wish to proceed.

16               You're objecting to a date that you and everyone

17   else suggested.     It was the date that was convenient --

18   most convenient for the Court, today's date, the 29th.              It

19   wasn't as if the Court selected any date to disadvantage

20   Mr. Flynn or anyone else.       So if I understand your

21   objection, you are objecting because it's the last date

22   the Court selected.      Well, that's one of the dates that

23   you selected and suggested to the Court.

24               But that's the reason for the Court's delay

25   because I didn't want it to appear that the Court was




                                                                     62
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 63 of 196


1    doing anything during a period of time wherein

2    jurisdiction had not been returned to this Court.           And

3    that's the reason for the Court's scheduling order to say

4    by no later than I think it was the 21st of September -- I

5    don't have it in front of me, whatever you say is

6    correct -- let us know because the time would have expired

7    and the "mandate" would have been returned to this Court.

8    So I was proceeding very cautiously and also mindful that,

9    well, maybe the attorneys will file a petition for

10   certiorari.    So it wasn't any effort to unduly delay this

11   proceeding.    What's your next point?

12               MS. POWELL:    A petition for certiorari does not

13   delay the mandate or the issuance of a mandate --

14               THE COURT:    All right.    I understand that.        It's

15   academic right now.       You are here now.    You have your day

16   in court.    What's your next point?

17               MS. POWELL:    The next point is that your

18   comments this morning, the Court's comments this morning

19   cement the abject bias of the Court that mandate its

20   disqualification.      It firmly appears that the Court

21   appointed Mr. Gleeson to support its own personal views

22   that Flynn must be sent to prison regardless of the facts

23   or the law.

24               Mr. Gleeson is not a party.       He has no lawful

25   standing in this case.      He's completely ignored the




                                                                       63
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 64 of 196


1    massive disclosures of evidence of egregious government

2    misconduct the government has provided in the last 60 days

3    or so.

4                The Court's comments about a new Attorney

5    General ignores also that massive production and seems to

6    indicate its own political bias.        As the Court knows from

7    the D.C. Circuit's decision in United States versus Al

8    Nashiri, unbiased and partial adjudicators are the

9    cornerstone of any system of justice worth the label and

10   because deference to the judgments and rulings of the

11   Court depends upon public confidence and the integrity of

12   independence of judges, jurors most support even the

13   appearance with partiality.       Justice must satisfy the

14   appearance of justice --

15               THE COURT:    All right.    Let me ask you this.

16   The record in this case is voluminous.         I'm not sure

17   whether you ever filed a motion to recuse in this case

18   before me.    I don't know.     Did you?    I may be mistaken.       I

19   don't believe you have.       If you have --

20               MS. POWELL:    I'm making that motion right now,

21   Your Honor.

22               THE COURT:    Put it in writing.      I don't want to

23   cut you off, but if you want to file a motion to recuse,

24   you probably should have filed it, but you didn't and I'll

25   certainly afford you an opportunity to prepare and file an




                                                                     64
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 65 of 196


1    appropriate motion to recuse.        I'm not going to address

2    that on oral representations of counsel.          I'm not going to

3    waste your time or everyone else's time.          You could have

4    filed a motion in writing.        You could have filed it in

5    June.    You could have filed it earlier.       But even though

6    you didn't, I'll certainly afford you an opportunity to do

7    that and I'll give you a week from today to file your

8    motion to recuse.      Next point?

9                MS. POWELL:    We will file that motion to recuse,

10   Your Honor, because we believe even if it didn't occur

11   when the Court actively --

12               THE COURT:    Counsel, what's your next point?

13   What's your next point?       I don't need to hear anything

14   more about that.     I'm going to give you an opportunity to

15   file your motion to recuse.        I'll give you a week from

16   today.    What's your next point you would like to put on

17   the record?

18               MS. POWELL:    The Court mentioned that General

19   Flynn had -- excuse me just a minute.

20               THE COURT:    Sure.

21               MS. POWELL:    That Mr. Flynn was scheduled to

22   testify and chose not to cooperate.         That statement is

23   completely false.      Mr. Flynn was fully prepared to

24   cooperate in the Eastern District of Virginia in the

25   Rafiekian case until the government's prosecutor, Brandon




                                                                     65
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 66 of 196


1    Van Grack insisted that Mr. Flynn lie about his knowledge

2    of false FARA filing and the false FARA filing that the

3    government alleged was false and the false statements were

4    actually created by the government itself or by Covington

5    and Burling.     We established that with filings that we've

6    provided the Court already.        And we also briefed fully for

7    the Court how Mr. Van Grack had threatened General Flynn

8    and proceeded to try to compel him to testify to facts

9    Mr. Van Grack knew was false because Mr. Van Grack himself

10   had deleted those remarks or that portion that he there

11   and then knew from the statement of offense himself and

12   all the documents that support that are in the record

13   before the Court.

14               THE COURT:    All right.    Thank you.    Next point?

15               MS. POWELL:    That's it for the objections.        I

16   have other arguments to make --

17               THE COURT:    All right.    I'll get to those after

18   I afford Mr. Gleeson an opportunity to comment on what the

19   Court had intended to do which was to summarize the

20   principal arguments that the parties had made in this

21   case.   Mr. Gleeson?

22               MR. GLEESON:    Yes.   I think you did a good job

23   of that, judge.     I have no objections to your summary of

24   the essential arguments.       I, too, would like to be heard

25   at the appropriate time, but your summary is fine with the




                                                                     66
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 67 of 196


1    amicus.

2                THE COURT:    All right.    Thank you.    And for the

3    record, I've read or have read somewhere either in a

4    pleading or in print that I appointed you after discussing

5    this matter with you and for the record, I would just like

6    to state and ask you whether or not you and I have ever

7    discussed this case whatsoever.

8                MR. GLEESON:    No.   This is the first time I've

9    had the pleasure of addressing the Court.

10               THE COURT:    All right.    Thank you, counsel.

11               I have a few questions for government counsel.

12   If the Court were to deny the motion, what would the next

13   steps be?    Should the next step be to allow Mr. Flynn to

14   attempt to withdraw his plea alleging ineffective

15   assistance of counsel?

16               I recall very vividly that the parties,

17   Mr. Flynn and the government, had been working very

18   diligently to see if they could agree on what could be

19   said and what could not be said with respect to the motion

20   to dismiss -- the motion to withdraw the plea based upon

21   ineffective assistance of counsel and I really appreciated

22   their hard work.     I know they were being very diligent in

23   an effort to reach an agreement.        But what happened was

24   the government with newly-appointed counsel filed a motion

25   to dismiss and the Court never directed the previous




                                                                     67
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 68 of 196


1    attorneys to file a response to the motion to withdraw.

2                So what should the Court do?       I mean who should

3    I address these questions to?        Mr. Kohl or your colleague?

4                MR. KOHL:    Sure, Your Honor.     Yeah.   You are

5    correct.    The motion to withdraw the plea has not been

6    resolved.    Our position is, you know, we're just well

7    aware as you are, Your Honor, that under D.C. Circuit case

8    law that motions to withdraw a guilty plea prior to

9    sentencing are to be liberally granted.

10               You yourself, Your Honor, emphasized when you

11   met with Mr. Flynn the first time back in December of 2018

12   that you can't recall any incident in which the Court

13   has -- and I'm quoting your remarks -- "has ever accepted

14   a B plea of guilty from someone who maintained that he was

15   not guilty and I don't intend to start today."           It would

16   be -- I'm sure that's still true today.         I definitely

17   understand the Court's point that sentencing had started

18   to commence, but, of course, Your Honor did give Mr. Flynn

19   the opportunity to cooperate and there's been a lot of

20   litigation since then that have been separate and apart

21   from the sentencing process.

22               In this case, I just don't even know of a

23   situation where a court has taken a defendant to

24   sentencing with claiming he's innocent where he hasn't

25   been afforded a trial.




                                                                      68
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 69 of 196


1                In this case I'd also like to highlight for Your

2    Honor we did do that review of the Covington records.               I

3    know that Mr. Flynn is claiming that his plea was under

4    duress and it was imperfected by threats to prosecute his

5    son.   I did just want to highlight for the Court, I know

6    that defense counsel has placed on the record as Document

7    181, there was some indication, there was a discussion and

8    an unofficial "understanding" between the lawyers that

9    they are unlikely to charge the son in light of the

10   cooperation that Mr. Flynn had given and there was

11   specific discussion in that filing by the defense,

12   Document 181-2.

13               And I'm quoting from an email from Mr. Flynn's

14   attorney at the time that basically says the only

15   exception is the reference to Michael, Jr.          That's the

16   defendant's son.     The government took pains to not give a

17   promise to Michael T. Flynn regarding Michael, Jr. so as

18   to limit how much of a benefit it would have to disclose

19   as part of Giglio disclosures to any defendant against

20   whom Michael T. Flynn may one day testify.          That's

21   concerning if there are unofficial agreements between

22   lawyers that were not -- that the Court hasn't had the

23   opportunity to review with the defendant.

24               There was also a concern raised I know by the

25   defense that there was a conflict of interest between he




                                                                      69
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 70 of 196


1    and his prior counsel.      That wasn't actually covered by

2    Your Honor in the prior plea.

3                So these are -- I'm really not making

4    accusations on either of these things.          I'm just as an

5    officer of the court making the Court aware of them.            That

6    they are something you'd have to go over if you really are

7    not going to allow the defendant to withdraw his plea in

8    this case.

9                THE COURT:    All right.    So --

10               MR. MOOPPAN:    And, Your Honor, if I can make one

11   last legal point related to that factual point?

12               THE COURT:    Sure.

13               MR. MOOPPAN:    Which is the fact that motions to

14   withdraw guilty pleas are freely granted underscores why

15   it doesn't make sense to construe Rule 48 to apply very

16   differently.     If General Flynn has valid grounds to

17   withdraw his plea and the government does not wish to

18   prosecute this case, I think even Judge Gleeson

19   acknowledged there is at least as a practical matter no

20   real way to proceed.      There would be no prosecutor.

21               Judge Gleeson in a footnote in his reply brief

22   cited Rule 42, but Rule 42 only authorizes the appointment

23   of a prosecutor in a context of contempt.          I'm not aware

24   and I don't believe Judge Gleeson will be able to cite a

25   single instance in the history of this country where a




                                                                      70
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 71 of 196


1    federal appellate court has allowed a private prosecutor

2    to prosecute a defendant in federal court.          And so I think

3    that just underscores why Rule 48 should not be construed

4    to draw this magical line between pre and post-plea

5    especially because the right to withdraw the plea should

6    be freely granted and this Court should be making

7    decisions about whether it will allow him to withdraw his

8    plea based on the concern that otherwise the case will end

9    because we don't intend to prosecute it.

10               THE COURT:    Thank you, counsel.      Let me ask you.

11   You are looking at my list of questions here because the

12   next question would have been can the government point to

13   any case in the history of our system of justice that is

14   identical in all fours to this case where an individual

15   has on more than one occasion pled guilty under oath under

16   penalty of perjury, admitted his guilt and actually and

17   indeed proceeded to sentencing because I'm not going to

18   overlook the fact that in December of 2018, the Court

19   presided over the first sentencing hearing.          But in an

20   effort to be fair to this man, Mr. Flynn, as I am to

21   everyone, I continued sentencing to allow him to cooperate

22   to the fullest extent so he can get the complete

23   bargain -- so he could get the complete benefit of his

24   bargain with the government.

25               But is there any circuit authority or district




                                                                      71
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 72 of 196


1    court authority or any other authority anywhere that is

2    identical on all fours, closely analogous to the

3    proceeding before this Court?        I'm not aware that the

4    government has relied upon any authority in its pleadings.

5                MR. KOHL:    Your Honor, the case that I would

6    cite is closest analogous is the Matthew Lowry.           Remember

7    just four years ago we had those series of cases, they

8    were narcotics cases where it was discovered that an FBI

9    agent identified by the name of Matthew Lowry --

10               THE COURT:    How could I forget those cases?

11   Yes.   I had some of those cases.       Right.    Thank you.

12               MR. KOHL:    Yes.   And when it was discovered that

13   there was this wrongdoing and they found out --

14               THE COURT:    For the record, the alleged

15   wrongdoing was taking evidence from an evidence room that

16   consisted of controlled substances if I recall correctly

17   and for that, he was prosecuted and convicted before my

18   colleague, Judge Hogan I believe and incarcerated.           I

19   recall that case.

20               MR. KOHL:    Right.   And what was interesting

21   about that case, Your Honor, is he was tampering with

22   evidence in some cases.       We reviewed all of the cases that

23   he had involvement in and Your Honor was actually very

24   engaged in that in making sure that we did a proper review

25   of every other case in order to dismiss the indictments




                                                                      72
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 73 of 196


1    against 28 defendants.

2                Now many of those defendants had pled -- 25 of

3    them had pled guilty under oath.        They admitted their

4    responsibility and yet and some were serving sentence.

5    But we moved to dismiss all of those cases because there

6    was a higher principle at stake in that when the

7    government seeks to deprive a person of their liberty

8    (inaudible) insists that law enforcement do their jobs the

9    right way and that really has been the theme here.           That

10   law enforcement, you know, it really raises eyebrows and

11   serious concerns in terms of how this case was put

12   together and eventually charged.        So it is similar to

13   Lowry in that respect.

14               MR. MOOPPAN:    And if I could address one last

15   point on your question about precedent, Your Honor?             To

16   the best of my awareness and to the best of Judge

17   Gleeson's briefing, I do not believe that there is a

18   single appellate case in the history of this country where

19   an appellate court has upheld the denial of a Rule 48

20   motion over the opposition where the defendant agrees.

21   Not a single one on any sort of facts.         These facts or any

22   others.    It has never happened.

23               THE COURT:    All right.    I don't believe there

24   were any written opinions in Lowry.         I know I had -- I

25   presided over a few matters, a couple of matters.           I




                                                                      73
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 74 of 196


1    didn't author any opinions and I'm not sure if any of my

2    colleagues did as well.

3                And just to be clear, I don't believe that the

4    government relied upon the Lowry case in its written

5    submission.    I mean I will go back and read anything you

6    want me to read, but I don't believe there were any

7    written opinions, were there, in Lowry?

8                MR. KOHL:    I don't think there was written

9    opinions, Your Honor.

10               THE COURT:    Right.   Right.    If I recall

11   correctly, we actually engaged the United States Attorney

12   from the Eastern District of Pennsylvania I believe to

13   prosecute some matters because things became very

14   complicated.     But I don't recall that anyone wrote any

15   opinions.    But I do recall the factual bases for the

16   number of dismissals of indictments and informations and

17   pleas of guilty.

18               On what authority could the Court deny the

19   motion without prejudice?

20               MR. MOOPPAN:    So, Your Honor, we do think that

21   Article III and Article II and the Rule 48 standard all

22   require that the motion be granted and that the case be

23   dismissed.    It is true that whether it has to be dismissed

24   with or without prejudice, we don't think that there's a

25   constitutional requirement for that.         But we do think that




                                                                     74
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 75 of 196


1    in the circumstances of this case, given everything that

2    the government has discovered, we do think it would be an

3    abuse of discretion to dismiss it without prejudice.            But

4    the most important point is that whether it be dismissed

5    with or without prejudice, that it be dismissed.

6                THE COURT:    All right.    So you're not -- so just

7    to be clear, the government is not advocating for either

8    or, with or without prejudice.        Correct?    You are

9    advocating for a dismissal that's loud and clear.           I got

10   you there.    But you're not drawing a line for either with

11   or without prejudice.

12               MR. MOOPPAN:    No.   Our motion is for it to be

13   dismissed with prejudice.       If you look at the motion, that

14   is an express request and we stand by that because as I

15   said, we do think it would be an abuse of discretion in

16   the circumstances of this case to deny it without

17   prejudice -- to dismiss it without prejudice.          I was just

18   saying that as a constitutional matter, we're not saying

19   that that part, the with or without prejudice, we don't

20   think the Constitution compels that.         We do think that the

21   Constitution compels that the case be dismissed.

22               THE COURT:    All right.    Let me ask you this,

23   counsel.    During the plea colloquy before Judge Contreras,

24   Mr. Flynn also admitted his complicity in certain

25   uncharged criminal conduct.       And as part of the plea




                                                                     75
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 76 of 196


1    agreement -- and he did that under oath.          And as part of

2    the plea agreement, the government agreed not to prosecute

3    him further for the uncharged criminal conduct.

4                Recognizing that the uncharged criminal conduct

5    that he admitted he had been engaged in is related to the

6    conviction before this Court, wouldn't it be appropriate

7    to enable any future Attorney General or administration an

8    opportunity to consider whether he should be prosecuted

9    for the uncharged criminal conduct and indeed this case

10   and that counsel is in favor of any denial without

11   prejudice?

12               And let me just say one thing so the record is

13   clear.    I ask a lot of questions and if I ask a question,

14   I don't know the answer to it.        But no one should read too

15   much into any question that I ask because I'm just trying

16   to reach the right decision for the right reasons.           So

17   we're talking about dismissal with or without prejudice

18   now and I'm talking about any prejudice to any future

19   administration or future Attorney General under this

20   administration for that matter who may want to prosecute

21   for the related uncharged criminal conduct and indeed the

22   1001(a) offense.

23               MR. MOOPPAN:    So, Your Honor, my understanding

24   though I would like the confirmation from Mr. Kohl is that

25   because the FARA claim is not charged conduct, if one




                                                                       76
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 77 of 196


1    count that is charged is with or without prejudice, the

2    prejudice is only with respect to the charged offense.              So

3    that will not affect the separate FARA account which is

4    not affected by the dismissal one way or the other.

5                MR. KOHL:    Your Honor, the only thing I can add

6    to that is and I totally agree with my colleague on that.

7    I know you were presented a statement of offense in this

8    case in December of 2018.       And when you look at it, it

9    looks like there are FARA violations.

10               But one of the things that we learned in the

11   review of the Covington documents when we're looking into

12   the conflict of interest issue and again none of this was

13   ultimately resolved, but there was specific back and forth

14   negotiating the exact language in that statement of

15   offense.    And apparently, the defendant insisted on

16   removing language from the statement of offense that you

17   had where it fully admitted that there were false filings,

18   took out the operative language that he knew at the time

19   that the filings were false and of course, they were

20   prepared by his attorneys and that's something I think the

21   gravamen of the claim that there was conflict of interest

22   for those same attorneys who handled the filings

23   (inaudible) on the case.

24               But the one thing I'll add because he never

25   admitted that intent part of it, it led to real problems




                                                                     77
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 78 of 196


1    in the prosecution in the Eastern District of Virginia and

2    they couldn't use him as a witness because he actually

3    never admitted under oath that he knowingly filed a false

4    FARA filings even though they got a conviction on the

5    other business partner.       Judge Trenga seized on that same

6    problem with respect to the other business partner,

7    Mr. Rafiekian.     So some of this that you were presented

8    isn't quite what it appears.       But you're right.      The

9    dismissal of this case won't affect some future

10   prosecutor's ability to go forward on FARA if the evidence

11   actually is there.

12               THE COURT:    All right.    Thank you, counsel.         The

13   Court addressed materiality in its December 2019 opinion.

14   What's the factual and legal predicate to persuade the

15   Court to engage in that exercise again and I hasten to add

16   that the defendant never asked me to reconsider that

17   opinion whatsoever.

18               MR. MOOPPAN:    Let me address the legal part of

19   that and Mr. Kohl will address the factual part.           I think

20   a critical part of this is again this is a Rule 48 motion.

21   So we are moving to dismiss and when we move to dismiss,

22   the question in our mind is not what is the legal standard

23   of materiality for whether the evidence here will be

24   sufficient to sustain a conviction on appeal.          The

25   question is whether we, the Department of Justice, think




                                                                     78
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 79 of 196


1    this evidence is material and more to the point whether

2    we, the Department of Justice, think we should bring a

3    case.

4                And so the inquiry that was at issue in the

5    Brady analysis is just not the same issue as whether we

6    should move to dismiss.       That's compounded by the fact

7    that there are factual differences between the record at

8    the time and the record now which I'll allow Mr. Kohl to

9    elaborate on.

10               MR. KOHL:    Yes, Your Honor.     And it's such a

11   good question because, you know, going back again to the

12   December 2018 plea hearing, you'll remember you read the

13   statement of offense.      And the statement of offense is

14   pretty clear as to what the materiality is, at least

15   what's alleged.     It is that Flynn's false statements

16   impeded and otherwise had a material impact on the FBI's

17   ongoing investigation into the existence of any links or

18   coordination between individuals associated with the Trump

19   campaign unless those efforts, they interfere with the

20   election.    That's the investigation called Crossfire

21   Hurricane.

22               So you read that and Mr. Flynn pled guilty at

23   the time for sure.      This is what was represented by the

24   Special Counsel's Office to you.        And then you asked twice

25   during that hearing questions of the defense attorneys.




                                                                     79
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 80 of 196


1    You asked questions, Your Honor, really that ultimately is

2    what's led to the unraveling of this case because at that

3    hearing, Your Honor asked both counsel, "I need to know

4    answers about how he impeded the investigation and what

5    the material impact on the investigation was."           These are

6    questions, you went on to say, that you would be prepared

7    to answer anyway and as you know, how the government's

8    investigation was impeded, what was the material impact of

9    the criminality.

10               Now Mr. Gleeson would say none of those things

11   matter in a technical way in terms of meeting the elements

12   of the offense.     But you're asking those questions because

13   you wanted to gauge the seriousness of his conduct.

14   Totally appropriate.      And you might have been imagining in

15   your mind that Flynn's false statements in January of 2017

16   set back the Russian investigation, which of course was a

17   hugely important investigation.        It set back for six

18   months or something.      But what if Your Honor were to know

19   that not only did it not set back the investigation, but

20   the agents who did the interview at the time didn't view

21   it as (inaudible) Crossfire Hurricane?

22               So it's not just a matter of technically what

23   clever attorneys can argue to come up with the rationale

24   for the interview that was done of Mr. Flynn in January of

25   2017.   It's a matter of what's actually true, what's




                                                                     80
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 81 of 196


1    actually true.     And in the end, on materiality, you know

2    we were there.     We made the argument that supported your

3    Brady ruling in December of 2019 because that's what the

4    statement of offense said.

5                But once the defendant withdrew his plea, moved

6    to withdraw his plea, it causes us to look at it another

7    way.   Could we actually prove this?        Could we prove what

8    was presented to Your Honor in the statement of offense

9    back in 2018?     And what we found as we looked into it is

10   that there was a series of documents that had been

11   discovered by the Jensen review and through some other

12   searches of former special counsel files that it really

13   cast doubt that the agents even at the time thought it was

14   related to Crossfire Hurricane.

15               I put to the fact that, yes, Your Honor knew

16   about a closing E.C. where they were making attempts to

17   close the Flynn investigation, the Flynn separate

18   investigation called Crossfire Razor.         But when we looked

19   at the language in the closing E.C., it actually showed

20   that the agents themselves said he's no longer a viable

21   candidate as part of the larger Crossfire Hurricane case.

22   That's significantly at odds with what the statement of

23   offense said was the reason for the interview.

24               And what if we turned up documents, Your Honor,

25   that showed that even the Deputy Assistant Director of the




                                                                     81
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 82 of 196


1    FBI which is Peter Strzok who viewed himself as a bit of

2    an insurance policy against the Trump administration, he

3    didn't even view Crossfire Hurricane as a justification

4    for the interview.      He was scrambling.     Have you heard

5    about the Ambassador Kislyak -- the call with Ambassador

6    Kislyak?    He was scrambling to justify, you know,

7    continued investigation of the defendant under the Logan

8    Act, not Crossfire Hurricane and he was citing that -- he

9    was acknowledging in his own communications that there

10   were constitutional problems with that statute and it

11   certainly had never been according to the legislative

12   history in his own mind -- I'm quoting his language --

13   never contemplated against incoming administration

14   officials.

15               But what if there was even more?        What if the

16   case agent on the case who had been investigating Flynn

17   for months and had recommended closure?         When he learned

18   about the Kislyak interview -- this is the Bill Barnett

19   interview that we supplemented the record on just a couple

20   of weeks ago said what if the underlying conduct -- he

21   concluded -- he listened to the actual calls with Kislyak

22   and already reviewed the transcripts and it did not change

23   his view that Flynn was comprised by the Russians.           He

24   didn't see a significant issue with the call.

25               And what if when Pete Strzok was moving to go




                                                                       82
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 83 of 196


1    forward with this interview, within 24 hours of the MLAT

2    Logan Act as the justification, not Crossfire Hurricane,

3    but it gets briefed to the director of the FBI and the FBI

4    within 24 hours briefed the President of the United States

5    and notes from that meeting indicate that there is a

6    discussion of the Logan Act with Director Comey and

7    Director Comey says he references the Flynn/Kislyak case

8    and the calls and he says, yeah, there were these calls,

9    but they appear legit.      They appear legit.

10               What if on the morning of the interview, before

11   the interview of the defendant on January 24th, there's a

12   meeting with the Assistant Director of the FBI for

13   counter-intelligence and he's writing notes for himself

14   and he is ruminating about this interview, he is thinking

15   about this interview with Mr. Flynn and he writes to

16   himself, well, what's our goal?        Well, that's a red flag

17   right there if the leadership of the FBI is wondering what

18   their goal in the interview is.        And he writes true

19   admission or to get him (inaudible) so we can prosecute

20   him or get him fired.

21               Now if it's true that the Kislyak calls seemed

22   legit both to the case agent and all the way up to the

23   director of the FBI and if it didn't change their

24   impression -- that their view that Flynn was compromised

25   in some way by the Russians, then why is the FBI talking




                                                                     83
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 84 of 196


1    about doing an interview in hopes of getting someone

2    fired?    That's actually not the FBI's job.

3                And one last thing I'd say about this.         When

4    they do do the interview -- I know Mr. Gleeson is very

5    capable of arguing the rationale.        Oh, of course, it fits

6    the Crossfire Hurricane.       It says in the statement of

7    offense.    And they would want to naturally -- if he had

8    only been honest, they could have asked questions about

9    finding out who else Flynn met about the request he made

10   of Kislyak and what are the conversations that occurred

11   around that discussion with Ambassador Kislyak.

12               But if that was the purpose of the interview,

13   Your Honor, why didn't the agents actually follow up?               Why

14   didn't they actually ask those questions that Mr. Gleeson

15   has proffered for the Court?       Flynn in that interview

16   according to the FBI 302 volunteered info on other closed

17   door meetings with the Russians.        He talked about other

18   communications with the Russians.        So why not explore --

19   if Crossfire Hurricane is what it's all about and who else

20   talked to you about sanctions, why not explore those

21   issues?

22               And then let me add the agents come and they

23   meet with senior leadership at the FBI the next day and

24   there's discussion about why don't you go back and do a

25   re-interview.     And according to Acting Attorney General




                                                                       84
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 85 of 196


1    Sally Yates, the FBI all the way up to Deputy Director

2    McCabe was "pretty emphatic" that a re-interview was

3    unnecessary.     How could the interview be unnecessary if

4    the agents never asked any of the questions that

5    Mr. Gleeson is saying are so obviously in support of doing

6    the interview?

7                So, you know, in the face of all these shifting,

8    you know, rationales that we see in the paperwork in the

9    FBI, I think it's fair for us to ask the same questions

10   you would at the original plea hearing in December of

11   2018.   Did these statements really impede a genuine

12   investigation and since the agents' justification for the

13   interview are so all over the map, it's certainly fair for

14   us to say and use -- exercise our discretion that this

15   isn't a case that should be prosecuted.

16               Prosecutors in the end, in the end, we have to

17   really look at people -- we've got to make sure that the

18   evidence is there against a politically-connected

19   defendant that we go forward and charge them.          But if the

20   evidence isn't, we don't even if they're politically well

21   connected and even if there is going to be political blow

22   back.   We just tried to make the right call here.

23               THE COURT:    All right.    So just to take this a

24   step further, there is some who may arguably say that this

25   appears to be Monday morning quarterbacking.          In other




                                                                      85
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 86 of 196


1    words, the game is over, this is what we could have done

2    better and articulate some steps.        But those same people

3    would say but this is a new team of attorneys appointed by

4    a new Attorney General without any participation

5    whatsoever by the previous attorneys, the Mueller team,

6    Office of Special Counsel attorneys.         And what inferences

7    should the Court draw from that, if any?

8                And I guess the second part of that question is

9    wouldn't it have been more appropriate to file a motion

10   for reconsideration since the Court spent I mean almost a

11   hundred pages talking about there's no Brady material

12   here, there's no Giglio material the Court found,

13   everything that the defendant complains of that he hadn't

14   received, he did receive and addressing materiality and

15   falsity and there was no motion.        Wouldn't it have been

16   more appropriate to file a motion for reconsideration

17   saying, judge, you know what, we have a new team of

18   attorneys take a look at this and we have a new theory

19   here?   And why should I -- why should the Court allow that

20   new theory to persuade the Court that it's appropriate

21   with the fair administration of justice that this plea

22   agreement should be allowed to be dismissed with prejudice

23   for all those reasons?

24               MR. KOHL:    Your Honor, I know it seems like such

25   a reversal in our position because it's from December




                                                                     86
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 87 of 196


1    where we were supporting the Court's Brady order, right,

2    until dismissal in May.       But that is as we say partly

3    because the defense had moved to withdraw and that caused

4    us to take a second look at what's -- you know, do we have

5    the evidence to prove this case?        And we were operating

6    under the assumption that the Court would follow its

7    normal course and say I've never gone forward on a case

8    where a defendant claiming his innocence and I didn't go

9    forward with a plea under those circumstances.

10               But with that said, once we didn't -- and of

11   course, independently the Attorney General had ordered an

12   investigation after the three Office of Inspector General

13   findings had knocked out all of our witnesses in this

14   case.   If we went forward and that was problematic, it

15   really wouldn't be appropriate for us to move to seek

16   reconsideration because we're not disputing we have a

17   Brady obligation to turn over this information.

18               So as the information became known, actually we

19   became so convinced and troubled by the inability -- the

20   evidence just wasn't matching up with what was said in the

21   statement of offense.      And once we discovered that and we

22   decided this case is done and we decided to move to

23   dismiss.

24               The last thing I'd say that's just so alarming

25   that I just hope -- I mean I really want to persuade the




                                                                     87
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 88 of 196


1    Court because I don't want the Court to think we acted

2    with political motive.

3                As we continued to do this review, even since we

4    filed the motion to dismiss, what we found was analysts as

5    they are talking -- this is in the Crossfire Hurricane

6    case.   As they're talking about the process that they're

7    issuing on this very defendant, right, they're talking

8    about how there's a lack of predicate and they are

9    expressing concern that this is a nightmare.          We're asking

10   for Flynn's records under national security for which

11   there is no -- it's not a logical investigative step.

12   There's notes -- there's messages among the analysts that

13   people who are scrambling for info to support certain

14   things and it's a mad house.

15               At one point they are expressing relief that

16   they are finally shutting down the Michael Flynn case, the

17   Razor investigation and they are so glad they're closing

18   Razor and yet, they continue to move forward making these

19   requests for information that has no logical basis.

20               And in the end, of course, what's most troubling

21   is -- Court's indulgence.

22               THE COURT:    Sure.

23               MR. KOHL:    Court's indulgence.      Is the fact that

24   the case agent who's there the whole time, Bill Barnett,

25   is coming forward and saying that he did not see any




                                                                     88
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 89 of 196


1    predicate for this interview under Crossfire Hurricane.

2    In the end, he didn't see -- he didn't raise any alarm

3    bells and he told the Special Counsel's Office that there

4    was nothing there with respect to Flynn.

5                So I do need to emphasize when you say a whole

6    team of new lawyers, we're not Monday morning

7    quarterbacking.     We're just dealing with the evidence that

8    we are saddled with right now and the reality is all of

9    this stuff has become known in the last several months

10   including the views of the case agent in terms of the

11   motivations and how the investigation was conducted by the

12   SCO.    We're not really taking sides.       We are just saying

13   we never -- Your Honor would never expect us to go forward

14   on evidence like this to prosecute a guy who's claiming

15   he's innocent.

16               And I do want you to remember Jocelyn Ballantine

17   has been on his case, you know, since last summer.           She

18   has been on each of the pleadings defending this motion to

19   dismiss.    She was on the pleadings in the Court of

20   Appeals.    So there's not -- you know, she defended as

21   well.   These are career people that are defending this

22   decision, Your Honor.      In the end even if there were

23   conversations, I can't speak to anything about other

24   communications.     I'm telling you as a career lawyer this

25   case should be dismissed.




                                                                     89
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 90 of 196


1                THE COURT:    All right.    I wasn't casting any

2    aspersions on any individual attorneys, counsel.           I have a

3    high regard for all the attorneys and you know that.            And

4    I forgot to welcome you to the three-decade club.           Since

5    we're talking about the three-decade club, you'll recall

6    that the Ted Stevens case, the Court dismissed that matter

7    with prejudice on the government's motion to dismiss.               I

8    don't recall whether Eric moved to dismiss with prejudice

9    or not.    I just don't recall.      I think he did.

10               But the most compelling reason then was because

11   there was a ton of Brady -- as you know, there was a ton

12   of Brady material that was not turned over that was

13   intentionally withheld and this was after trial, after the

14   man had maintained his innocence and he testified.           But

15   the defendant was deprived of an opportunity to use that

16   evidence during cross-examination or examination of

17   witnesses.

18               That's not what we have here.       We don't have a

19   Ted Stevens re-do here.

20               MR. KOHL:    No.

21               THE COURT:    Right?   That's not what we're

22   talking about here.      In terms of --

23               MR. KOHL:    I mean I don't view it like that

24   because, you know, we inherited this case 16 months after

25   the negotiated plea had occurred.        Right?    And that's when




                                                                     90
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 91 of 196


1    our U.S. Attorney's Office in D.C. got involved.           So and

2    we inherited -- the guy had already pled guilty twice and

3    the defendant was still standing by his plea.          You had

4    checked with him as to whether he still wanted to stand by

5    his plea.

6                So in that context, the demands for discovery

7    and even Brady is limited solely to matters of sentencing

8    at that point.     I think in the end, it was really our own

9    review that was triggered by the motion to withdraw and

10   the concerns that were raised by the OIG with respect to

11   our -- all of our witnesses in the case and to take a hard

12   look at the evidence.      I think we've done -- we've tried

13   to do the right thing and disclosed things as soon as we

14   got them.

15               THE COURT:    All right.    And that's all I'm

16   trying to do.     The Court is trying to do the right thing

17   for the right reasons and that's why I'm asking all these

18   questions.

19               Either you or your colleague mentioned Peter

20   Stzrok.    You know what, there was a flurry of filings

21   yesterday.    I read the letter from -- that was posted from

22   Strzok's attorney.      I haven't read everything else, but I

23   will.   But in light of the letter from the attorney for

24   Peter Strzok, can the government counsel certify that all

25   emails and interlineations have been shown to all




                                                                      91
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 92 of 196


1    declarants for the purposes of authenticating what's been

2    represented to me as true and accurate?         Because I tell

3    you, quite frankly, I was floored when I saw the letter

4    from the attorney that there were alleged alterations in

5    an email.

6                MR. KOHL:    Not that we are aware of, Your Honor.

7    I certainly want to respond specifically, but I'd have to

8    see that specific pleading.       I'm sorry that I didn't see

9    that.

10               THE COURT:    All right.    And I'll give you a

11   chance to respond.      I think, you know, any responses I

12   think a week is going to be a good time.          But the question

13   is whether or not someone, some government attorney can

14   certify that all emails and interlineations that have been

15   attached and appended to motions to dismiss, et cetera,

16   have been shown to the declarants to authenticate because

17   it was very unsettling to see the letter from the attorney

18   for Mr. Strzok telling me that, you know, there appeared

19   to be alterations by other people other than Mr. Strzok.

20   So I'll just leave it at that.        But I need a certification

21   from someone at some point.

22               Counsel, Mr. Kohl, you made reference to

23   politics not being the motivating factor here.           Should the

24   Court take into consideration the numerous statements by

25   the President on Twitter feed and for the record I




                                                                     92
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 93 of 196


1    wouldn't know how to put anything on Twitter if my life

2    depended on it.     But there are a number of statements

3    attributed to the President criticizing the prosecution of

4    Mr. Flynn.    So that's the question.       Should the Court take

5    those into consideration and if so, for the weight or for

6    whatever reason?

7                MR. MOOPPAN:    So, Judge Sullivan, as you know,

8    the communication between the Attorney General and the

9    President are privileged and deliberative.          But I have

10   consulted with the Attorney General about this and I am

11   authorized to represent to you that the Attorney General's

12   decisions in these cases were not based on communications

13   with the President or the White House and they weren't

14   based on any of the tweets or the sort of things that

15   you're referencing.

16               But I would further note as I think Your Honor

17   actually just averted to, most of those tweets, they say

18   things like they think that General Flynn is being

19   railroaded.    It's not even clear what he said is false.

20   None of those things even meet Judge Gleeson's own

21   standard.    That's not favoritism.      That's a view about

22   whether this is a just prosecution or an unjust

23   prosecution.     So even if you were to consider them, which

24   we don't think you should, they don't even meet Judge

25   Gleeson's own standard.




                                                                      93
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 94 of 196


1                THE COURT:    Well, putting aside Judge Gleeson's,

2    you know, who will certainly speak for himself, but

3    putting aside Judge Gleeson's view, I mean these

4    statements are in the public domain.

5                So the question is what weight, if any, should

6    the Court give these statements by the President of the

7    United States, the chief executive officer?

8                MR. MOOPPAN:    So I'll say two things.       The

9    decision here is a decision made by the Department of

10   Justice.    The Attorney General's decision wasn't based on

11   the President's statement.       So I don't think you should

12   give it weight because it's not actually the basis of the

13   decision.    But if you were to consider it, I think it

14   would just only underscore the propriety of this dismissal

15   because you have as you said the chief executive of the

16   United States agrees obviously with the decision and is

17   agreeing for reasons that are not impermissible.           They are

18   based on views of whether this is a just prosecution.

19               THE COURT:    All right.    I haven't researched

20   that issue recently about Twitter feeds.          I'm sure that

21   there are courts across the country writing on the

22   propriety of what weight, if any, to give to tweets.            So

23   within that same week, if you have some authority you'd

24   like to bring to the Court's attention, please do so

25   because there are a number of tweets associated with




                                                                     94
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 95 of 196


1    comments allegedly made by the President and I would like

2    to know what weight, if any, should the Court give to

3    those or should the Court just merely disregard them.               So

4    I welcome any additional input you may have in that

5    regard, counsel.

6                MR. KOHL:    Your Honor?

7                THE COURT:    Yes.

8                MR. KOHL:    Just one more point.      I think the

9    Attorney General himself said that all of the tweets make

10   his job harder.     It makes our job harder, too, because it

11   seems that he looks at the tweets and draw correlations

12   that just aren't really true and that's why I think the

13   further we get away from the facts, the further we get

14   away from what we've learned in this case, you know, the

15   easier it is to speculate to all kinds of things.

16               I'm telling you both of us that have looked at

17   the evidence, I was there with Jocelyn Ballantine as we I

18   think in the last several months, we've actually looked at

19   the files, the former files in the Special Counsel's

20   Office, notes from people from DOJ and found many of these

21   documents.    That's what drove this decision ultimately was

22   a decision that in the end, what was told to the Court in

23   the statement of offense, we just couldn't prove in terms

24   of actual evidence.

25               THE COURT:    All right.    How should the Court




                                                                      95
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 96 of 196


1    factor into its decision making the undisputed fact that

2    not one attorney from the Special Counsel's Office signed

3    onto the motion to dismiss?       I recognize Ms. Ballantine as

4    you said has -- she's with the U.S. Attorney's Office if I

5    understand correctly.      What inferences if any are to be

6    draw from that, the fact that no SCO attorney signed on to

7    the motion to dismiss and Mr. Van Grack withdrew shortly

8    before it was filed?      I have no understanding why --

9    rather than guess, I'll just ask the question if it can be

10   answered.

11               MR. MOOPPAN:    So that, Your Honor, I don't think

12   is a matter that you should give any weight.          There's no

13   question here that the motion reflects the considered

14   decision of the Executive Branch.        It is signed by the

15   U.S. Attorney.     It's been defended by the Inspector

16   General.    It is approved by the Attorney General.         Even if

17   you had concerns about whether it reflects improper

18   authorization, the career lawyers in the U.S. Attorney's

19   Office, the most senior lawyer in that office as well as

20   the career lawyer who has been on the case virtually the

21   entire time are all on it.       Why any individual lawyer is

22   or is not on it is a matter of internal (inaudible).            That

23   is the sort of separation powers term that the Seventh

24   Circuit in the 2005 case that we've cited in our briefs

25   said that how the United States Attorney's Office




                                                                     96
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 97 of 196


1    structures its affairs is the matter for the Attorney

2    General and the President.       It is not a matter of the

3    courts and in that case the Court actually granted

4    mandamus when motions about (inaudible) were raised.

5                THE COURT:    All right.    Thank you, counsel.         Why

6    should the Court consider Fokker binding?          Fokker was the

7    deferred prosecution agreement case.         Why should the Court

8    consider Fokker binding in this case, but not Ammidown?

9                MR. MOOPPAN:    Well, Your Honor, I guess I'd say

10   two things about that.      First, Fokker did expressly

11   discuss Rule 48 as part of its analysis and it had the

12   sentence that I talked to you about earlier and I'll read

13   it again, which is that the leave of court authority from

14   Rule 48 it gives no power to a district court to deny a

15   prosecutor's Rule 48 motion to dismiss charges based on a

16   disagreement with the prosecution's exercise of

17   (inaudible).     That was an essential element of the

18   reasoning of Fokker which remember, Fokker reversed the

19   district court for second guessing the prosecutor.

20   Ammidown did the opposite.       Ammidown also --

21               THE COURT:    Well, wait a minute.      Before we

22   leave Fokker, Fokker was a deferred prosecution agreement

23   case when my colleague refused to accept the deferred

24   prosecution agreement.

25               The language you just referred to, wasn't that




                                                                     97
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 98 of 196


1    merely dicta in the Fokker opinion?

2                MR. MOOPPAN:    No, Your Honor.     It was an

3    essential aspect of the reasoning.         The Supreme Court has

4    made clear in cases like Seminole Tribe that the holding

5    of the cases, not just based on the facts, but it's based

6    on the essential legal reasoning.        Seminole Tribe is one

7    of the leading cases for that proposition, Your Honor.

8    And the legal reasoning of Fokker relied heavily on Rule

9    48.   This isn't some stray sentence in Fokker.          There's a

10   whole section of the opinion that talks about Rule 48 and

11   how the limits on Rule 48 are what I just read to you and

12   why those likewise apply under the deferred prosecution

13   agreement context.

14               Ammidown though is the exact opposite.         In

15   Ammidown, there, too, the Court of Appeals, actually much

16   like in Fokker reversed the district court and said the

17   district court had gone too far.        The language that Judge

18   Gleeson has relied on, that really is dicta because that

19   was talking about situations where maybe you could deny a

20   motion.    But that wasn't presented in the case and the

21   court didn't actually affirm a district court verdict

22   denying a motion.      In fact as I discussed earlier, no

23   appellate court ever in the history of this country has

24   affirmed a substantive denial of an unopposed Rule 48

25   motion and of course, Ammidown was decided in 1973.             The




                                                                      98
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 99 of 196


1    very next year, 1974, the Supreme Court in the Nixon

2    decision said the Executive Branch has the exclusive

3    authority and absolute discretion whether to prosecute a

4    case.   Absolute discretion.      That is simply irreconcilable

5    with any standard that says you can deny the motion

6    because of favoritism or pretext or anything else.

7                THE COURT:    All right.    I recognize the

8    government disagrees with Mr. Gleeson's recitation of the

9    history of Rule 48(a).      The question though is don't the

10   two opinions, Fokker and Rinaldi, leave open the

11   possibility that courts may review Rule 48(a) motions for

12   reasons other than prosecutorial abuse?

13               MR. MOOPPAN:    Your Honor, so I don't actually

14   disagree with Judge Gleeson's description of the history

15   of Rule 48.    I disagree with the inference he draws from

16   that history.     It is true that there are evidence that the

17   drafters of Rule 48 were worried about a specific type of

18   prosecutorial abuse.      Namely, rogue individual prosecutors

19   doing things that were on a frolicking detour.           Whether

20   it's a U.S. Attorney out in Montana who gives a break to,

21   you know, a prominent person out there or an individual

22   prosecutor who is bribed or an individual prosecutor who

23   just wants to take a vacation.

24               None of that, none of that, there is no history

25   that suggests when the Executive Branch as a whole makes




                                                                     99
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 100 of 196


1     an authoritative decision when the Attorney General of the

2     United States has decided that a case should end

3     (inaudible) that a court can disregard that and

4     (inaudible) the case continue.       There's no history of

5     that.   There's no case that's ever done it.

6                THE COURT:     All right.    All right.    Thank you.

7     I want to shift gears, counsel.        I'm going to focus on

8     Mr. Gleeson.    He's been very patient.       I see he's walking

9     around now at his desk.      I don't want him to be impatient.

10    So I'm going to give him some time.

11               Mr. Gleeson, good afternoon, sir.         On what

12    authority could the Court deny the motion without

13    prejudice?

14               MR. GLEESON:     Your Honor, you have discretion to

15    do that.   It's certainly an oddity in one of the many

16    distinctive, unusual, really unprecedented, although you

17    know the Ted Stevens case certainly better than I do.           But

18    when the government makes a motion under Rule 48(a) to

19    dismiss a case, the default relief is always dismissal

20    without prejudice.     I think you can canvass government

21    motions to dismiss and you will -- you're not going to

22    find one with the possible exception of the Ted Stevens

23    case you mentioned earlier where they seek to have a

24    dismissal with prejudice.      So it's one of the many.        And,

25    judge, I'm going to answer your questions.           But I have a




                                                                     100
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 101 of 196


1     lot to say and if I don't say so myself, it really needs

2     to be said and I hope you give me an opportunity later.

3                 But on this point, the off the rack, the full

4     rule is a Rule 48 motion is when it's granted, it's

5     granted without prejudice.       Here the government has asked

6     for more.    It's in keeping with the fact that the

7     government has kind of erected an entire different set of

8     legal rules and factual concerns solely for the case

9     against Michael Flynn.      But from my perspective as amicus,

10    I think, you know, the academic question as to whether the

11    without prejudice off the rack default relief ought to be

12    granted here is entirely that.       It's without prejudice.

13                I will say this.     You know, there is (inaudible)

14    who pointed out there's the FARA case.         There's also

15    multiple false statements.       You know, the conversations

16    with Kizlyak, there were two separate sets of

17    conversation.    The 22nd and 23rd of December involving the

18    Russia's position on the Israeli settlements and the U.N.

19    resolution there and then the conversations on the 29th

20    and the 31st regarding the President Obama's sanctions and

21    the requested Russian response to those.         Those are

22    separate units of prosecution.       So it's not as though

23    there's not plenty at stake.       There is plenty at stake.

24    If the government's motion were to be granted pursuant to

25    the typical rule and as this Court knows, I have asked --




                                                                    101
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 102 of 196


1     I have suggested to this Court in connection with the

2     potential perjury prosecution, you should treat this case

3     like you treat any other.      There's a lot of heat, not much

4     light.    A lot of -- a blizzard of things that I'd like to

5     address a little bit later.        But it's a federal criminal

6     case in a federal courtroom.       It should be treated like

7     any other.

8                So in that regard, if you grant the motion, the

9     motion should be granted without prejudice, but I don't

10    really feel like I as amicus have a dog in that race.

11               THE COURT:     All right.    Let me ask you this.

12    You've not recommended that the Court preside over an

13    evidentiary hearing.      Am I correct in saying then that --

14    actually, I don't want to speak for you.         You have not

15    made that request.     And what's the principal reason for

16    that?    Is the record sufficient to enable the Court to

17    rule as a matter of law?

18               MR. GLEESON:     Yes.   You don't need one because

19    part of your job under Ammidown which was not overruled

20    sub silencio by Fokker.      I'll get to that later if the

21    Court will allow me to.      But part of your job is to ask

22    for the reasons and the factual basis for the reasons.

23    And they have to be the real reasons.         And these reasons

24    are so patently pretextual that the government feels the

25    need to keep coming up with more of them.         Sometimes in




                                                                    102
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 103 of 196


1     another setting, it might be the need to have a factual

2     hearing to determine pretext, but here it jumps off the

3     record in the case.

4                THE COURT:     If the Court were to deny,

5     Mr. Gleeson, the government's motion, would the next

6     logical step be to address the motion to withdraw --

7                MR. GLEESON:     Yes.

8                THE COURT:     -- the guilty plea?     All right.

9                MR. GLEESON:     And that motion is -- sorry to

10    interrupt, judge.     Go ahead.

11               THE COURT:     No, no, no.    You go right ahead.

12    No.

13               MR. GLEESON:     I'd like to address that because I

14    just heard -- I can't believe some of the things I'm

15    hearing and I'll tell you, judge, you don't know me.           I'm

16    not prone to hyperbole.      I can't believe some of the

17    things I'm hearing.     Of course, it's the case that this

18    Court would never accept a guilty plea from someone who

19    claims that he's innocent.       Of course, that's the case.

20    That's not what's happened here.

21               What's happened here is this defendant knowingly

22    and voluntarily and in the face of evidence that proves

23    his guilt every which way pled guilty not once, but twice.

24    And people who don't hang around federal courtrooms don't

25    really get just how important it is to enter a plea of




                                                                     103
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 104 of 196


1     guilty.   They don't get the formalities required by Rule

2     11.   They don't get the solemnity of a guilty plea

3     proceeding in federal court.       And those things are -- all

4     of that happens for a reason.

5                People can't plead guilty and then show up for

6     sentencing as this defendant did on December 18, 2018 and

7     see how the wind is blowing, hear the Court say -- not for

8     nothing -- I'm from Brooklyn -- not for nothing, but this

9     crime was committed in the West Wing.         And get a feel for

10    how the wind is blowing and then say whoa, I have a change

11    of heart and seek to withdraw a guilty plea that was

12    entered and accepted twice.       You didn't appoint me to

13    argue against the motion to withdraw the plea.          But that

14    motion has no merit.

15               THE COURT:     All right.    What about the tweets?

16    You've devoted a lot of time and effort to bring it to the

17    Court's attention these tweets attributed -- allegedly

18    attributed to the President.       What weight, if any, should

19    the Court give to that material?

20               MR. GLEESON:     You should give a lot of weight to

21    that material.     And if I could address that briefly?        You

22    know, your job, judge, on the second prong of our motion,

23    you know, we've told you that we've advocated that you

24    deny this motion to dismiss the case and one reason is you

25    have to get the right reasons, the real reasons and you




                                                                    104
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 105 of 196


1     haven't.

2                But a second and completely independent

3     (inaudible) for our motion -- for our opposition to the

4     motion rather is that the -- it's a gross abuse of

5     prosecutorial discretion.      And in that regard, there's a

6     couple of buckets of clear evidence in the record which is

7     why you don't need a hearing.       One happens to be all the

8     pretexts that keep coming over the transom.          Honest to

9     goodness, I feel like taking a break and looking at the

10    docket sheet to see if another supplemental submission has

11    been made with yet another reason because when we point

12    out the hollowness of materiality or an inability to prove

13    falsity when a defendant has pled guilty as many times as

14    this defendant.     You know, we've proved the pretextual

15    nature of the ostensible reasons advanced and you just get

16    some additional reasons and I want to come back to that

17    later if I can.

18               But the second ground -- the first bucket of

19    evidence is exactly that.      Judge, you're familiar with

20    criminal cases and the notion of consciousness of guilt.

21    You know, the fact that you get so much pretext is a basis

22    for you to draw the inference that there's a real reason

23    that's not legitimate that they don't want to share with

24    you.

25               And these tweets are the second bucket.          The




                                                                    105
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 106 of 196


1     actions of the President and the statements of the

2     Attorney General himself constitute more direct evidence

3     that, man, that's a friend in high places, the highest

4     possible place who wants DOJ to scuttle this case.           And if

5     I can just touch briefly on some of this evidence.           Flynn

6     is an early advisor.      I'm going to get to the tweets in a

7     second, although I promise you there are more than a

8     hundred tweets and re-tweets by the President of the

9     United States about this case.       I promise you I'm not

10    going to go through all of them.

11               Flynn is an early advisor, a crucial, political

12    ally to the President during the last presidential

13    election campaign.     From the outset of the case in tweets

14    and in the media, the President has engaged in a running

15    public commentary about it through media and on Twitter.

16    We've learned here today he's consulting with defense

17    counsel.   He's closely following the proceedings.          He's

18    personally vested in ensuring that this prosecution ends

19    and he has a deep animosity toward those who investigated

20    and prosecuted Flynn before the about-face happened in the

21    Justice Department.

22               As I say, there's literally hundreds of tweets

23    and re-tweets, but let me just highlight a couple.           On

24    March 31, 2017, the President tweeted that the

25    investigation that gave rise to a charge to which this




                                                                    106
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 107 of 196


1     defendant admitted guilt was a witch hunt of historic

2     proportion.

3                In a June (inaudible) 2018 interview, the

4     President weighted into the facts.        Maybe he didn't lie,

5     the President said.     Even though by then, Flynn had

6     admitted his guilt in writing under penalty of perjury and

7     under oath in open court before one of your colleagues.

8                The next month the President wrote it's a shame

9     that the FBI didn't think he was lying.         A false and also

10    a legally irrelevant trope that later appeared in the

11    government's own papers.

12               When Flynn came into your courtroom for

13    sentencing on December 18, 2018, the President tweeted

14    good luck.    And in March of this year, he tweeted that he

15    was strongly considering a full pardon for Flynn.

16               Then in late April about a week before the

17    government filed this instant motion to dismiss this case,

18    the President's remarks got uglier.        He called the case a

19    scam.   Said Flynn had been tormented and persecuted by

20    dirty, filthy cops at the top of the FBI as well as

21    certain news outlets.

22               He also advanced another false narrative that

23    the government's adopted in its motion to dismiss that the

24    agents were trying to force Flynn into a position where

25    they could get him to lie.       They went to Flynn's office




                                                                    107
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 108 of 196


1     with the express intention of nudging him into tell -- of

2     reminding him of the very words he used in his

3     conversations with Kislyak.       At one point, Flynn said to

4     them, hey, good reminder.      So this notion that they're --

5     putting aside the fact that there's no other case in

6     America where DOJ suggested some kind of defense to a

7     false statements case, let alone a reason to dismiss one,

8     that the person is put in a position where the FBI knows

9     he will lie and they want him to lie, that's not even what

10    happened here.

11               And, judge, you know, these case-specific

12    communications by President Trump were made against a

13    backdrop of an open disdain on his part for the

14    independence from the Justice Department.         Every

15    president's case since Watergate has respected the need

16    for DOJ independence, FBI independence from the president.

17    But not this President.      In an interview with the New York

18    Times in December of 2017, he said -- he has "the absolute

19    right to do what I want to do with the Justice

20    Department."

21               The Attorney General himself said publicly just

22    seven months ago that the President's public statements

23    and tweets about pending cases "make it impossible to do

24    his job," meaning the Attorney General's job.          And "to

25    assure the courts and the prosecutors in the department




                                                                    108
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 109 of 196


1     that we're doing our work with integrity."         As this Court

2     showed about an hour ago.

3                Some things are so important they bear

4     repetition and this is one.       This is the Attorney General

5     of the United States who said in an interview with ABC

6     News, an exclusive interview with ABC News, February 13,

7     2020.   That the President's public statements and tweets

8     have made it impossible for the department to assure

9     courts like you that they're doing their job with

10    integrity.

11               We pointed this out.      The government doesn't

12    disagree with any of this.       It can't.    He didn't even

13    mention the President's personal lobbying for Flynn or his

14    usual ad hominem attacks on those that were previously

15    involved in the prosecution.       Quoting the Attorney

16    General's own admission that the President's interference

17    with the work of the Justice Department has made it

18    impossible to assure courts that DOJ is doing its work

19    with integrity.

20               So based entirely on evidence that's already in

21    the public view, really the only coherent explanation for

22    the government's exceedingly irregular motion creating

23    standards of materiality that they fight in every other

24    case, but they apply to the President's friend, the only

25    inference you can draw is that the Justice Department has




                                                                     109
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 110 of 196


1     done exactly what the Attorney General said was the danger

2     of these tweets, which is a yield to the President's

3     pressure.

4                 THE COURT:    All right.    I have a number of other

5     questions, Mr. Gleeson, government counsel and Ms. Powell.

6     I know everyone wants to supplement the record.          I know

7     that you've been preparing for the argument.          So let me

8     just afford each attorney an opportunity to place on the

9     record any argument that he or she had prepared to make.

10                The government -- I asked a lot of questions of

11    the government that focused on Ammidown, Fokker, that

12    touched on Rinaldi.      So I'll ask Mr. Gleeson to address

13    the -- how the Court should be persuaded by Ammidown,

14    Fokker and Rinaldi and also to address whether or not

15    Fokker is binding here and any other principal argument

16    that he would like to place on the record.

17                Then I'm going to give Ms. Powell an

18    opportunity.    I think I have three or four questions to

19    ask her and I'll give her an opportunity to supplement her

20    part of the record with any argument she wants to make as

21    well and then I'll give the government a chance to -- the

22    government is the moving party in this case.          I'll give

23    the government a chance to close with whatever additional

24    argument the government attorneys wish to make.

25                Mr. Gleeson?




                                                                    110
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 111 of 196


1                MR. GLEESON:     Yes.   Thank you, judge.     You know,

2     and I've been thinking in light of your recitation of the

3     parties' arguments and the questions you've already posed

4     to counsel and I've been working and truncating my

5     arguments to the Court appropriately.         And I think what

6     I'll do is begin and obviously, the Court has shown its

7     ability to ask questions.      To ask them.     So obviously, I'm

8     willing to answer any of your questions.         But I think it's

9     useful as a level setting matter to begin to focus on

10    Ammidown and Fokker with the government's argument about

11    separation of powers and there was a telling piece of one

12    of the comments made by government counsel earlier.

13               Now their argument about your authority to deny

14    this motion, an authority that appears in the text of Rule

15    48(a).   Offending the separation of power doesn't work at

16    all and it doesn't work because it's blind to the context

17    in which this Court is acting.       It's absolutely true,

18    Judge Sullivan, that the executive has a power that is

19    unreviewable at least in a court of law not to bring

20    charges, criminal charges at all.        And it's also true that

21    the President has a power that's reviewable only in the

22    court of public opinion to pardon or grant sentencing.

23    But neither of those situations creates any risk of

24    targeting the integrity of your branch, of the third

25    branch of government.




                                                                    111
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 112 of 196


1                 This case is different because the government

2     chose to lodge a criminal case in your Article III court.

3     Now let me hasten to add that doesn't mean that the

4     executive's primacy when it comes to charging decisions go

5     away because it brought the charges.        It doesn't mean

6     that.   That primacy doesn't go away.       Decisions to dismiss

7     pending criminal charges also lies squarely in the

8     prosecutor's discretion.

9                 And I concede this and I think it's an essential

10    part of our tripartite in our system of government.           The

11    government is entitled to a strong presumption of

12    regularity when it makes a motion to dismiss.          But both

13    Ammidown and Fokker, separation of powers principles are

14    not offended when a court is faced with clear evidence

15    that prosecutors have failed to perform their duties in

16    good faith.    There is deference to be accorded to the

17    executive.    But it's (inaudible) deference.        It's a

18    presumption of regularity.       But it's not a presumption

19    that can't be rebutted.      And the evidence that prosecutors

20    are acting in bad faith, that they are abusing their power

21    pierces the presumption of regularity and this Court is

22    free to deny (inaudible) under Rule 48 to vindicate

23    fundamental judicial interests and related public

24    interest.

25                I embrace Fokker.     I don't have to run from




                                                                    112
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 113 of 196


1     Fokker.   There's no sense in which Fokker recites Ammidown

2     approvingly overruled.      Fokker is -- you understand it

3     correctly, of course, Your Honor.        Fokker is -- it is

4     dicta.    The case involves as, you know, a deferred

5     prosecution agreement and the exclusion of time under the

6     Speedy Trial Act.     And there's language in there including

7     the language read by my adversary.        That relates to the

8     executive's primacy.      But the case cites Ammidown

9     approvingly.    It makes clear that if there's clear

10    evidence that the prosecutor is acting inappropriately,

11    the presumption of regularity disappears.         This court said

12    in Ammidown, the requirement of judicial approval entitles

13    the court to obtain and evaluate the prosecutor's

14    decisions.    And Fokker left that untouched.        It's dicta.

15    Leaves it untouched.      There's other parts of the opinion

16    that have been read to you.       I suggest respectfully you

17    read Fokker as a whole.      The one thing it adds and again I

18    embrace it is an emphasis on the executive's primacy in

19    determining not only whether to charge, but in determining

20    whether to dismiss a charge once brought.

21               The one fundamental difference that Fokker does

22    not to do anything to eviscerate is (inaudible) to

23    unqualified power and choose not to charge.

24               And, you know, I think it is important to

25    address the history of Rule 48.       It's (inaudible) to my




                                                                    113
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 114 of 196


1     mind unfairly denigrated by my adversary a minute ago.

2     It's an important part of my argument, judge, and I think

3     the important part is your understanding of what the legal

4     core language means to see where it came from.          We know

5     where it came from.

6                Back in the 1920's there was a federal tax

7     collector out in Missoula, Montana.        His name was Franklin

8     Woody.   He's indicted on an embezzlement charge.         But he

9     wasn't an ordinary defendant just like this case.

10               His grandfather was Missoula's first mayor and

11    later a judge.     His dad was a friend of the governor.         The

12    first tell in that case was a warrant issued, but the

13    marshal claimed that he couldn't find Woody.          Then the

14    government moved to dismiss the case and because at that

15    time, its power to do so was unreviewable, it said out

16    loud that one of its reasons was the defendant was from a

17    prominent family and it added that the government didn't

18    want to spoil his future career as a lawyer.

19               This made the district judge extremely uneasy.

20    He said what the government was doing -- by the way, the

21    district judge said nothing about a rogue prosecutor or

22    this is not the official position of the Department of

23    Justice.   I encourage you to read that opinion.         It's at 2

24    F.2nd. 262 (District of Montana) 1924.

25               What the district judge actually said is that




                                                                    114
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 115 of 196


1     what the government was doing fueled the common criticism

2     that "the criminal law is for none but poor, friendless

3     and influential."     Few things are more pernicious, that

4     judge went on to say, than the disparate treatment of

5     defendants who have friends in high places.          And he

6     mentioned specifically how it harmed the court side.           No

7     leave of court was necessary.       So he couldn't prevent it.

8     He went on to complain about the fact that the law didn't

9     even require the prosecutor to give a reason for the

10    dismissal.    But because he had to, he reluctantly granted

11    the motion, but good for him.       He wrote that opinion.      He

12    followed the law, but wrote the opinion complaining about

13    it and that's one of the way the law changes, Judge

14    Sullivan.    Others made similar complaints.

15                And then in 1941, the Supreme Court appointed an

16    advisory committee to create Rules of Criminal Procedure.

17    The committee's initial proposed rule dealt only with one

18    of the problems that that judge mentioned.         It required

19    that prosecutors only offer a statement of reasons for the

20    dismissal.    The Supreme Court sent it back with a

21    suggestion.    Cited a case that said that the court reviews

22    errors of law even when the government contests it's

23    error.   So it sent it back with a suggestion to give a

24    rule to the judges in policing the dismissal of criminal

25    charges.    But the advisory committee didn't get the hint.




                                                                    115
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 116 of 196


1     It sent back a final rule that still only required a

2     statement of reasons.      So the Supreme Court itself rewrote

3     the rule.    Put the leave of court requirement in it.         That

4     language that is at the heart of today's dispute.

5                 So the government's claim that the language

6     exists just to allow judges to protect criminal defendants

7     from prosecutorial harassment is not just counter-textual.

8     You can't find that text in the rule, of course.          And it's

9     not only lacking in historical support, but the history of

10    this rule, this leave of court language flatly refutes it.

11    The reason this language was put into the rule was

12    precisely to empower courts in the rare case, admittedly

13    in the rare case like the one presented before you today

14    in which prosecutors have abused their discretion to have

15    abused their really enormous power to dismiss a case, it's

16    a, you know, not for nothing, but this hasn't happened in

17    the -- well, no more than half a century since Rule 48(a)

18    was promulgated.

19                But so the executive has that unreviewable power

20    before they come into your courtroom.         They have the

21    unreviewable power on the back end.        You know, if the

22    executive wants to take Michael Flynn off the hook, he can

23    pardon him.    But if he does that, it doesn't inextricably

24    bind up this Court, this judge in the unseemly desire to

25    scuttle a case simply because the defendant is a friend




                                                                    116
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 117 of 196


1     and ally of the President of the United States.

2                Sorry, judge.     To the extent I'm fumbling with

3     my papers, the good news is I'm streamlining the argument

4     in light of what's already come before us.

5                THE COURT:     No, no.   That's fine.     Take your

6     time, counsel.

7                MR. GLEESON:     Thank you.    The requirement that

8     the government explain its reason which is the direction

9     that Ammidown gives to this Court is critical.          If it were

10    allowed to hide behind an opaque claim that dismissal is

11    in the public interest --

12               THE COURT:     Mr. Gleeson, I'm sorry.      If I

13    overlook the court reporter, she'll leave the courtroom.

14    So we are going to have to take a 15-minute recess.           I

15    have to keep peace with everyone in the courtroom.            I'm

16    sorry if I overlooked the court reporter.         She is the most

17    important person in the courtroom, I can tell you that.

18    We'll take a 15-minute recess.

19               (Recess.)

20               THE COURT:     All right, Mr. Gleeson.      Let me just

21    say something to everyone.       We started early, but we've

22    had a couple of recesses.      Everyone's pleadings have been

23    excellent and this is a motion that the defendant doesn't

24    oppose.    So I'm going to give Mr. Gleeson a few more

25    minutes.   Maybe you can talk about discretion.         Where does




                                                                     117
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 118 of 196


1     it start?    Where does it end?     I mean I have some

2     discretion.    I think the government concedes I have some

3     discretion.    But I'll let Mr. Kohl and his colleague

4     address that.

5                 But it's late in the day.      A lot of my questions

6     have been answered.      And the pleadings address the other

7     questions I have.     But let me just give Mr. Gleeson a few

8     more minutes and then I'll hear from Ms. Powell.          I just

9     have four questions to ask her and I'll give her a chance

10    to without being repetitive make any additional brief

11    arguments she wishes to make.

12                Mr. Gleeson?

13                MR. GLEESON:    Yes, judge.    You know, I was going

14    to say if I take another 15 minutes, I think I've

15    shortened my remarks by more than 15 minutes.

16                THE COURT:    Great.   That's fine.    And, you know,

17    originally when we started because there were so many

18    issues in this case and because everyone had done an

19    absolutely excellent job of wrestling with those issues, I

20    thought I might save a lot of time by focusing on the

21    Court's understanding because if I'm wrong about

22    something, then I want someone to tell me that I'm wrong.

23    So I don't regret having done that.

24                I think I've got a really good grasp of the

25    issues in the case and I understand everyone's position




                                                                    118
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 119 of 196


1     and I know that counsel have prepared for your moot court

2     proceedings to make presentations and I don't want to

3     deprive you of that opportunity.        So go right ahead,

4     Mr. Gleeson.

5                MR. GLEESON:     Okay.   I hear you, judge.

6                When we broke I was about to emphasize how

7     critical it is that the government explained its reasons.

8     And I don't mean to not answer directly the question that

9     you posed for me.     I do want to come back to some

10    discussion of the government's ostensible reasons --

11               THE COURT:     Sure.

12               MR. GLEESON:     -- for dismissing the case.

13               But when it comes to your discretion, one of the

14    ways I found to track and to characterize your authority

15    under Rule 48 is what was said by the Fifth Circuit in the

16    Cowan case that's cited in our briefs which says that what

17    Rule 48 did was give district judges the power to check

18    (inaudible) and that's really what this is.          You know, you

19    have authority because (inaudible) judicial branch not to

20    be -- not to become an instrument, not to feel the same

21    queasiness that judge felt 93 years ago in Montana where

22    you become an instrument of unseemly bad faith and

23    misconduct by the government --

24               THE CLERK:     Excuse me, Mr. Gleeson.      This is

25    Mark Coates.    Parties, can you do me a favor and mute your




                                                                    119
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 120 of 196


1     phones and your audio devices when you're not speaking?

2     Thank you very much.

3                 MR. GLEESON:    Okay.   You know, and so the heart

4     of the reason you have the discretion is notwithstanding

5     the primacy of the Executive Branch when it comes to the

6     determination to dismiss the case.        It's a qualified right

7     and it's qualified because when it does so in

8     circumstances like the one presented before you, Judge

9     Sullivan, it erodes people's confidence in the judicial

10    branch to see you become an instrument of this kind of

11    behavior.

12                The reason for the requirement that the

13    government not only state reasons, but provide factual

14    basis for their reasons is because if they were able to

15    hide behind an opaque claim that dismissal is in the

16    public interest, it would defeat the purpose of the leave

17    of court requirement.      I mean the incantation alone would

18    send you right back to the rubber stamp days that the

19    Supreme Court decided judges would no longer have to live

20    in and it would deprive you of the opportunity, the

21    obligation that Ammidown gives to you and Fokker doesn't

22    touch to defer to the government's stated reasons, but not

23    defer blindly and examine them.

24                So, you know, when the power was unchecked as

25    the Cowan court says this is a power, checked power, when




                                                                    120
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 121 of 196


1     it was unchecked, the prosecutor if she chose to or he

2     chose to could say to the judge squirm all you want about

3     being the instrument of our unseemly conduct, but just

4     grant the motion because you have to because the defendant

5     has a friend in a high place.

6                But Rule 48 changed that.       And now so the --

7     obviously, the incentive to act on pretext in unseemly

8     circumstances like that was created by Rule 48 itself.

9                Now what I want to do is turn to exactly what's

10    happening here and, judge, I'd like you to give me -- it's

11    not that long.

12               THE COURT:     Sure.

13               MR. GLEESON:     I would like to walk through the

14    stated basis for this motion as made and then I'm just

15    going to talk briefly about the stones to which the

16    government has jumped mid-stream I think because the

17    stated bases hold no water at all and then I'll sum up

18    very briefly.

19               Let me start with materiality.        The

20    government -- to back up, Flynn was interviewed by the FBI

21    and it was conducting an investigation, judge, into

22    possible coordination between Trump campaign officials and

23    the Russian government.      Flynn was a campaign advisor.          He

24    had traveled to and business ties with Russia and just a

25    month earlier, a month prior to this interview in which he




                                                                    121
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 122 of 196


1     made his false statements, he had inappropriate back

2     channel requests that he made of the Russian ambassador.

3                When the FBI repeatedly asked him about those

4     communications, he lied.      That is -- I'm a former

5     prosecutor.    You've been around the courtroom a long time.

6     That's about as straightforward a case of materiality as

7     this Court will ever see.

8                Under the actual law, not the standards the

9     government has put forward just for Michael Flynn, the

10    test is objective.     The false statements are material if

11    it has a natural tendency to influence or is capable of

12    influencing either a discreet decision or other function

13    of the agency to -- you look -- and I've curtailed this

14    quite a bit, Your Honor, since your summary.          You look at

15    the qualities of a false statement and ask whether they

16    are capable of affecting the general function of the

17    agency -- that the agency is performing.         Flynn's lies not

18    only potentially affected, it actually affected according

19    to the government itself in prior iterations in this case

20    in the course of the FBI's investigation.         Earlier

21    submissions by the government stated they were "absolutely

22    material" because they prevented the FBI from learning why

23    his communications with Kislyak occurred.         They raised

24    questions about why the defendant would lie to the FBI

25    about those communications and fundamentally influenced




                                                                    122
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 123 of 196


1     the FBI's investigated activity going forward.

2                The government itself said that and the Court

3     agreed with it in your ruling back last December.           And how

4     could you not?     To put this very succinctly and very

5     bluntly, pursuant to an active investigation into whether

6     Trump campaign officials coordinated activities with the

7     government of Russia, one of those officials lied to the

8     FBI about coordinating activities with the government of

9     Russia.

10               The conclusions the government has engaged in to

11    contradict its own filings are not pretty.         When was the

12    last time, Judge Sullivan, you had a case where the DOJ

13    took the position that a lack of predication for an

14    investigation mattered even in the slightest in a false

15    statements case, let alone warranted dismissal of the

16    case?   For one thing, the premise is simply false.

17    Predication is never a prerequisite for the FBI to conduct

18    the kind of voluntary interview that happened in this

19    case.   But even if it were, I bet you've heard -- I did

20    when I was in your position.       I bet you've heard what I'm

21    about to say hundreds of times from the mouths of

22    prosecutors.    A violation of the internal guidelines never

23    gives rise to any rights on the part of the defendant.              We

24    pointed that out in writing and the government's silence

25    in that respect is deafening.       It's jettisoned any




                                                                    123
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 124 of 196


1     reliance.    And what it previously characterized to you as

2     a critical predication threshold formed the backbone of

3     the original motion.      A red flag for pretext.

4                 The government also relies on a draft memo that

5     would have closed Crossfire Razor, the Flynn specific

6     investigation under the Crossfire Hurricane umbrella.

7     Because of Flynn's subsequent crimes, the Crossfire Razor

8     was not closed.     But honestly, judge, whoever heard of

9     such a memo mattering even to a defendant, let alone to

10    the government, let alone becoming a basis for dismissing

11    a case after the defendant has twice pled guilty?

12                And since when does it matter that the -- sorry.

13    Since when does it matter that (inaudible) point in the

14    investigation the FBI classified the investigation as

15    criminal or counter-intelligence?        All of these

16    administrative things, meaningless administrative things.

17    If it weren't such a blow to the rule of law, the

18    government's odd disclosure of them, these administrative

19    tidbits and acting like they were some kind of smoking gun

20    would be laughable.     They never come up in any other case.

21    Materiality is not complicated.

22                The Supreme Court says in the Gordon case what

23    statement was made, what decision was the agency trying to

24    make and how in general could the former affect the

25    latter.   The answer to each of these questions is so clear




                                                                    124
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 125 of 196


1     and entirely unaffected by the irrelevant arguments made

2     by the government.

3                One last thing about materiality and it's the

4     most troubling is they've been adopted just to help this

5     one defendant.     Suppose you had another defendant in

6     another false statement case stand in your courtroom and

7     demand disclosure of whether the agency at one point

8     thought about closing the investigation or demanded

9     production of the facts in which the investigation was

10    predicated or demanded to know what the investigating

11    agents subjectively believed at different points in time

12    about whether the defendant was telling the truth.            Even

13    if a defendant hadn't twice already pled guilty, judge,

14    the government would laugh at those demands.          And I

15    respectfully submit that this Court which has

16    distinguished itself in a positive way is perhaps the most

17    demanding judge in the country when it comes to

18    disclosures by the government would deny those requests.

19               The government has also manufactured a

20    materiality standard just for Michael Flynn.          He says in

21    his motion that a statement is material if it's reasonably

22    likely to influence the tribunal in making a determination

23    required to be made.      And it italicizes those last four

24    words.   Citing a 74-year-old case that's no longer good

25    law.   And the response to our brief, it says the




                                                                     125
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 126 of 196


1     prosecution was brought on the theory that Flynn's oral

2     statements had a material impact on the FBI's ongoing

3     investigation.     Those are not standards for materiality

4     anywhere else.     And I guarantee you in every other

5     courtroom in America where a defendant asks for that

6     standard to be given to the jury, the government will

7     fight tooth and nail to keep it from happening.          But

8     that's the standard that they drag out from Michael

9     Flynn's case.

10               And, judge, I don't mean to suggest for a minute

11    that these false statements don't -- all of the

12    statements.    Even the government's.      That's not my point.

13    My point is not that the defendant-friendly standards

14    would actually make a difference in this case.          But rather

15    that the government's willingness to try to sell them here

16    when you know and I know that they'll oppose them

17    elsewhere says so much about what this motion is really

18    about.

19               The government says that the interviewers went

20    to the White House -- I covered this before -- they went

21    to the White House with the intention to help Michael

22    Flynn because he didn't remember his false statements.

23    They were going to nudge him and they did nudge him.

24               The government previously told this Court that

25    Flynn's false statements went to the heart of Crossfire




                                                                     126
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 127 of 196


1     Hurricane, which was alone sufficient to establish

2     materiality and then when he pled guilty, he admitted his

3     lies materially impacted the FBI's investigation.

4                There's no rational view of the law of

5     materiality pursuant to which Flynn's false statements can

6     be reasonably described as immaterial.         When he turns to

7     falsity briefly as a fall back, the government says it

8     can't even prove that Flynn lied and, judge, this is not

9     an argument that can be taken seriously.         First of all, it

10    doesn't have to prove Flynn lied.        He's pled guilty and,

11    you know, one of the questions I'm going to suggest that

12    this Court asks the government when it speaks again is

13    just what it really means that every time someone pleads

14    guilty and then they come into court for sentencing and it

15    looks like things might not go well, then they ask for

16    their plea back, the government is going to agree to it.

17    I don't think so.     That's not how the government works.

18    That is not how the law works.

19               But worse than that is the government has

20    painted itself into an impossible corner on this.           Flynn

21    repeatedly admitted he lied.       He did it in his

22    debriefings.    He did it under oath before you.        He did it

23    under oath before Judge Contreras.        He did it subject to

24    penalty of perjury the night before he pled guilty before

25    Judge Contreras when he adopted the statement of reasons.




                                                                    127
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 128 of 196


1     And now he says wait, those admissions weren't true.           They

2     were coerced by a threat to prosecute my son.          But the

3     government's position is he's lying about that.          It denies

4     that happened.     So why can't it use his own admission?

5                There's no answer in the government's papers.

6     This is what happens.      We point out they scratch the

7     surface a tiny bit.     We point out how completely and

8     utterly hollow the government's ostensible reasons are and

9     they abandon them and find some others.         There's no

10    answer.   And so there's no answer to the question of

11    whether under the terms of his cooperation agreement, they

12    can use his own admissions.       They say they can't prove his

13    guilt if he goes to trial.       But they can use his

14    admissions and we know that because we can read.

15               Paragraph 11 of the cooperation agreement allows

16    the government to use those guilty pleas, those statements

17    that he made during his debriefing whenever he wants

18    because Flynn breached the agreement by committing perjury

19    which even the government itself admits.

20               In any case, forget the admissions, judge.

21    Flynn's case is plain.      There's a reason he pled guilty

22    and cooperated with the government and it's because his

23    guilt could hardly be easier to prove.         We know what he

24    said to Kislyak and we know what he said to the FBI.           He

25    lied when he denied or denied recalling requests he




                                                                    128
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 129 of 196


1     personally made of the Russian ambassador.         The government

2     says it's going to be hard to prove because he lied --

3     it's going to be hard to prove he lied because he quote --

4     this is government speaking -- "he offered either

5     equivocal or indirect responses or claimed not to remember

6     the matter in question."      That's false.     Flynn also told

7     outright lies.

8                But let me just spend a moment because it places

9     in such stark (inaudible) the pretext that this assertion

10    actually is.    Let me spend a moment on Flynn's claimed

11    failures of recollection during the interview.          He was

12    asked if he encouraged Kislyak not to escalate the

13    situation in the wake of President Obama's sanctions and

14    to keep the Russian response reciprocal.         Flynn responded

15    "I don't remember."     The government says it would be hard

16    to prove that was false.

17               And, judge, here's the problem with this flurry,

18    this blizzard of things the government and Ms. Powell

19    says.   Just think about that one dot for a second, that

20    one data point it would be hard to prove that he actually

21    remembered.    He was the national security advisor.         He

22    forgot within less than a month having personally asked

23    for a favor from the Russian ambassador during the

24    transition period, a favor that is sought to undermine the

25    policy of the sitting President and he forgot doing that




                                                                    129
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 130 of 196


1     even though he had lied to the Vice President-elect about

2     that exact request less than two weeks earlier and the

3     incoming chief of staff and the incoming press secretary,

4     all of whom themselves misled the American public and

5     repeated lies publicly.      Does the government really think

6     it couldn't win that case?       Of course, it doesn't.

7                And, judge, I want to say this.        You know, this

8     isn't easy for any of us.      Not easy for me.      It's our

9     Department of Justice, too.       But the sad fact is you have

10    to conclude that a worry about proving Michael Flynn's

11    guilt had literally nothing to do with why this motion was

12    made.    There's no other inference you can draw from these

13    facts.    So the government half-heartedly throws in some

14    other lame arguments.      It says they are inconsistent FBI

15    records concerning the interview meaning -- you know

16    this -- the agent's notes and the 302's and there's

17    nothing remotely unusual about there being things in the

18    notes that are not in the 302 and vice versus.          There's

19    nothing unusual as you well know about statements being

20    testified to at trial that are not in either the notes or

21    the 302's.

22               The government says that the FBI agents were not

23    actually deceived by Flynn's false statements even while

24    conceding this was legally irrelevant.         Nothing about the

25    falsity of Flynn's statements is difficult to prove.




                                                                      130
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 131 of 196


1     Nothing has changed since the government itself said that

2     to the Court.    Said that the evidence was consistent and

3     clear that the defendant made false multiple statements to

4     the agents.    The reasons stated in the original motion

5     were obviously pretextual.       And the government and Flynn

6     have been scrambling ever since we filed our brief to find

7     better ones.

8                Judge, I have to bring up the issue of agent

9     bias not because it's new necessarily, although there's a

10    new addition to it in the most recent filing to come over

11    the transom in the courthouse.       It's been lurking around

12    the case for years since a couple of FBI agents were

13    dismissed.    It was disclosed years ago when Flynn

14    reaffirmed his guilty plea, but it keeps coming up.           And

15    the government says unconvincingly in part of the briefing

16    that agent bias would impair its ability to prove Flynn's

17    guilt and it surfaces again in this brand new submission

18    that just arrived where the interview of another agent,

19    this William Barrett says that people in the Special

20    Counsel's Office had to get Trump.

21               It's not clear to me -- and maybe the government

22    will illuminate this when it speaks -- what role the

23    government wants this to play in the Court's mind, this

24    agent bias to play in this motion?        But I think the Court

25    ought to put it up on the table and poke it around a




                                                                    131
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 132 of 196


1     little bit with the government.       And let me be clear,

2     judge, I have no objection to criminal defendants

3     obtaining relief when they are subjected to bias by law

4     enforcement.    Make no mistake about it if that's what the

5     government is suggesting here, it's an astonished

6     about-face.    In every other case involving allegations,

7     but demonstrated irrefutable bias, federal prosecutors not

8     only don't seek to dismiss the case, they give the

9     defendant's arguments the back of the hand.          That review

10    of the agents means nothing they'll say.         Focus on the

11    evidence whether it objectively establishes guilt.           Maybe

12    if we put the agent on the stand, you can cross him or

13    her.   Although they always fight that, too, and often win.

14    But as long as the offending agents don't testify, bias on

15    part of the investigators is irrelevant.

16               Judge, there's not an experienced defense lawyer

17    in America that hasn't run across bias on the part of the

18    law enforcement agents, not because there's any greater

19    incidence of it in law enforcement.        That's not my point.

20    Police officers and agents are people just like the rest

21    of us and they are immune from the explicit and implicit

22    fallacies that are baked into our society.         But I ask you

23    to ask the government on rebuttal whether if it wants you

24    to grant this motion based in part on the political bias

25    of agents and prosecutors, what about other cases in which




                                                                    132
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 133 of 196


1     defendants can demonstrate such bias or even worse,

2     invidious unconstitutional bias?        Those based on race or

3     religion or ethnicity.      Will you dismiss those cases as

4     well even if the defendant doesn't have friends in high

5     places?

6                Among the newest reasons that the government has

7     served up -- it's intriguing, too, it's been referred to

8     already today -- is this impressive sounding claim that

9     dismissal would be in the interest of justice.          It talks

10    about enforcement priority and policy assessments.

11    Without telling us what the policies are and what the

12    assessments are, it says these policy assessments are

13    quintessentially unreviewable.       But again it doesn't say

14    what they are.     And it turns out when you -- to the extent

15    there is any light to shed on what the underlying facts

16    are, they rely on the circumstances surrounding Flynn's

17    interview which are exactly the same legally irrelevant

18    facts it relies on for materiality and falsity.

19               And, judge, if you accept the government's

20    argument that from the highest ranks of the Justice

21    Department, we assure you we've done this in the interest

22    of justice so therefore, you must grant this motion, you

23    have become the rubber stamp the Supreme Court decided to

24    eliminate when it rewrote the proposed Rule 48 that was

25    submitted by the advisory committee and inserted the leave




                                                                    133
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 134 of 196


1     of court requirement.

2                 This hasn't ended.     The government keeps

3     advancing reasons why it should dismiss.         You heard some

4     new ones today.     You have this new interview of Agent

5     Barrett.    Judge, that interview happened last week, months

6     after the government made its motion to dismiss.          And

7     Agent Barrett believes that Flynn lied.         And opposing this

8     motion which I'm proud to do at the Court's request has

9     become a game of Whack-A-Mole.       And the most bizarre

10    process I witnessed the government continues to honor

11    utterly inconsequential administrative and investigative

12    tidbits.    It launders them through this weird

13    investigation being conducted out of the Eastern District

14    of Missouri and then up they pop onto your docket as the

15    supplemental reason why you should dismiss this case.

16    It's sad.    It's ridiculous and it's sad because it's our

17    Justice Department, too.

18                Let me -- and subject to the Court's questions,

19    let me just say a couple of things and then I'll sit down.

20    We agree that whenever the government moves to dismiss a

21    pending criminal case, whether it's opposed or unopposed,

22    it's entitled to substantial deference.         We, too, take

23    seriously the take care clause in our Article II, Section

24    3 of the Constitution and the substantial power invested

25    in the executive.     The power not to prosecute at all as




                                                                      134
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 135 of 196


1     I've mentioned is absolute.       But once a prosecution has

2     commenced, once a government brings a criminal charge by

3     indictment or information into your courtroom, the power

4     to dismiss it is qualified.       You are not only entitled,

5     but you're obligated to demand the reasons and evaluate

6     the reasons and though you must presume them to be the

7     real reasons, you are not required to act like you were

8     born yesterday.

9                The Supreme Court in 1941 put an end to those

10    days where judges had to hold their noses and grant these

11    motions and become inextricably bound up in conduct.           That

12    smacks of impropriety like the conduct that's happening in

13    this case.    There's a completely legit role to what the

14    Executive Branch wants to accomplish here.         One that won't

15    erode the public's confidence in your branch, the third

16    branch.   They should take that role.       We will do it this

17    way.   Don't attack your own filings in this case because

18    the President wants Flynn off the hook and doesn't want to

19    use the pardon power to do it.       There's no overstating how

20    damaging it is to the court, to the judiciary of which

21    this Court is a part and to the department itself.           For

22    the department to create a brand new set of rules for

23    Michael Flynn, ones that will never apply to anyone else

24    and then to tell a federal judge to apply those rules and

25    dismiss the case and that just happened in a nation




                                                                    135
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 136 of 196


1     committed to the rule of law.       And, Judge Sullivan, you

2     should not allow that to happen here.          Unless the court

3     has any questions, I'll sit down.

4                THE COURT:     Mr. Gleeson, thank you very much.

5     And I appreciate your services in this case.          Thank you.

6                I'm going to give -- I'm going to afford Ms.

7     Powell an opportunity.      She's been very patient for the

8     last couple of hours to speak.       She's not a moving party

9     in this case on behalf of Mr. Flynn.        I'm going to accept

10    as true that she joins in the government's motion for all

11    the reasons articulated by the government.          I have a few

12    questions to ask her and then I'll give her an opportunity

13    to briefly put anything on the record she wants to.           But I

14    do not want her to be repetitious of what the government

15    has already said.

16               I can't see you, Ms. Powell.        I assume you're

17    still here there.     Are you?

18               MS. POWELL:     Yes, I am here, Your Honor.

19               THE COURT:     Okay.   All right.    That's great.

20    I'm sorry you had to wait so long.        Let me ask you this.

21    Why did Mr. Flynn plead guilty twice under oath?

22               MS. POWELL:     Well, first of all, Your Honor, he

23    had counsel that was hopelessly conflicted.          They had an

24    unconsentable conflict of interest and could not engage in

25    effective assistance of counsel under that conflict.           He




                                                                    136
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 137 of 196


1     was not advised of all the evidence accurately that even

2     the government what little bit it had disclosed before the

3     plea.

4                 And the first plea was invalid as a matter of

5     law before Judge Contreras because he was -- he should

6     have been recused then.      The government knew.      It held

7     text messages evidencing his relationship with Peter

8     Strzok, the lead FBI agent on the case that required his

9     recusal within a few days later and once a judge is

10    recused under the D.C. Circuit's decision in Al Nashiri,

11    nothing he did thereafter can be given any credit or use.

12    So everything that Judge Contreras did under Al Nashiri

13    has to be stricken and/or is void.        So there was never a

14    valid guilty plea in the first place.

15                When this Court proceeded to sentencing on or to

16    schedule a sentencing hearing on December 12th, which

17    reminds me there had never been a sentencing.          It did not

18    commence.    The Court shifted instead to do a plea

19    colloquy, an extended plea colloquy of which General Flynn

20    was not informed before the proceeding and his counsel

21    which the docket showed that we have filed coached him

22    only to if the Court offered him an opportunity to

23    withdraw his plea to say no to that.        It would only be

24    giving him rope to hang himself.

25                He had not had the opportunity then to consult




                                                                    137
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 138 of 196


1     with independent counsel.      It was some months later before

2     that happened.     As soon as he did --

3                THE COURT:     Well, let me just stop you there.

4     During the course of that hearing before me, I bent over

5     backwards as I always do to be fair to everyone who comes

6     before me.

7                And when the question came up about his

8     attorneys back pedaling from acceptance of responsibility

9     or what appeared to be back pedaling and that provoked the

10    discussion about, look, you know, no one is forcing you to

11    go through with this, if you want another attorney to

12    discuss this, I'll appoint an attorney for you at no

13    expense to you.

14               And I also had -- knowing that I was going to

15    ask those questions, I also had available a conference

16    room for him to speak with his then current attorneys

17    about that and I took a recess.

18               So there was an offer made by the Court to

19    appoint an outstanding lawyer to speak with him about

20    going forward and then I think his response to that after

21    talking with his attorneys and after thinking about it was

22    that he appreciated it, but he denied the opportunity to

23    have independent counsel.      So it wasn't as if he wasn't

24    afforded an opportunity to speak with someone else.

25    Anyway, go ahead.




                                                                    138
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 139 of 196


1                MS. POWELL:     Well, there was no independent

2     counsel for him there at that time and he was completely

3     blind-sided by the entire proceedings as were his own

4     counsel who had told him only to say no if the Court

5     offered him any opportunity to withdraw his plea.           They

6     were still laboring under a non-consentable conflict of

7     interest because they themselves had done the FARA filing

8     and documents we have filed from their own files show that

9     they knew there were problems with the FARA filing that

10    were created by the government itself in its allegations

11    and by their own files.      That the statements came from an

12    Eric Fox, the Eric Fox firm and from the accounting

13    records, not attributable to Mr. Flynn at all.

14               But they had the issue of being conflicted by

15    their underlying work on the FARA filing.         It was a choice

16    of either, you know, we admit that we screwed up here or

17    point out that this is wrong or Flynn goes ahead with the

18    plea and they pushed him through with the plea.          There's

19    no dispute about that.      It really cannot be contested.

20               THE COURT:     Let me ask you this.

21               MS. POWELL:     That was not a valid Rule 11

22    proceeding either because this Court did not do a full

23    Rule 11 colloquy.     It didn't ask about coercion.       It

24    didn't elicit anything that would have shown that the

25    government knew about the conflict of interest and had




                                                                     139
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 140 of 196


1     discussed it with defense counsel.        So the Court wasn't

2     informed by the conflict and the court wasn't informed

3     about the coercion of General Flynn by threats to indict

4     his son and how the following day giving him the Manafort

5     treatment that was so notorious at the time.          And the fact

6     that the government was hiding that from the Court because

7     Mr. Van Grack wanted to avoid any Giglio obligation in the

8     future.

9                I mean this Court six years ago when the Stevens

10    case came about was outraged over government misconduct

11    and hiding Brady.     The government here didn't even give us

12    the right names of the agents who had written the notes

13    for 18 months.     Yet, the Court voiced no concern about

14    that while it's concerned about a couple of days on

15    Strzok's handwritten notes.

16               There are Brady violations all over this case

17    and rampant evidence of government misconduct in the words

18    of the own agents who talk about partisan axes to grind by

19    people in the White House the day of or before the

20    President Obama himself and Biden met with Sally Yates and

21    James Comey when Comey told them the phone calls were

22    legitimate that Flynn had made with Ambassador Kislyak

23    because they had the transcripts of them and knew there

24    was no problem with them whatsoever.        Yet, President Obama

25    in a politically corrupt investigation and prosecution




                                                                    140
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 141 of 196


1     sent Comey out to make sure he put the right people on it

2     and continued the investigation despite the fact every

3     lead showed that General Flynn was an extraordinary

4     person.   There was no derogatory information on him

5     whatsoever from any source.       They had investigated him for

6     six months by then, put out national security letters on

7     him and everything else.

8                And by the way, that investigation didn't even

9     ramp up until after the election despite the fact the

10    insurance text they discussed in McCabe's office on

11    August 15th led to the opening of the file against General

12    Flynn the very next day and then sending Agent Pientka,

13    the other agent who interviewed him into a trusted

14    presidential daily briefing to spy on General Flynn and

15    President-elect Trump or nominee Trump at the time to

16    collect information on him and assess his mannerisms in

17    the event they needed to interview him later.          And that

18    information was not disclosed to us until Inspector

19    General's report of December 2018 after this Court had

20    already issued its ruling on denying the Brady evidence.

21               So extraordinary Brady evidence has come to

22    light since this Court's original Brady order that shows

23    this --

24               THE COURT:     Let me stop you for a second.       I

25    want you to be very precise.       Since the Court's ruling,




                                                                    141
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 142 of 196


1     what is the very precise Brady material that has been

2     produced since the Court's ruling?

3                 MS. POWELL:    Well, there's the report of the

4     Inspector General that shows that Mr. Pientka was sent

5     into a presidential daily briefing to spy on nominee Trump

6     and General Flynn to collect information on Flynn's net

7     briefing.    That Christopher Wray himself found so

8     egregious the FBI has completely stopped that policy and

9     the Office of National Intelligence has said that they're

10    not even going to allow the FBI to participate in any more

11    briefings like that.      It was such an egregious abuse of

12    trust.   We didn't know that.

13                We have more evidence now that Agent Pientka and

14    Agent Strzok knew General Flynn was telling the truth when

15    he talked with them.      That he was forthcoming.      He told

16    them about a meeting with the Russians that they did not

17    even know he had.

18                We know that Agent Barnett has said there was

19    nothing but exculpatory information with respect to

20    General Flynn.     There was no derogatory information at

21    all.   We have the new national security letters list that

22    shows how many MSL's were sent out on General Flynn even

23    while he was in the White House, none of which produced

24    any derogatory information.       They ran every kind of trap,

25    wire, lead, anything you want to talk about and there was




                                                                    142
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 143 of 196


1     no derogatory information on General Flynn.

2                Yet, because the meeting with Obama and Biden

3     and Sally Yates and James Comey in the White House on

4     January 5th, Comey went back out despite saying the calls

5     were legitimate and instituted a politically corrupt

6     procedure as evidenced by the agents' own words and notes

7     now.   They all knew it to get General Flynn and thereby,

8     get President Trump.      And the mantle that Mr. Gleeson and

9     this Court have picked up since then is the mantle to

10    continue a political prosecution of General Flynn that has

11    no justification whatsoever in fact or law.          It is a

12    hideous abuse of power that continues to this very minute

13    and only in other countries have any of us ever seen this

14    happen.

15               THE COURT:     Have you or any other attorney on

16    behalf of Mr. Flynn filed a -- first of all, let me just

17    say I was unaware of any reasons why Judge Contreras

18    recused.   I've never had a conversation with him about

19    recusal.   I have no idea why he recused and I never wanted

20    to discuss with him why he recused.        Has anyone filed a

21    motion to vacate the plea of guilty before him for the

22    reasons you've articulated today?

23               MS. POWELL:     It's one of the reasons we filed

24    the motion to withdraw the plea.        We've argued this

25    repeatedly.    That Contreras had to have been recused




                                                                     143
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 144 of 196


1     because of the Strzok text messages that talk about

2     meeting him at a cocktail party and discussing the case

3     and him being on the FISA court and all of that.          We've

4     provided those to the Court as part of our request to

5     withdraw the guilty plea and I believe we even briefed it

6     in our mandamus petition as one of the reasons the guilty

7     plea is void.    Both guilty pleas.      Neither one of them is

8     valid.   The first because Judge Contreras had to have been

9     recused and the second because this Court did not do a

10    full plea colloquy and General Flynn still was not

11    represented by counsel who had -- could be dedicated to

12    his --

13               THE COURT:     When he was before me, he was under

14    oath and he swore under oath that he was guilty because he

15    was guilty and asked for forgiveness.         In what situations

16    are you arguing that the Court may review a Rule 48(a)

17    motion if at all?

18               MS. POWELL:     A consented to Rule 48(a) motion,

19    Your Honor, and the Court is required to grant.          The

20    government has given more than substantial reasons to

21    withdraw it.    Nixon says it's within their sole discretion

22    to decide who, what and when to prosecute.         This Court,

23    for example, in its own decision in Pitts recognized that

24    a dismissal has to be with prejudice.         Otherwise, there is

25    a potential for harassment against the defendant.           And the




                                                                     144
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 145 of 196


1     fact that this Court and Mr. Gleeson wouldn't even

2     consider waiting for a new Attorney General or a new

3     administration simply highlights the political nature of

4     this continued prosecution.

5                 THE COURT:    I'm not going to get into any

6     discussion about Pitts.      I authored that opinion, but it

7     speaks for itself.     The facts were significantly different

8     than the facts in this case and they cried out for a

9     dismissal with prejudice and the government chose not to

10    appeal.

11                MS. POWELL:    To fail to dismiss this case with

12    prejudice would trigger the same concerns of Rinaldi and

13    Pitts.    That the defendant be subjected to continued

14    harassment except this time it would be by the Court and

15    Mr. Gleeson, his special prosecutor, as opposed to the

16    government who has absolutely clearly and unequivocally

17    said it --

18                THE COURT:    Well, I've not appointed Mr. Gleeson

19    as special prosecutor and don't intend to appoint him or

20    anyone else as special prosecutor.        He's appointed as

21    amicus.   And again and if you want to argue that, there's

22    no basis.    You can file something within a week or so.

23                You argue also that the Court may not look in

24    your words "behind the motives or into the reasoning of

25    the executive."     How then is the Court to determine any




                                                                    145
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 146 of 196


1     motives?   What's the extent of what the Court can look at?

2                MS. POWELL:     It can look at the face of the

3     pleadings by the government, the at least 80 or more pages

4     of documents.    I think we're up to about 150 pages of new

5     evidence now that shows that the investigation itself was

6     the corruption.     That it was part of the essential coup to

7     take out President Trump and the goal was to get Flynn

8     first and then get Trump.      That's evident from

9     Mr. Barnett's 302 as well as the text messages and link

10    messages of many of the agents.

11               THE COURT:     All right.    Is there anything else

12    you want to put on the record?       I don't have any other

13    questions to ask you.      Any other points you wish to make

14    that are not repetitive of what the government has already

15    made?

16               MS. POWELL:     We have provided the new

17    information to the Court as it was given to us by the

18    government.    This Court's own decision in Pitts requires

19    it to be dismissed with prejudice.

20               In closing, I would just say that Mr. Gleeson

21    continues to be lost down the rabbit hole on the other

22    side of the looking glass where nothing would be what it

23    is because everything would be what it isn't and

24    contrary-wise what is, it wouldn't be and what it wouldn't

25    be, it would.    It's all backwards.      It's upside down.




                                                                    146
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 147 of 196


1                In a different scenario, he himself wrote "the

2     prosecutor can do justice by the simple act of going back

3     into court and agreeing that justice should be done.           The

4     importance of the Department of Justice being able to

5     self-correct, to maintain its own reputation and to

6     restore faith of the public in the Department of Justice

7     itself is hugely important."       As Mr. Gleeson wrote then,

8     "doing justice can be much harder, it takes time and

9     involves work including careful consideration for the

10    circumstances of particular crimes, defendants and victims

11    and often the relevant events that occurred in the distant

12    past.   It requires a willingness to make hard decisions

13    including some that will be criticized."

14               That is exactly what Attorney General Barr has

15    done here.    The President's tweets are a red herring as is

16    the letter from Peter Strzok's lawyer, all of which are

17    extrajudicial and should not be considered by this Court

18    at all.

19               In the case in which Mr. Gleeson discussed, he

20    said as Assistant U.S. Attorney had to retrieve and

21    examine an old case file.      He requested an adjournment so

22    his office could do this extremely important work of

23    reviewing it.    The effort that went into deciding whether

24    to agree to vacate two counts against the defendant could

25    have been devoted to other cases.        This is a significant




                                                                    147
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 148 of 196


1     case and not just for the defendant.        It demonstrates the

2     difference between a department of prosecutions and a

3     Department of Justice.      It shows how the Department of

4     Justice as the government's representatives in every

5     federal case has the power to walk into courtrooms and ask

6     judges to remedy injustices.

7                This is the most egregious injustice I have seen

8     in my 30-plus years of practice and the government is

9     (inaudible) that if we rectify it and that this Court

10    dismiss this case with prejudice is the standard here.

11               THE COURT:     All right.    Thank you.    I want to

12    extend the courtesy to Mr. Kohl and his partner, law

13    partner.   Mr. Kohl, any additional comments you wish to

14    make in the record?

15               MR. MOOPPAN:     Thank you, Your Honor.      This is

16    Mr. Mooppan.

17               THE COURT:     Yes.

18               MR. MOOPPAN:     I'll start.    So Judge Gleeson said

19    a lot during his argument, but I don't think he really

20    addressed the key points we made and what little he did

21    say about those key points proves our point.          I'm going to

22    try to make three brief points.

23               THE COURT:     Okay.   And when doing so, please

24    address the points he raised about political bias and the

25    interest of justice as well.




                                                                    148
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 149 of 196


1                MR. MOOPPAN:     I will definitely do that, Your

2     Honor.   So the first point is (inaudible) point during his

3     argument that he addressed the quotes from the Nixon

4     decision and the Fokker decision that I read to you during

5     our opening.    I'll read them again because they are so

6     important.

7                The quote from Nixon is that the Executive

8     Branch has "the exclusive authority and the absolute

9     discretion whether to prosecute a case."         It doesn't say

10    almost absolute discretion unless fill in the blank of

11    Judge Gleeson's standard.      It doesn't say absolute

12    discretion of whether they initiate charges or once you've

13    initiated the charges, you lose your discretion.          It says

14    the absolute discretion whether to prosecute a case.           If

15    there was any ambiguity about that, there's the quote from

16    Fokker which I also read to you which Judge Gleeson also

17    didn't address.     Again, that quote says "the leave of

18    court authority, Rule 48 gives no power to a district

19    court to deny based on the disagreement."         Not even a

20    disagreement for all of the reasons that Nixon said.

21               Now Judge Gleeson to be fair, on this quote he

22    did suggest in passing without any explanation that that

23    language was dicta.     But he gave no explanation for why

24    it's dicta when it is the necessary reasoning of the D.C.

25    Circuit's opinion in Fokker and he certainly didn't




                                                                     149
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 150 of 196


1     explain how that language could be dicta, but the language

2     in Ammidown is not dicta because after all, in Fokker this

3     reasoning supported what the court did, which was reverse

4     the decision below.      In Ammidown, the language he cites is

5     irrelevant to what the court did which was again to

6     reverse the district court below.        So we think --

7                 THE COURT:    So let me ask you this.      Essentially

8     what the government is saying is that leave of court is

9     required.    The court -- and I assume you would concede the

10    Court can do what it's doing now, have a hearing, asking

11    questions.    But even asking a few questions or three hours

12    worth of questions, the Court nevertheless has to dismiss.

13    That's the answer.     Right?

14                MR. MOOPPAN:    No, Your Honor.     So of course, in

15    a case where the defendant opposes, the Court would have a

16    role to play to make a decision --

17                THE COURT:    No.   I'm talking about a case like

18    this one where the defendant agrees with the government.

19                MR. MOOPPAN:    Right.   And so in a case where the

20    defendant agrees with the government, we do think there is

21    a role to play, but it is a very narrow role to play.

22                THE COURT:    Where does it start and end?       I need

23    to know that.    Where does it start and end?

24                MR. MOOPPAN:    Where it starts and where it ends

25    is to ensure that it is the authoritative position of the




                                                                    150
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 151 of 196


1     Executive Branch.     So it is not like the examples Judge

2     Gleeson historically identified where you've got an AUSA

3     out in Montana doing something that the main Justice

4     Department would not have authorized.         You're not where

5     you have some AUSA who is taking a bribe on the side that

6     if the Attorney General found out about it, he would put

7     an end to it.    But that is the sum and substance of the

8     role.

9                 The only way they reconcile the language of Rule

10    48 with the quotes that I just read to you from Nixon and

11    Fokker is to say that as long as it is the authoritative

12    position of the Executive Branch.        If the Attorney General

13    has made an authoritative determination, then that is the

14    end of the matter and that is the circumstance in which

15    you find yourself here.

16                THE COURT:    So essentially, the Court is

17    relegated to have a hearing and ask those two questions

18    and rule.

19                MR. MOOPPAN:    In a case such as this where we do

20    think that that is correct, Your Honor.         We think that is

21    what both Nixon and Fokker show.

22                But let me turn to my second point.        If you

23    don't agree with that, Your Honor, and so Judge Gleeson's

24    one of his two grounds at which he articulated is you can

25    set them aside if it's based on favoritism.          And to show




                                                                      151
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 152 of 196


1     that it was based on favoritism, he went through a laundry

2     list of comments by the President.        Set aside the points I

3     made earlier that, you know, having consulted with the

4     Attorney General, I've been authorized to represent to you

5     that none of that had any effect on the Attorney General's

6     decision.    Just focus on what Judge Gleeson actually read

7     to you in that laundry list.       I urge you to go back in the

8     transcript and read the quotes he read.         Not once did he

9     read something from the President that said you should

10    dismiss this suit because Michael Flynn is my friend, I

11    want this suit dismissed.

12                Instead what he said, again and again and Judge

13    Gleeson may disagree with it, but what the President said

14    again and again is he thought that this was a witch hunt

15    and he thought that maybe that General Flynn didn't even

16    say anything false.     Now that is not favoritism.

17                What if it was true?     I know Judge Gleeson

18    doesn't think it's true.      But let's say the President was

19    right, that it is a witch hunt and General Flynn didn't

20    think it was false.     Is Judge Gleeson really suggesting

21    that the Department of Justice should plow ahead anyway

22    and prosecute General Flynn even if it were a witch hunt

23    and even if it were false?       That cannot possibly be

24    correct.    So the evidence that he has identified to try to

25    show that there is favoritism just doesn't prove.




                                                                    152
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 153 of 196


1                What it does show and this gets to his next

2     standard, he thinks it's wrong.       He thinks the President

3     is just wrong about this, that there is no witch hunt and

4     that it was clearly false.       And I'll say two points about

5     that, Your Honor.

6                The first is that is exactly the type of

7     scrutinizing and second guessing that Fokker clearly takes

8     off the table.     What the historical facts are here is

9     whether the Executive Branch has properly determined that

10    there is serious problems with this prosecution is exactly

11    what Fokker says you cannot do.

12               But we're happy to talk about the facts.          So let

13    me just give you two facts on the two exact things that

14    Judge Gleeson himself emphasized.        On the question about

15    whether this is a witch hunt, here is one of the new

16    pieces of evidence that was not before Your Honor at the

17    time of the Brady ruling and it's a point of evidence that

18    Judge Gleeson conspicuously failed to address at any point

19    during his remarks.     It is the notes from the FBI Chief of

20    Counter-intelligence.      The FBI Chief of

21    Counter-intelligence wrote down in contemporaneous notes

22    what is the goal of this interview.        Is the goal to get

23    truth or admissions or is it to get him to lie so we can

24    prosecute him or get him fired?       It is astonishing to me

25    that Judge Gleeson would suggest that in the face of




                                                                    153
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 154 of 196


1     evidence like that, the Department of Justice is required

2     to plow ahead and prosecute an individual when the FBI

3     counter-intelligence chief himself is raising questions

4     about whether the only point of this interview is to get

5     the incoming national security advisor fired.

6                The second point that the President made that

7     Judge Gleeson scoffed at is whether General Flynn

8     knowingly lied.     Well, here are the quotes from the FBI

9     agents right when they left the interview.         This is when

10    they were debriefing the Department of Justice and the FBI

11    after the interview.      Their contemporaneous impression was

12    that Flynn was not lying and or did not think he was

13    lying.   Let that sink in.     Judge Gleeson thinks it's so

14    obvious he's lying.     Of course, he's lying.       The FBI

15    agents who interviewed him at the time didn't think that

16    he thought he was lying.      And that shouldn't be surprising

17    to anyone because, of course, as we pointed out in the

18    motion to dismiss, General Flynn before the interview told

19    McCabe that he assumed that the FBI knew every word of his

20    communications.     It would be astonishing for General Flynn

21    assuming that the FBI knew every word of the

22    communications to then walk into that FBI interview room

23    or have them walk into his office and lie to them

24    knowingly.    Despite knowing that he knew every word they

25    had.   It makes far more sense that he just didn't remember




                                                                     154
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 155 of 196


1     the precise details that he was asked about and that is

2     confirmed by yet more new evidence that has come in.           As

3     Mr. Kohl referenced earlier, the SCO agents when they had

4     been briefing Main Justice, they themselves recognized

5     that General Flynn has a "bad memory."

6                So you can have Judge Gleeson's theory which is

7     that General Flynn, the FBI knew every word he had said,

8     nevertheless decided for some inexplicable reason to lie

9     to them and did it so well that when the FBI agents walked

10    out, they didn't think that he was lying or thought he was

11    lying or you can think that maybe he just didn't remember

12    and maybe he pled guilty for many reasons that lots of

13    people plead guilty even though they didn't actually

14    knowingly lie.

15               But at a minimum, these sort of facts and all

16    the other facts we've talked about this morning show that

17    there's not clear evidence of these acts.         This is a

18    exactly the sort of case where this Court should defer to

19    the Executive Branch's judgment that this is a case that

20    does not warrant prosecution.       And I believe Mr. Kohl has

21    a couple of additional points along those lines.

22               THE COURT:     All right.    Thank you, counsel.     Mr.

23    Kohl?

24               MR. KOHL:    Yes, Your Honor.      Thank you.

25    Mr. Gleeson suggests that we're just giving the Court a




                                                                    155
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 156 of 196


1     bunch of opaque reasons and trying to invoke interest of

2     justice.   In reality, as my colleague, Mr. Mooppan just

3     cited, we are giving very specific reasons that any

4     prosecutor would find extremely troubling and be unwilling

5     to proceed.

6                In addition, I'd point out as I said if three

7     different Office of Inspector General investigations had

8     found that your only witnesses in this case were either

9     lying under oath, misleading a court or acting with

10    political motivation or they actually suggested they acted

11    with political motivation, how can you expect us to go

12    forward?   That's a reason.

13               And then, of course, the director's own comment

14    that when asked under oath himself whether he thought that

15    Flynn was lying, he said it's a close question, you can

16    make the argument.     We don't prosecute people simply

17    because you can make an argument they're guilty.          We as

18    prosecutors are entitled to know and believe with

19    confidence that they are actually guilty.

20               The last thing I'd just point out, Your Honor,

21    is I mean with these sorts of facts where the agents

22    themselves aren't even absolutely convinced that he's

23    guilty, career prosecutors just wouldn't bring charges.             I

24    can tell you career prosecutors looking at these facts

25    would never have filed the charges in this case.




                                                                    156
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 157 of 196


1                And it's interesting because when the agents got

2     done interviewing Mr. Flynn, they came over to the

3     Department of Justice for meetings and there were

4     discussions about what Flynn said, didn't say.          And, of

5     course, as I mentioned before, there was a discussion --

6     and we're learning this all from executive political notes

7     that we've since reviewed, but there was discussion about

8     whether to do a re-interview.       But one note -- a couple of

9     notations were pretty telling.

10               On January 25th, the Deputy Assistant Attorney

11    General at Main Justice asked the agents is his

12    recollection accurate since we didn't confirm or correct

13    it.   That's how career people were looking at this.          You

14    never actually followed up questions.         You didn't clarify.

15    He gave wrong and false information, but was it willful?

16    And the FBI declined to go back and do an interview.

17    Subsequent notes show that as they continued to drill down

18    on Mr. Flynn, the FBI told DOJ they did not believe he was

19    acting as an agent of Russia and did not find any evidence

20    of collusion with respect to General Flynn.

21               So when I say that career prosecutors would not

22    have filed this charge in the first instance, we know

23    that's true because they didn't file charges in this case.

24    Not in January, not in February, not in March.          Not until

25    the Special Counsel's Office picked this case up.           So when




                                                                    157
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 158 of 196


1     you couple that with investigator or Agent Barnett's

2     expressed concerns about what may have been motivating at

3     least some of the personnel at the Special Counsel's

4     Office, I think it is something that we are entitled --

5     you know, we are not asking you to dismiss for that

6     reason.   We're saying we want to dismiss for that reason.

7     We move to dismiss and we obviously believe that we're

8     entitled to leave of court for that.

9                I mean among other things if the accusations by

10    Agent Barnett that this -- that the charges filed in this

11    case were in some way politically motivated are a proper

12    basis for us to be concerned, it's hard to have concerns

13    about those things.

14               Moving to dismiss.      Now if we're concerned about

15    politics at the front end, moving to dismiss now is not

16    political.    It's a court action.      We're just trying to get

17    the criminal system back to where it should have been all

18    along.    We do ask Your Honor to grant this motion today

19    and to do so with dispatch as recommended by the Court of

20    Appeals here.    Thank you, Your Honor.

21               THE COURT:     All right.    Thank you.    I want to

22    revisit one point about the Lowry convictions.          I think

23    earlier I think this afternoon I asked government counsel

24    whether or not there was any reported decisions either by

25    circuit court or district court, anywhere that are




                                                                    158
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 159 of 196


1     directly on point with this case, in other words,

2     analogous and my recollection is Mr. Kohl referred to

3     Lowry.

4                Lowry though -- and I thought about this over

5     the last recess -- the Lowry case was problematic for a

6     whole host of reasons, principally, because Lowry was the

7     principal investigating FBI agent I believe if my memory

8     serves me correctly and there were all sorts of problems

9     with the FBI crime lab.      There were no security -- there

10    was no security there.      There were instances in which

11    Lowry had checked out contraband, drugs seized from

12    defendants were being prosecuted in our courts.          There was

13    a host of reasons why it was compelling for those cases to

14    be dismissed with prejudice.       But I just don't see where

15    those cases rise to the level or this case rises to the

16    level of what happened in Lowry though.

17               So I just have to ask the question again.          Are

18    you aware of any other opinions other than Lowry?           Maybe I

19    missed something in your argument.        But I don't see where

20    Lowry should in and of itself dictate the decision that

21    this Court reaches.

22               MR. MOOPPAN:     No, Your Honor.     I'm not aware of

23    any other case where the FBI counter-intelligence chief

24    said the point of this interview is to get him to lie so

25    we can get him fired.      Those cases just don't get brought




                                                                    159
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 160 of 196


1     in the first instance.      But I feel quite confident if that

2     had come up in another case, we would have a decision to

3     submit to the Court.      This is the Department of Justice,

4     not the department of prosecutions.

5                THE COURT:     All right.    And, Mr. Gleeson, in

6     fairness, you know, government counsel professionally and

7     appropriately responded to your arguments.         Do you have

8     anything in a few minutes to respond to counsel?

9                MR. GLEESON:     Sure.    Just very briefly, judge.

10    I'll do the lawyering here.         As for the Nixon case, we

11    agree, by the way, that the decision whether to prosecute

12    is absolute.    A decision to withdraw a prosecution once

13    it's been brought is qualified.        Of course, it was dicta

14    in Fokker.    The case involved the Speedy Trial Act and

15    whether it was error not to do a speedy trial extension in

16    the end.   It was not about Rule 48(a) and in fact Ammidown

17    was.   Ammidown was about whether an agreement to dismiss a

18    top count in a murder case should be approved under Rule

19    48(a).   So the government lawyers just have their law

20    wrong.

21               I want to focus, judge, on just a couple of

22    things before I sit down.      One is that I hate to sound --

23    I'm being as kind as possible.         They sound like bad

24    defense lawyers.     This notion that the FBI agent talked

25    about whether they could get Flynn to commit perjury.




                                                                    160
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 161 of 196


1     First of all, they decided not to do it because they

2     reminded him of his own words to Kislyak.         This notion

3     that they're shocked, shocked I tell you that an FBI agent

4     would think about inducing someone to perjury.          You know,

5     where have they been?      You know, you look under the hood.

6     That's what they do.

7                But what I really want to focus on, I want to

8     focus on the rules that they've articulated for Michael

9     Flynn that doesn't apply anywhere else.         I didn't hear an

10    answer to the question whether next time there is

11    political bias in a case, they are going to dismiss it.

12    Or racial bias or religious bias.        I got a litigation

13    right now.    Overt.   Religious animus and the prosecutor

14    says, well, that's completely irrelevant unless we put

15    that person on the stand.      That principle applies only to

16    Michael Flynn.     I want to know, judge, the next time it's

17    a false statements case and the defendant says I would

18    like to know whether any of the agents in the case at any

19    point had some doubt about whether I'm guilty because then

20    they are going to dismiss the case against me.          No, that's

21    not going to happen.      That's never a relevant factor in a

22    false statement case.      But it is for Michael Flynn.

23               One other point before I mention this, I respond

24    to this witch hunt thing.      If you deny this motion, you

25    deny the motion to withdraw the plea and proceed to




                                                                    161
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 162 of 196


1     sentence, but there's an unspoken premise that I'm not

2     sure is correct that came up earlier in today's

3     proceedings.    The government hasn't said that if you deny

4     this motion to dismiss, it will not continue to prosecute

5     the case and where would it get off doing that?          That's

6     asked this Court for relief and then if you say no,

7     they're packing up and going home?        They haven't said that

8     yet.   And I would be astonished if that's the case.          It

9     would be an act of enormous disrespect for this Court --

10    to this Court.

11               And lastly, you know, the whole witch hunt think

12    proves my case.     The reason this motion to dismiss has

13    been brought has nothing to do with materiality.          Every

14    single thing these prosecutors said was flatly

15    contradicted by the prosecutors in this very case.           And to

16    the extent they are not here to respond to it now, I have.

17    The dismissal -- the attempt to dismiss this case has

18    nothing to do with materiality.       It has nothing to do with

19    being able to prove falsity.       A first-year prosecutor one

20    day out of law school can do this case.         It has everything

21    to do with the President's belief that this is some kind

22    of witch hunt and the fact that he's brought pressure on

23    the Justice Department and an Attorney General who has

24    said publicly that the pressure that's brought on the

25    Justice Department by the President and his tweets and his




                                                                    162
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 163 of 196


1     communications make it very difficult for the Justice

2     Department to get the trust of the courts and that's

3     exactly what's happening here and it's why you should deny

4     this motion.

5                 THE COURT:    All right.    Thank you, all.     All

6     right.    It's been a very interesting and very informative

7     long day.    I'm mindful of the instructions given by the en

8     banc court when the case was remanded.         I'll take the case

9     under advisement.     The record is voluminous and I will

10    proceed with dispatch.      Thank you.    Have a nice day.

11    Thank you.

12                I've talked about additional submissions within

13    a week.   I'll spell that out in a minute order.          We've

14    spent a lot of time today.       I'm not going to keep you any

15    longer.   Let me just turn my attention to my attorneys

16    just for a second.     All right.    The second is up.      This

17    hearing is concluded.      Thank you, all.

18                (Proceedings concluded.)

19

20

21

22

23

24

25




                                                                    163
     Case 1:17-cr-00232-EGS Document 266 Filed 10/08/20 Page 164 of 196


1                      CERTIFICATE OF REPORTER

2

3                I, Lisa K. Bankins, an Official Court Reporter

4     for the United States District Court for the District of

5     Columbia, do hereby certify that I reported, by machine

6     shorthand, in my official capacity, the proceedings had

7     and testimony adduced upon the motions hearing in the case

8     of the United States of America versus Michael T. Flynn,

9     Criminal Action Number CR-17-232, in said court on the

10    29th day of September, 2020.

11

12               I further certify that the foregoing 163 pages

13    constitute the official transcript of said proceedings, as

14    taken from my machine shorthand notes, together with the

15    backup tape of said proceedings to the best of my ability.

16

17               In witness whereof, I have hereto subscribed my

18    name, this 1st day of October, 2020.

19

20

21

22                                      Lisa K. Bankins
                                        Official Court Reporter
23

24

25




                                                                    164
                               163 [1]   164/12                39/23 40/16 41/2 42/7 70/15
      Case 1:17-cr-00232-EGS17 Document
                                [2] 16/1 266
                                          41/15Filed 10/08/20 71/3
                                                                Page 165 74/21
                                                                   73/19 of 19678/20  97/11
MR. GLEESON: [17] 2/14         17-232 [1] 2/3                  97/14 97/15 98/9 98/10 98/11
66/22 67/8 100/14 102/18       18 [7] 4/22 7/15 16/4 30/16     98/24 99/9 99/11 99/15 99/17
103/7 103/9 103/13 104/20       104/6 107/13 140/13            100/18 101/4 111/15 112/22
111/1 117/7 118/13 119/5       181 [1] 69/7                    113/25 116/17 119/15 119/17
119/12 120/3 121/13 160/9      181-2 [1] 69/12                 121/6 121/8 133/24 144/16
MR. KOHL: [22] 2/6 42/10       18th [2] 5/7 6/1                144/18 149/18 151/10 160/16
42/12 45/11 47/23 48/11 54/1   19 [1] 9/11                     160/19
68/4 72/5 72/12 72/20 74/8     1920's [1] 114/6               497 [1] 11/6
77/5 79/10 86/24 88/23 90/20   1924 [1] 114/24                4th [1] 10/5
90/23 92/6 95/6 95/8 155/24    1941 [2] 115/15 135/9
MR. MOOPPAN: [36] 2/9 36/2     1944 [2] 11/16 13/21           5
36/9 36/24 37/3 37/7 38/8      1973 [2] 13/13 98/25
38/15 38/21 51/8 51/17 52/5                                   5th [1]    143/4
                               1974 [1] 99/1
53/4 53/10 53/25 70/10 70/13   1st [2] 50/4 164/18            6
73/14 74/20 75/12 76/23
78/18 93/7 94/8 96/11 97/9                                    60 [1] 64/2
                               2                              615 [1] 11/6
98/2 99/13 148/15 148/18
149/1 150/14 150/19 150/24     20001 [1] 1/20                 620 [1] 11/6
151/19 159/22                  2005 [1] 96/24                 649 [1] 32/12
MS. POWELL: [46] 2/11 37/22    2017 [9] 4/23 5/4 8/7 35/5     691 [1] 32/12
53/5 54/4 54/8 55/5 55/13       45/14 80/15 80/25 106/24      693 [1] 40/22
55/17 55/22 56/4 56/10 56/13    108/18                        6th [2] 53/24 58/22
56/17 56/23 57/3 57/7 57/13    2018 [14] 5/7 5/13 6/1 7/19
                                68/11 71/18 77/8 79/12 81/9   7
57/17 57/22 58/4 58/11 58/17
58/20 59/4 59/12 59/14 59/20    85/11 104/6 107/3 107/13      733 [1] 12/21
60/16 61/1 63/12 63/17 64/20    141/19                        74-year-old [1]    125/24
65/9 65/18 65/21 66/15         2019 [12] 6/12 6/14 6/16       742 [1] 40/25
136/18 136/22 139/1 139/21      6/23 6/23 7/10 47/21 48/6     7th [1] 5/4
142/3 143/23 144/18 145/11      53/24 58/23 78/13 81/3
146/2 146/16                   2020 [11] 1/6 7/20 8/2 8/21    8
THE CLERK: [5] 2/2 28/1         9/3 9/6 9/11 9/12 109/7       80 [1] 146/3
36/22 38/3 119/24               164/10 164/18                 818 [1] 12/21
THE COURT: [117] 2/8 2/10      21 [1] 61/14                   83 [1] 6/22
2/13 2/16 28/6 36/7 37/1       21st [3] 10/4 10/7 63/4
37/5 37/9 37/25 38/5 38/10     225 [1] 10/25                  9
38/20 42/9 42/11 45/8 47/13    227 [1] 16/1                   93 [1]    119/21
47/25 48/12 51/14 52/2 52/8    22nd [1] 101/17
53/7 53/18 54/2 54/7 54/25     232 [3] 1/4 2/3 164/9          A
55/8 55/15 55/20 55/25 56/8    23rd [1] 101/17               a.m [1] 1/7
56/11 56/15 56/21 56/25 57/4   24 [3] 45/14 83/1 83/4        abandon [1] 128/9
57/11 57/15 57/20 58/1 58/5    24th [2] 8/6 83/11            abandoned [1] 31/21
58/15 58/18 58/21 59/9 59/13   25 [1] 73/2                   ABC [2] 109/5 109/6
59/18 60/10 60/18 61/17        25th [1] 157/10               ABIGAIL [2] 1/15 2/12
63/14 64/15 64/22 65/12        262 [1] 114/24                ability [6] 31/12 35/16
65/20 66/14 66/17 67/2 67/10   28 [1] 73/1                    78/10 111/7 131/16 164/15
70/9 70/12 71/10 72/10 72/14   29 [1] 1/6                    abject [1] 63/19
73/23 74/10 75/6 75/22 78/12   29th [4] 10/9 62/18 101/19    able [4] 70/24 120/14 147/4
85/23 88/22 90/1 90/21 91/15    164/10                        162/19
92/10 94/1 94/19 95/7 95/25    2nd [1] 11/6                  about [159] 15/15 31/4 31/11
97/5 97/21 99/7 100/6 102/11   3                              31/23 32/23 33/2 33/17 34/13
103/4 103/8 103/11 104/15                                     37/20 41/20 41/21 41/22
110/4 117/5 117/12 117/20      30 [1] 37/16                   41/24 42/3 46/1 46/9 47/15
118/16 119/11 121/12 136/4     30-plus [1] 148/8              47/16 50/17 51/5 51/18 51/20
136/19 138/3 139/20 141/24     302 [5] 45/12 45/18 84/16      51/24 52/7 55/1 55/2 55/4
143/15 144/13 145/5 145/18      130/18 146/9                  55/11 55/11 56/2 57/2 57/15
146/11 148/11 148/17 148/23    302's [2] 130/16 130/21        57/18 60/19 61/17 61/22 62/1
150/7 150/17 150/22 151/16     31 [1] 106/24                  62/6 64/4 65/14 66/1 71/7
155/22 158/21 160/5 163/5      3161 [1] 16/5                  72/21 73/15 76/17 76/18 80/4
                               31st [1] 101/20                81/16 82/5 82/18 83/14 83/15
'                              333 [1] 1/20                   84/1 84/3 84/8 84/9 84/17
'19 [1] 50/5                   34 [1] 10/25                   84/19 84/20 84/24 86/11 88/6
's [2] 12/11 19/4              373 [1] 6/22                   88/8 89/23 90/5 90/22 93/10
                               3d [1] 12/21                   93/21 94/20 96/17 97/4 97/10
1                              4                              97/12 98/10 98/19 99/17
1001 [4] 4/23 7/16 30/17                                      104/15 106/9 106/15 106/20
 76/22                         40 [1] 15/12                   107/16 108/23 109/2 111/10
11 [7] 13/15 17/20 18/23       41 [1] 10/2                    111/13 114/21 115/8 115/12
 104/2 128/15 139/21 139/23    42 [2] 70/22 70/22             117/25 118/21 119/6 121/2
11:00 [1] 1/7                  48 [85] 3/20 4/16 8/24 9/4     121/15 122/3 122/6 122/24
12 [1] 9/3                      9/8 10/11 10/12 10/21 11/2    122/25 123/8 123/21 125/3
12:35 [3] 37/18 37/21 38/1      11/11 11/15 11/25 12/11 13/9 125/8 125/12 126/17 126/18
12th [1] 137/16                 13/18 14/5 15/1 15/4 15/11    128/3 129/19 130/1 130/10
13 [2] 9/6 109/6                16/8 16/10 16/13 16/16 16/19 130/17 130/19 130/24 132/4
15 [2] 118/14 118/15            17/20 18/15 18/22 18/24 19/4 132/6 132/25 133/10 138/7
15-minute [2] 117/14 117/18     19/5 19/18 20/2 20/10 20/20   138/10 138/17 138/19 138/21
150 [1] 146/4                   21/5 21/20 22/4 22/11 23/11   139/19 139/23 139/25 140/3
15th [1] 141/11                 24/1 24/15 24/21 25/1 25/7    140/10 140/13 140/14 140/18
16 [2] 9/12 90/24               25/23 30/13 36/14 36/17       142/16 142/25 143/18 144/1
A                               152/6 155/13 156/10 156/19
      Case 1:17-cr-00232-EGS 157/14
                              Document 266 Filed 10/08/20 138/24
                                                                afforded [3]
                                                            Page 166 of 196
                                                                               54/17 68/25
about... [27] 145/6 146/4       ad [1] 109/14                   after [32] 3/25 4/24 20/1
 148/21 148/24 149/15 150/17    adapted [1] 12/23                22/11 27/22 32/22 36/20
 151/6 153/3 153/4 153/12       add [5] 77/5 77/24 78/15         38/12 39/12 46/4 46/12 56/5
 153/14 154/4 155/1 155/16       84/22 112/3                     57/23 57/24 61/14 61/15
 157/4 157/7 158/2 158/13       added [2] 12/4 114/17            61/22 62/9 66/17 67/4 87/12
 158/14 158/22 159/4 160/16     adding [1] 9/13                  90/13 90/13 90/24 124/11
 160/17 160/25 161/4 161/19     addition [5] 23/11 30/2          134/6 138/20 138/21 141/9
 163/12                          31/18 131/10 156/6              141/19 150/2 154/11
about this [1] 93/10            additional [11] 2/23 34/5       afternoon [4] 38/7 38/8
about-face [2] 106/20 132/6      35/25 52/19 95/4 105/16         100/11 158/23
absent [1] 26/6                  110/23 118/10 148/13 155/21    again [26] 3/12 7/18 23/25
absolute [10] 18/11 99/3         163/12                          37/20 38/6 47/4 52/10 62/13
 99/4 108/18 135/1 149/8        address [34] 9/9 9/21 18/9       77/12 78/15 78/20 79/11
 149/10 149/11 149/14 160/12     36/5 36/7 38/19 39/22 42/23     97/13 113/17 127/12 131/17
absolutely [6] 61/4 111/17       42/23 49/13 50/14 50/25 51/2    133/13 145/21 149/5 149/17
 118/19 122/21 145/16 156/22     51/3 53/5 53/8 54/5 65/1        150/5 152/12 152/12 152/14
abuse [25] 4/16 13/10 14/15      68/3 73/14 78/18 78/19 102/5    152/14 159/17
 18/15 19/14 22/7 22/23 23/12    103/6 103/13 104/21 110/12     against [45] 3/19 4/18 5/23
 24/10 24/13 24/18 25/3 25/8     110/14 113/25 118/4 118/6       6/12 6/15 8/18 8/22 11/19
 25/16 26/6 26/12 34/1 34/3      148/24 149/17 153/18            12/7 13/10 14/15 16/19 17/6
 75/3 75/15 99/12 99/18 105/4   addressed [8] 3/4 13/14 25/6     18/15 18/20 19/7 19/11 19/16
 142/11 143/12                   30/20 48/7 78/13 148/20         19/19 22/15 25/2 27/20 34/22
abused [2] 116/14 116/15         149/3                           39/11 42/15 44/20 46/18
abuses [1] 24/23                addresses [1] 49/5               59/23 60/7 60/19 61/4 61/6
abusing [1] 112/20              addressing [3] 9/24 67/9         61/9 69/19 73/1 82/2 82/13
abusive [1] 26/10                86/14                           85/18 101/9 104/13 108/12
academic [2] 63/15 101/10       adds [1] 113/17                  141/11 144/25 147/24 161/20
accept [5] 37/14 97/23          adduced [1] 164/7               agency [7] 30/19 30/25
 103/18 133/19 136/9            adequacy [1] 21/15               122/13 122/17 122/17 124/23
acceptance [2] 24/24 138/8      adequately [1] 24/3              125/7
accepted [3] 4/25 68/13         adjournment [1] 147/21          agent [32] 35/5 41/14 43/11
 104/12                         adjudicators [1] 64/8            43/12 45/20 45/22 47/4 47/7
access [1] 44/12                administration [9] 8/20 46/1     72/9 82/16 83/22 88/24 89/10
accomplish [1] 135/14            76/7 76/19 76/20 82/2 82/13     131/8 131/16 131/18 131/24
accorded [1] 112/16              86/21 145/3                     132/12 134/4 134/7 137/8
according [12] 5/21 18/4        administrative [4] 124/16        141/12 141/13 142/13 142/14
 18/17 25/11 27/14 30/4 30/15    124/16 124/18 134/11            142/18 157/19 158/1 158/10
 33/15 82/11 84/16 84/25        admissible [1] 44/20             159/7 160/24 161/3
 122/18                         admission [3] 83/19 109/16      agent's [1] 130/16
Accordingly [1] 15/7             128/4                          agents [42] 4/6 4/21 7/22
account [2] 22/17 77/3          admissions [6] 7/23 128/1        31/8 32/3 32/23 33/20 35/5
accounting [1] 139/12            128/12 128/14 128/20 153/23     44/23 45/5 45/6 45/19 46/13
accurate [4] 36/3 38/17 92/2    admit [1] 139/16                 50/10 61/11 80/20 81/13
 157/12                         admits [1] 128/19                81/20 84/13 84/22 85/4
accurately [1] 137/1            admitted [12] 33/9 71/16         107/24 125/11 130/22 131/4
accusations [3] 43/25 70/4       73/3 75/24 76/5 77/17 77/25     131/12 132/10 132/14 132/18
 158/9                           78/3 107/1 107/6 127/2          132/20 132/25 140/12 140/18
acknowledged [3] 14/4 18/2       127/21                          146/10 154/9 154/15 155/3
 70/19                          admittedly [1] 116/12            155/9 156/21 157/1 157/11
acknowledges [1] 12/16          adopted [3] 107/23 125/4         161/18
acknowledging [1] 82/9           127/25                         agents' [2] 85/12 143/6
across [2] 94/21 132/17         advanced [4] 14/17 23/16        ago [9] 5/9 72/7 82/20
act [16] 16/10 16/17 29/10       105/15 107/22                   108/22 109/2 114/1 119/21
 31/17 39/25 42/16 61/8 82/8    advancing [1] 134/3              131/13 140/9
 83/2 83/6 113/6 121/7 135/7    adversary [2] 113/7 114/1       agree [10] 24/2 31/16 41/15
 147/2 160/14 162/9             adversely [1] 31/12              67/18 77/6 127/16 134/20
acted [2] 88/1 156/10           adversity [1] 39/5               147/24 151/23 160/11
acting [9] 27/1 46/23 84/25     advice [1] 5/20                 agreed [4] 10/6 61/14 76/2
 111/17 112/20 113/10 124/19    advised [1] 137/1                123/3
 156/9 157/19                   advisement [1] 163/9            agreeing [2] 94/17 147/3
action [6] 45/24 47/19 51/15    advisor [8] 31/4 34/7 46/10     agreement [20] 5/3 6/5 16/6
 59/1 158/16 164/9               106/6 106/11 121/23 129/21      17/9 18/22 18/24 24/3 67/23
actions [4] 13/24 14/7 34/2      154/5                           76/1 76/2 86/22 97/7 97/22
 106/1                          advisory [4] 11/24 115/16        97/24 98/13 113/5 128/11
active [1] 123/5                 115/25 133/25                   128/15 128/18 160/17
actively [2] 61/5 65/11         advocated [1] 104/23            agreements [2] 16/7 69/21
activities [2] 123/6 123/8      advocating [2] 75/7 75/9        agrees [6] 6/5 39/24 73/20
activity [1] 123/1              affairs [1] 97/1                 94/16 150/18 150/20
acts [1] 155/17                 affect [4] 31/12 77/3 78/9      ahead [11] 38/14 38/20 47/24
actual [3] 82/21 95/24 122/8     124/24                          58/21 103/10 103/11 119/3
actually [39] 6/13 32/9         affected [5] 31/16 43/23         138/25 139/17 152/21 154/2
 41/14 44/25 57/14 66/4 70/1     77/4 122/18 122/18             Al [3] 64/7 137/10 137/12
 71/16 72/23 74/11 78/2 78/11   affecting [2] 30/24 122/16      alarm [1] 89/2
 80/25 81/1 81/7 81/19 84/2     affirm [1] 98/21                alarming [1] 87/24
 84/13 84/14 87/18 93/17        affirmed [2] 33/11 98/24        Alice [1] 56/18
 94/12 95/18 97/3 98/15 98/21   afford [5] 64/25 65/6 66/18     aligns [1] 21/9
 99/13 102/14 114/25 122/18      110/8 136/6                    all [135] 2/17 8/25 9/19
 126/14 129/10 129/20 130/23
A                               American [2]
      Case 1:17-cr-00232-EGSamicus
                              Document
                                               29/15 130/4      appeal [2]   78/24 145/10
                                   [11] 266
                                         2/15 Filed
                                              3/11 10/08/20
                                                    9/7      Page 167
                                                          Appeals [6] of61/16
                                                                         196        61/19
all... [132] 15/11 15/18         15/12 59/23 60/15 60/20 67/1    61/20 89/20 98/15 158/20
 28/2 32/23 37/10 37/25 38/5     101/9 102/10 145/21            appear [6] 42/15 49/8 62/8
 38/23 40/4 40/8 42/9 46/19     Ammidown [35] 11/6 13/13         62/25 83/9 83/9
 46/19 46/24 47/3 47/13 48/12    13/14 17/18 17/19 18/9 18/14   appearance [6] 49/4 50/24
 49/14 53/18 53/23 54/2 54/12    18/21 20/22 21/9 22/25 23/4     52/12 59/6 64/13 64/14
 55/10 56/25 57/15 58/1 58/5     25/6 25/12 41/9 97/8 97/20     APPEARANCES [1] 1/11
 58/15 58/15 59/9 59/13 59/18    97/20 98/14 98/15 98/25        appeared [3] 92/18 107/10
 59/21 59/23 59/24 59/25 60/4    102/19 110/11 110/13 111/10     138/9
 60/10 61/21 63/14 64/15         112/13 113/1 113/8 113/12      appearing [1] 59/23
 66/12 66/14 66/17 67/2 67/10    117/9 120/21 150/2 150/4       appears [6] 23/23 49/25
 70/9 71/14 72/2 72/22 73/5      160/16 160/17                   63/20 78/8 85/25 111/14
 73/23 74/21 75/6 75/22 78/12   Ammidown's [1] 17/21            appellate [7] 9/21 24/8
 83/22 84/19 85/1 85/7 85/13    among [4] 44/4 88/12 133/6       61/21 71/1 73/18 73/19 98/23
 85/23 86/23 87/13 89/8 90/1     158/9                          appended [1] 92/15
 90/3 91/11 91/15 91/15 91/17   amount [2] 54/20 62/11          application [2] 23/22 48/25
 91/24 91/25 92/10 92/14        amounts [1] 19/14               applied [1] 27/3
 94/19 95/9 95/15 95/25 96/21   analogized [1] 16/7             applies [3] 24/22 39/20
 97/5 99/7 100/6 100/6 102/11   analogous [3] 72/2 72/6          161/15
 103/8 104/3 104/15 105/7        159/2                          apply [6] 70/15 98/12 109/24
 106/10 110/4 111/16 111/20     analysis [4] 27/9 27/12 79/5     135/23 135/24 161/9
 117/20 121/2 121/17 124/15      97/11                          appoint [6] 3/11 58/3 104/12
 126/11 127/9 130/4 134/25      analysts [2] 88/4 88/12          138/12 138/19 145/19
 136/10 136/19 136/22 137/1     Andy [2] 46/11 46/15            appointed [13] 8/17 9/6
 139/13 140/16 142/21 143/7     animosity [2] 34/20 106/19       11/21 49/22 50/22 60/6 63/21
 143/16 144/3 144/17 146/11     animus [1] 161/13                67/4 67/24 86/3 115/15
 146/25 147/16 147/18 148/11    another [12] 46/9 81/6 103/1     145/18 145/20
 149/20 150/2 155/15 155/22      105/10 105/11 107/22 118/14    appointing [1] 59/21
 157/6 158/17 158/21 159/8       125/5 125/6 131/18 138/11      appointment [4] 50/8 60/14
 160/5 161/1 163/5 163/5         160/2                           60/19 70/22
 163/5 163/16 163/17            answer [16] 39/3 51/8 55/9      appreciate [4] 52/9 53/18
allegations [4] 8/4 42/15        56/1 59/9 76/14 80/7 100/25     53/21 136/5
 132/6 139/10                    111/8 119/8 124/25 128/5       appreciated [2] 67/21 138/22
alleged [6] 7/9 7/25 66/3        128/10 128/10 150/13 161/10    appropriate [12] 4/25 58/25
 72/14 79/15 92/4               answered [2] 96/10 118/6         59/10 60/13 65/1 66/25 76/6
allegedly [2] 95/1 104/17       answers [4] 29/23 42/4 42/4      80/14 86/9 86/16 86/20 87/15
alleging [1] 67/14               80/4                           appropriately [2] 111/5
allow [12] 12/12 49/12 67/13    any [113] 2/20 2/20 2/23 3/9     160/7
 70/7 71/7 71/21 79/8 86/19      3/13 4/6 6/4 9/23 28/11 29/1   approval [3] 16/11 18/22
 102/21 116/6 136/2 142/10       29/21 30/9 30/19 32/24 35/18    113/12
allowed [5] 11/25 61/9 71/1      35/21 35/24 35/25 36/19        approved [2] 96/16 160/18
 86/22 117/10                    39/10 43/16 52/25 53/11        approvingly [2] 113/2 113/9
allowing [2] 24/6 24/8           54/10 55/10 55/17 56/21        April [2] 46/6 107/16
allows [1] 128/15                59/22 60/18 61/23 62/19        arbitrarily [1] 32/25
ally [2] 106/12 117/1            63/10 64/9 68/12 69/19 71/13   are [143] 2/20 3/1 3/8 3/12
almost [2] 86/10 149/10          71/25 72/1 72/4 73/21 73/21     4/14 9/22 12/23 13/6 14/18
alone [9] 27/2 35/14 44/1        73/24 74/1 74/1 74/6 74/14      15/14 15/18 15/23 19/4 22/14
 108/7 120/17 123/15 124/9       76/7 76/10 76/15 76/18 76/18    22/19 23/16 25/15 26/17 27/3
 124/10 127/1                    79/17 85/4 86/4 86/7 88/25      28/22 31/19 33/11 33/21 36/4
along [2] 155/21 158/18          89/2 90/1 90/2 92/11 93/14      36/8 37/10 37/12 37/15 38/10
already [18] 3/4 5/8 7/3 8/5     94/5 94/22 95/2 95/4 96/5       38/18 40/4 40/8 40/20 41/7
 31/15 52/13 59/4 66/6 82/22     96/12 96/21 99/5 102/3 102/7    41/17 41/19 42/17 44/22 45/9
 91/2 109/20 111/3 117/4         104/18 109/12 110/9 110/15      45/20 45/21 47/21 48/1 49/7
 125/13 133/8 136/15 141/20      110/20 111/8 111/23 118/10      49/10 49/23 51/16 57/11
 146/14                          123/23 123/25 124/20 128/20     62/21 63/15 64/8 66/12 68/4
also [41] 5/14 7/13 14/4         130/8 132/18 133/15 136/3       68/7 68/9 69/9 69/21 70/3
 16/16 19/12 20/2 20/7 21/6      137/11 139/5 140/7 141/5        70/6 70/6 70/14 71/11 75/8
 21/8 25/3 26/7 28/20 32/15      142/10 142/24 143/13 143/15     77/9 78/21 79/7 80/5 84/10
 33/12 33/15 43/7 48/8 60/4      143/17 145/5 145/25 146/12      85/5 85/13 88/5 88/8 88/13
 61/2 62/6 63/8 64/5 66/6        146/13 148/13 149/15 149/22     88/15 88/16 88/17 89/8 89/12
 69/1 69/24 75/24 97/20          152/5 153/18 156/3 157/19       89/21 89/21 92/6 93/2 93/9
 101/14 107/9 107/22 110/14      158/24 159/18 159/23 161/18     94/4 94/17 94/17 94/21 94/25
 111/20 112/7 124/4 125/19       161/18 163/14                   96/5 96/21 98/11 99/16
 129/6 138/14 138/15 145/23     anymore [1] 39/6                 101/21 102/24 104/3 105/25
 149/16 149/16                  anyone [7] 37/14 62/20 74/14     106/7 109/3 112/13 112/20
alterations [2] 92/4 92/19       135/23 143/20 145/20 154/17     112/20 115/3 117/14 122/10
although [8] 14/24 19/5 20/7    anything [19] 35/21 37/13        122/16 123/11 126/3 128/8
 21/21 100/16 106/7 131/9        37/14 53/23 59/22 62/8 63/1     130/14 130/18 130/20 132/3
 132/13                          65/13 74/5 89/23 93/1 99/6      132/20 132/21 132/22 133/11
always [3] 100/19 132/13         113/22 136/13 139/24 142/25     133/12 133/12 133/14 133/16
 138/5                           146/11 152/16 160/8             133/17 135/4 135/7 136/17
am [5] 60/20 71/20 93/10        anyway [3] 80/7 138/25           140/16 144/16 146/14 147/15
 102/13 136/18                   152/21                          147/16 149/5 153/8 154/8
ambassador [10] 29/3 43/14      anywhere [4] 72/1 126/4          156/3 156/18 156/19 158/4
 47/6 82/5 82/5 84/11 122/2      158/25 161/9                    158/5 158/11 158/25 159/17
 129/1 129/23 140/22            apart [1] 68/20                  161/11 161/20 162/16
ambiguity [1] 149/15            apparent [1] 51/22              aren't [3] 53/21 95/12
AMERICA [6] 1/4 2/3 108/6       apparently [1] 77/15             156/22
 126/5 132/17 164/8
A                               associated [2]
      Case 1:17-cr-00232-EGSassume
                              Document 266 Filed
                                                 79/18 94/25
                                                  10/08/20aware
                                                                avoiding [1]
                                                             Page 16849/10
                                                                               20/9
                                                                      of 19653/13
                                   [2] 136/16 150/9             [9]                    68/7
arguably [1] 85/24              assumed [1] 154/19               70/5 70/23 72/3 92/6 159/18
argue [5] 22/10 80/23 104/13    assuming [2] 26/15 154/21        159/22
 145/21 145/23                  assumption [1] 87/6             awareness [1] 73/16
argued [5] 22/12 25/4 31/15     assure [4] 108/25 109/8         away [4] 95/13 95/14 112/5
 32/16 143/24                    109/18 133/21                   112/6
argues [31] 10/20 11/1 12/6     assuring [1] 18/16              axes [1] 140/18
 12/14 13/6 16/2 16/18 17/1     astonished [2] 132/5 162/8
 17/18 19/5 19/12 19/17 19/22   astonishing [2] 153/24          B
 20/7 20/23 21/8 22/19 24/5      154/20
 24/17 24/22 25/16 26/7 26/14                                   back [33] 38/3 52/6 68/11
                                attached [3] 4/2 27/24 92/15     74/5 77/13 79/11 80/16 80/17
 27/4 30/12 30/14 31/18 33/5    attachment [1] 50/6
 33/8 33/19 34/2                                                 80/19 81/9 84/24 85/22
                                attack [1] 135/17                105/16 114/6 115/20 115/23
arguing [3] 22/25 84/5          attacks [1] 109/14
 144/16                                                          116/1 116/21 119/9 120/18
                                attempt [2] 67/14 162/17         121/20 122/1 123/3 127/7
argument [27] 2/20 9/12 10/8    attempted [1] 30/21
 19/23 21/17 22/3 32/10 41/5                                     127/16 132/9 138/8 138/9
                                attempts [1] 81/16               143/4 147/2 152/7 157/16
 44/15 44/18 81/2 110/7 110/9   attention [4] 52/9 94/24
 110/15 110/20 110/24 111/10                                     158/17
                                 104/17 163/15                  backbone [1] 124/2
 111/13 114/2 117/3 127/9       attorney [83] 8/13 8/16 8/17
 133/20 148/19 149/3 156/16                                     backdrop [2] 19/19 108/13
                                 8/19 10/13 10/14 14/25 35/22   background [2] 16/19 34/23
 156/17 159/19                   40/13 40/13 43/4 43/5 47/20
arguments [19] 2/18 9/8                                         backlash [1] 11/21
                                 47/21 48/7 48/8 48/8 48/9      backup [1] 164/15
 10/20 13/12 19/4 20/18 25/14    48/10 48/14 48/14 48/17
 30/11 38/17 66/16 66/20                                        backwards [2] 138/5 146/25
                                 50/20 50/23 51/9 51/15 51/18   bad [7] 24/18 25/7 44/8
 66/24 111/3 111/5 118/11        51/19 52/3 52/20 52/22 53/1
 125/1 130/14 132/9 160/7                                        112/20 119/22 155/5 160/23
                                 53/2 54/11 54/14 54/18 58/2    baked [1] 132/22
around [7] 42/12 84/11 100/9     59/15 61/10 64/4 69/14 74/11
 103/24 122/5 131/11 131/25                                     Ballantine [3] 89/16 95/17
                                 76/7 76/19 84/25 86/4 87/11     96/3
arrived [1] 131/18               91/22 91/23 92/4 92/13 92/17
Article [14] 16/20 18/9 26/3                                    banc [7] 9/25 10/1 36/12
                                 93/8 93/10 93/11 94/10 95/9     38/24 39/1 61/19 163/8
 36/11 36/16 39/4 39/9 39/13     96/2 96/6 96/15 96/16 97/1
 39/19 39/20 74/21 74/21                                        Bankins [3] 1/19 164/3
                                 99/20 100/1 106/2 108/21        164/22
 112/2 134/23                    108/24 109/4 109/15 110/1
articulate [1] 86/2                                             BANKRUPTCY [1] 1/1
                                 110/8 138/11 138/12 143/15     Bar [2] 51/3 51/22
articulated [5] 14/9 136/11      145/2 147/14 147/20 151/6
 143/22 151/24 161/8                                            bargain [4] 6/7 13/19 71/23
                                 151/12 152/4 152/5 157/10       71/24
as [177]                         162/23
aside [6] 51/21 94/1 94/3                                       Barnett [6] 43/13 47/5 82/18
                                attorney's [6] 42/19 49/5        88/24 142/18 158/10
 108/5 151/25 152/2              91/1 96/4 96/18 96/25
ask [48] 2/21 35/20 35/22                                       Barnett's [2] 146/9 158/1
                                attorneys [23] 2/19 48/18       Barr [2] 48/14 147/14
 37/17 37/18 45/8 47/15 47/18    50/10 50/22 51/7 58/3 63/9
 49/21 50/14 53/7 53/7 54/25                                    Barrett [3] 131/19 134/5
                                 68/1 77/20 77/22 79/25 80/23    134/7
 58/1 58/8 58/9 64/15 67/6       86/3 86/5 86/6 86/18 90/2
 71/10 75/22 76/13 76/13                                        based [33] 12/5 17/9 17/10
                                 90/3 110/24 138/8 138/16        20/20 22/24 24/12 25/7 27/6
 76/15 84/14 85/9 96/9 102/11    138/21 163/15
 102/21 110/12 110/19 111/7                                      27/9 27/12 28/20 34/3 35/1
                                attributable [1] 139/13          35/16 41/2 45/18 47/3 51/13
 111/7 118/9 122/15 127/15      attributed [3] 93/3 104/17
 132/22 132/23 136/12 136/20                                     67/20 71/8 93/12 93/14 94/10
                                 104/18                          94/18 97/15 98/5 98/5 109/20
 138/15 139/20 139/23 146/13    audio [3] 45/11 45/16 120/1
 148/5 150/7 151/17 158/18                                       132/24 133/2 149/19 151/25
                                August [2] 6/23 141/11           152/1
 159/17                         August 15th [1] 141/11
asked [25] 32/23 42/3 43/5                                      bases [2] 74/15 121/17
                                AUSA [2] 151/2 151/5            basically [1] 69/14
 43/7 44/13 47/25 58/12 78/16   authenticate [1] 92/16
 79/24 80/1 80/3 84/8 85/4                                      basis [20] 14/14 14/23 18/1
                                authenticating [1] 92/1          23/2 23/10 23/24 24/7 24/13
 101/5 101/25 110/10 122/3      author [1] 74/1
 129/12 129/22 144/15 155/1                                      29/6 29/17 45/15 88/19 94/12
                                authored [1] 145/6               102/22 105/21 120/14 121/14
 156/14 157/11 158/23 162/6     authoritative [8] 27/5 40/11
asking [7] 50/25 80/12 88/9                                      124/10 145/22 158/12
                                 40/17 44/16 100/1 150/25       be [157] 3/6 3/15 9/9 10/17
 91/17 150/10 150/11 158/5       151/11 151/13
asks [3] 30/23 126/5 127/12                                      13/1 13/17 13/24 14/11 14/16
                                authorities [2] 5/22 24/20       14/22 14/25 17/5 17/23 18/3
aspect [1] 98/3                 authority [33] 3/11 12/22
aspects [1] 32/7                                                 21/22 21/23 21/25 22/15 23/6
                                 17/8 17/11 17/12 18/6 18/11     23/15 24/3 27/4 27/11 27/14
aspersions [1] 90/2              20/15 21/25 22/10 25/20
asserted [1] 7/8                                                 27/15 28/17 28/19 35/9 36/17
                                 25/25 25/25 26/4 26/21 40/23    36/19 39/13 39/19 42/1 42/5
assertion [1] 129/9              40/25 41/3 71/25 72/1 72/1
asserts [2] 26/11 28/9                                           42/25 44/1 44/2 44/20 45/5
                                 72/4 74/18 94/23 97/13 99/3     46/3 46/14 46/17 49/17 49/25
assess [1] 141/16                100/12 111/13 111/14 119/14
assessment [9] 24/22 27/7                                        50/1 50/21 50/22 51/2 51/23
                                 119/19 149/8 149/18             53/19 55/18 61/5 61/25 62/3
 27/10 27/13 35/1 36/10 43/15   authorization [2] 29/12
 43/18 47/10                                                     62/6 63/22 64/18 66/24 67/13
                                 96/18                           67/13 67/18 67/19 68/9 68/16
assessments [3] 133/10          authorized [3] 93/11 151/4
 133/12 133/12                                                   70/20 70/24 71/3 71/6 71/6
                                 152/4                           71/20 74/3 74/22 74/22 74/23
assigned [1] 23/23              authorizes [1] 70/22
assistance [5] 5/22 8/12                                         75/2 75/4 75/5 75/7 75/12
                                available [2] 62/3 138/15        75/15 75/21 76/6 76/8 78/23
 67/15 67/21 136/25             Avenue [1] 1/20
assistant [7] 35/7 48/16                                         80/6 85/3 85/15 85/21 85/25
                                averted [1] 93/17                86/22 86/22 87/15 89/25
 54/17 81/25 83/12 147/20       avoid [1] 140/7
 157/10                                                          92/12 92/19 96/5 96/9 100/9
B                               137/5 137/20 138/1 138/4
      Case 1:17-cr-00232-EGS 138/6
                              Document
                                                                bootstrapping [1]   29/11
                                   140/19266  Filed
                                          143/21    10/08/20born
                                                  144/13       Page
                                                                 [1]169 of 196
                                                                      135/8
be... [59] 101/2 101/11          153/16 154/18 157/5 160/22     both [13] 4/15 16/8 19/9
 101/24 102/6 102/9 102/23       161/23                          24/14 41/4 41/8 48/18 80/3
 103/1 103/6 105/7 110/13       begin [2] 111/6 111/9            83/22 95/16 112/12 144/7
 112/16 112/19 119/20 124/20    beginning [1] 43/6               151/21
 125/23 126/6 127/6 127/9       begins [1] 11/2                 bound [1] 135/11
 128/23 129/2 129/3 129/15      behalf [8] 33/2 48/15 49/9      Brady [23] 6/21 6/22 6/25
 129/20 132/1 133/9 135/6        52/12 58/25 59/1 136/9          7/7 7/12 7/13 50/11 54/10
 136/14 137/11 137/13 137/23     143/16                          79/5 81/3 86/11 87/1 87/17
 138/5 138/9 139/19 141/25      behavior [1] 120/11              90/11 90/12 91/7 140/11
 144/11 144/24 145/13 145/14    behind [4] 41/18 117/10          140/16 141/20 141/21 141/22
 146/19 146/21 146/22 146/23     120/15 145/24                   142/1 153/17
 146/24 146/25 147/3 147/8      being [19] 31/6 43/22 46/17     branch [20] 13/7 18/11 26/8
 147/13 147/17 149/21 150/1      52/12 59/2 67/22 92/23 93/18    40/12 40/22 96/14 99/2 99/25
 152/23 154/16 154/20 156/4      118/10 121/3 130/17 130/19      111/24 111/25 119/19 120/5
 158/12 159/14 160/18 162/8      134/13 139/14 144/3 147/4       120/10 135/14 135/15 135/16
 162/9                           159/12 160/23 162/19            149/8 151/1 151/12 153/9
bear [1] 109/3                  belief [2] 43/19 162/21         branch's [4] 21/24 26/5
became [4] 10/3 74/13 87/18     believe [29] 4/11 28/14          40/17 155/19
 87/19                           30/21 33/20 50/1 60/11 60/12   brand [2] 131/17 135/22
because [120] 5/7 5/9 6/4        60/13 60/22 60/24 61/2 62/11   Brandon [1] 65/25
 13/6 13/16 13/18 14/15 15/18    64/19 65/10 70/24 72/18        breached [1] 128/18
 17/3 17/15 17/19 18/25 22/4     73/17 73/23 74/3 74/6 74/12    break [2] 99/20 105/9
 22/6 26/3 26/17 27/5 27/16      103/14 103/16 144/5 155/20     breakdown [1] 34/23
 29/10 29/22 31/23 35/11         156/18 157/18 158/7 159/7      bribe [3] 24/24 26/25 151/5
 36/17 39/5 39/9 39/20 40/6     believed [2] 13/16 125/11       bribed [2] 40/7 99/22
 40/7 42/15 51/4 51/11 52/8     believer [1] 48/19              brief [9] 9/16 10/25 15/12
 60/20 62/21 62/25 63/6 64/10   believes [3] 19/14 49/16         56/19 70/21 118/10 125/25
 65/10 66/9 71/5 71/9 71/11      134/7                           131/6 148/22
 71/17 73/5 74/13 75/14 76/15   bells [1] 89/3                  briefed [6] 43/17 47/9 66/6
 76/25 77/24 78/2 79/11 80/2    beloved [1] 49/24                83/3 83/4 144/5
 80/12 81/3 86/25 87/3 87/16    below [2] 150/4 150/6           briefing [10] 9/11 10/7
 88/1 90/10 90/24 92/2 92/16    benefit [5] 5/10 6/7 49/14       59/24 59/25 73/17 131/15
 94/12 94/15 94/25 95/10         69/18 71/23                     141/14 142/5 142/7 155/4
 98/18 99/6 102/18 103/13       bent [1] 138/4                  briefings [1] 142/11
 105/11 111/16 112/1 112/5      Benton [1] 43/5                 briefly [9] 38/18 39/22
 114/14 115/10 116/25 118/17    best [5] 38/12 60/24 73/16       104/21 106/5 121/15 121/18
 118/18 118/21 119/19 120/7      73/16 164/15                    127/7 136/13 160/9
 120/14 121/4 121/4 121/16      bet [2] 123/19 123/20           briefs [2] 96/24 119/16
 122/22 124/7 126/22 128/14     better [6] 37/16 38/9 57/10     bring [10] 12/19 32/6 41/25
 128/18 128/22 129/2 129/3       86/2 100/17 131/7               42/6 79/2 94/24 104/16
 129/8 131/9 132/18 134/16      between [21] 8/12 12/8 16/7      111/19 131/8 156/23
 135/17 137/5 139/7 139/22       16/9 21/12 29/2 30/9 34/9      brings [1] 135/2
 140/6 140/23 143/2 144/1        36/18 39/5 39/19 53/1 69/8     broke [1] 119/6
 144/8 144/9 144/14 146/23       69/21 69/25 71/4 79/7 79/18    Brooklyn [1] 104/8
 149/5 150/2 152/10 154/17       93/8 121/22 148/2              brought [10] 13/2 39/15
 156/17 157/1 157/23 159/6      beyond [6] 4/11 27/11 27/14      112/5 113/20 126/1 159/25
 161/1 161/19                    28/14 28/21 33/6                160/13 162/13 162/22 162/24
become [7] 89/9 119/20          bias [17] 61/7 63/19 64/6       Brown [2] 54/14 59/15
 119/22 120/10 133/23 134/9      131/9 131/16 131/24 132/3      bucket [2] 105/18 105/25
 135/11                          132/7 132/14 132/17 132/24     buckets [1] 105/6
becoming [1] 124/10              133/1 133/2 148/24 161/11      bunch [1] 156/1
been [78] 8/19 9/20 17/5         161/12 161/12                  Bureau [1] 4/22
 28/6 29/16 30/5 30/6 34/18     Biden [2] 140/20 143/2          Burling [6] 49/6 49/7 49/10
 35/6 36/20 40/7 42/12 43/10    bigwig [1] 40/7                  58/24 59/5 66/5
 44/3 44/11 46/21 47/1 47/11    Bill [4] 43/12 47/5 82/18       business [5] 6/12 6/15 78/5
 49/15 50/11 50/15 50/16         88/24                           78/6 121/24
 50/18 57/16 63/2 63/7 67/17    bind [1] 116/24
 68/5 68/19 68/20 68/25 71/12   binders [2] 48/2 48/2           C
 73/9 76/5 80/14 81/10 82/11    binding [3] 97/6 97/8 110/15
 82/16 84/8 86/9 86/15 89/17                                    call [12] 6/18 29/6 33/12
                                BINNALL [2] 1/14 2/12            42/20 43/15 45/20 45/21 46/6
 89/18 91/25 92/1 92/14 92/16   bit [8] 36/24 37/2 82/1
 96/15 96/20 100/8 105/11                                        46/10 82/5 82/24 85/22
                                 102/5 122/14 128/7 132/1       called [3] 79/20 81/18
 107/19 110/7 111/2 111/4        137/2
 113/16 117/22 118/6 122/5                                       107/18
                                bizarre [1] 134/9               calls [11] 29/9 29/11 29/16
 125/4 131/6 131/11 133/7       black [1] 22/25
 136/7 137/6 137/17 142/1                                        29/22 33/1 82/21 83/8 83/8
                                blacked [1] 52/16                83/21 140/21 143/4
 143/25 144/8 147/25 152/4      blank [1] 149/10
 155/4 158/2 158/17 160/13                                      came [8] 107/12 114/4 114/5
                                blind [2] 111/16 139/3           138/7 139/11 140/10 157/2
 161/5 162/13 163/6             blind-sided [1] 139/3
before [52] 1/9 3/17 4/23                                        162/2
                                blindly [1] 120/23              campaign [5] 79/19 106/13
 6/25 7/2 31/22 33/11 34/12     blizzard [2] 102/4 129/18
 34/14 38/21 41/10 54/21                                         121/22 121/23 123/6
                                blocking [1] 62/11              can [59] 4/11 25/23 27/14
 54/25 58/22 59/7 60/23 62/12   blow [2] 85/21 124/17
 64/18 66/13 72/3 72/17 75/23                                    28/14 33/6 35/10 36/22 38/12
                                blowing [2] 104/7 104/10         40/12 51/2 51/8 53/5 57/17
 76/6 83/10 96/8 97/21 106/20   blunt [1] 46/3
 107/7 107/16 116/13 116/20                                      60/12 61/23 70/10 71/12
                                bluntly [1] 123/5                71/22 77/5 80/23 83/19 91/24
 117/4 120/8 126/20 127/22      book [1] 54/15
 127/23 127/24 127/24 137/2                                      92/13 96/9 99/5 100/3 100/20
C                               135/2 157/22
      Case 1:17-cr-00232-EGScharged
                              Document
                                                                closest [1]   72/6
                                    [6] 266
                                         45/7 Filed
                                              46/1610/08/20  Page 170
                                                    73/12 closing [5] of81/16
                                                                         196        81/19
can... [32] 105/17 106/5         76/25 77/1 77/2                 88/17 125/8 146/20
 109/25 116/22 117/17 117/25    charges [22] 5/23 12/17         closure [2] 31/21 82/17
 119/25 127/5 127/9 128/12       12/18 12/19 13/8 16/9 16/23    club [2] 90/4 90/5
 128/13 128/14 130/12 132/12     17/17 27/20 41/2 97/15         coached [1] 137/21
 133/1 137/11 145/22 146/1       111/20 111/20 112/5 112/7      Coates [1] 119/25
 146/2 147/2 147/8 150/10        115/25 149/12 149/13 156/23    cocktail [1] 144/2
 151/24 153/23 155/6 155/11      156/25 157/23 158/10           Code [4] 4/22 7/15 16/4
 156/11 156/15 156/17 156/24    charging [11] 17/11 17/13        30/17
 159/25 162/20                   18/8 20/14 21/2 25/10 25/19    coerced [1] 128/2
can't [15] 48/3 55/13 55/15      25/21 26/1 41/3 112/4          coercion [2] 139/23 140/3
 68/12 89/23 103/14 103/16      check [2] 26/11 119/17          coercive [2] 20/11 22/5
 104/5 109/12 112/19 116/8      checked [3] 91/4 120/25         coherent [1] 109/21
 127/8 128/4 128/12 136/16       159/11                         colleague [8] 4/23 68/3
candidate [2] 30/7 81/21        chief [8] 54/18 94/7 94/15       72/18 77/6 91/19 97/23 118/3
candidate's [1] 45/25            130/3 153/19 153/20 154/3       156/2
cannot [9] 17/14 21/18 21/23     159/23                         colleagues [2] 74/2 107/7
 27/4 28/21 40/16 139/19        choice [1] 139/15               collect [2] 141/16 142/6
 152/23 153/11                  choices [1] 26/1                collector [1] 114/7
canvass [1] 100/20              choose [1] 113/23               colloquy [8] 4/25 5/15 32/18
capable [5] 30/18 30/24 84/5    chose [5] 65/22 112/2 121/1      75/23 137/19 137/19 139/23
 122/11 122/16                   121/2 145/9                     144/10
capacity [1] 164/6              Christopher [1] 142/7           collusion [1] 157/20
capturing [1] 2/18              circuit [25] 9/24 10/2 11/5     COLUMBIA [2] 1/2 164/5
care [3] 21/19 42/4 134/23       13/14 15/7 16/6 17/1 17/7      come [13] 7/2 80/23 84/22
career [12] 42/14 42/18          20/21 21/19 21/21 23/5 23/18    105/16 116/20 117/4 119/9
 46/24 89/21 89/24 96/18         25/18 26/20 26/23 32/11         124/20 127/14 131/10 141/21
 96/20 114/18 156/23 156/24      38/24 38/25 39/7 68/7 71/25     155/2 160/2
 157/13 157/21                   96/24 119/15 158/25            comes [5] 112/4 119/13 120/5
careful [1] 147/9               circuit's [10] 3/3 10/3          125/17 138/5
carrying [1] 31/9                13/13 20/22 21/10 41/17        Comey [8] 34/14 83/6 83/7
Carter [1] 46/10                 41/17 64/7 137/10 149/25        140/21 140/21 141/1 143/3
case [261]                      circumstance [1] 151/14          143/4
case-specific [1] 108/11        circumstances [12] 5/18         Comey's [1] 44/13
cases [27] 11/13 15/1 18/4       22/13 34/5 41/25 47/12 75/1    coming [4] 88/25 102/25
 21/20 32/10 39/21 41/18         75/16 87/9 120/8 121/8          105/8 131/14
 41/19 72/7 72/8 72/10 72/11     133/16 147/10                  commence [2] 68/18 137/18
 72/22 72/22 73/5 93/12 98/4    cite [2] 70/24 72/6             commenced [5] 5/8 5/8 5/12
 98/5 98/7 105/20 108/23        cited [6] 41/16 70/22 96/24      7/19 135/2
 132/25 133/3 147/25 159/13      115/21 119/16 156/3            comment [2] 66/18 156/13
 159/15 159/25                  cites [3] 22/25 113/8 150/4     commentary [1] 106/15
cast [1] 81/13                  citing [4] 21/13 24/23 82/8     comments [7] 63/18 63/18
casting [1] 90/1                 125/24                          64/4 95/1 111/12 148/13
catch [1] 36/23                 citizen [1] 51/23                152/2
categorical [2] 20/24 33/17     citizens [1] 29/15              commit [1] 160/25
cause [2] 9/14 26/7             civil [2] 39/18 39/21           committed [3] 44/23 104/9
caused [1] 87/3                 claim [8] 12/10 30/14 76/25      136/1
causes [1] 81/6                  77/21 116/5 117/10 120/15      committee [5] 11/21 11/24
cautiously [1] 63/8              133/8                           115/16 115/25 133/25
cell [1] 52/16                  claimed [6] 4/5 32/7 33/16      committee's [1] 115/17
cement [1] 63/19                 114/13 129/5 129/10            committing [1] 128/18
century [1] 116/17              claiming [4] 68/24 69/3 87/8    common [2] 20/5 115/1
certain [7] 6/21 44/22 62/6      89/14                          communicated [1] 29/24
 62/14 75/24 88/13 107/21       claims [6] 8/11 21/19 28/20     communication [3] 49/11 53/1
certainly [15] 41/23 44/2        39/14 44/9 103/19               93/8
 53/20 57/5 57/23 60/23 64/25   clarified [1] 15/7              communications [17] 29/2
 65/6 82/11 85/13 92/7 94/2     clarifies [1] 22/9               29/10 31/5 31/11 53/14 55/2
 100/15 100/17 149/25           clarify [2] 45/13 157/14         82/9 84/18 89/24 93/12
CERTIFICATE [1] 163/19          classified [2] 44/11 124/14      108/12 122/4 122/23 122/25
certification [1] 92/20         clause [2] 21/19 134/23          154/20 154/22 163/1
certify [4] 91/24 92/14         clear [32] 3/9 3/12 15/8        compel [2] 6/20 66/8
 164/5 164/12                    21/6 22/20 22/22 25/7 25/8     compelled [1] 42/5
certiorari [3] 62/2 63/10        26/18 34/17 40/21 48/24 58/6   compelling [2] 90/10 159/13
 63/12                           59/20 60/11 60/21 74/3 75/7    compels [2] 75/20 75/21
cetera [1] 92/15                 75/9 76/13 79/14 93/19 98/4    complain [1] 115/8
challenge [1] 5/18               105/6 112/14 113/9 113/9       complaining [1] 115/12
chance [5] 53/8 92/11 110/21     124/25 131/3 131/21 132/1      complains [1] 86/13
 110/23 118/9                    155/17                         complaint [2] 3/23 10/15
change [5] 43/15 47/7 82/22     clearly [4] 26/24 145/16        complaints [1] 115/14
 83/23 104/10                    153/4 153/7                    complete [2] 71/22 71/23
changed [2] 121/6 131/1         clever [1] 80/23                completed [1] 6/3
changes [1] 115/13              client's [1] 60/24              completely [9] 42/22 63/25
channel [1] 122/2               close [4] 44/15 81/17 110/23     65/23 105/2 128/7 135/13
characterize [1] 119/14          156/15                          139/2 142/8 161/14
characterized [1] 124/1         closed [5] 31/21 35/6 84/16     complicated [2] 74/14 124/21
charge [18] 4/18 10/23 13/1      124/5 124/8                    complicity [2] 20/9 75/24
 13/15 13/17 13/19 32/8 45/15   closely [3] 34/18 72/2          compounded [1] 79/6
 47/9 69/9 85/19 106/25          106/17                         comprehensive [2] 36/3 38/17
 113/19 113/20 113/23 114/8
C                               construed [1]
      Case 1:17-cr-00232-EGSconsult
                              Document
                                                71/3           correlations [1]  95/11
                                    [1] 266  Filed 10/08/20correspondence
                                         137/25               Page 171 of 196
                                                                           [1]      55/3
comprised [1] 82/23             consulted [2] 93/10 152/3      corrupt [7] 11/19 12/7 13/8
compromised [2] 43/16 83/24     consulting [1] 106/16           25/2 42/16 140/25 143/5
concede [2] 112/9 150/9         contacts [1] 32/24             corruption [3] 49/24 54/15
concedes [2] 15/21 118/2        contemplated [1] 82/13          146/6
conceding [1] 130/24            contemplates [1] 23/11         could [35] 4/7 12/9 31/11
concern [8] 14/1 16/8 40/5      contemporaneous [2] 153/21      33/3 41/21 44/24 65/3 65/4
 51/24 69/24 71/8 88/9 140/13    154/11                         65/5 67/18 67/18 67/19 71/23
concerned [7] 5/10 14/6 25/8    contempt [3] 3/6 9/10 70/23     72/10 73/14 74/18 81/7 81/7
 49/14 140/14 158/12 158/14     contend [1] 25/2                84/8 85/3 86/1 98/19 100/12
concerning [4] 21/2 46/9        contends [10] 11/14 19/3        104/21 107/25 121/2 123/4
 69/21 130/15                    20/17 22/2 24/13 26/2 30/3     124/24 128/23 136/24 144/11
concerns [14] 11/23 15/14        31/2 32/15 33/13               147/22 147/24 150/1 160/25
 15/18 20/4 22/12 22/14 47/3    content [3] 14/11 17/23 23/7   couldn't [6] 57/13 78/2
 73/11 91/10 96/17 101/8        contentions [1] 32/13           95/23 114/13 115/7 130/6
 145/12 158/2 158/12            contested [1] 139/19           counsel [73] 2/8 2/16 4/14
conclude [1] 130/10             contests [1] 115/22             5/2 5/21 6/13 6/15 8/12
concluded [9] 3/24 15/1 15/4    context [6] 24/17 34/5 70/23    35/24 36/8 36/22 37/5 38/6
 16/14 17/2 27/20 82/21          91/6 98/13 111/16              38/14 42/9 42/11 44/4 44/5
 163/17 163/18                  continuance [1] 15/16           47/13 47/17 49/23 50/9 50/9
concludes [1] 52/8              continue [4] 88/18 100/4        53/3 53/9 53/22 56/13 56/15
conclusion [1] 31/23             143/10 162/4                   59/3 59/19 60/13 60/25 65/2
conclusions [1] 123/10          continued [11] 3/24 5/12        65/12 67/10 67/11 67/15
conclusory [4] 14/12 17/24       23/18 27/21 71/21 82/7 88/3    67/21 67/24 69/6 70/1 71/10
 23/2 23/7                       141/2 145/4 145/13 157/17      75/23 76/10 78/12 80/3 81/12
concurs [3] 14/6 17/22 20/19    continues [3] 134/10 143/12     86/6 90/2 91/24 92/22 95/5
conduct [14] 7/25 50/10          146/21                         97/5 100/7 106/17 110/5
 75/25 76/3 76/4 76/9 76/21     continuing [3] 27/8 29/3        111/4 111/12 117/6 119/1
 76/25 80/13 82/20 121/3         43/9                           136/23 136/25 137/20 138/1
 123/17 135/11 135/12           contraband [1] 159/11           138/23 139/2 139/4 140/1
conducted [5] 5/14 35/9 61/5    contradict [1] 123/11           144/11 155/22 158/23 160/6
 89/11 134/13                   contradicted [1] 162/15         160/8
conducting [2] 31/9 121/21      contradicting [1] 7/22         counsel's [10] 8/10 43/18
conference [1] 138/15           contradicts [2] 19/8 25/17      43/20 79/24 89/3 95/19 96/2
confers [1] 25/23               contrary [2] 26/24 146/24       131/20 157/25 158/3
confidence [4] 64/11 120/9      contrary-wise [1] 146/24       count [3] 4/20 77/1 160/18
 135/15 156/19                  Contreras [11] 4/24 4/24       counter [12] 29/1 29/4 29/7
confident [1] 160/1              7/24 75/23 127/23 127/25       30/1 35/7 83/13 116/7 124/15
confidentiality [1] 49/12        137/5 137/12 143/17 143/25     153/20 153/21 154/3 159/23
confirm [1] 157/12               144/8                         counter-intelligence [11]
confirmation [1] 76/24          controlled [1] 72/16            29/1 29/4 29/7 30/1 35/7
confirmed [2] 11/15 155/2       controlling [2] 16/2 41/8       83/13 124/15 153/20 153/21
conflict [8] 69/25 77/12        controversy [4] 3/3 3/16        154/3 159/23
 77/21 136/24 136/25 139/6       36/18 39/13                   counter-textual [1] 116/7
 139/25 140/2                   convenience [1] 52/18          countermand [1] 17/11
conflicted [2] 136/23 139/14    convenient [2] 62/17 62/18     countries [1] 143/13
conflicting [1] 29/16           conversation [4] 28/4 47/6     country [6] 43/16 70/25
Congress [1] 34/15               101/17 143/18                  73/18 94/21 98/23 125/17
congressional [1] 26/13         conversations [9] 32/6 32/7    counts [1] 147/24
connected [4] 11/20 25/3         34/12 55/17 84/10 89/23       coup [1] 146/6
 85/18 85/21                     101/15 101/19 108/3           couple [15] 36/4 56/20 73/25
connection [5] 16/5 50/9        convict [3] 41/22 41/23 42/6    82/19 105/6 106/23 117/22
 58/8 58/9 102/1                convicted [1] 72/17             131/12 134/19 136/8 140/14
consciousness [1] 105/20        conviction [7] 19/1 20/1        155/21 157/8 158/1 160/21
consent [3] 8/24 9/4 10/17       20/12 34/9 76/6 78/4 78/24    course [24] 44/8 53/13 62/3
consentable [1] 139/6           convictions [2] 48/21 158/22    68/18 77/19 80/16 84/5 87/7
consented [1] 144/18            convinced [4] 42/2 42/2         87/11 88/20 98/25 103/17
consider [7] 62/9 76/8 93/23     87/19 156/22                   103/19 113/3 116/8 122/20
 94/13 97/6 97/8 145/2          cooperate [6] 6/5 6/17 65/22    130/6 138/4 150/14 154/14
consideration [5] 11/23          65/24 68/19 71/21              154/17 156/13 157/5 160/13
 52/10 92/24 93/5 147/9         cooperated [1] 128/22          court [325]
considerations [1] 16/15        cooperation [5] 5/11 6/3       Court's [34] 3/14 5/17 5/19
considered [5] 13/18 23/22       69/10 128/11 128/15            6/22 14/15 18/17 18/25 19/8
 40/11 96/13 147/17             coordinate [1] 26/5             22/10 22/18 23/15 26/16
considering [1] 107/15          coordinated [1] 123/6           40/22 56/1 59/21 62/13 62/24
consisted [1] 72/16             coordinating [1] 123/8          63/3 63/18 64/4 68/17 87/1
consistent [4] 12/15 44/8       coordination [3] 34/9 79/18     88/21 88/23 94/24 104/17
 60/24 131/2                     121/22                         118/21 131/23 134/8 134/18
conspicuously [1] 153/18        cops [1] 107/20                 141/22 141/25 142/2 146/18
constitute [5] 25/3 34/3        copy [3] 48/13 52/4 52/21      courtesy [1] 148/12
 59/7 106/2 164/13              core [2] 22/7 114/4            courthouse [2] 42/13 131/11
Constitution [4] 1/20 75/20     corner [1] 127/20              courtroom [10] 102/6 107/12
 75/21 134/24                   cornerstone [1] 64/9            116/20 117/13 117/15 117/17
constitutional [10] 12/15       correct [11] 56/3 59/11 63/6    122/5 125/6 126/5 135/3
 13/4 16/20 16/25 20/4 21/1      68/5 75/8 102/13 147/5        courtrooms [2] 103/24 148/5
 26/6 74/25 75/18 82/10          151/20 152/24 157/12 162/2    courts [31] 1/1 11/4 13/11
constitutionally [2] 13/10      correctly [6] 57/24 72/16       14/3 15/10 15/22 15/23 16/19
 18/7                            74/11 96/5 113/3 159/8         18/6 19/7 20/18 20/21 20/24
construe [1] 70/15
C                               62/17 62/18 62/19 62/21
      Case 1:17-cr-00232-EGSdated
                              Document 266 50/4
                                             Filed
                                                               125/13 126/5 126/13 131/3
                                                   10/08/20 133/4
                                                              Page144/25
                                                                   172 of145/13
                                                                          196
                                  [4] 48/6       53/24                             147/24
courts... [18] 21/14 21/17     58/22                           148/1 150/15 150/18 150/20
 24/8 24/17 25/6 25/18 25/23  dates [2] 10/9 62/22             161/17
 25/25 26/21 94/21 97/3 99/11 day [15] 7/24 8/24 46/4         defendant's [4] 4/2 27/24
 108/25 109/9 109/18 116/12    63/15 69/20 84/23 118/5         69/16 132/9
 159/12 163/2                  140/4 140/19 141/12 162/20     defendant-friendly [1]
covered [2] 70/1 126/20        163/7 163/10 164/10 164/18      126/13
Covington [8] 49/6 49/7       days [6] 5/4 64/2 120/18        defendants [11] 11/20 12/12
 49/10 58/24 59/5 66/4 69/2    135/10 137/9 140/14             21/4 73/1 73/2 115/5 116/6
 77/11                        dead [1] 33/4                    132/2 133/1 147/10 159/12
Cowan [2] 119/16 120/25       deadline [1] 61/15              defended [2] 89/20 96/15
CR [2] 1/4 164/9              deafening [1] 123/25            defending [2] 89/18 89/21
CR-17-232 [2] 1/4 164/9       dealing [1] 89/7                defense [11] 32/8 69/6 69/11
Cramer [1] 37/10              dealings [1] 33/2                69/25 79/25 87/3 106/16
create [3] 20/23 115/16       dealt [1] 115/17                 108/6 132/16 140/1 160/24
 135/22                       Dear [1] 48/14                  defer [3] 120/22 120/23
created [3] 66/4 121/8        debriefing [2] 128/17 154/10     155/18
 139/10                       debriefings [1] 127/22          deference [4] 64/10 112/16
creates [1] 111/23            decade [2] 90/4 90/5             112/17 134/22
creating [1] 109/22           decades [1] 42/13               deferred [7] 16/5 16/7 97/7
credibility [1] 46/25         deceived [2] 32/9 130/23         97/22 97/23 98/12 113/4
credible [1] 30/15            December [22] 4/23 5/4 5/6      deficient [1] 30/13
credit [1] 137/11              5/13 5/25 7/10 7/19 68/11      definitely [2] 68/16 149/1
cried [1] 145/8                71/18 77/8 78/13 79/12 81/3    definitive [1] 31/23
crime [9] 4/10 28/13 29/11     85/10 86/25 101/17 104/6       degrade [1] 38/12
 32/1 43/19 44/23 47/10 104/9  107/13 108/18 123/3 137/16     delay [3] 62/24 63/10 63/13
 159/9                         141/19                         delayed [1] 6/2
crimes [3] 16/21 124/7        December 1 [1] 4/23             deleted [2] 12/3 66/10
 147/10                       December 12th [1] 137/16        deliberately [1] 32/4
criminal [48] 2/2 3/6 3/19    December 18 [2] 104/6 107/13    deliberations [1] 26/9
 3/20 5/23 8/18 8/22 8/23     December 2018 [2] 5/13 79/12    deliberative [1] 93/9
 9/10 10/12 10/23 11/20 11/22 December 2019 [2] 7/10 78/13    demand [2] 125/7 135/5
 11/25 12/12 12/17 12/25 13/8 decide [3] 18/12 61/8 144/22    demanded [2] 125/8 125/10
 16/9 25/21 27/20 29/5 29/9   decided [9] 39/18 87/22         demanding [2] 9/4 125/17
 39/20 39/21 51/24 59/23 60/7  87/22 98/25 100/2 120/19       demands [2] 91/6 125/14
 75/25 76/3 76/4 76/9 76/21    133/23 155/8 161/1             demeanor [1] 44/25
 102/5 105/20 111/20 112/2    decides [2] 36/20 39/12         demonstrate [2] 10/21 133/1
 112/7 115/2 115/16 115/24    deciding [2] 12/24 147/23       demonstrated [2] 34/4 132/7
 116/6 124/15 132/2 134/21    decision [46] 13/13 15/3        demonstrates [1] 148/1
 135/2 158/17 164/9            15/6 18/3 19/8 24/2 24/8       denial [8] 15/15 22/14 22/24
criminality [1] 80/9           26/10 30/19 31/17 35/13         24/12 24/14 73/19 76/10
critical [5] 41/19 78/20       36/11 40/10 40/22 40/25         98/24
 117/9 119/7 124/2             42/20 51/10 60/3 64/7 76/16    denials [1] 33/17
criticism [1] 115/1            89/22 94/9 94/9 94/10 94/13    denied [5] 27/4 61/23 128/25
criticized [1] 147/13          94/16 95/21 95/22 96/1 96/14    128/25 138/22
criticizing [1] 93/3           99/2 100/1 122/12 124/23       denies [1] 128/3
cross [2] 90/16 132/12         137/10 144/23 146/18 149/4     denigrated [1] 114/1
cross-examination [1] 90/16    149/4 150/4 150/16 152/6       denominator [1] 20/5
Crossfire [24] 28/22 30/4      159/20 160/2 160/11 160/12     deny [27] 4/17 4/17 15/11
 31/20 32/15 32/17 32/20      decisions [23] 12/17 12/18       17/9 17/15 20/24 25/6 26/15
 32/21 35/6 79/20 80/21 81/14  14/2 17/13 20/9 20/15 20/16     26/23 41/1 67/12 74/18 75/16
 81/18 81/21 82/3 82/8 83/2    20/21 21/2 21/22 21/23 24/9     97/14 98/19 99/5 100/12
 84/6 84/19 88/5 89/1 124/5    25/10 25/20 25/21 51/20 71/7    103/4 104/24 111/13 112/22
 124/6 124/7 126/25            93/12 112/4 112/6 113/14        125/18 149/19 161/24 161/25
crucial [1] 106/11             147/12 158/24                   162/3 163/3
crystal [4] 3/8 3/12 60/11    declarants [2] 92/1 92/16       denying [7] 7/12 10/3 22/20
 60/21                        declaration [1] 7/21             39/8 54/10 98/22 141/20
curiae [1] 2/15               declined [1] 157/16             depart [1] 7/5
curie [1] 9/7                 dedicated [2] 48/19 144/11      department [44] 34/24 41/24
current [6] 8/19 47/20 47/21  deemed [1] 30/6                  42/1 48/23 48/24 49/13 49/14
 48/7 48/8 138/16             deep [2] 34/20 106/19            51/25 53/15 54/9 54/16 54/20
curtailed [1] 122/13          default [2] 100/19 101/11        55/3 78/25 79/2 94/9 106/21
cut [1] 64/23                 defeat [1] 120/16                108/14 108/20 108/25 109/8
D                             defendant [80] 1/7 1/14 4/9      109/17 109/25 114/22 130/9
                               4/25 10/18 10/25 11/10 13/17    133/21 134/17 135/21 135/22
D.C [26] 1/5 1/20 10/2 11/5    14/3 14/5 15/19 15/25 17/3      147/4 147/6 148/2 148/3
 13/13 13/14 15/7 16/6 17/1    17/6 17/15 17/22 18/20 19/11    148/3 151/4 152/21 154/1
 17/7 20/21 21/10 21/19 23/4   20/19 21/13 21/16 28/12         154/10 157/3 160/3 160/4
 23/18 25/17 38/24 38/25 39/7 33/21 39/10 39/11 39/24          162/23 162/25 163/2
 41/17 61/20 64/7 68/7 91/1    41/22 41/23 42/5 59/24 60/8    department's [1] 22/16
 137/10 149/24                 61/5 61/10 68/23 69/19 69/23   depended [1] 93/2
D.O.J [1] 27/2                 70/7 71/2 73/20 77/15 78/16    depending [1] 22/13
dad [1] 114/11                 81/5 82/7 83/11 85/19 86/13    depends [1] 64/11
daily [2] 141/14 142/5         87/8 88/7 90/15 91/3 103/21    deprive [3] 73/7 119/3
damages [1] 39/17              104/6 105/13 105/14 107/1       120/20
damaging [1] 135/20            114/9 114/16 116/25 117/23     deprived [1] 90/15
danger [1] 110/1               121/4 122/24 123/23 124/9      deputy [10] 46/10 48/9 48/10
data [1] 129/20                124/11 125/5 125/5 125/12       48/14 52/22 54/17 56/16
date [7] 61/13 62/14 62/16
D     Case 1:17-cr-00232-EGS 83/7
                                 44/17 46/11 81/25 83/3 83/6
                              Document  266 Filed
                                                                 22/22 23/8 23/12 23/13 23/16
                                  83/12 83/23 85/1 10/08/20 23/19
                                                              Page23/24
                                                                   173 of24/10
                                                                           196      26/22
deputy... [3] 81/25 85/1        director's [1] 156/13            31/19 35/1 75/9 76/17 77/4
 157/10                         dirtiest [1] 61/11               78/9 87/2 94/14 100/19
derogatory [4] 141/4 142/20     dirty [1] 107/20                 100/24 115/10 115/20 115/24
 142/24 143/1                   disadvantage [1] 62/19           117/10 120/15 123/15 133/9
described [3] 21/4 34/4         disagree [5] 36/10 99/14         144/24 145/9 162/17
 127/6                           99/15 109/12 152/13            dismissals [9] 11/8 11/19
describes [1] 28/15             disagreed [1] 21/20              12/8 14/10 20/10 21/3 22/7
description [1] 99/14           disagreement [6] 17/10 41/2      25/2 74/16
deserves [1] 15/3                60/14 97/16 149/19 149/20      dismissed [14] 54/22 74/23
desire [2] 17/17 116/24         disagrees [2] 25/13 99/8         74/23 75/4 75/5 75/13 75/21
desk [1] 100/9                  disappears [1] 113/11            86/22 89/25 90/6 131/13
despite [6] 21/25 49/15         disapproval [1] 26/12            146/19 152/11 159/14
 141/2 141/9 143/4 154/24       disapprove [1] 25/5             dismissing [2] 119/12 124/10
detailed [1] 54/15              discerned [1] 14/2              disparate [1] 115/4
details [1] 155/1               discharged [1] 26/18            dispatch [2] 158/19 163/10
determination [5] 14/24         disclose [1] 69/18              displays [1] 13/3
 28/19 120/6 125/22 151/13      disclosed [6] 4/2 27/23         dispose [1] 21/23
determine [5] 14/20 36/15        91/13 131/13 137/2 141/18      dispute [3] 8/12 116/4
 40/17 103/2 145/25             disclosing [1] 53/19             139/19
determined [5] 35/4 36/21       disclosure [2] 124/18 125/7     disputing [1] 87/16
 40/14 46/12 153/9              disclosures [3] 64/1 69/19      disqualification [1] 63/20
determining [3] 10/22 113/19     125/18                         disqualify [1] 61/2
 113/19                         discovered [10] 4/1 27/23       disregard [2] 95/3 100/3
detour [1] 99/19                 43/14 44/3 44/10 72/8 72/12    disrespect [1] 162/9
devices [1] 120/1                75/2 81/11 87/21               dissatisfaction [1] 24/25
devoted [2] 104/16 147/25       discovery [1] 91/6              distant [1] 147/11
dicta [11] 17/20 17/21 98/1     discreet [2] 30/18 122/12       distinct [1] 29/17
 98/18 113/4 113/14 149/23      discretion [36] 4/15 11/4       distinction [1] 20/2
 149/24 150/1 150/2 160/13       11/10 12/20 12/24 14/16        distinctive [1] 100/16
dictate [1] 159/20               15/23 18/8 18/12 18/16 22/19   distinguish [2] 12/8 30/22
did [78] 6/18 7/21 8/8 9/24      23/15 24/7 26/16 27/2 62/5     distinguished [1] 125/16
 9/25 10/6 12/8 15/1 15/4        75/3 75/15 85/14 99/3 99/4     district [38] 1/1 1/2 1/10
 18/9 22/9 25/5 29/3 29/8        100/14 105/5 112/8 116/14       1/19 5/24 5/24 6/19 8/17
 29/17 31/8 33/15 39/1 41/12     117/25 118/2 118/3 119/13       15/20 16/3 17/9 17/23 21/14
 43/15 45/1 46/16 46/20 47/6     120/4 144/21 149/9 149/10       24/9 25/18 26/15 39/15 41/1
 54/13 56/8 56/11 56/12 56/16    149/12 149/13 149/14            65/24 71/25 74/12 78/1 97/14
 56/21 58/1 58/8 58/9 59/5      discretionary [1] 25/19          97/19 98/16 98/17 98/21
 59/14 61/7 64/18 66/22 68/18   discuss [6] 52/18 55/14          114/19 114/21 114/24 114/25
 69/2 69/5 72/24 74/2 76/1       55/16 97/11 138/12 143/20       119/17 134/13 149/18 150/6
 80/19 80/20 82/22 85/11        discussed [9] 16/13 52/24        158/25 164/4 164/4
 86/14 88/25 90/9 97/10 97/20    56/2 58/11 67/7 98/22 140/1    division [1] 43/8
 104/6 119/17 123/19 126/23      141/10 147/19                  do [94] 2/24 8/4 15/19 23/25
 127/21 127/22 127/22 127/23    discussing [2] 67/4 144/2        27/8 30/7 37/7 37/7 37/22
 136/21 137/11 137/12 137/17    discussion [15] 17/20 33/1       38/12 40/9 40/16 43/3 43/5
 138/2 139/22 142/16 144/9       50/17 56/25 57/5 69/7 69/11     44/2 44/13 46/6 46/10 46/20
 148/20 149/22 150/3 150/5       83/6 84/11 84/24 119/10         47/2 51/14 51/17 52/2 54/21
 152/8 154/12 155/9 157/18       138/10 145/6 157/5 157/7        58/8 58/9 59/22 61/1 65/6
 157/19                         discussions [5] 55/4 55/10       66/19 68/2 69/2 73/8 73/17
didn't [57] 36/23 42/4 42/18     57/1 57/8 157/4                 74/15 74/20 74/25 75/2 75/15
 44/11 45/17 46/20 53/7 53/7    disdain [1] 108/13               75/20 84/4 84/4 84/24 87/4
 59/1 60/15 60/18 62/1 62/7     dislike [1] 24/24                88/3 89/5 89/16 90/19 91/13
 62/25 64/24 65/6 65/10 74/1    dismiss [87] 3/18 3/22 3/23      91/16 91/16 94/24 100/15
 80/20 82/3 82/24 83/23 84/13    4/18 7/25 8/3 8/15 8/22 10/8    100/17 108/19 108/19 108/23
 84/14 87/8 87/10 89/2 89/2      10/23 12/1 12/17 13/1 15/24     111/6 113/22 114/15 119/9
 92/8 98/21 104/12 107/4         16/21 17/17 20/1 23/3 26/16     119/25 121/9 130/11 134/8
 107/9 109/12 114/17 115/8       27/19 35/14 39/2 39/5 39/12     135/16 135/19 136/14 137/18
 115/25 126/22 139/23 139/24     39/18 40/10 41/2 41/16 42/20    138/5 139/22 144/9 147/2
 140/11 141/8 142/12 149/17      42/24 55/6 56/5 57/24 67/20     147/22 149/1 150/10 150/20
 149/25 152/15 152/19 154/15     67/25 72/25 73/5 75/3 75/17     151/19 153/11 157/8 157/16
 154/25 155/10 155/11 155/13     78/21 78/21 79/6 87/23 88/4     158/18 158/19 160/7 160/10
 157/4 157/12 157/14 157/23      89/19 90/7 90/8 92/15 96/3      160/15 161/1 161/6 162/13
 161/9                           96/7 97/15 100/19 100/21        162/18 162/18 162/20 162/21
difference [4] 39/19 113/21      104/24 107/17 107/23 108/7      164/5
 126/14 148/2                    112/6 112/12 113/20 114/14     docket [4] 50/5 105/10
differences [1] 79/7             116/15 120/6 132/8 133/3        134/14 137/21
different [6] 101/7 112/1        134/3 134/6 134/15 134/20      document [4] 47/15 47/16
 125/11 145/7 147/1 156/7        135/4 135/25 145/11 148/10      69/6 69/12
differently [1] 70/16            150/12 152/10 154/18 158/5     documents [7] 66/12 77/11
difficult [4] 27/11 27/14        158/6 158/7 158/14 158/15       81/10 81/24 95/21 139/8
 130/25 163/1                    160/17 161/11 161/20 162/4      146/4
diligent [1] 67/22               162/12 162/17                  does [23] 4/11 13/3 19/2
diligently [1] 67/18            dismissal [55] 7/10 9/5          19/13 20/23 28/11 28/14
direct [1] 106/2                 10/14 10/16 12/2 13/7 13/19     31/24 33/23 63/12 70/17
directed [1] 67/25               13/23 13/24 14/6 14/13 14/18    113/21 116/23 117/25 118/1
direction [2] 31/21 117/8        14/19 14/22 16/8 16/23 17/3     120/7 124/12 124/13 130/5
directly [3] 44/13 119/8         17/9 17/23 17/25 18/16 18/21    150/22 150/23 153/1 155/20
 159/1                           18/24 20/19 21/18 21/25        doesn't [26] 20/13 38/24
director [11] 34/14 35/7
D                               121/25 122/20 130/2 152/3
      Case 1:17-cr-00232-EGS 155/3
                              Document
                                                               ensuring [1]   106/18
                                   158/23266  Filed 10/08/20enter
                                          162/2                Page 17411/17
                                                                  [4]   of 19650/24   52/11
doesn't... [24] 39/3 41/13      early [5] 6/14 10/1 106/6       103/25
 44/17 50/19 70/15 109/11        106/11 117/21                 entered [9] 5/3 7/3 7/4 7/6
 111/15 111/16 112/3 112/5      easier [2] 95/15 128/23         39/16 49/3 57/25 59/6 104/12
 112/6 116/23 117/23 120/21     easily [1] 33/3                entering [1] 20/11
 127/10 130/6 133/4 133/13      Eastern [7] 5/24 6/19 8/16     enters [1] 6/4
 135/18 149/9 149/11 152/18      65/24 74/12 78/1 134/13       entire [6] 6/7 42/18 50/10
 152/25 161/9                   easy [2] 130/8 130/8            96/21 101/7 139/3
dog [1] 102/10                  ECF [2] 10/25 15/25            entirely [3] 101/12 109/20
doing [17] 46/3 62/8 63/1       effect [1] 152/5                125/1
 84/1 85/5 99/19 109/1 109/9    effective [2] 10/3 136/25      entitled [7] 35/1 112/11
 109/18 114/20 115/1 129/25     effectively [1] 60/7            134/22 135/4 156/18 158/4
 147/8 148/23 150/10 151/3      effort [6] 54/20 63/10 67/23    158/8
 162/5                           71/20 104/16 147/23           entitles [1] 113/12
DOJ [10] 44/4 44/5 46/12        efforts [3] 29/13 61/12        entry [1] 18/25
 95/20 106/4 108/6 108/16        79/19                         equally [1] 39/21
 109/18 123/12 157/18           egregious [5] 7/25 64/1        equivocal [2] 33/16 129/5
domain [1] 94/4                  142/8 142/11 148/7            erected [1] 101/7
don't [76] 3/9 3/12 30/21       either [15] 29/3 30/18 40/18   Eric [6] 54/14 54/19 59/15
 36/5 36/7 39/7 44/14 44/20      67/3 70/4 75/7 75/10 91/19     90/8 139/12 139/12
 44/21 47/14 48/13 53/10         122/12 129/4 130/20 139/16    erode [1] 135/15
 53/20 55/20 55/22 63/5 64/18    139/22 156/8 158/24           erodes [1] 120/9
 64/19 64/22 65/13 68/15        elaborate [1] 79/9             erroneous [1] 57/12
 68/22 70/24 71/9 73/23 74/3    elapse [1] 62/12               error [2] 115/23 160/15
 74/6 74/8 74/14 74/24 75/19    elect [2] 130/1 141/15         errors [1] 115/22
 76/14 84/24 85/20 88/1 90/8    elected [2] 6/16 46/4          escalate [1] 129/12
 90/9 90/18 90/23 93/24 93/24   election [6] 31/8 32/23 33/1   especially [3] 39/9 49/14
 94/11 96/11 99/9 99/13 100/9    79/20 106/13 141/9             71/5
 101/1 102/9 102/14 102/18      electoral [1] 45/25            ESQUIRE [6] 1/12 1/12 1/14
 103/15 103/24 103/24 104/1     element [3] 13/19 32/2 97/17    1/14 1/15 1/15
 104/2 105/7 105/23 112/25      elements [1] 80/11             essence [2] 2/18 3/15
 118/23 119/2 119/8 126/10      elicit [2] 35/3 139/24         essential [6] 66/24 97/17
 126/11 127/17 129/15 132/8     eliminate [1] 133/24            98/3 98/6 112/9 146/6
 132/14 135/17 145/19 146/12    else [14] 59/18 62/17 62/20    essentially [5] 2/18 34/25
 148/19 151/23 156/16 159/14     84/9 84/19 91/22 99/6 126/4    36/14 150/7 151/16
 159/19 159/25                   135/23 138/24 141/7 145/20    establish [2] 7/13 127/1
done [17] 37/13 37/14 43/9       146/11 161/9                  established [2] 21/1 66/5
 51/2 80/24 86/1 87/22 91/12    else's [1] 65/3                establishes [1] 132/11
 100/5 110/1 118/18 118/23      elsewhere [1] 126/17           et [1] 92/15
 133/21 139/7 147/3 147/15      email [2] 69/13 92/5           ethically [2] 58/24 59/10
 157/2                          emails [2] 91/25 92/14         ethics [2] 51/1 51/1
door [1] 84/17                  embezzlement [1] 114/8         ethnicity [1] 133/3
dot [1] 129/19                  embrace [2] 112/25 113/18      evaluate [2] 113/13 135/5
doubt [8] 4/12 27/11 27/14      emerging [1] 51/12             even [63] 17/22 19/13 20/1
 28/14 28/21 33/7 81/13         EMMET [1] 1/9                   20/19 26/14 27/3 31/22 32/25
 161/19                         emphasis [1] 113/18             36/20 39/11 52/17 61/12
doubtful [1] 4/7                emphasize [3] 43/1 89/5         64/12 65/5 65/10 68/22 70/18
doubts [3] 33/6 35/16 45/1       119/6                          78/4 81/13 81/25 82/3 82/15
down [8] 88/16 134/19 136/3     emphasized [3] 41/12 68/10      85/20 85/21 88/3 89/22 91/7
 146/21 146/25 153/21 157/17     153/14                         93/19 93/20 93/23 93/24
 160/22                         emphatic [1] 85/2               96/16 107/5 108/9 109/12
DPA [1] 16/7                    empower [1] 116/12              115/9 115/22 123/14 123/19
draft [2] 11/22 124/4           en [7] 9/24 10/1 36/12 38/24    124/9 125/12 126/12 127/8
drafted [1] 22/6                 39/1 61/19 163/7               128/19 130/1 130/23 133/1
drafters [2] 19/21 99/17        enable [3] 19/6 76/7 102/16     133/4 137/1 140/11 141/8
drag [1] 126/8                  encourage [2] 49/12 114/23      142/10 142/17 142/22 144/5
draw [7] 71/4 86/7 95/11        encouraged [1] 129/12           145/1 149/19 150/11 152/15
 96/6 105/22 109/25 130/12      end [22] 39/13 43/6 45/3        152/22 152/23 155/13 156/22
drawing [1] 75/10                71/8 81/1 85/16 85/16 88/20   event [1] 141/17
draws [1] 99/15                  89/2 89/22 91/8 95/22 100/2   events [3] 32/22 34/8 147/11
drill [1] 157/17                 116/21 118/1 135/9 150/22     eventually [2] 5/6 73/12
drop [1] 60/8                    150/23 151/7 151/14 158/15    ever [13] 9/15 47/11 58/1
drove [2] 45/22 95/21            160/16                         60/6 61/21 64/17 67/6 68/13
drugs [1] 159/11                ended [1] 134/2                 98/23 100/5 122/7 131/6
due [1] 8/9                     endorsed [1] 13/16              143/13
duress [1] 69/4                 ends [4] 33/4 34/20 106/18     every [18] 6/2 6/9 6/24
during [18] 5/14 10/17 34/8      150/24                         72/25 103/23 108/14 109/23
 45/17 58/6 63/1 75/23 79/25    enforcement [8] 5/22 17/13      126/4 127/13 132/6 141/2
 90/16 106/12 128/17 129/11      73/8 73/10 132/4 132/18        142/24 148/4 154/19 154/21
 129/23 138/4 148/19 149/2       132/19 133/10                  154/24 155/7 162/13
 149/4 153/19                   engage [2] 78/15 136/24        everyone [12] 2/22 3/17
duties [3] 15/9 26/18 112/15    engaged [6] 34/12 72/24         10/10 37/18 62/16 65/3 71/21
E                                74/11 76/5 106/14 123/10       110/6 117/15 117/21 118/18
                                enjoy [1] 25/10                 138/5
E.C [2] 81/16 81/19             enjoyed [4] 11/17 21/7 23/13   everyone's [3] 60/21 117/22
each [3] 89/18 110/8 124/25      24/11                          118/25
eager [1] 29/20                 enormous [2] 116/15 162/9      everything [7] 75/1 86/13
earlier [13] 60/18 65/5         ensure [3] 6/6 40/12 150/25     91/22 137/12 141/7 146/23
 97/12 98/22 100/23 111/12
E                               explanation [3]
      Case 1:17-cr-00232-EGS 149/22
                              Document
                                                  109/21
                                        266 Filed 10/08/20 86/15
                                                                falsity [9]
                                                             Page105/13
                                                                  175 of127/7
                                                                         196
                                                                              4/7 27/13 33/14
                                    149/23                                           130/25
everything... [1] 162/20        explicit [1] 132/21              133/18 162/19
evidence [65] 14/21 15/8        explore [2] 84/18 84/20         familiar [2] 47/22 105/19
 21/6 22/21 22/22 23/19 24/18   Exposing [1] 54/15              family [2] 49/15 114/17
 25/7 25/9 26/18 26/24 26/25    exposure [1] 23/11              far [3] 38/24 98/17 154/25
 28/25 34/9 35/17 41/20 43/1    express [3] 22/6 75/14 108/1    FARA [11] 66/2 66/2 76/25
 43/3 44/21 46/19 50/1 51/12    expressed [3] 22/16 35/5         77/3 77/9 78/4 78/10 101/14
 61/7 64/1 72/15 72/15 72/22     158/2                           139/7 139/9 139/15
 78/10 78/23 79/1 85/18 85/20   expressing [2] 88/9 88/15       fault [2] 37/13 37/19
 87/5 87/20 89/7 89/14 90/16    expressly [1] 97/10             favor [4] 76/10 119/25
 91/12 95/17 95/24 99/16        extend [1] 148/12                129/23 129/24
 103/22 105/6 105/19 106/2      extended [1] 137/19             favorable [1] 23/15
 106/5 109/20 112/14 112/19     extension [2] 5/15 160/15       favoritism [11] 19/7 26/12
 113/10 131/2 132/11 137/1      extensive [2] 3/25 27/22         40/6 40/19 41/6 93/21 99/6
 140/17 141/20 141/21 142/13    extent [6] 31/5 71/22 117/2      151/25 152/1 152/16 152/25
 146/5 152/24 153/16 153/17      133/14 146/1 162/16            FBI [80] 4/5 5/18 7/14 7/22
 154/1 155/2 155/17 157/19      extrajudicial [1] 147/17         8/6 29/5 29/8 29/13 29/20
evidenced [1] 143/6             extraordinary [2] 141/3          29/22 30/8 31/8 31/12 31/16
evidencing [1] 137/7             141/21                          32/3 32/23 33/10 33/13 33/23
evident [1] 146/8               extremely [3] 114/19 147/22      34/13 34/14 34/15 35/3 35/4
evidentiary [1] 102/13           156/4                           35/5 42/2 43/7 44/17 45/13
eviscerate [1] 113/22           eyebrows [1] 73/10               46/13 51/12 61/11 72/8 82/1
exact [5] 32/5 77/14 98/14                                       83/3 83/3 83/12 83/17 83/23
 130/2 153/13                   F                                83/25 84/16 84/23 85/1 85/9
exactly [10] 45/16 105/19                                        107/9 107/20 108/8 108/16
 110/1 121/9 133/17 147/14      F.2nd [1] 114/24
                                F.3rd [1] 32/12                  121/20 122/3 122/22 122/24
 153/6 153/10 155/18 163/3                                       123/8 123/17 124/14 128/24
examination [2] 90/16 90/16     face [6] 85/7 103/22 106/20
                                 132/6 146/2 153/25              130/14 130/22 131/12 137/8
examine [3] 25/14 120/23                                         142/8 142/10 153/19 153/20
 147/21                         faced [2] 15/8 112/14
                                fact [29] 14/23 23/24 31/25      154/2 154/8 154/10 154/14
examining [1] 49/23                                              154/19 154/21 154/22 155/7
example [2] 39/14 144/23         35/18 49/4 51/14 52/13 56/4
                                 59/5 70/13 71/18 79/6 81/15     155/9 157/16 157/18 159/7
examples [5] 24/23 40/3 40/4                                     159/9 159/23 160/24 161/3
 40/8 151/1                      88/23 96/1 96/6 98/22 101/6
                                 105/21 108/5 115/8 130/9       FBI's [10] 31/9 31/17 35/7
exceedingly [1] 109/22                                           45/17 79/16 84/2 122/20
excellent [2] 117/23 118/19      140/5 141/2 141/9 143/11
                                 145/1 160/16 162/22             123/1 126/2 127/3
except [2] 59/15 145/14                                         FCA [1] 21/13
exception [2] 69/15 100/22      factor [4] 31/22 92/23 96/1
                                 161/21                         FCRR [1] 1/19
exclusion [2] 16/4 113/5                                        February [3] 8/2 109/6
exclusive [5] 18/11 40/23       facts [22] 28/21 46/9 63/22
                                 66/8 73/21 73/21 95/13 98/5     157/24
 99/2 109/6 149/8                                               February 13 [1] 109/6
exculpatory [2] 49/21 142/19     107/4 125/9 130/13 133/15
                                 133/18 145/7 145/8 153/8       Fed [2] 11/6 12/21
excuse [4] 28/1 53/5 65/19                                      federal [21] 3/20 4/9 4/21
 119/24                          153/12 153/13 155/15 155/16
                                 156/21 156/24                   8/23 9/7 10/12 11/16 11/22
executive [37] 12/24 13/7                                        14/3 28/12 30/25 71/1 71/2
 15/17 16/22 18/11 19/16        factual [15] 14/14 18/1 23/2
                                 23/9 29/6 53/16 70/11 74/15     102/5 102/6 103/24 104/3
 20/10 21/18 21/24 25/20 26/8                                    114/6 132/7 135/24 148/5
 27/6 40/12 40/16 40/22 55/19    78/14 78/19 79/7 101/8
                                 102/22 103/1 120/13            feed [4] 2/4 28/4 34/17
 55/22 56/1 94/7 94/15 96/14                                     92/25
 99/2 99/25 111/18 112/17       fading [2] 37/1 37/6
                                fail [1] 145/11                 feedback [2] 28/7 36/25
 116/19 116/22 120/5 134/25                                     feeds [1] 94/20
 135/14 145/25 149/7 151/1      failed [5] 7/13 15/9 32/6
                                 112/15 153/18                  feel [5] 102/10 104/9 105/9
 151/12 153/9 155/19 157/6                                       119/20 160/1
executive's [11] 13/2 20/14     fails [1] 20/18
                                failure [1] 18/13               feels [1] 102/24
 21/2 27/7 27/9 27/12 35/12                                     felt [2] 46/2 119/21
 35/13 112/4 113/8 113/18       failures [1] 129/11
                                fair [7] 61/25 71/20 85/9       fervent [1] 48/22
exercise [14] 12/23 17/10                                       few [12] 2/22 12/22 47/16
 17/12 18/7 23/6 24/6 25/20      85/13 86/21 138/5 149/21
                                fairly [3] 36/3 39/9 42/1        67/11 73/25 115/3 117/24
 25/24 26/5 41/3 62/4 78/15                                      118/7 136/11 137/9 150/11
 85/14 97/16                    fairness [2] 21/15 160/6
                                faith [9] 14/22 15/10 23/23      160/8
exercises [2] 20/11 22/5                                        Fifth [1] 119/15
exercising [1] 14/11             24/18 25/7 112/16 112/20
                                 119/22 147/6                   fight [3] 109/23 126/7
exhibits [2] 59/17 59/25                                         132/13
existence [1] 79/17             fall [1] 127/7
                                fallacies [1] 132/22            file [20] 8/8 10/14 20/1
existing [2] 29/3 29/12                                          44/4 60/12 60/23 62/2 63/9
exists [2] 12/11 116/6          false [60] 4/5 4/21 7/14 8/6
                                 28/10 28/17 28/22 28/25 30/3    64/23 64/25 65/7 65/9 65/15
expect [2] 89/13 156/11                                          68/1 86/9 86/16 141/11
expectations [1] 19/20           30/14 30/16 31/16 32/3 32/8
                                 32/14 32/16 32/22 33/8 33/9     145/22 147/21 157/23
expected [1] 47/2                                               filed [34] 6/20 7/24 8/14
expedited [1] 61/12              33/22 35/3 35/18 39/14 65/23
                                 66/2 66/2 66/3 66/3 66/9        8/21 8/25 9/3 9/15 9/16 9/17
expense [1] 138/13                                               9/18 9/19 9/20 10/17 50/4
experienced [2] 5/2 132/16       77/17 77/19 78/3 79/15 80/15
                                 93/19 101/15 107/9 107/22       50/5 64/17 64/24 65/4 65/4
expert [1] 37/10                                                 65/5 67/24 78/3 88/4 96/8
expired [1] 63/6                 108/7 122/1 122/10 122/15
                                 123/14 123/16 125/6 126/11      107/17 131/6 137/21 139/8
explain [4] 16/18 33/24                                          143/16 143/20 143/23 156/25
 117/8 150/1                     126/22 126/25 127/5 129/6
                                 129/16 130/23 131/3 152/16      157/22 158/10
explained [8] 17/7 18/10                                        files [5] 81/12 95/19 95/19
 18/23 19/18 20/3 23/5 27/16     152/20 152/23 153/4 157/15
                                 161/17 161/22                   139/8 139/11
 119/7
F                            160/14
      Case 1:17-cr-00232-EGSfolks
                              Document 266 Filed 10/08/20G Page 176 of 196
                                  [1] 28/2
filing [8] 61/9 66/2 66/2       follow [4] 6/2 31/18 84/13      gain [1] 23/14
 69/11 131/10 139/7 139/9        87/6                           game [3] 44/1 86/1 134/9
 139/15                         followed [6] 6/1 14/25 18/3     Gary [1] 54/18
filings [8] 66/5 77/17 77/19     43/17 115/12 157/14            gauge [1] 80/13
 77/22 78/4 91/20 123/11        following [10] 11/8 14/9        gave [6] 34/8 44/6 58/13
 135/17                          14/10 17/19 27/7 28/21 31/20    106/25 149/23 157/15
fill [1] 149/10                  34/18 106/17 140/4             gears [1] 100/7
filthy [1] 107/20               follows [1] 4/14                general [93] 2/12 8/18 8/19
final [3] 6/9 36/21 116/1       footnote [6] 30/2 36/12          10/13 30/24 31/9 40/13 43/5
finalized [1] 31/22              36/13 39/1 39/8 70/21           45/23 46/7 46/22 47/21 48/8
finally [7] 15/13 18/21         forbidden [1] 21/17              48/8 48/9 48/10 48/14 48/15
 19/22 22/9 26/14 33/19 88/16   force [2] 19/24 107/24           48/15 49/9 49/15 50/20 50/23
find [8] 100/22 114/13 116/8    forceful [1] 49/17               51/9 51/15 51/18 51/19 52/3
 128/9 131/6 151/15 156/4       forcing [3] 19/15 26/8           52/20 52/23 53/1 54/11 54/14
 157/19                          138/10                          54/18 57/19 58/3 58/13 59/15
finding [6] 5/1 7/12 7/14       foregoing [1] 164/12             64/5 65/18 66/7 70/16 76/7
 13/17 39/12 84/9               foreign [2] 31/6 46/8            76/19 84/25 86/4 87/11 87/12
findings [3] 46/21 46/25        forget [2] 72/10 128/20          93/8 93/10 93/18 95/9 96/16
 87/13                          forgiveness [1] 144/15           96/16 97/2 100/1 106/2
finds [1] 43/2                  forgot [3] 90/4 129/22           108/21 109/4 110/1 122/16
fine [4] 37/25 66/25 117/5       129/25                          124/24 137/19 140/3 141/3
 118/16                         forgotten [2] 32/7 61/21         141/11 141/14 142/4 142/6
finish [1] 2/19                 formalities [1] 104/1            142/14 142/20 142/22 143/1
fired [7] 35/11 46/12 83/20     formed [1] 124/2                 143/7 143/10 144/10 145/2
 84/2 153/24 154/5 159/25       former [12] 6/12 6/15 8/10       147/14 151/6 151/12 152/4
firm [2] 48/19 139/12            8/13 16/10 19/2 34/14 48/16     152/15 152/19 152/22 154/7
firmly [4] 15/20 49/16 60/20     81/12 95/19 122/4 124/24        154/18 154/20 155/5 155/7
 63/20                          forms [1] 13/10                  156/7 157/11 157/20 162/23
first [35] 4/4 7/9 10/19        forth [2] 15/12 77/13           General's [6] 93/11 94/10
 11/1 14/9 16/18 30/12 30/13    forthcoming [1] 142/15           108/24 109/16 141/19 152/5
 35/24 36/9 38/23 40/21 54/5    forthwith [1] 61/8              generally [2] 18/6 38/17
 58/7 62/9 67/8 68/11 71/19     forward [17] 46/14 47/1         genuine [1] 85/11
 97/10 105/18 114/10 114/12      47/12 52/15 78/10 83/1 85/19   Gerker [1] 48/20
 127/9 136/22 137/4 137/14       87/7 87/9 87/14 88/18 88/25    get [50] 2/24 32/2 35/9
 143/16 144/8 146/8 149/2        89/13 122/9 123/1 138/20        35/10 35/11 37/20 42/23
 153/6 157/22 160/1 161/1        156/12                          43/22 48/1 52/4 52/6 52/21
 162/19                         found [12] 26/23 43/10 46/8      53/2 54/20 54/25 66/17 71/22
first-year [1] 162/19            72/13 81/9 86/12 88/4 95/20     71/23 83/19 83/20 95/13
FISA [1] 144/3                   119/14 142/7 151/6 156/8        95/13 102/20 103/25 104/1
fits [1] 84/5                   four [5] 38/18 72/7 110/18       104/2 104/9 104/25 105/15
five [1] 57/9                    118/9 125/23                    105/21 106/6 107/25 115/25
flag [2] 83/16 124/3            fours [2] 71/14 72/2             131/20 143/7 143/8 145/5
flatly [2] 116/10 162/14        Fox [2] 139/12 139/12            146/7 146/8 153/22 153/23
floored [1] 92/3                Franklin [1] 114/7               153/24 154/4 158/16 159/24
flurry [2] 91/20 129/17         frankly [1] 92/3                 159/25 159/25 160/25 162/5
FLYNN [182]                     free [1] 112/22                  163/2
Flynn's [48] 4/5 4/8 5/16       freely [2] 70/14 71/6           gets [2] 83/3 153/1
 5/21 7/12 7/14 8/3 8/9 8/10    fresh [1] 36/8                  getting [3] 28/7 57/22 84/1
 8/11 28/22 28/25 29/9 29/19    friend [6] 106/3 109/24         Giglio [3] 69/19 86/12 140/7
 29/22 30/3 30/14 31/16 31/24    114/11 116/25 121/5 152/10     give [34] 2/22 6/8 53/8 65/7
 32/14 32/16 32/22 32/23 33/2   friendless [1] 115/2             65/14 65/15 68/18 69/16
 34/20 47/6 47/20 48/7 56/2     friendly [1] 126/13              92/10 94/6 94/12 94/22 95/2
 69/13 79/15 80/15 88/10        friends [2] 115/5 133/4          96/12 100/10 101/2 104/19
 107/25 122/17 124/7 126/1      frolicking [1] 99/19             104/20 110/17 110/19 110/21
 126/9 126/25 127/5 128/21      front [5] 47/14 47/16 48/13      110/22 115/9 115/23 117/24
 129/10 130/10 130/23 130/25     63/5 158/15                     118/7 118/9 119/17 121/10
 131/16 133/16 142/6            FRYE [2] 1/15 2/12               132/8 136/6 136/12 140/11
Flynn/Kislyak [1] 83/7          fueled [1] 115/1                 153/13
focus [17] 3/1 3/2 3/5 3/7      full [5] 5/10 101/3 107/15      given [8] 14/23 69/10 75/1
 3/10 4/13 10/11 22/18 27/18     139/22 144/10                   126/6 137/11 144/20 146/17
 32/25 100/7 111/9 132/10       fullest [1] 71/22                163/7
 152/6 160/21 161/7 161/8       fully [5] 6/16 35/13 65/23      gives [11] 11/7 14/5 17/8
focused [1] 110/11               66/6 77/17                      41/1 52/15 97/14 99/20 117/9
focusing [1] 118/20             fumbling [1] 117/2               120/21 123/23 149/18
Fokker [62] 12/21 15/8 15/23    function [6] 30/19 30/24        giving [4] 137/24 140/4
 16/2 16/3 16/13 16/18 16/24     31/9 31/13 122/12 122/16        155/25 156/3
 17/1 17/14 17/19 18/5 18/23    fundamental [3] 24/13 112/23    glad [1] 88/17
 19/8 19/17 20/23 20/25 21/4     113/21                         glass [1] 146/22
 21/9 25/5 25/11 25/17 25/17    fundamentally [1] 122/25        Glavin [1] 54/18
 27/16 40/25 97/6 97/6 97/8     further [17] 18/9 19/17 26/2    Gleeson [93] 2/15 9/7 9/16
 97/10 97/18 97/18 97/22         29/13 44/2 52/18 52/23 52/25    9/19 10/20 11/1 11/14 12/6
 97/22 98/1 98/8 98/9 98/16      53/23 61/7 61/23 76/3 85/24     12/14 12/16 13/6 13/12 15/13
 99/10 102/20 110/11 110/14      93/16 95/13 95/13 164/12        19/5 20/8 20/17 20/23 21/8
 110/15 111/10 112/13 112/25    Furthermore [2] 11/8 22/2        22/2 22/9 22/19 22/25 24/5
 113/1 113/1 113/2 113/3        future [7] 49/18 76/7 76/18      24/13 24/17 24/21 25/1 25/4
 113/14 113/17 113/21 120/21     76/19 78/9 114/18 140/8         25/11 30/12 30/16 31/2 31/14
 149/4 149/16 149/25 150/2                                       31/18 32/15 33/5 33/13 33/15
 151/11 151/21 153/7 153/11                                      33/19 34/2 35/22 40/3 40/18
G                                74/22 97/3 101/4 101/5
      Case 1:17-cr-00232-EGS 101/12
                              Document  266102/9
                                              Filed
                                                                hand [3]
                                                    10/08/20handled
                                                               Page 177
                                                                           17/21 48/3 132/9
                                    101/24        115/10            [2] of43/23
                                                                           196      77/22
Gleeson... [50] 41/11 59/21     granting [2] 26/21 39/4         hands [1] 37/11
 63/21 63/24 66/18 66/21        grants [2] 15/22 39/2           handwritten [1] 140/15
 70/18 70/21 70/24 80/10 84/4   grasp [1] 118/24                hang [2] 103/24 137/24
 84/14 85/5 98/18 100/8         gravamen [1] 77/21              happen [4] 42/18 136/2
 100/11 103/5 110/5 110/12      grave [1] 26/7                   143/14 161/21
 110/25 117/12 117/20 117/24    great [2] 118/16 136/19         happened [15] 51/5 55/7
 118/7 118/12 119/4 119/24      greater [3] 13/20 22/11          67/23 73/22 103/20 103/21
 136/4 143/8 145/1 145/15        132/18                          106/20 108/10 116/16 123/18
 145/18 146/20 147/7 147/19     grind [1] 140/18                 128/4 134/5 135/25 138/2
 148/18 149/16 149/21 151/2     Grindler [1] 54/18               159/16
 152/6 152/13 152/17 152/20     gross [9] 22/23 24/12 24/23     happening [4] 121/10 126/7
 153/14 153/18 153/25 154/7      25/8 25/15 26/5 34/1 34/3       135/12 163/3
 154/13 155/25 160/5             105/4                          happens [3] 104/4 105/7
Gleeson's [18] 3/8 10/19        ground [1] 105/18                128/6
 19/3 19/23 25/14 26/3 41/5     grounds [4] 22/19 26/5 70/16    happy [2] 42/25 153/12
 59/25 73/17 93/20 93/25 94/1    151/24                         harassment [9] 12/13 14/4
 94/3 99/8 99/14 149/11         guarantee [1] 126/4              17/6 18/20 19/11 24/16 116/7
 151/23 155/6                   guard [4] 12/7 13/10 14/15       144/25 145/14
go [30] 28/24 34/16 38/14        19/7                           hard [8] 67/22 91/11 129/2
 38/20 38/24 43/1 47/1 47/11    guarding [1] 18/15               129/3 129/15 129/20 147/12
 47/24 58/21 70/6 74/5 78/10    guess [5] 18/6 40/16 86/8        158/12
 82/25 84/24 85/19 87/8 89/13    96/9 97/9                      harder [3] 95/10 95/10 147/8
 103/10 103/11 106/10 112/4     guessing [2] 97/19 153/7        hardly [1] 128/23
 112/6 119/3 127/15 138/11      guidelines [1] 123/22           harm [1] 26/8
 138/25 152/7 156/11 157/16     guilt [10] 71/16 103/23         harmed [1] 115/6
goal [6] 49/12 83/16 83/18       105/20 107/1 107/6 128/13      has [132] 3/10 4/8 4/15 5/7
 146/7 153/22 153/22             128/23 130/11 131/17 132/11     6/6 9/1 14/10 14/23 17/4
goes [4] 23/4 50/12 128/13      guilty [51] 4/20 5/1 5/20        18/10 18/11 20/3 20/8 22/3
 139/17                          7/3 7/20 8/9 22/11 28/10        23/24 26/20 26/23 28/4 30/17
going [65] 2/17 2/24 3/1 3/2     32/1 33/10 33/11 68/8 68/14     30/21 31/15 33/8 34/17 34/18
 3/5 3/7 3/10 3/14 7/5 9/21      68/15 70/14 71/15 73/3 74/17    34/20 35/21 35/21 36/20
 22/18 27/1 27/18 28/5 35/9      79/22 91/2 103/8 103/18         37/13 37/14 40/1 40/3 40/9
 35/20 37/15 37/17 44/7 45/4     103/23 104/1 104/2 104/5        40/23 41/12 42/2 43/7 47/11
 45/20 45/21 47/14 50/3 52/16    104/11 105/13 124/11 125/13     49/6 50/11 50/15 52/13 57/22
 62/1 65/1 65/2 65/14 70/7       127/2 127/10 127/14 127/24      60/1 60/6 60/8 63/24 64/2
 71/17 79/11 85/21 92/12         128/16 128/21 131/14 136/21     68/5 68/13 68/13 68/23 69/6
 100/7 100/10 100/21 100/25      137/14 143/21 144/5 144/6       70/16 71/1 71/15 72/4 73/9
 106/6 106/10 110/17 117/14      144/7 144/14 144/15 155/12      73/19 73/22 74/23 75/2 84/15
 117/24 118/13 121/15 123/1      155/13 156/17 156/19 156/23     88/19 89/9 89/17 89/18 96/4
 126/23 127/11 127/16 129/2      161/19                          96/20 98/3 98/18 98/23 99/2
 129/3 136/6 136/6 136/9        gun [1] 124/19                   100/2 101/5 101/7 104/14
 138/14 138/20 142/10 145/5     guy [2] 89/14 91/2               105/10 105/13 106/14 106/19
 147/2 148/21 161/11 161/20                                      108/15 108/18 109/17 109/25
 161/21 162/7 163/14            H                                111/6 111/18 111/21 116/19
gone [2] 87/7 98/17                                              121/5 121/16 122/9 122/11
good [27] 2/6 2/8 2/9 2/10      had [127] 7/3 29/5 29/16
                                 29/22 30/5 30/6 30/7 34/15      123/10 124/11 125/15 125/19
 2/13 2/14 2/16 9/14 14/22                                       127/19 131/1 133/6 134/8
 15/9 17/19 23/23 38/6 38/8      35/4 35/6 36/15 36/15 39/3
                                 39/15 43/5 43/14 44/3 44/8      135/1 136/3 136/15 137/13
 42/10 42/11 66/22 79/11                                         141/21 142/1 142/8 142/9
 92/12 100/11 107/14 108/4       44/11 45/1 45/3 45/22 45/23
                                 46/21 46/24 46/25 47/10 48/1    142/18 143/10 143/20 144/20
 112/16 115/11 117/3 118/24                                      144/24 145/16 146/14 147/14
 125/24                          48/2 49/3 50/18 54/10 55/4
                                 55/10 55/18 57/2 57/7 57/9      148/5 149/8 150/12 151/13
goodness [1] 105/9                                               152/24 153/9 155/2 155/5
Gordon [1] 124/22                58/15 59/4 59/6 59/16 61/14
                                 62/12 63/2 65/19 66/7 66/10     155/20 162/12 162/13 162/17
got [10] 75/9 78/4 85/17                                         162/18 162/20 162/23
 91/1 91/14 107/18 118/24        66/19 66/20 67/9 67/17 68/17
                                 69/10 69/22 72/7 72/11 72/23   HASHIM [2] 1/12 2/7
 151/2 157/1 161/12                                             hasn't [6] 68/24 69/22
govern [3] 16/15 16/16 20/6      73/2 73/3 73/24 76/5 77/17
                                 79/16 81/10 82/11 82/16         116/16 132/17 134/2 162/3
government [202]                                                hasten [2] 78/15 112/3
government's [41] 3/18 4/17      82/17 84/7 87/3 87/11 87/13
                                 90/14 90/25 91/2 91/3 96/17    hate [1] 160/22
 7/25 9/4 9/8 10/7 15/25                                        have [180]
 20/13 22/3 25/15 27/18 28/23    97/11 98/17 107/5 107/19
                                 110/9 115/10 117/22 118/18     haven't [4] 91/22 94/19
 30/11 30/12 30/14 31/19                                         105/1 162/7
 32/13 34/2 34/25 65/25 80/7     121/24 122/1 123/12 125/5
                                 126/2 130/1 130/11 131/20      having [5] 27/20 37/12
 90/7 101/24 103/5 107/11                                        118/23 129/22 152/3
 107/23 109/22 111/10 116/5      135/10 136/20 136/23 136/23
                                 137/2 137/17 137/25 137/25     he [231]
 119/10 120/22 123/24 124/18                                    he's [22] 46/4 46/17 60/1
 126/12 126/15 128/3 128/5       138/14 138/15 139/4 139/7
                                 139/14 139/25 140/12 140/22     63/25 68/24 81/20 83/13
 128/8 133/19 136/10 148/4                                       89/15 100/8 100/8 103/19
governor [1] 114/11              140/23 141/5 141/19 142/17
                                 143/18 143/25 144/8 144/11      106/16 106/17 106/17 114/8
Grack [7] 54/9 66/1 66/7                                         127/10 128/3 145/20 154/14
 66/9 66/9 96/7 140/7            147/20 152/5 154/25 155/3
                                 155/7 156/7 159/11 160/2        154/14 156/22 162/22
grandfather [1] 114/10                                          hear [9] 4/14 38/5 38/6
grant [10] 10/22 39/6 102/8      161/19 164/6
                                hadn't [3] 39/16 86/13           61/12 65/13 104/7 118/8
 111/22 121/4 132/24 133/22                                      119/5 161/9
 135/10 144/19 158/18            125/13
                                half [3] 5/9 116/17 130/13      heard [7] 66/24 82/4 103/14
granted [15] 14/22 36/14                                         123/19 123/20 124/8 134/3
 36/17 36/19 68/9 70/14 71/6    half-heartedly [1] 130/13
H                               43/18 43/19 43/21 44/9 44/25
      Case 1:17-cr-00232-EGS 45/23
                              Document  266 Filed
                                                               80/7 85/3 88/8 89/11 93/1
                                   47/7 47/10 49/1510/08/20
                                                    51/9      Page96/25
                                                            95/25  178 of98/11
                                                                           196   103/25
hearing [23] 1/9 5/6 5/14        52/21 58/2 66/1 67/14 69/3    104/7 104/10 110/13 115/6
 36/1 36/24 52/14 61/8 71/19     69/4 70/1 70/7 70/17 70/21    119/6 123/3 124/24 127/17
 79/12 79/25 80/3 85/10          71/7 71/16 71/23 75/24 77/20 127/18 128/7 135/19 140/4
 102/13 103/2 103/15 103/17      80/13 81/5 81/6 82/9 82/12    142/22 145/25 148/3 150/1
 105/7 137/16 138/4 150/10       82/12 82/23 87/8 89/17 90/14 156/11 157/13
 151/17 163/17 164/7             91/3 91/5 95/10 100/9 103/23 however [5] 11/18 12/2 13/2
heart [5] 32/17 104/11 116/4     107/6 108/2 108/13 108/24     14/4 16/6
 120/3 126/25                    109/13 114/7 114/10 114/11   HPSCI [1] 44/10
heartedly [1] 130/13             114/18 118/3 122/1 122/23    hugely [2] 80/17 147/7
heat [1] 102/3                   125/21 126/22 127/2 127/21   hundred [2] 86/11 106/8
heavens [1] 58/4                 128/4 128/11 128/12 128/12   hundreds [2] 106/22 123/21
heavily [2] 13/13 98/8           128/13 128/17 128/22 131/14 hunt [9] 107/1 152/14 152/19
heightened [1] 15/14             137/7 137/8 137/20 137/23     152/22 153/3 153/15 161/24
held [3] 3/6 9/9 137/6           138/7 138/16 138/20 138/21    162/11 162/22
help [3] 6/9 125/4 126/21        139/3 139/5 140/4 141/16     Hurricane [17] 30/4 32/15
her [14] 49/5 50/24 52/8         144/12 145/15 147/22 148/12   32/17 32/21 79/21 80/21
 52/11 52/15 110/19 110/19       148/19 149/2 151/24 153/1     81/14 81/21 82/3 82/8 83/2
 110/19 118/9 118/9 132/13       153/19 154/19 154/23 157/11   84/6 84/19 88/5 89/1 124/6
 136/12 136/12 136/14            161/2 162/25 162/25           127/1
here [55] 15/17 16/3 20/13      historic [1] 107/1            hyperbole [1] 103/16
 22/14 27/5 31/3 37/9 37/10     historical [3] 12/10 116/9
 41/19 42/18 42/19 42/22 49/2    153/8                        I
 51/10 53/20 63/15 71/11 73/9   historically [1] 151/2
 78/23 85/22 86/12 86/19                                      I'd [15] 39/22 51/4 52/4
                                history [19] 10/20 11/16       52/20 52/23 69/1 84/3 87/24
 90/18 90/19 90/22 92/23 94/9    12/5 19/4 19/5 20/20 25/1
 96/13 101/5 101/12 103/2                                      92/7 97/9 102/4 103/13
                                 70/25 71/13 73/18 82/12       121/10 156/6 156/20
 103/20 103/21 106/16 108/10     98/23 99/9 99/14 99/16 99/24 I'll [45] 2/22 2/24 3/2
 110/15 121/10 126/15 132/5      100/4 113/25 116/9
 135/14 136/2 136/17 136/18                                    28/24 35/22 41/10 47/15 48/4
                                Hogan [1] 72/18                48/12 52/6 53/8 54/5 64/24
 139/16 140/11 147/15 148/10    hold [2] 121/17 135/10
 151/15 153/8 153/15 154/8                                     65/6 65/7 65/15 66/17 77/24
                                Holder [3] 54/14 54/19 59/15 79/8 92/10 92/20 94/8 96/9
 158/20 160/10 162/16 163/3     holding [1] 98/4
here's [2] 50/19 129/17                                        97/12 102/20 103/15 110/12
                                hole [1] 146/21                110/19 110/21 110/22 111/6
hereby [1] 164/5                Hollingsworth [1] 60/3
hereto [1] 164/17                                              118/3 118/8 118/9 121/17
                                hollow [1] 128/8               134/19 136/3 136/12 138/12
herring [1] 147/15              hollowness [1] 105/12
herself [1] 51/2                                               148/18 149/5 153/4 160/10
                                home [1] 162/7                 163/8 163/13
hey [1] 108/4                   hominem [1] 109/14
hide [2] 117/10 120/15                                        I'm [86] 2/17 2/24 3/1 3/2
                                honest [2] 84/8 105/8          3/4 3/7 3/10 9/21 22/18
hideous [1] 143/12              honestly [1] 124/8
hiding [2] 140/6 140/11                                        27/18 35/20 36/24 37/17
                                honor [83] 2/2 2/6 2/9 37/8    42/13 42/19 45/8 45/13 45/13
high [5] 90/3 106/3 115/5        38/8 38/15 38/25 41/12 42/10 45/23 49/1 50/3 50/25 52/16
 121/5 133/4                     42/25 43/25 44/23 45/12
higher [2] 13/17 73/6                                          55/8 55/8 55/13 58/21 64/16
                                 46/24 47/11 47/23 51/8 51/9   64/20 65/1 65/2 65/14 68/13
highest [2] 106/3 133/20         51/25 52/5 53/4 53/10 53/13
highlight [3] 69/1 69/5                                        68/16 69/13 70/3 70/4 70/23
                                 55/5 55/13 56/17 57/14 60/17 71/17 72/3 74/1 76/15 76/18
 106/23                          64/21 65/10 68/4 68/7 68/10
highlights [1] 145/3                                           82/12 89/24 91/15 91/17 92/8
                                 68/18 69/2 70/2 70/10 72/5    94/20 95/16 100/7 100/10
highly [1] 50/22                 72/21 72/23 73/15 74/9 74/20 100/25 103/14 103/15 103/17
him [64] 6/8 32/5 35/11          76/23 77/5 79/10 80/1 80/3
 35/11 57/19 58/8 58/9 58/12                                   104/8 106/6 106/9 110/17
                                 80/18 81/8 81/15 81/24 84/13 111/7 117/2 117/3 117/12
 58/13 59/6 59/22 61/6 62/3      86/24 89/13 89/22 92/6 93/16 117/15 117/24 118/21 118/22
 62/4 66/8 71/7 71/21 76/3       95/6 96/11 97/9 98/2 98/7
 78/2 83/19 83/20 83/20 91/4                                   121/14 122/4 123/20 127/11
                                 99/13 100/14 113/3 122/14     134/8 136/6 136/6 136/9
 100/9 100/10 107/25 108/1       134/10 136/18 136/22 144/19
 108/2 108/9 115/11 116/23                                     136/20 145/5 148/21 150/17
                                 148/15 149/2 150/14 151/20    159/22 160/23 161/19 162/1
 122/3 126/23 126/23 132/12      151/23 153/5 153/16 155/24
 137/21 137/22 137/24 138/16                                   163/7 163/14
                                 156/20 158/18 158/20 159/22 I've [22] 42/12 42/17 47/25
 138/19 139/2 139/4 139/5       Honor's [1] 36/10
 139/18 140/4 141/4 141/5                                      51/18 57/7 57/9 57/14 61/21
                                honorable [2] 1/9 38/3         61/21 67/3 67/8 87/7 111/2
 141/7 141/13 141/16 141/17     hood [1] 161/5
 143/18 143/20 143/21 144/2                                    111/4 118/14 118/24 122/13
                                hook [2] 116/22 135/18         135/1 143/18 145/18 152/4
 144/3 145/19 153/23 153/24     hope [3] 48/22 87/25 101/2
 153/24 154/15 159/24 159/25                                   163/12
                                Hopefully [1] 38/9            idea [1] 143/19
 161/2                          hopelessly [1] 136/23
himself [19] 6/9 46/2 56/18                                   identical [2] 71/14 72/2
                                hopes [2] 49/16 84/1          identified [4] 30/5 72/9
 66/9 66/11 82/1 83/13 83/16    host [2] 159/6 159/13
 94/2 95/9 106/2 108/21                                        151/2 152/24
                                hostile [1] 31/6              identify [2] 2/4 12/18
 137/24 140/20 142/7 147/1      hour [1] 109/2
 153/14 154/3 156/14                                          ignored [1] 63/25
                                hours [4] 83/1 83/4 136/8     ignores [1] 64/5
hint [1] 115/25                  150/11
hired [2] 6/13 6/15                                           II [5] 16/20 18/9 26/3 74/21
                                house [10] 44/12 56/6 56/15    134/23
his [122] 5/11 5/18 5/20 6/3     88/14 93/13 126/20 126/21
 6/7 6/12 6/15 7/8 7/20 7/22                                  III [9] 36/11 36/16 39/4
                                 140/19 142/23 143/3           39/9 39/13 39/19 39/20 74/21
 8/4 8/6 8/9 8/13 8/15 9/1      how [40] 28/22 43/23 44/6
 9/16 9/17 10/25 12/24 20/17                                   112/2
                                 46/1 56/8 56/11 57/1 62/15   ilk [1] 40/8
 20/18 24/7 30/7 31/5 32/4       66/7 69/18 72/10 73/11 80/4 illuminate [1] 131/22
 32/5 32/18 33/11 33/14 43/15
I                               11/8 14/10 135/3
      Case 1:17-cr-00232-EGSindictments
                              Document [2]
                                        266 72/25
                                            Filed 10/08/20
                                                                intelligently [1]
                                                           Page[5]
                                                                179 15/1
                                                                    of 19615/4
                                                                                    5/3
                                                  74/16 intend                         68/15
imagining [1] 80/14             indirect [2] 33/16 129/5         71/9 145/19
immaterial [3] 7/2 29/25        individual [10] 28/4 40/5       intended [1] 66/19
 127/6                           41/14 71/14 90/2 96/21 99/18   intends [3] 24/1 50/24 52/11
immediate [1] 9/5                99/21 99/22 154/2              intent [1] 77/25
immediately [2] 34/12 61/3      individuals [2] 5/23 79/18      intention [2] 108/1 126/21
immune [2] 21/22 132/21         inducing [1] 161/4              intentionally [1] 90/13
impact [5] 45/25 79/16 80/5     indulgence [2] 88/21 88/23      intentions [1] 19/20
 80/8 126/2                     ineffective [3] 8/11 67/14      interacted [1] 43/20
impacted [1] 127/3               67/21                          interest [31] 3/25 4/9 8/1
impacting [1] 31/17             inexplicable [1] 155/8           13/4 14/13 15/24 17/25 18/17
impair [1] 131/16               inextricably [2] 116/23          20/8 22/3 23/8 24/4 26/25
impaneled [1] 24/25              135/11                          27/17 27/22 28/12 35/2 60/25
impatient [1] 100/9             inference [4] 99/15 105/22       69/25 77/12 77/21 112/24
impeachment [1] 26/13            109/25 130/12                   117/11 120/16 133/9 133/21
impede [1] 85/11                inferences [2] 86/6 96/5         136/24 139/7 139/25 148/25
impeded [3] 79/16 80/4 80/8     influence [4] 28/18 30/18        156/1
imperfected [1] 69/4             122/11 125/22                  interesting [3] 72/20 157/1
imperil [1] 22/7                influenced [1] 122/25            163/6
imperiled [1] 13/7              influencing [2] 30/18 122/12    interests [4] 13/6 22/8 27/8
impermissible [1] 94/17         influential [2] 35/18 115/3      112/23
implausible [1] 33/5            info [2] 84/16 88/13            interfere [1] 79/19
implicated [1] 29/11            inform [1] 57/18                interference [1] 109/16
implicit [1] 132/21             information [26] 2/23 3/19      interfering [1] 31/7
implied [1] 45/24                3/22 4/2 8/22 10/15 27/24      interlineations [2] 91/25
importance [1] 147/4             33/1 35/17 35/25 49/21 52/19    92/14
important [16] 6/4 40/2 49/1     87/17 87/18 88/19 135/3        internal [3] 26/9 96/22
 49/2 52/10 75/4 80/17 103/25    141/4 141/16 141/18 142/6       123/22
 109/3 113/24 114/2 114/3        142/19 142/20 142/24 143/1     internally [1] 49/13
 117/17 147/7 147/22 149/6       146/17 157/15                  interpretation [10] 11/1
imposing [2] 5/25 20/12         informations [1] 74/16           11/11 11/15 12/15 16/15
impossible [4] 108/23 109/8     informative [1] 163/6            16/16 25/17 26/3 26/7 42/7
 109/18 127/20                  informed [3] 137/20 140/2       interpreted [1] 18/5
impractical [1] 19/15            140/2                          interpreting [1] 21/20
impression [4] 43/22 60/20      informs [1] 36/16               interrupt [1] 103/10
 83/24 154/11                   inherited [2] 90/24 91/2        interruption [1] 38/14
impressive [1] 133/8            initial [1] 115/17              intervention [1] 17/2
improper [1] 96/17              initiate [3] 12/18 16/21        interview [58] 5/19 29/20
impropriety [1] 135/12           149/12                          29/20 30/7 30/9 35/8 43/21
inability [2] 87/19 105/12      initiated [1] 149/13             44/24 45/13 45/14 45/17 46/6
inappropriate [3] 60/4 60/4     initiation [1] 16/23             46/11 47/8 80/20 80/24 81/23
 122/1                          injustice [1] 148/7              82/4 82/18 82/19 83/1 83/10
inappropriately [1] 113/10      injustices [1] 148/6             83/11 83/14 83/15 83/18 84/1
inaudible [27] 36/11 36/21      innocence [4] 7/9 44/9 87/8      84/4 84/12 84/15 84/25 85/2
 37/4 40/6 40/23 73/8 77/23      90/14                           85/3 85/6 85/13 89/1 107/3
 80/21 83/19 96/22 97/4 97/17   innocent [3] 68/24 89/15         108/17 109/5 109/6 121/25
 100/3 100/4 101/13 105/3        103/19                          123/18 129/11 130/15 131/18
 107/3 112/17 112/22 113/22     input [1] 95/4                   133/17 134/4 134/5 141/17
 113/25 119/18 119/19 124/13    inquiry [2] 3/14 79/4            153/22 154/4 154/9 154/11
 129/9 148/9 149/2              inserted [1] 133/25              154/18 154/22 157/8 157/16
incantation [1] 120/17          insisted [2] 66/1 77/15          159/24
incarcerated [1] 72/18          insists [1] 73/8                interviewed [3] 121/20
incentive [1] 121/7             inspection [1] 43/8              141/13 154/15
incidence [1] 132/19            Inspector [8] 45/23 46/7        interviewers [1] 126/19
incident [1] 68/12               46/22 87/12 96/15 141/18       interviewing [1] 157/2
including [12] 4/1 22/13         142/4 156/7                    intriguing [1] 133/7
 27/23 33/10 33/20 34/10        instance [4] 17/14 70/25        invalid [1] 137/4
 43/11 46/13 89/10 113/6         157/22 160/1                   invalidate [1] 26/4
 147/9 147/13                   instances [1] 159/10            invested [2] 34/19 134/24
incoming [4] 82/13 130/3        instant [1] 107/17              investigate [1] 51/10
 130/3 154/5                    instead [7] 18/19 26/11 32/2    investigated [4] 34/21
incomplete [1] 8/10              33/17 35/10 137/18 152/12       106/19 123/1 141/5
inconsequential [1] 134/11      institute [1] 12/25             investigating [4] 29/14
inconsistencies [1] 33/24       instituted [1] 143/5             82/16 125/10 159/7
inconsistent [2] 33/23          institutions [1] 49/24          investigation [55] 4/1 4/6
 130/14                         instructing [1] 59/22            4/22 27/23 28/11 28/23 29/1
incorrect [1] 19/25             instructions [1] 163/7           29/4 29/5 29/8 29/9 29/18
indeed [4] 34/3 71/17 76/9      instrument [4] 119/20 119/22     30/1 30/6 30/10 31/17 32/20
 76/21                           120/10 121/3                    35/19 43/4 43/7 44/7 45/22
independence [5] 34/24 64/12    insurance [4] 46/2 46/3 82/2     46/5 79/17 79/20 80/4 80/5
 108/14 108/16 108/16            141/10                          80/8 80/16 80/17 80/19 81/17
independent [5] 49/22 105/2     integrity [7] 13/5 48/24         81/18 82/7 85/12 87/12 88/17
 138/1 138/23 139/1              64/11 109/1 109/10 109/19       89/11 106/25 121/21 122/20
independently [1] 87/11          111/24                          123/5 123/14 124/6 124/14
indicate [2] 64/6 83/5          intelligence [13] 29/1 29/4      124/14 125/8 125/9 126/3
indication [1] 69/7              29/7 30/1 35/7 46/8 83/13       127/3 134/13 140/25 141/2
indict [1] 140/3                 124/15 142/9 153/20 153/21      141/8 146/5
indicted [1] 114/8               154/3 159/23                   investigations [3] 29/21
indictment [5] 3/22 10/15
I                               141/20 144/23 147/5
      Case 1:17-cr-00232-EGSitself
                              Document
                                                             June 1st [1]   50/4
                                   [17] 266
                                         49/14Filed
                                               61/310/08/20 Page
                                                    66/4 June    180
                                                              2019   of 196
                                                                   [1]   6/16
investigations... [2] 31/10     116/2 121/8 122/19 123/2     June 6 [1] 48/6
 156/7                          125/16 127/20 128/19 131/1   jurisdiction [5] 6/3 36/15
investigative [5] 29/13 33/4    135/21 139/10 145/7 146/5     36/16 62/12 63/2
 33/4 88/11 134/11              147/7 159/20                 jurors [1] 64/12
investigator [1] 158/1                                       jury [6] 24/25 27/11 27/13
investigators [2] 49/22         J                             41/20 42/6 126/6
 132/15
invidious [1] 133/2             James [3] 44/13 140/21 143/3 just [115] 35/21 36/19 37/12
                                January [10] 7/20 8/6 35/5    37/17 37/17 38/10 38/13 42/4
invoke [2] 55/25 156/1                                        42/17 43/1 43/12 44/21 45/8
involve [2] 20/13 25/15          45/14 80/15 80/24 83/11
                                 143/4 157/10 157/24          45/17 47/25 48/3 48/4 48/12
involved [4] 17/19 91/1                                       49/1 49/2 49/25 50/18 51/16
 109/15 160/14                  January 2017 [1] 35/5
                                January 24 [1] 45/14          53/21 58/5 61/9 61/17 65/19
involvement [2] 25/21 72/23                                   67/5 68/6 68/22 69/5 70/4
involves [2] 113/4 147/9        January 24th [1] 83/11
                                January 25th [1] 157/10       71/3 72/7 74/3 75/6 75/17
involving [2] 101/17 132/6                                    76/12 76/15 79/5 80/22 82/19
irreconcilable [1] 99/4         January 5th [1] 143/4
                                Jeff [1] 43/5                 85/22 85/23 87/20 87/24
irrefutable [1] 132/7                                         87/25 89/7 89/12 90/9 92/20
irregular [1] 109/22            Jeffrey [1] 48/9
                                Jenna [1] 56/17               93/17 93/22 94/14 94/18 95/3
irrelevant [9] 32/1 33/21                                     95/8 95/12 95/23 96/9 97/25
 107/10 125/1 130/24 132/15     Jensen [1] 81/11
                                JESSE [2] 1/14 2/11           98/5 98/11 99/23 103/14
 133/17 150/5 161/14                                          103/25 105/15 106/5 106/23
irrespective [1] 29/21          jettisoned [1] 123/25
                                job [11] 66/22 84/2 95/10     108/21 110/8 114/9 116/6
is [448]                                                      116/7 117/20 118/7 118/8
isn't [7] 42/25 78/8 85/15       95/10 102/19 102/21 104/22
                                 108/24 108/24 109/9 118/19   121/3 121/14 121/24 122/9
 85/20 98/9 130/8 146/23                                      125/4 125/20 127/13 129/8
Israeli [1] 101/18              jobs [1] 73/8
                                Jocelyn [2] 89/16 95/17       129/19 131/18 132/20 134/19
issuance [1] 63/13                                            135/25 138/3 143/16 146/20
issue [16] 16/3 16/17 24/16     John [2] 2/14 9/7
                                joins [1] 136/10              148/1 151/10 152/6 152/25
 36/11 37/6 54/5 55/2 56/23                                   153/3 153/13 154/25 155/11
 58/12 77/12 79/4 79/5 82/24    joint [1] 10/4
                                Jr [2] 69/15 69/17            155/25 156/2 156/20 156/23
 94/20 131/8 139/14                                           158/16 159/14 159/17 159/25
issued [5] 7/11 34/22 62/10     judge [98] 1/10 2/14 4/24
                                 4/24 7/23 9/7 13/15 13/16    160/9 160/19 160/21 163/15
 114/12 141/20                                                163/16
issues [16] 3/1 4/13 6/25        24/3 24/6 40/3 40/18 41/5
                                 41/11 61/20 66/23 70/18     justice [58] 3/25 8/1 22/15
 19/23 29/24 31/25 33/18                                      27/8 27/17 27/22 34/24 35/2
 37/13 49/13 51/22 52/10 60/5    70/21 70/24 72/18 73/16
                                 75/23 78/5 86/17 93/7 93/20  40/13 41/24 42/2 48/21 48/23
 84/21 118/18 118/19 118/25                                   49/16 51/25 54/9 54/16 54/20
issuing [1] 88/7                 93/24 94/1 94/3 98/17 99/14
                                 100/25 103/10 103/15 104/22  55/3 64/9 64/13 64/14 71/13
it [358]                                                      78/25 79/2 86/21 94/10
it's [112] 6/23 17/20 22/25      105/19 108/11 111/1 111/18
                                 114/2 114/11 114/19 114/21   106/21 108/14 108/19 109/17
 33/5 33/24 37/19 43/3 44/3                                   109/25 114/23 130/9 133/9
 44/15 44/19 45/4 48/6 48/6      114/25 115/4 115/13 115/18
                                 116/24 117/2 118/13 119/5    133/20 133/22 134/17 147/2
 48/7 49/1 49/2 50/3 50/4                                     147/3 147/4 147/6 147/8
 51/22 52/16 57/23 60/3 60/4     119/21 120/8 121/2 121/10
                                 121/21 123/12 124/8 125/13   148/3 148/4 148/25 151/3
 60/12 61/3 62/21 63/14 79/10                                 152/21 154/1 154/10 155/4
 80/22 80/25 83/21 84/19 85/9    125/17 126/10 127/8 127/23
                                 127/25 128/20 129/17 130/7   156/2 157/3 157/11 160/3
 85/13 86/20 86/25 88/11                                      162/23 162/25 163/1
 88/14 93/19 94/12 96/15 98/5    131/8 132/2 132/16 133/19
                                 134/5 135/24 136/1 137/5    justifiably [1] 29/25
 99/20 100/15 100/24 101/4                                   justification [4] 82/3 83/2
 101/4 101/6 101/12 101/22       137/9 137/12 143/17 144/8
                                 148/18 149/11 149/16 149/21  85/12 143/11
 102/5 103/17 105/4 107/8                                    justifies [1] 35/13
 111/8 111/16 111/17 111/20      151/1 151/23 152/6 152/12
 112/9 112/17 112/17 112/18      152/17 152/20 153/14 153/18 justify [1] 82/6
 113/14 113/25 114/2 114/23      153/25 154/7 154/13 155/6
                                 160/9 160/21 161/16         K
 115/22 116/8 116/15 118/5
 120/6 120/7 121/10 123/25      judge's [1] 15/20            keep [6] 102/25 105/8 117/15
 125/3 125/21 128/22 129/2      judges [10] 11/10 12/12 13/9 126/7 129/14 163/14
 129/3 130/8 131/9 131/11        64/12 115/24 116/6 119/17   keeping [1] 101/6
 131/21 132/5 133/7 133/7        120/19 135/10 148/6         keeps [2] 131/14 134/2
 134/16 134/16 134/16 134/16    judgment [8] 19/1 20/12      Ken [1] 2/7
 134/21 134/22 140/14 143/23     23/22 35/12 36/21 39/16     KENNETH [1] 1/12
 144/21 146/25 146/25 149/24     42/25 155/19                key [3] 40/20 148/20 148/21
 150/10 151/25 152/18 153/2     judgments [1] 64/10          kin [1] 12/19
 153/17 154/13 156/15 157/1     judicial [10] 11/7 11/21     kind [8] 101/7 108/6 120/10
 158/12 158/16 160/13 161/16     12/21 12/23 17/2 18/13       123/18 124/19 142/24 160/23
 163/3 163/6                     112/23 113/12 119/19 120/9   162/21
italicizes [1] 125/23           judiciary [8] 13/5 16/22     kinds [1] 95/15
iterations [1] 122/19            20/8 22/3 22/8 25/22 26/4   Kislyak [19] 29/12 29/24
its [49] 3/25 6/1 7/4 7/5        135/20                       32/6 43/15 47/6 82/5 82/6
 7/6 8/9 9/18 11/2 13/24        judiciary's [2] 13/3 20/15    82/18 82/21 83/7 83/21 84/10
 17/12 19/16 19/18 20/11 21/3   July [2] 6/11 9/12            84/11 108/3 122/23 128/24
 22/4 22/5 23/6 25/24 26/8      July 16 [1] 9/12              129/12 140/22 161/2
 26/10 27/22 35/1 35/16 43/7    July of [1] 6/11             Kizlyak [1] 101/16
 62/8 63/19 63/21 64/6 72/4     jumped [1] 121/16            knew [17] 42/3 44/25 52/17
 74/4 78/13 87/6 96/1 97/1      jumps [1] 103/2               66/9 66/11 77/18 81/15 137/6
 97/11 107/23 109/18 111/6      June [9] 6/13 6/16 47/21      139/9 139/25 140/23 142/14
 114/15 114/16 117/8 119/7       48/6 50/4 53/24 58/22 65/5   143/7 154/19 154/21 154/24
 123/11 131/16 134/6 139/10      107/3                        155/7
K                               law [33]
      Case 1:17-cr-00232-EGS 23/1
                              Document
                                           5/22 13/5 17/19
                                        266 Filed
                                                              letters [2]   141/6 142/21
                                  48/19 48/25 61/1910/08/20  Page
                                                    61/21 level   181111/9
                                                                [3]   of 196159/15
knocked [1] 87/13              63/23 68/8 73/8 73/10 102/17    159/16
know [105] 36/5 38/13 42/12    111/19 115/2 115/8 115/12      liability [3] 36/20 39/12
 42/22 43/4 44/14 44/17 51/14  115/13 115/22 122/8 124/17      39/16
 51/17 52/2 52/20 52/23 53/10  125/25 127/4 127/18 132/3      liberally [1] 68/9
 57/10 62/1 62/2 63/6 64/18    132/18 132/19 136/1 137/5      liberty [1] 73/7
 67/22 68/6 68/22 69/3 69/5    143/11 148/12 160/19 162/20    License [1] 54/15
 69/24 73/10 73/24 76/14 77/7 lawful [1] 63/24                lie [15] 7/21 35/10 45/1
 79/11 80/3 80/7 80/18 81/1   lawyer [11] 48/18 51/23          54/15 66/1 107/4 107/25
 82/6 84/4 85/7 85/8 86/17     52/11 89/24 96/19 96/20         108/9 108/9 122/24 153/23
 86/24 87/4 89/17 89/20 90/3   96/21 114/18 132/16 138/19      154/23 155/8 155/14 159/24
 90/11 90/24 91/20 92/11       147/16                         lied [17] 31/4 34/13 44/14
 92/18 93/1 93/7 94/2 95/2    lawyering [1] 160/10             44/15 44/18 46/12 122/4
 95/14 99/21 100/17 101/10    lawyers [6] 69/8 69/22 89/6      123/7 127/8 127/10 127/21
 101/13 101/15 103/15 104/22   96/18 160/19 160/24             128/25 129/2 129/3 130/1
 104/23 105/14 105/21 108/11  lead [4] 45/21 137/8 141/3       134/7 154/8
 110/6 110/6 111/1 113/4       142/25                         lies [7] 12/19 31/11 112/7
 113/24 114/4 116/16 116/21   leadership [3] 53/15 83/17       122/17 127/3 129/7 130/5
 118/13 118/16 119/1 119/18    84/23                          Lieutenant [1] 48/15
 120/3 120/24 125/10 126/16   leading [1] 98/7                life [1] 93/1
 126/16 127/11 128/14 128/23  leads [3] 18/25 31/18 33/4      light [8] 29/23 69/9 91/23
 128/24 130/7 130/15 130/19   learned [4] 77/10 82/17          102/4 111/2 117/4 133/15
 138/10 139/16 142/12 142/17   95/14 106/16                    141/22
 142/18 150/23 152/3 152/17   learning [3] 37/10 122/22       like [55] 3/11 36/4 37/23
 156/18 157/22 158/5 160/6     157/6                           38/18 39/22 51/4 52/4 52/17
 161/4 161/5 161/16 161/18    least [8] 14/2 32/18 47/3        52/20 52/23 53/2 53/21 54/24
 162/11                        70/19 79/14 111/19 146/3        57/10 59/19 60/7 65/16 66/24
knowing [3] 59/2 138/14        158/3                           67/5 69/1 76/24 77/9 86/24
 154/24                       leave [40] 3/22 4/18 10/14       89/14 90/23 93/18 94/24 95/1
knowingly [8] 5/2 33/7 33/9    10/23 11/3 11/7 12/1 12/5       98/4 98/16 102/3 102/4 102/6
 78/3 103/21 154/8 154/24      12/11 13/24 15/11 15/15         102/10 103/13 105/9 109/9
 155/14                        15/22 16/11 17/4 17/8 17/15     110/16 114/9 116/13 120/8
knowledge [2] 52/5 66/1        18/19 19/10 22/10 22/14         121/8 121/10 121/13 124/19
known [4] 50/19 61/21 87/18    22/20 24/14 26/20 26/23 27/4    127/15 132/20 135/7 135/12
 89/9                          40/25 92/20 97/13 97/22         142/11 150/17 151/1 154/1
knows [6] 3/17 43/2 44/23      99/10 115/7 116/3 116/10        160/23 161/18
 64/6 101/25 108/8             117/13 120/16 133/25 149/17    likely [3] 28/18 49/20
KOHL [18] 1/12 2/7 38/22       150/8 158/8                     125/22
 41/11 42/8 51/7 68/3 76/24   Leaves [1] 113/15               likewise [1] 98/12
 78/19 79/8 92/22 118/3       led [4] 5/22 77/25 80/2         limit [2] 11/11 69/18
 148/12 148/13 155/3 155/20    141/11                         limitation [1] 11/9
 155/23 159/2                 left [5] 15/18 44/24 47/8       limitations [1] 21/24
L                              113/14 154/9                   limited [7] 3/15 10/21 12/22
                              legal [12] 20/3 27/9 27/12       15/23 26/16 55/23 91/7
lab [1] 159/9                  51/1 70/11 78/14 78/18 78/22   limiting [1] 32/25
label [1] 64/9                 98/6 98/8 101/8 114/3          limits [1] 98/11
laboring [1] 139/6            legally [3] 107/10 130/24       line [2] 71/4 75/10
lack [6] 18/6 19/15 25/18      133/17                         lines [2] 28/2 155/21
 25/25 88/8 123/13            legislative [1] 82/11           lining [1] 21/9
lacking [1] 116/9             legit [4] 83/9 83/9 83/22       link [1] 146/9
lacks [2] 16/22 26/4           135/13                         links [1] 79/17
Lago [1] 34/11                legitimate [5] 53/19 60/1       Lisa [3] 1/19 164/3 164/22
lame [1] 130/14                105/23 140/22 143/5            list [4] 71/11 142/21 152/2
language [19] 77/14 77/16     length [1] 16/14                 152/7
 77/18 81/19 82/12 97/25      less [5] 12/18 12/23 19/24      listened [1] 82/21
 98/17 113/6 113/7 114/4       129/22 130/2                   literally [2] 106/22 130/11
 116/4 116/5 116/10 116/11    lesser [1] 13/15                litigated [1] 61/6
 149/23 150/1 150/1 150/4     let [45] 34/16 37/12 38/5       litigation [6] 56/7 56/19
 151/9                         38/10 38/13 45/13 47/18         57/19 58/14 68/20 161/12
largely [1] 36/3               47/25 48/4 54/25 61/17 63/6    little [6] 36/24 37/1 102/5
larger [1] 81/21               64/15 71/10 75/22 76/12         132/1 137/2 148/20
last [24] 41/10 45/2 56/6      78/18 84/22 102/11 106/23      live [2] 3/3 120/19
 56/20 57/20 61/13 62/21 64/2 108/7 110/7 112/3 117/20        lobbying [1] 109/13
 70/11 73/14 84/3 87/24 89/9   118/3 118/7 121/19 123/15      local [1] 40/7
 89/17 95/18 106/12 123/3      124/9 124/10 129/8 129/10      located [1] 34/11
 123/12 125/3 125/23 134/5     132/1 134/18 134/19 136/20     lodge [1] 112/2
 136/8 156/20 159/5            138/3 139/20 141/24 143/16     Logan [4] 29/10 82/7 83/2
lastly [1] 162/11              150/7 151/22 153/12 154/13      83/6
late [2] 107/16 118/5          163/15                         logical [3] 88/11 88/19
later [15] 5/4 15/7 33/13     let's [3] 37/5 37/6 152/18       103/6
 43/17 62/14 63/4 101/2 102/5 letter [33] 23/1 47/20 47/22    long [7] 19/19 121/11 122/5
 102/20 105/17 107/10 114/11   48/5 48/6 49/3 49/19 50/3       132/14 136/20 151/11 163/7
 137/9 138/1 141/17            50/4 50/15 50/15 50/17 51/4    long-settled [1] 19/19
latter [4] 16/12 18/5 18/25    51/13 51/16 51/19 52/3 52/9    longer [9] 17/18 29/25 30/6
 124/25                        52/22 52/23 53/24 54/5 54/13    39/11 59/16 81/20 120/19
laugh [1] 125/14               58/22 58/23 58/25 59/11         125/24 163/15
laughable [1] 124/20           59/16 91/21 91/23 92/3 92/17   look [21] 40/3 41/15 43/8
launders [1] 134/12            147/16                          52/6 52/15 53/12 53/16 75/13
laundry [2] 152/1 152/7
L                               many [13]
      Case 1:17-cr-00232-EGS 61/19
                              Document
                                            48/2 48/2 57/1
                                        266 Filed
                                                               86/10 87/25 90/23 94/3 112/3
                                                   10/08/20 112/5
                                                              Page118/1
                                                                   182 of119/8
                                                                           196
                                   73/2 95/20 100/15                              120/17
look... [13] 77/8 81/6 85/17   100/24 105/13 118/17 142/22     126/10 140/9 156/21 158/9
 86/18 87/4 91/12 122/13       146/10 155/12                  meaning [5] 7/15 19/18 49/9
 122/14 138/10 145/23 146/1   map [1] 85/13                    108/24 130/15
 146/2 161/5                  Mar [1] 34/11                   meaningless [2] 11/12 124/16
looked [4] 81/9 81/18 95/16   March [3] 106/24 107/14         means [4] 49/7 114/4 127/13
 95/18                         157/24                          132/10
looking [6] 71/11 77/11       Mark [1] 119/25                 mechanical [1] 1/22
 105/9 146/22 156/24 157/13   marshal [1] 114/13              mechanism [1] 19/15
looks [3] 77/9 95/11 127/15   Maryland [1] 6/22               media [2] 106/14 106/15
lose [1] 149/13               massive [2] 64/1 64/5           meet [3] 84/23 93/20 93/24
lost [1] 146/21               matching [1] 87/20              meeting [10] 52/18 53/11
lot [13] 50/16 68/19 76/13    material [27] 4/6 7/15 28/10     54/12 54/17 80/11 83/5 83/12
 101/1 102/3 102/4 104/16      28/22 29/1 30/4 30/15 30/16     142/16 143/2 144/2
 104/20 110/10 118/5 118/20    32/14 35/2 46/9 50/11 54/10    meetings [5] 52/24 52/25
 148/19 163/14                 79/1 79/16 80/5 80/8 86/11      52/25 84/17 157/3
lots [1] 155/12                86/12 90/12 104/19 104/21      members [1] 34/10
loud [2] 75/9 114/16           122/10 122/22 125/21 126/2     memo [2] 124/4 124/9
lowest [1] 20/5                142/1                          memorandum [3] 5/16 7/11
Lowry [15] 72/6 72/9 73/13    materiality [26] 27/10 28/15     31/22
 73/24 74/4 74/7 158/22 159/3  31/2 31/24 32/2 35/16 41/11    memory [3] 44/8 155/5 159/7
 159/4 159/5 159/6 159/11      41/13 78/13 78/23 79/14 81/1   mention [2] 109/13 161/23
 159/16 159/18 159/20          86/14 105/12 109/23 121/19     mentioned [8] 47/4 65/18
luck [1] 107/14                122/6 124/21 125/3 125/20       91/19 100/23 115/6 115/18
lurking [1] 131/11             126/3 127/2 127/5 133/18        135/1 157/5
lying [14] 33/21 45/1 46/22    162/13 162/18                  mere [4] 14/12 17/24 23/7
 107/9 128/3 154/12 154/13    materially [2] 4/21 127/3        28/16
 154/14 154/14 154/16 155/10  materials [3] 6/21 8/15 30/8    merely [5] 15/2 15/5 24/1
 155/11 156/9 156/15          matter [24] 5/11 5/12 30/8       95/3 98/1
M                              41/14 44/19 67/5 70/19 75/18   merit [1] 104/14
                               76/20 80/11 80/22 80/25 90/6   message [1] 46/5
machine [2] 164/5 164/14       96/12 96/22 97/1 97/2 102/17   messages [5] 88/12 137/7
mad [1] 88/14                  111/9 124/12 124/13 129/6       144/1 146/9 146/10
made [45] 5/16 13/1 14/22      137/4 151/14                   met [5] 31/3 44/5 68/11 84/9
 23/22 28/19 31/1 33/8 33/17 mattered [1] 123/14               140/20
 34/17 43/11 51/9 51/20 66/20 mattering [1] 124/9             MICHAEL [21] 1/6 2/3 48/16
 81/2 84/9 92/22 94/9 95/1    matters [5] 61/24 73/25          69/15 69/17 69/17 69/20
 98/4 102/15 105/11 108/12     73/25 74/13 91/7                88/16 101/9 116/22 122/9
 109/8 109/17 111/12 114/19   Matthew [2] 72/6 72/9            125/20 126/8 126/21 130/10
 115/14 121/14 122/1 122/2    may [38] 2/23 3/21 8/21 9/3      135/23 152/10 161/8 161/16
 124/23 125/1 125/23 128/17    9/6 9/11 10/14 10/16 13/9       161/22 164/8
 129/1 130/12 131/3 134/6      13/15 13/24 15/10 19/25        mid [1] 121/16
 138/18 140/22 146/15 148/20   20/24 21/6 21/22 21/25 25/6    mid-stream [1] 121/16
 151/13 152/3 154/6            25/9 25/14 25/20 26/15 26/23   might [5] 54/6 80/14 103/1
magical [1] 71/4               27/15 38/11 51/2 53/19 64/18    118/20 127/15
main [5] 2/18 40/12 151/3      69/20 76/20 85/24 87/2 95/4    mind [7] 5/17 36/8 78/22
 155/4 157/11                  99/11 144/16 145/23 152/13      80/15 82/12 114/1 131/23
maintain [1] 147/5             158/2                          mindful [3] 62/4 63/8 163/7
maintained [3] 5/20 68/14     May 12 [1] 9/3                  minimum [1] 155/15
 90/14                        May 19 [1] 9/11                 minute [8] 65/19 97/21 114/1
maintaining [1] 13/4          May 7 [1] 8/21                   117/14 117/18 126/10 143/12
majority [1] 11/12            maybe [10] 63/9 98/19 107/4      163/13
make [34] 19/13 32/3 33/16     117/25 131/21 132/11 152/15    minutes [9] 2/22 37/16 47/17
 40/10 40/20 41/10 54/24       155/11 155/12 159/18            52/25 117/25 118/8 118/14
 56/21 59/20 66/16 70/10      mayor [1] 114/10                 118/15 160/8
 70/15 85/17 85/22 95/9       McCabe [4] 46/11 46/15 85/2     mis [1] 31/21
 108/23 110/9 110/20 110/24    154/19                         misconduct [8] 7/10 50/12
 118/10 118/11 119/2 124/24   McCabe's [1] 141/10              51/12 51/24 64/2 119/23
 126/14 132/4 141/1 146/13    McCANN [2] 1/15 2/12             140/10 140/17
 147/12 148/14 148/22 150/16 me [70] 2/19 10/1 28/1 37/12     misleaded [1] 46/8
 156/16 156/17 163/1           38/5 38/10 45/13 47/14 47/16   misleading [2] 46/22 156/9
makes [10] 11/3 20/2 50/7      47/18 47/25 48/4 51/22 53/5    misled [2] 41/15 130/4
 50/12 95/10 99/25 100/18      54/12 54/25 57/23 61/17 63/5   missed [1] 159/19
 112/12 113/9 154/25           64/15 64/18 65/19 71/10 74/6   Missoula [1] 114/7
making [14] 4/20 13/12 28/10 75/22 76/12 78/16 78/18          Missoula's [1] 114/10
 28/18 33/9 64/20 70/3 70/5    84/22 92/2 92/18 101/2         Missouri [2] 8/17 134/14
 71/6 72/24 81/16 88/18 96/1   102/11 102/21 103/15 104/12    misstated [1] 2/20
 125/22                        106/23 110/7 112/3 117/20      mistake [1] 132/4
man [3] 71/20 90/14 106/3      118/7 118/22 119/9 119/24      mistaken [1] 64/18
Manafort [1] 140/4             119/25 121/10 121/19 129/8     MLAT [1] 83/1
mandamus [6] 10/3 39/8 57/25 129/10 130/8 131/21 132/1        Mole [1] 134/9
 61/22 97/4 144/6              134/18 134/19 136/20 137/17    MOLLY [2] 1/15 2/12
mandate [6] 48/20 62/7 63/7    138/3 138/4 138/6 139/20       moment [2] 129/8 129/10
 63/13 63/13 63/19             141/24 143/16 144/13 150/7     Monday [2] 85/25 89/6
manifest [1] 26/24             151/22 153/13 153/24 159/8     Montana [5] 99/20 114/7
manner [1] 35/9                161/20 163/15                   114/24 119/21 151/3
mannerisms [1] 141/16         mean [21] 18/6 45/3 45/20       month [6] 10/1 56/6 107/8
mantle [2] 143/8 143/9         50/15 53/19 56/15 68/2 74/5     121/25 121/25 129/22
manufactured [1] 125/19
M                               30/3 31/16 31/18 33/5 38/21
      Case 1:17-cr-00232-EGS 41/11
                              Document  266 65/21
                                             Filed 10/08/20
                                                                 111/4 113/7 113/25 114/1
                                                              Page117/3
                                                                   183 of118/5
                                                                           196
                                   42/8 51/7       66/1     114/2                  118/15
months [10] 80/18 82/17 89/9     68/3 76/24 78/19 79/8 83/15     126/12 126/13 128/2 132/19
 90/24 95/18 108/22 134/5        92/22 99/8 118/3 119/24         148/8 151/22 152/10 156/2
 138/1 140/13 141/6              140/7 148/12 148/13 155/3       159/2 159/7 162/12 163/15
MOOPPAN [4] 1/12 2/7 148/16      155/20 155/22 159/2             163/15 164/6 164/14 164/15
 156/2                          Mr. [174]                        164/17
Moore [3] 30/20 31/13 41/16     Mr. Barnett's [1] 146/9         myself [1] 101/1
moot [4] 36/13 39/1 39/19       Mr. Cramer [1] 37/10
 119/1                          Mr. Flynn [69] 3/6 3/19 3/24    N
more [33] 5/9 8/19 23/1          4/19 4/20 5/1 5/10 5/18 5/20
 28/16 44/3 57/16 58/3 59/16                                    nadir [1] 15/18
                                 6/3 6/11 6/18 6/20 7/3 7/19    nail [1] 126/7
 59/16 60/16 60/17 65/14         7/24 8/3 8/13 8/14 8/18 8/25
 71/15 79/1 82/15 86/9 86/16                                    name [3] 72/9 114/7 164/18
                                 9/3 9/17 9/20 27/20 27/21      Namely [1] 99/18
 95/8 101/6 102/25 106/2         29/2 29/21 31/25 32/3 32/18
 106/7 115/3 116/17 117/24                                      names [1] 140/12
                                 32/20 33/7 33/8 33/15 35/23    narcotics [1] 72/8
 118/8 118/15 142/10 142/13      44/24 45/4 45/10 45/15 46/18
 144/20 146/3 154/25 155/2                                      narrative [1] 107/22
                                 46/20 47/8 49/8 51/7 53/2      narrow [2] 17/5 150/21
more minutes [1] 118/8           55/11 58/23 59/4 62/1 62/20
Moreover [1] 31/14                                              Nashiri [3] 64/8 137/10
                                 65/23 67/13 67/17 68/11         137/12
morning [16] 2/6 2/8 2/9         68/18 69/3 69/10 71/20 75/24
 2/10 2/13 2/14 2/16 4/14                                       nation [1] 135/25
                                 79/22 80/24 93/4 136/9         national [8] 31/4 31/10
 42/10 42/11 63/18 63/18         136/21 139/13 143/16 157/2
 83/10 85/25 89/6 155/16                                         88/10 129/21 141/6 142/9
                                 157/18                          142/21 154/5
most [16] 42/13 44/16 45/6      Mr. Flynn's [20] 4/5 4/8
 62/18 64/12 75/4 88/20 90/10                                   natural [2] 30/17 122/11
                                 5/16 5/21 7/14 8/3 8/9 8/10    naturally [1] 84/7
 93/17 96/19 117/16 125/4        28/22 28/25 29/9 29/19 30/14
 125/16 131/10 134/9 148/7                                      nature [3] 31/5 105/15 145/3
                                 32/14 32/16 32/22 47/20 48/7   necessarily [1] 131/9
motion [114] 3/18 3/18 7/24      56/2 69/13
 8/3 8/9 8/15 8/21 8/25 9/4                                     necessary [2] 115/7 149/24
                                Mr. Gleeson [66] 9/16 9/19      need [17] 9/23 10/6 22/16
 9/8 9/13 9/14 10/7 10/24        10/20 11/14 12/6 12/14 12/16
 11/11 20/1 20/13 23/3 26/16                                     44/2 45/8 60/22 61/2 65/13
                                 13/6 13/12 15/13 19/5 20/8      80/3 89/5 92/20 102/18
 27/5 27/19 36/14 36/17 36/18    20/17 20/23 21/8 22/2 22/9
 39/2 39/4 39/7 41/2 41/16                                       102/25 103/1 105/7 108/15
                                 22/19 22/25 24/5 24/13 24/17    150/22
 55/6 60/13 60/17 61/9 64/17     25/1 25/4 25/11 30/12 30/16
 64/20 64/23 65/1 65/4 65/8                                     needed [2] 42/24 141/17
                                 31/2 31/14 32/15 33/13 33/15   needs [2] 37/19 101/1
 65/9 65/15 67/12 67/19 67/20    33/19 34/2 35/22 59/21 63/21
 67/24 68/1 68/5 73/20 74/19                                    negotiated [1] 90/25
                                 63/24 66/18 66/21 80/10 84/4   negotiating [1] 77/14
 74/22 75/12 75/13 78/20 86/9    84/14 85/5 100/8 100/11
 86/15 86/16 88/4 89/18 90/7                                    neither [3] 35/17 111/23
                                 103/5 110/5 110/12 110/25       144/7
 91/9 96/3 96/7 96/13 97/15      117/12 117/20 117/24 118/7
 98/20 98/22 98/25 99/5                                         net [1] 142/6
                                 118/12 119/4 136/4 143/8       never [33] 20/11 22/4 25/6
 100/12 100/18 101/4 101/24      145/1 145/15 145/18 146/20
 102/8 102/9 103/5 103/6                                         30/5 32/8 42/17 46/23 47/2
                                 147/7 147/19 155/25 160/5       47/5 58/11 67/25 73/22 77/24
 103/9 104/13 104/14 104/22     Mr. Gleeson's [3] 3/8 19/3
 104/24 105/3 105/4 107/17                                       78/3 78/16 82/11 82/13 85/4
                                 19/23                           87/7 89/13 89/13 103/18
 107/23 109/22 111/14 112/12    Mr. Hashim [1] 2/7
 115/11 117/23 121/4 121/14                                      123/17 123/22 124/20 135/23
                                Mr. Kislyak [2] 29/12 29/24      137/13 137/17 143/18 143/19
 124/3 125/21 126/17 130/11     Mr. Mooppan [2] 148/16 156/2
 131/4 131/24 132/24 133/22                                      156/25 157/14 161/21
                                Mr. Pientka [1] 142/4           nevertheless [3] 42/5 150/12
 134/6 134/8 136/10 143/21      Mr. Rafiekian [1] 78/7
 143/24 144/17 144/18 154/18                                     155/8
                                Mr. Strzok [2] 92/18 92/19      new [32] 6/13 6/15 25/23
 158/18 161/24 161/25 162/4     Mr. Van [5] 54/9 66/7 66/9
 162/12 163/4                                                    28/8 29/4 29/7 37/9 50/8
                                 66/9 96/7                       50/22 57/9 57/11 64/4 86/3
motions [27] 1/9 4/16 6/20      Ms [1] 136/6
 7/8 7/12 7/16 9/1 9/2 9/17                                      86/4 86/17 86/18 86/20 89/6
                                Ms. [7] 54/2 96/3 110/5          108/17 131/9 131/10 131/17
 12/9 15/24 16/8 16/14 20/24     110/17 118/8 129/18 136/16
 24/15 24/15 24/17 24/21 25/7                                    134/4 134/4 135/22 142/21
                                Ms. Ballantine [1] 96/3          145/2 145/2 146/4 146/16
 68/8 70/13 92/15 97/4 99/11    Ms. Powell [6] 54/2 110/5
 100/21 135/11 164/7                                             153/15 155/2
                                 110/17 118/8 129/18 136/16     newest [1] 133/6
motivated [3] 13/8 20/9         MSL's [1] 142/22
 158/11                                                         newly [4] 4/1 27/23 44/10
                                much [11] 28/6 59/16 69/18       67/24
motivating [2] 92/23 158/2       76/15 98/15 102/3 105/21
motivation [3] 46/23 156/10                                     newly-appointed [1] 67/24
                                 120/2 126/17 136/4 147/8       newly-discovered [2] 4/1
 156/11                         Mueller [1] 86/5
motivations [1] 89/11                                            27/23
                                multiple [4] 20/21 61/15        news [4] 107/21 109/6 109/6
motive [3] 42/17 51/5 88/2       101/15 131/3
motives [2] 145/24 146/1                                         117/3
                                murder [1] 160/18               next [23] 19/3 46/4 48/4
mouths [1] 123/21               must [10] 16/19 20/6 23/1
move [9] 46/14 58/22 61/2                                        49/4 63/11 63/16 63/17 65/8
                                 28/17 39/6 50/17 63/22 64/13    65/12 65/13 65/16 66/14
 78/21 79/6 87/15 87/22 88/18    133/22 135/6
 158/7                                                           67/12 67/13 71/12 84/23 99/1
                                mute [4] 28/2 28/3 28/5          103/5 107/8 141/12 153/1
moved [10] 7/19 27/19 49/6       119/25
 56/5 57/23 73/5 81/5 87/3                                       161/10 161/16
                                muting [1] 28/7                 nice [1] 163/10
 90/8 114/14                    my [48] 4/23 42/18 42/24
moves [1] 134/20                                                night [1] 127/24
                                 46/23 48/1 48/3 48/22 49/2     nightmare [1] 88/9
moving [7] 3/23 78/21 82/25      49/12 50/21 52/5 53/22 54/15
 110/22 136/8 158/14 158/15                                     nine [1] 48/17
                                 61/25 71/11 72/17 73/16 74/1   Nixon [9] 40/22 99/1 144/21
Mr [35] 7/8 7/12 9/9 10/19       76/23 77/6 93/1 97/23 101/9
 11/1 24/21 25/14 26/2 28/9                                      149/3 149/7 149/20 151/10
N                                52/16 54/4 54/23 57/7 57/10
      Case 1:17-cr-00232-EGS 57/13
                              Document
                                                               147/11
                                   58/16 266
                                          58/20Filed
                                                61/2410/08/20Oh Page 184 of 58/4
                                                                [4] 45/13    196  58/21 84/5
Nixon... [2] 151/21 160/10       74/16 93/2 94/25 110/4 164/9 OIG [1] 91/10
no [128] 1/4 4/8 8/5 9/14       numerous [1] 92/24            Okay [6] 36/9 54/2 119/5
 9/23 11/9 12/10 12/17 13/18    NW [1] 1/20                    120/3 136/19 148/23
 14/23 17/8 17/18 20/2 22/3                                   old [2] 125/24 147/21
 22/14 23/24 25/23 26/21 29/6   O                             once [14] 13/2 43/2 61/20
 29/11 29/23 29/25 30/6 31/23                                  81/5 87/10 87/21 103/23
 36/18 37/13 37/13 37/19        oath [14] 46/12 46/22 71/15
                                 73/3 76/1 78/3 107/7 127/22   113/20 135/1 135/2 137/9
 37/19 39/5 39/11 39/19 40/1                                   149/12 152/8 160/12
 41/1 43/19 45/4 45/9 45/11      127/23 136/21 144/14 144/14
                                 156/9 156/14                 one [86] 4/5 4/20 8/20 10/9
 45/16 47/10 47/25 47/25 50/9                                  12/6 17/5 17/21 20/20 22/20
 51/15 53/7 53/25 54/1 54/11    Obama [3] 140/20 140/24
                                 143/2                         27/7 28/1 37/13 37/19 38/13
 54/11 55/12 56/10 56/23                                       41/13 43/2 44/15 45/19 48/2
 57/17 58/4 60/1 60/1 60/5      Obama's [2] 101/20 129/13
                                object [9] 17/4 18/14 18/18    50/7 50/17 51/17 57/3 57/16
 62/14 63/4 63/24 66/23 67/8                                   57/18 60/16 60/16 61/10
 70/19 70/20 75/12 76/14         19/9 21/5 21/5 54/24 59/20
                                 59/22                         61/17 62/22 69/20 70/10
 81/20 86/11 86/12 86/15                                       71/15 73/14 73/21 76/12
 88/11 88/19 90/20 96/6 96/8    objected [1] 21/11
                                objecting [2] 62/16 62/21      76/14 76/25 77/4 77/10 77/24
 96/12 97/14 98/2 98/22 99/24                                  84/3 88/15 95/8 96/2 98/6
 100/4 100/5 103/11 103/11      objection [2] 62/21 132/2
                                objections [10] 2/20 35/21     100/15 100/22 100/24 102/18
 103/11 103/12 104/14 108/5
 113/1 115/6 116/17 117/5        35/24 37/23 54/23 55/1 58/16 104/24 105/7 107/7 108/3
                                 58/20 66/15 66/23             108/7 109/4 111/11 113/17
 117/5 120/19 121/17 125/24                                    113/21 114/16 115/13 115/17
 127/4 128/5 128/9 128/10       objective [3] 30/23 41/13
                                 122/10                        116/13 119/13 120/8 123/7
 130/12 132/2 132/4 135/19                                     123/16 125/3 125/5 125/7
 137/23 138/10 138/12 139/1     objectively [1] 132/11
                                objects [1] 17/3               127/11 129/19 129/20 135/14
 139/4 139/19 140/13 140/24                                    138/10 143/23 144/6 144/7
 141/4 142/20 143/1 143/11      obligated [1] 135/5
                                obligation [3] 87/17 120/21    150/18 151/24 153/15 157/8
 143/19 145/22 149/18 149/23                                   158/22 160/22 161/23 162/19
 150/14 150/17 153/3 159/9       140/7
                                observed [5] 11/5 43/19       one's [2] 37/13 37/19
 159/10 159/22 161/20 162/6                                   ones [4] 20/25 131/7 134/4
nolle [1] 11/18                  43/20 44/6 44/7
                                obtain [2] 12/5 113/13         135/23
nominee [2] 141/15 142/5                                      ongoing [2] 79/17 126/2
non [2] 31/22 139/6             obtained [1] 13/24
                                obtaining [1] 132/3           only [37] 5/9 11/10 13/24
non-consentable [1] 139/6                                      15/24 17/2 20/14 21/5 26/23
non-factor [1] 31/22            obtains [1] 20/10
                                obvious [2] 11/3 154/14        54/8 57/3 69/14 70/22 77/2
none [8] 77/12 80/10 93/20                                     77/5 80/19 84/8 94/14 109/21
 99/24 99/24 115/2 142/23       obviously [7] 85/5 94/16
                                 111/6 111/7 121/7 131/5       109/24 111/21 113/19 115/17
 152/5                                                         115/19 116/1 116/9 120/13
normal [3] 28/8 37/9 87/7        158/7
                                occasion [1] 71/15             122/18 132/8 135/4 137/22
normally [1] 43/25                                             137/23 139/4 143/13 151/9
noses [1] 135/10                occasions [1] 32/19
                                occur [1] 65/10                154/4 156/8 161/15
not [294]                                                     opaque [3] 117/10 120/15
notations [1] 157/9             occurred [8] 4/10 28/13
                                 47/10 51/12 84/10 90/25       156/1
note [6] 6/24 40/2 49/1 49/2                                  open [5] 29/8 31/20 99/10
 93/16 157/8                     122/23 147/11
noted [1] 13/20                 October [3] 6/23 50/5 164/18 107/7 108/13
                                October 2019 [1] 6/23         opened [1] 46/5
notereading [1] 1/22                                          opening [3] 29/4 141/11
notes [19] 15/13 35/6 44/3      odd [1] 124/18
                                oddity [1] 100/15              149/5
 45/18 83/5 83/13 88/12 95/20                                 operate [1] 42/16
 130/16 130/18 130/20 140/12    odds [1] 81/22
                                off [9] 62/11 64/23 101/3     operating [1] 87/5
 140/15 143/6 153/19 153/21                                   operative [1] 77/18
 157/6 157/17 164/14             101/11 103/2 116/22 135/18
                                 153/8 162/5                  opinion [21] 7/11 18/18
nothing [19] 30/7 30/8 89/4                                    20/22 32/12 36/12 38/24 39/8
 104/8 104/8 114/21 116/16      offended [1] 112/14
                                offending [2] 111/15 132/14    47/7 50/21 59/10 78/13 78/17
 130/11 130/17 130/19 130/24                                   98/1 98/10 111/22 113/15
 131/1 132/10 137/11 142/19     offense [17] 13/20 46/17
                                 66/11 76/22 77/2 77/7 77/15   114/23 115/11 115/12 145/6
 146/22 162/13 162/18 162/18
notice [2] 9/3 49/20             77/16 79/13 79/13 80/12 81/4 149/25
notion [4] 105/20 108/4          81/8 81/23 84/7 87/21 95/23 opinions [8] 9/22 73/24 74/1
                                offer [2] 115/19 138/18        74/7 74/9 74/15 99/10 159/18
 160/24 161/2                                                 opportunity [23] 6/9 62/9
notorious [1] 140/5             offered [4] 22/21 129/4
                                 137/22 139/5                  64/25 65/6 65/14 66/18 68/19
notwithstanding [2] 17/16                                      69/23 76/8 90/15 101/2 110/8
 120/4                          office [32] 42/14 42/16
                                 42/18 42/19 43/18 43/20       110/18 110/19 119/3 120/20
now [44] 3/2 5/14 10/11
 10/19 27/18 28/2 28/9 33/6      45/22 46/7 46/16 46/21 47/11 136/7 136/12 137/22 137/25
                                 49/23 79/24 86/6 87/12 89/3   138/22 138/24 139/5
 35/20 36/5 36/7 37/11 38/3                                   oppose [2] 117/24 126/16
 42/14 43/25 44/16 45/14         91/1 95/20 96/2 96/4 96/19
                                 96/19 96/25 107/25 131/20    opposed [9] 4/15 8/2 10/24
 47/14 50/25 63/15 63/15                                       12/9 20/24 24/14 24/15
 64/20 73/2 76/18 79/8 80/10     141/10 142/9 147/22 154/23
                                 156/7 157/25 158/4            134/21 145/15
 83/21 89/8 100/9 111/13                                      opposes [2] 11/10 150/15
 112/3 121/6 121/9 128/1        officer [2] 70/5 94/7
                                officers [1] 132/20           opposing [1] 134/7
 142/13 143/7 146/5 149/21
 150/10 152/16 158/14 158/15    official [9] 15/9 26/18 31/6 opposite [2] 97/20 98/14
                                 45/24 114/22 164/3 164/6     opposition [3] 9/8 73/20
 161/13 162/16                                                 105/3
nudge [2] 126/23 126/23          164/13 164/22
                                officials [6] 33/2 44/6       option [1] 62/3
nudging [1] 108/1                                             oral [4] 9/12 10/8 65/2
number [22] 10/25 14/25 16/1     82/14 121/22 123/6 123/7
                                often [3] 24/16 132/13         126/1
 18/4 21/1 37/22 50/7 50/13
O                               oversight [1]
      Case 1:17-cr-00232-EGSoverstating
                              Document [1]
                                                25/22
                                        266 135/19
                                            Filed 10/08/20period
                                                                perhaps [1]
                                                             Page[3]
                                                                  185 32/25
                                                                              125/16
                                                                      of 19663/1       129/24
order [16] 6/22 7/1 7/4 7/7     Overt [1] 161/13                perjury [9] 3/6 9/10 71/16
 7/11 9/13 10/3 23/12 26/9      overwhelming [3] 11/12 14/25     102/2 107/6 127/24 128/18
 62/10 62/14 63/3 72/25 87/1     18/4                            160/25 161/4
 141/22 163/13                  own [25] 13/11 22/4 63/21       pernicious [1] 115/3
ordered [2] 46/11 87/11          64/6 82/9 82/12 91/8 93/20     Perry [1] 60/3
orders [1] 59/21                 93/25 107/11 109/16 123/11     persecuted [1] 107/19
ordinary [1] 114/9               128/4 128/12 135/17 139/3      person [15] 6/6 42/14 46/16
origin [1] 43/6                  139/8 139/11 140/18 143/6       50/19 52/11 56/13 59/2 59/2
original [5] 19/6 85/10          144/23 146/18 147/5 156/13      61/5 73/7 99/21 108/8 117/17
 124/3 131/4 141/22              161/2                           141/4 161/15
originally [2] 11/24 118/17                                     personal [3] 24/24 63/21
ostensible [3] 105/15 119/10    P                                109/13
 128/8                                                          personally [4] 34/19 106/18
other [63] 6/24 14/2 18/2       packing [1] 162/7
                                page [6] 15/12 40/22 40/25       129/1 129/22
 30/19 32/10 34/10 36/19                                        personnel [1] 158/3
 38/10 39/10 50/13 51/18         41/15 46/10 50/4
                                pages [4] 86/11 146/3 146/4     perspective [1] 101/9
 54/23 55/1 55/6 56/4 56/23                                     persuade [3] 78/14 86/20
 57/4 58/16 59/3 59/7 66/16      164/12
                                pains [1] 69/16                  87/25
 72/1 72/25 77/4 78/5 78/6                                      persuaded [1] 110/13
 81/11 84/16 84/17 85/25        painted [1] 127/20
                                papers [3] 107/11 117/3         pertain [1] 8/4
 89/23 92/19 92/19 99/12                                        Pete [2] 45/21 82/25
 102/3 102/7 108/5 109/23        128/5
                                paperwork [1] 85/8              Peter [6] 61/10 82/1 91/19
 110/4 110/15 113/15 118/6                                       91/24 137/7 147/16
 122/12 124/20 126/4 130/12     paragraph [2] 49/4 128/15
                                parcel [1] 32/21                petition [4] 62/2 63/9 63/12
 130/14 132/6 132/25 141/13                                      144/6
 143/13 143/15 146/12 146/13    pardon [6] 56/24 58/13
                                 107/15 111/22 116/23 135/19    phase [2] 7/18 39/17
 146/21 147/25 155/16 158/9                                     phone [2] 28/5 140/21
 159/1 159/18 159/18 159/23     part [29] 32/21 37/16 51/10
                                 69/19 75/19 75/25 76/1 77/25   phones [4] 28/3 28/3 28/7
 161/23                                                          120/1
others [4] 20/5 73/22 115/14     78/18 78/19 78/20 81/21 86/8
                                 97/11 102/19 102/21 108/13     phrase [2] 11/3 11/12
 128/9                                                          pick [3] 41/5 41/5 41/6
otherwise [5] 26/19 55/6         110/20 112/10 114/2 114/3
                                 123/23 131/15 132/15 132/17    picked [3] 61/13 143/9
 71/8 79/16 144/24                                               157/25
ought [2] 101/11 131/25          132/24 135/21 144/4 146/6
                                partial [2] 39/16 64/8          piece [1] 111/11
our [47] 36/16 37/3 38/16                                       pieces [1] 153/16
 40/15 42/14 42/15 42/18 43/3   partiality [1] 64/13
                                participate [1] 142/10          Pientka [3] 141/12 142/4
 46/16 46/19 46/19 47/11                                         142/13
 49/16 49/24 68/6 71/13 75/12   participated [1] 52/14
                                participation [1] 86/4          pierce [1] 15/10
 78/22 83/16 85/14 86/25                                        pierces [1] 112/21
 87/13 91/1 91/8 91/11 91/11    particular [1] 147/10
                                parties [10] 2/4 7/17 10/5      Pitts [4] 144/23 145/6
 95/10 96/24 104/22 105/3                                        145/13 146/18
 105/3 109/1 112/10 112/10       36/18 39/6 48/18 61/13 66/20
                                 67/16 119/25                   place [5] 106/4 110/8 110/16
 119/16 121/3 125/25 130/8                                       121/5 137/14
 131/6 132/22 134/16 134/23     parties' [3] 3/8 3/12 111/3
                                partisan [1] 140/18             placed [2] 34/5 69/6
 144/4 144/6 148/21 149/5                                       places [4] 106/3 115/5 129/8
 159/12                         partly [1] 87/2
                                partner [6] 6/13 6/15 78/5       133/5
ourselves [1] 41/16                                             plain [4] 11/2 11/14 41/4
out [46] 26/19 31/9 31/14        78/6 148/12 148/13
                                parts [1] 113/15                 128/21
 33/4 37/1 37/6 37/20 42/3                                      plaintiff [3] 36/20 39/10
 45/2 47/8 50/20 52/16 57/4     party [5] 60/1 63/24 110/22
                                 136/8 144/2                     39/11
 72/13 77/18 84/9 87/13 99/20                                   play [7] 40/1 40/9 131/23
 99/21 101/14 105/12 109/11     passage [1] 11/16
                                passed [1] 12/6                  131/24 150/16 150/21 150/21
 114/7 114/15 123/24 126/8                                      plays [1] 10/21
 128/6 128/7 133/14 134/13      passing [1] 149/22
                                past [1] 147/12                 plea [66] 5/1 5/3 5/15 5/20
 139/17 141/1 141/6 142/22                                       7/3 7/20 13/15 13/19 15/14
 143/4 145/8 146/7 151/3        patently [1] 102/24
                                patient [2] 100/8 136/7          15/17 17/19 18/22 18/24
 151/6 154/17 155/10 156/6                                       19/24 19/25 22/11 32/18
 156/20 159/11 162/20 163/13    peace [1] 117/15
                                pedaling [2] 138/8 138/9         33/11 51/11 67/14 67/20 68/5
out other [1] 57/4                                               68/8 68/14 69/3 70/2 70/7
outlets [1] 107/21              penalizing [2] 4/9 28/12
                                penalty [3] 71/16 107/6          70/17 71/4 71/5 71/8 75/23
outline [1] 49/20                                                75/25 76/2 79/12 81/5 81/6
outraged [1] 140/10              127/24
                                Pence [1] 29/15                  85/10 86/21 87/9 90/25 91/3
outreach [1] 49/19                                               91/5 103/8 103/18 103/25
outright [1] 129/7              pending [10] 4/18 9/1 10/23
                                 12/17 21/23 27/19 55/6          104/2 104/11 104/13 127/16
outset [1] 106/13                                                131/14 137/3 137/4 137/14
outstanding [2] 9/22 138/19      108/23 112/7 134/21
                                Pennsylvania [1] 74/12           137/18 137/19 137/23 139/5
over [26] 15/16 17/12 20/14                                      139/18 139/18 143/21 143/24
 20/15 25/21 38/21 41/10 42/8   people [19] 37/17 44/21
                                 44/22 55/23 85/17 86/2 88/13    144/5 144/7 144/10 161/25
 44/1 44/3 70/6 71/19 73/20                                     plead [3] 104/5 136/21
 73/25 85/13 86/1 87/17 90/12    89/21 92/19 95/20 103/24
                                 104/5 131/19 132/20 140/19      155/13
 102/12 105/8 131/10 138/4                                      pleaded [1] 33/10
 140/10 140/16 157/2 159/4       141/1 155/13 156/16 157/13
                                people's [1] 120/9              pleading [3] 50/6 67/4 92/8
overall [1] 56/7                                                pleadings [9] 4/3 9/19 27/25
overcome [2] 21/6 25/9          perception [1] 11/18
                                Perfectly [1] 59/12              72/4 89/18 89/19 117/22
overlook [2] 71/18 117/13                                        118/6 146/3
overlooked [1] 117/16           perform [3] 15/9 31/12
                                 112/15                         pleads [1] 127/13
overrule [1] 25/5                                               pleas [5] 8/9 70/14 74/17
overruled [2] 102/19 113/2      performing [2] 30/25 122/17
P                               144/25
      Case 1:17-cr-00232-EGSpotentially
                              Document [1]
                                        266 122/18
                                                                109/13 109/16 109/24 110/2
                                            Filed 10/08/20 147/15
                                                             Page 162/21
                                                                  186 of 196
pleas... [2] 128/16 144/7       POWELL [9] 1/14 2/11 54/2       President-elect [2] 130/1
please [12] 2/4 2/5 28/1         110/5 110/17 118/8 129/18       141/15
 28/2 28/3 28/3 28/5 36/8        136/7 136/16                   presidential [5] 31/8 45/25
 37/19 47/24 94/24 148/23       power [36] 16/21 16/22 17/8      106/12 141/14 142/5
pleasure [1] 67/9                20/11 20/14 22/5 23/13 24/10   press [1] 130/3
pled [16] 4/20 28/9 71/15        24/23 25/18 25/22 25/23 26/5   pressed [2] 47/1 47/11
 73/2 73/3 79/22 91/2 103/23     31/6 41/1 97/14 111/15         pressure [3] 110/3 162/22
 105/13 124/11 125/13 127/2      111/18 111/21 112/20 113/23     162/24
 127/10 127/24 128/21 155/12     114/15 116/15 116/19 116/21    presume [1] 135/6
plenty [2] 101/23 101/23         119/17 120/24 120/25 120/25    presumed [1] 26/17
plow [2] 152/21 154/2            134/24 134/25 135/3 135/19     presumption [9] 15/10 21/3
plus [2] 44/10 148/8             143/12 148/5 149/18             21/7 25/9 112/11 112/18
point [59] 3/7 36/5 36/16       powers [10] 12/16 15/14          112/18 112/21 113/11
 37/3 39/22 40/15 41/10 41/19    19/23 21/17 22/1 22/12 60/5    pretext [8] 40/18 41/7 99/6
 45/2 51/3 53/8 56/5 59/5        96/23 111/11 112/13             103/2 105/21 121/7 124/3
 63/11 63/16 63/17 65/8 65/12   practical [2] 19/13 70/19        129/9
 65/13 65/16 66/14 68/17        practice [3] 6/1 7/5 148/8      pretexts [1] 105/8
 70/11 70/11 71/12 73/15 75/4   practiced [1] 61/19             pretextual [9] 22/21 22/24
 79/1 88/15 91/8 92/21 95/8     pre [4] 15/14 19/25 55/6         25/15 26/10 31/19 34/4
 101/3 105/11 108/3 124/13       71/4                            102/24 105/14 131/5
 125/7 126/12 126/13 128/6      pre-motion [1] 55/6             pretty [4] 79/14 85/2 123/11
 128/7 129/20 132/19 139/17     pre-plea [2] 15/14 19/25         157/9
 148/21 149/2 149/2 151/22      preceded [1] 29/19              prevent [2] 23/12 115/7
 153/17 153/18 154/4 154/6      precedent [3] 13/18 41/8        prevented [1] 122/22
 156/6 156/20 158/22 159/1       73/15                          preventing [1] 24/9
 159/24 161/19 161/23           precise [5] 12/25 51/19         previous [3] 9/19 67/25 86/5
pointed [5] 40/3 101/14          141/25 142/1 155/1             previously [8] 23/13 24/10
 109/11 123/24 154/17           precisely [3] 58/6 58/8          25/4 32/16 34/4 109/14 124/1
points [16] 25/1 26/19 28/24     116/12                          126/24
 31/14 33/22 36/4 38/18         predicate [4] 29/13 78/14       primacy [7] 13/2 21/2 112/4
 125/11 146/13 148/20 148/21     88/8 89/1                       112/6 113/8 113/18 120/5
 148/22 148/24 152/2 153/4      predicated [2] 29/25 125/10     primarily [1] 49/19
 155/21                         predication [6] 29/7 29/14      primary [1] 14/1
poke [1] 131/25                  31/25 123/13 123/17 124/2      principal [10] 17/4 18/14
Police [1] 132/20               predominantly [1] 35/3           18/18 19/9 21/5 54/17 66/20
policies [1] 133/11             preference [1] 26/25             102/15 110/15 159/7
policing [1] 115/24             prejudice [34] 3/19 8/23 9/1    principally [1] 159/6
policy [7] 46/2 46/3 82/2        74/19 74/24 75/3 75/5 75/8     principle [2] 73/6 161/15
 129/25 133/10 133/12 142/8      75/11 75/13 75/17 75/17        principles [4] 12/16 14/9
political [17] 42/17 46/23       75/19 76/11 76/17 76/18 77/1    41/18 112/13
 48/18 49/25 64/6 85/21 88/2     77/2 86/22 90/7 90/8 100/13    print [1] 67/4
 106/11 132/24 143/10 145/3      100/20 100/24 101/5 101/11     prior [9] 7/22 11/16 56/25
 148/24 156/10 156/11 157/6      101/12 102/9 144/24 145/9       62/8 68/8 70/1 70/2 121/25
 158/16 161/11                   145/12 146/19 148/10 159/14     122/19
politically [10] 11/20 12/7     preliminary [2] 49/19 52/14     priority [1] 133/10
 13/8 20/9 25/2 85/18 85/20     premise [4] 13/9 53/16          prison [1] 63/22
 140/25 143/5 158/11             123/16 162/1                   private [1] 71/1
politically-connected [1]       prepare [1] 64/25               privilege [3] 55/19 55/23
 85/18                          prepared [6] 7/17 65/23          56/1
politically-motivated [1]        77/20 80/6 110/9 119/1         privileged [1] 93/9
 13/8                           preparing [1] 110/7             probably [6] 38/13 50/21
politics [2] 92/23 158/15       prerequisite [1] 123/17          53/5 57/10 57/24 64/24
poor [1] 115/2                  prerogative [2] 11/17 35/13     probative [1] 28/17
pop [1] 134/14                  present [2] 9/7 45/19           problem [6] 44/18 47/5 51/23
portion [1] 66/10               presentations [1] 119/2          78/6 129/17 140/24
posed [3] 39/3 111/3 119/9      presented [6] 77/7 78/7 81/8    problematic [2] 87/14 159/5
position [20] 22/16 27/6         98/20 116/13 120/8             problems [6] 77/25 82/10
 40/14 40/17 46/15 60/10        presenting [1] 46/15             115/18 139/9 153/10 159/8
 60/11 60/21 68/6 86/25         preside [1] 102/12              procedural [1] 26/21
 101/18 107/24 108/8 114/22     presided [2] 71/19 73/25        procedure [7] 3/20 8/23
 118/25 123/13 123/20 128/3     president [63] 29/15 34/7        10/12 11/23 29/19 115/16
 150/25 151/12                   34/15 34/17 34/18 34/22         143/6
positions [3] 3/8 3/8 3/12       34/24 55/4 55/10 55/18 56/3    proceed [10] 7/17 10/7 39/11
positive [2] 49/17 125/16        56/14 56/18 56/22 57/1 57/2     60/7 61/23 62/15 70/20 156/5
possibility [1] 99/11            57/6 57/8 57/14 57/18 58/2      161/25 163/10
possible [6] 49/23 53/3          58/7 58/12 83/4 92/25 93/3     proceeded [3] 66/8 71/17
 100/22 106/4 121/22 160/23      93/9 93/13 94/6 95/1 97/2       137/15
possibly [2] 61/14 152/23        101/20 104/18 106/1 106/8      proceeding [8] 7/1 46/18
post [4] 15/17 19/24 33/1        106/12 106/14 106/24 107/4      63/8 63/11 72/3 104/3 137/20
 71/4                            107/5 107/8 107/13 108/12       139/22
post-election [1] 33/1           108/16 108/17 111/21 117/1     proceedings [15] 1/22 9/22
post-plea [3] 15/17 19/24        129/13 129/25 130/1 135/18      12/25 13/1 34/19 38/11 61/4
 71/4                            140/20 140/24 141/15 143/8      106/17 119/2 139/3 162/3
postdate [1] 41/8                146/7 152/2 152/9 152/13        163/18 164/6 164/13 164/15
posted [1] 91/21                 152/18 153/2 154/6 162/25      process [4] 45/25 68/21 88/6
postponed [1] 6/8               president's [12] 34/11 94/11     134/10
postscript [1] 49/2              107/18 108/15 108/22 109/7     produce [1] 53/14
potential [3] 31/10 102/2
P                               112/19 115/19 116/14 123/22
      Case 1:17-cr-00232-EGS 132/7
                              Document
                                                                questioned [1]   35/8
                                   132/25266  Filed
                                          156/18    10/08/20questions
                                                  156/23       Page 187 of 196
                                                                      [49]  2/21      2/25 3/9
produced [4] 1/22 50/11          156/24 157/21 162/14 162/15     3/13 5/17 5/19 15/15 33/18
 142/2 142/23                   prosequi [1] 11/18               42/3 51/5 53/22 61/24 67/11
product [1] 59/8                protect [7] 12/12 15/24 17/5     68/3 71/11 76/13 79/25 80/1
production [3] 6/21 64/5         18/19 19/10 22/4 116/6          80/6 80/12 84/8 84/14 85/4
 125/9                          protected [1] 55/18              85/9 91/18 100/25 110/5
productions [1] 8/11            protecting [2] 14/3 21/4         110/10 110/18 111/3 111/7
professionally [1] 160/6        protects [2] 14/7 24/4           111/8 118/5 118/7 118/9
proffered [1] 84/15             protest [1] 15/16                122/24 124/25 127/11 134/18
progress [1] 38/11              proud [1] 134/8                  136/3 136/12 138/15 146/13
prominent [2] 99/21 114/17      prove [24] 4/7 4/11 28/14        150/11 150/11 150/12 151/17
promise [3] 69/17 106/7          28/21 33/6 35/16 45/3 81/7      154/3 157/14
 106/9                           81/7 87/5 95/23 105/12 127/8   qui [1] 21/11
prompting [1] 32/5               127/10 128/12 128/23 129/2     quickly [3] 2/24 2/24 28/24
promulgated [2] 13/21 116/18     129/3 129/16 129/20 130/25     quintessentially [2] 35/12
promulgating [1] 12/3            131/16 152/25 162/19            133/13
prone [1] 103/16                proved [1] 105/14               quite [5] 38/24 78/8 92/3
prong [1] 104/22                proves [4] 33/13 103/22          122/14 160/1
proper [5] 26/11 42/7 43/4       148/21 162/12                  quote [10] 3/21 10/13 31/3
 72/24 158/11                   provide [9] 23/1 29/17 49/20     40/21 40/24 129/3 149/7
properly [5] 24/9 26/17 52/1     52/19 53/12 56/8 56/11 56/18    149/15 149/17 149/21
 61/23 153/9                     120/13                         quotes [11] 11/7 18/18 21/21
property [1] 34/11              provided [6] 56/6 56/13 64/2     23/5 40/20 41/4 41/8 149/3
proportion [1] 107/2             66/6 144/4 146/16               151/10 152/8 154/8
proposal [1] 13/22              provides [1] 10/13              quoting [7] 12/20 17/14
propose [1] 37/7                providing [2] 11/9 13/23         45/24 68/13 69/13 82/12
proposed [7] 11/24 14/17        proving [3] 27/10 27/13          109/15
 21/12 21/14 23/16 115/17        130/10
 133/24                         provision [4] 16/17 20/4        R
proposition [1] 98/7             21/13 26/20
propriety [4] 50/15 51/1                                      rabbit [1] 146/21
                                provisions [2] 16/9 21/1      race [2] 102/10 133/2
 94/14 94/22                    provoked [1] 138/9
prosecute [32] 18/12 18/13                                    racial [1] 161/12
                                public [22] 14/7 14/13 17/25  rack [2] 101/3 101/11
 19/14 19/16 21/22 35/11         18/16 23/8 24/4 26/12 26/25
 40/24 44/20 44/22 46/16                                      radar [1] 50/16
                                 50/17 50/19 64/11 94/4       Rafiekian [2] 65/25 78/7
 50/23 69/4 70/18 71/2 71/9      106/15 108/22 109/7 109/21
 74/13 76/2 76/20 83/19 89/14                                 railroaded [1] 93/19
                                 111/22 112/23 117/11 120/16  raise [4] 15/15 51/22 51/23
 99/3 128/2 134/25 144/22        130/4 147/6
 149/9 149/14 152/22 153/24                                    89/2
                                public's [2] 50/18 135/15     raised [9] 5/16 47/18 55/2
 154/2 156/16 160/11 162/4      publicly [3] 108/21 130/5
prosecuted [8] 22/15 34/21                                     60/5 69/24 91/10 97/4 122/23
                                 162/24                        148/24
 52/12 72/17 76/8 85/15         pure [1] 31/21
 106/20 159/12                                                raises [3] 20/4 51/4 73/10
                                pure mis-direction [1] 31/21  raising [1] 154/3
prosecuting [1] 51/7            purporting [1] 55/25
prosecution [40] 3/24 10/16                                   ramp [1] 141/9
                                purpose [8] 7/16 19/6 23/14   rampant [1] 140/17
 14/21 15/16 16/6 16/7 23/20     24/6 35/8 47/19 84/12 120/16
 23/21 24/19 27/9 27/21 34/20                                 ran [1] 142/24
                                purposes [2] 49/25 92/1       randomly [1] 5/5
 42/6 44/1 47/1 47/12 51/24     pursuance [1] 23/14
 60/9 78/1 93/3 93/22 93/23                                   ranking [1] 42/14
                                pursuant [8] 3/20 6/21 8/23   ranks [1] 133/20
 94/18 97/7 97/22 97/24 98/12    10/2 51/16 101/24 123/5
 101/22 102/2 106/18 109/15                                   rare [2] 116/12 116/13
                                 127/5                        rather [10] 5/25 19/25 20/25
 113/5 126/1 135/1 140/25       pushed [1] 139/18
 143/10 145/4 153/10 155/20                                    22/11 25/11 27/1 27/2 96/9
                                put [25] 35/25 37/23 46/14     105/4 126/14
 160/12                          48/3 58/18 59/19 64/22 65/16
prosecution's [10] 16/23                                      rational [1] 127/4
                                 73/11 81/15 93/1 108/8 116/3 rationale [3] 35/11 80/23
 17/10 17/12 17/16 18/7 24/8     116/11 122/9 123/4 131/25
 25/19 25/24 41/3 97/16                                        84/5
                                 132/12 135/9 136/13 141/1    rationales [1] 85/8
prosecutions [2] 148/2 160/4     141/6 146/12 151/6 161/14
prosecutor [28] 11/25 12/4                                    Razor [9] 28/23 31/20 32/20
                                puts [1] 40/18                 35/6 81/18 88/17 88/18 124/5
 13/16 13/22 14/12 17/24 23/8   putting [3] 94/1 94/3 108/5
 40/5 60/6 65/25 70/20 70/23                                   124/7
 71/1 97/19 99/22 99/22                                       RDR [1] 1/19
                                Q                             re [7] 49/23 84/25 85/2
 113/10 114/21 115/9 121/1
 122/5 145/15 145/19 145/20     qualified [4] 120/6 120/7      90/19 106/8 106/23 157/8
 147/2 156/4 161/13 162/19       135/4 160/13                 re-do [1] 90/19
prosecutor's [11] 14/20 15/3    qualities [1] 122/15          re-examining [1] 49/23
 15/6 18/3 24/2 26/22 41/1      quarterbacking [2] 85/25      re-interview [3] 84/25 85/2
 78/10 97/15 112/8 113/13        89/7                          157/8
prosecutorial [26] 4/16 7/9     queasiness [1] 119/21         re-tweets [2] 106/8 106/23
 12/13 12/20 14/16 17/6 18/15   quent [1] 14/2                reach [2] 67/23 76/16
 18/20 19/11 22/23 24/12        question [37] 3/4 3/5 39/3    reached [1] 39/17
 24/16 24/18 24/23 25/3 25/8     39/9 39/23 41/21 41/22 41/24 reaches [1] 159/21
 25/16 26/1 26/11 34/1 34/3      45/9 47/15 47/18 53/6 55/9   reaching [1] 50/20
 50/12 99/12 99/18 105/5         56/1 71/12 73/15 76/13 76/15 reaction [2] 50/18 51/4
 116/7                           78/22 78/25 79/11 86/8 92/12 read [29] 16/19 19/19 48/4
prosecutors [28] 11/17 11/19     93/4 94/5 96/9 96/13 99/9     48/12 50/3 67/3 67/3 74/5
 12/2 15/8 21/7 22/21 23/1       101/10 119/8 128/10 129/6     74/6 76/14 79/12 79/22 91/21
 23/14 24/11 25/10 26/17 44/5    138/7 153/14 156/15 159/17    91/22 97/12 98/11 113/7
 85/16 99/18 108/25 112/15       161/10                        113/16 113/17 114/23 128/14
R                               recommended [3]
      Case 1:17-cr-00232-EGS 158/19
                                                  82/17 102/12
                              Document 266 Filed 10/08/20 162/6
                                                                 88/15 100/19 101/11 132/3
                                                            Page 188 of 196
read... [8] 149/4 149/5         reconcile [1] 151/9              relies [5] 8/4 13/12 24/19
 149/16 151/10 152/6 152/8      reconnect [2] 37/17 37/18         124/4 133/18
 152/8 152/9                    reconsider [1] 78/16             religion [1] 133/3
reading [2] 11/2 19/12          reconsideration [4] 9/14         religious [2] 161/12 161/13
reaffirmed [1] 131/14            86/10 86/16 87/16               reluctantly [1] 115/10
real [6] 70/20 77/25 102/23     record [35] 2/5 2/23 35/2        rely [1] 133/16
 104/25 105/22 135/7             36/1 37/23 49/9 54/24 58/19     relying [4] 16/24 21/20
reality [2] 89/8 156/2           59/19 60/12 60/13 60/22          30/20 31/13
really [30] 67/21 70/3 70/6      64/16 65/17 66/12 67/3 67/5     remand [2] 61/18 62/9
 73/9 73/10 80/1 81/12 85/11     69/6 72/14 76/12 79/7 79/8      remanded [3] 9/25 61/22
 85/17 87/15 87/25 89/12 91/8    82/19 92/25 102/16 103/3         163/8
 95/12 98/18 100/16 101/1        105/6 110/6 110/9 110/16        remarkable [1] 42/1
 102/10 103/25 109/21 116/15     110/20 136/13 146/12 148/14     remarks [5] 66/10 68/13
 118/24 119/18 126/17 127/13     163/9                            107/18 118/15 153/19
 130/5 139/19 148/19 152/20     recorded [1] 1/22                remedy [1] 148/6
 161/7                          recording [4] 45/4 45/9          remember [10] 33/17 72/6
reason [36] 6/8 7/6 7/6          45/11 45/16                      79/12 89/16 97/18 126/22
 13/23 14/18 14/23 23/18        records [7] 33/12 33/23           129/5 129/15 154/25 155/11
 23/23 38/13 47/19 55/15         33/24 69/2 88/10 130/15         remembered [1] 129/21
 62/10 62/13 62/24 63/3 81/23    139/13                          reminded [1] 161/2
 90/10 93/6 102/15 104/4        rectify [1] 148/9                reminder [1] 108/4
 104/24 105/11 105/22 108/7     recusal [2] 137/9 143/19         reminding [1] 108/2
 115/9 116/11 117/8 120/4       recuse [7] 61/3 64/17 64/23      reminds [1] 137/17
 120/12 128/21 134/15 155/8      65/1 65/8 65/9 65/15            remotely [1] 130/17
 156/12 158/6 158/6 162/12      recused [7] 137/6 137/10         removal [1] 51/6
reasonable [6] 4/12 27/11        143/18 143/19 143/20 143/25     removing [1] 77/16
 27/14 28/14 28/21 33/7          144/9                           repeat [2] 36/22 52/16
reasonableness [1] 21/15        red [3] 83/16 124/3 147/15       repeated [1] 130/5
reasonably [3] 28/18 125/21     reference [2] 69/15 92/22        repeatedly [6] 31/4 32/4
 127/6                          referenced [1] 155/3              33/9 122/3 127/21 143/25
reasoning [8] 34/4 97/18        references [1] 83/7              repeating [1] 15/3
 98/3 98/6 98/8 145/24 149/24   referencing [1] 93/15            repetition [1] 109/4
 150/3                          referred [6] 25/5 26/20          repetitious [1] 136/14
reasons [63] 12/2 13/9 13/22     35/21 97/25 133/7 159/2         repetitive [2] 118/10 146/14
 14/14 14/17 18/1 22/21 22/24   referring [2] 33/25 45/14        reply [7] 9/19 20/17 52/15
 23/2 23/9 23/12 23/16 25/15    refined [1] 25/11                 52/22 52/22 53/11 70/21
 26/22 27/15 30/13 31/19        refining [1] 21/9                report [4] 10/5 46/7 141/19
 31/20 42/21 53/19 59/7 60/19   reflected [1] 31/23               142/3
 76/16 86/23 91/17 94/17        reflects [2] 96/13 96/17         reported [3] 57/9 158/24
 99/12 102/22 102/22 102/23     refreshed [1] 32/4                164/5
 102/23 104/25 104/25 105/15    refusal [1] 19/14                reporter [7] 1/19 36/23
 105/16 114/16 115/19 116/2     refused [1] 97/23                 117/13 117/16 164/1 164/3
 119/7 119/10 120/13 120/14     refute [1] 20/18                  164/22
 120/22 127/25 128/8 131/4      refutes [1] 116/10               represent [5] 50/20 59/1
 133/6 134/3 135/5 135/6        regard [7] 14/8 14/18 32/11       59/6 93/11 152/4
 135/7 136/11 143/17 143/22      90/3 95/5 102/8 105/5           representations [2] 57/12
 143/23 144/6 144/20 149/20     regarding [5] 19/4 22/24          65/2
 155/12 156/1 156/3 159/6        24/12 69/17 101/20              representatives [2] 44/12
 159/13                         regardless [3] 7/1 10/23          148/4
reassigned [1] 5/5               63/22                           represented [6] 5/1 58/24
rebuttal [1] 132/23             regret [1] 118/23                 59/2 79/23 92/2 144/11
rebutted [1] 112/19             regular [1] 29/19                representing [1] 49/8
recall [13] 57/3 57/5 57/24     regularity [8] 15/10 21/3        represents [1] 27/5
 67/16 68/12 72/16 72/19         21/7 25/9 112/12 112/18         reputation [1] 147/5
 74/10 74/14 74/15 90/5 90/8     112/21 113/11                   request [13] 14/22 50/22
 90/9                           regularly [1] 32/10               56/21 58/2 59/1 59/24 59/25
recalling [1] 128/25            reinstate [1] 48/24               75/14 84/9 102/15 130/2
receive [2] 5/10 86/14          reiterated [1] 20/25              134/8 144/4
received [3] 6/6 54/8 86/14     reiterates [1] 35/15             requested [4] 51/13 60/8
recent [1] 131/10               reject [2] 13/15 16/4             101/21 147/21
recently [4] 9/18 43/12         rejected [3] 8/5 13/21 25/12     requests [7] 50/7 50/8 50/13
 58/12 94/20                    rejects [1] 32/10                 88/19 122/2 125/18 128/25
recess [8] 37/15 37/16 38/2     related [6] 32/22 70/11 76/5     require [6] 14/13 17/25
 117/14 117/18 117/19 138/17     76/21 81/14 112/23               22/15 23/9 74/22 115/9
 159/5                          relatedly [1] 40/15              required [11] 12/1 28/19
recesses [1] 117/22             relates [1] 113/7                 104/1 115/18 116/1 125/23
reciprocal [1] 129/14           relationship [2] 30/9 137/7       135/7 137/8 144/19 150/9
recitation [2] 99/8 111/2       relator [1] 21/11                 154/1
recite [1] 24/20                relax [2] 37/19 48/3             requirement [17] 11/7 12/4
recites [1] 113/1               relegated [1] 151/17              12/4 12/11 15/22 16/12 17/4
recognition [1] 22/7            relevance [2] 8/5 28/16           18/19 19/10 24/5 74/25
recognize [2] 96/3 99/7         relevant [6] 8/11 16/9 30/23      113/12 116/3 117/7 120/12
recognized [2] 144/23 155/4      32/24 147/11 161/21              120/17 134/1
recognizes [3] 14/19 23/20      reliance [1] 124/1               requirement is [1] 19/10
 32/11                          relied [4] 72/4 74/4 98/8        requirements [1] 16/13
Recognizing [1] 76/4             98/18                           requires [4] 16/11 39/4
recollection [5] 32/4 45/18     relief [8] 10/3 35/6 61/22        146/18 147/12
 129/11 157/12 159/2
R                               120/6 120/18 136/19 140/12
      Case 1:17-cr-00232-EGS 141/1
                              Document
                                                                said [68]   21/23 29/16 38/16
                                   146/11266  Filed
                                          148/11    10/08/20 44/14
                                                  150/13       Page44/24
                                                                    189 of45/4
                                                                            19645/10     45/16
requiring [2] 21/13 28/16        150/19 152/19 154/9 155/22      45/23 59/14 67/19 67/19
researched [1] 94/19             158/21 160/5 161/13 163/5       75/15 81/4 81/20 81/23 82/20
resolution [2] 50/1 101/19       163/6 163/16                    87/10 87/20 93/19 94/15 95/9
resolved [4] 3/4 39/8 68/6      rights [1] 123/23                96/4 96/25 98/16 99/2 101/2
 77/13                          Rinaldi [6] 18/18 19/9 99/10     107/5 107/19 108/3 108/18
resolves [1] 36/11               110/12 110/14 145/12            108/21 109/5 110/1 113/11
resolving [1] 7/16              rise [4] 34/8 106/25 123/23      114/15 114/20 114/21 114/25
respect [15] 10/19 25/10         159/15                          115/21 119/15 123/2 128/24
 34/1 38/23 46/18 53/23 67/19   rises [1] 159/15                 128/24 131/1 131/2 136/15
 73/13 77/2 78/6 89/4 91/10     risk [1] 111/23                  142/9 142/18 145/17 147/20
 123/25 142/19 157/20           Rita [1] 54/18                   148/18 149/20 152/9 152/12
respected [1] 108/15            RMR [1] 1/19                     152/13 155/7 156/6 156/15
respectfully [3] 36/10          rogue [2] 99/18 114/21           157/4 159/24 162/3 162/7
 113/16 125/15                  role [20] 10/22 11/8 14/5        162/14 162/24 164/9 164/13
respectively [1] 6/23            14/10 14/11 14/15 20/19         164/15
respond [6] 53/17 92/7 92/11     31/24 40/1 40/9 40/10 48/20    Sally [3] 85/1 140/20 143/3
 160/8 161/23 162/16             60/2 131/22 135/13 135/16      same [22] 7/24 8/24 16/14
responded [3] 21/16 129/14       150/16 150/21 150/21 151/8      17/7 21/23 24/14 24/22 32/18
 160/7                          room [3] 72/15 138/16 154/22     46/1 46/17 47/9 54/13 59/14
response [21] 5/19 8/8 9/17     rooted [1] 18/7                  77/22 78/5 79/5 85/9 86/2
 9/18 15/21 15/25 30/11 32/13   rope [1] 137/24                  94/23 119/20 133/17 145/12
 33/18 34/25 52/3 52/4 52/21    Rosen [3] 48/9 48/15 53/1       sanctioned [1] 31/7
 53/22 54/8 54/11 68/1 101/21   rubber [6] 15/2 15/5 24/1       sanctions [3] 84/20 101/20
 125/25 129/14 138/20            39/25 120/18 133/23             129/13
responses [3] 33/16 92/11       Rudolph [1] 4/24                satisfied [6] 4/10 14/17
 129/5                          rule [119] 3/20 4/16 8/23        23/15 23/21 24/3 28/13
responsibility [7] 14/20         9/4 9/8 10/2 10/11 10/12       satisfy [2] 26/9 64/13
 23/6 23/21 37/15 43/3 73/4      10/12 10/21 11/2 11/4 11/9     save [1] 118/20
 138/8                           11/11 11/15 11/25 12/3 12/6    saw [2] 47/5 92/3
responsibly [1] 24/6             12/8 12/11 13/5 13/9 13/14     say [59] 9/25 23/4 37/12
rest [1] 132/20                  13/18 13/21 14/5 15/1 15/4      38/10 39/1 42/19 45/17 51/21
restore [2] 48/23 147/6          15/11 16/8 16/10 16/13 16/15    53/20 54/3 54/5 61/17 62/14
rests [1] 13/9                   16/19 17/20 17/20 18/15         63/3 63/5 76/12 80/6 80/10
result [1] 6/17                  18/22 18/23 18/24 19/4 19/5     84/3 85/14 85/24 86/3 87/2
retaliation [1] 26/13            19/6 19/18 20/2 20/10 20/20     87/7 87/24 89/5 93/17 94/8
retired [1] 9/6                  20/24 21/5 21/20 22/4 22/6      97/9 101/1 101/1 101/13
retrieve [1] 147/20              22/11 23/11 23/25 24/15         104/7 104/10 106/22 115/4
return [2] 37/24 38/1            24/21 25/6 25/23 30/13 36/13    117/21 118/14 121/2 123/21
returned [3] 62/7 63/2 63/7      36/17 39/23 40/16 41/2 42/7     128/12 130/7 132/10 133/13
reveal [1] 26/8                  48/19 48/25 70/15 70/22         134/19 137/23 139/4 143/17
reversal [1] 86/25               70/22 71/3 73/19 74/21 78/20    146/20 148/21 149/9 149/11
reverse [2] 150/3 150/6          97/11 97/14 97/15 98/8 98/10    151/11 152/16 152/18 153/4
reversed [3] 54/22 97/18         98/11 98/24 99/9 99/11 99/15    157/4 157/21 162/6
 98/16                           99/17 100/18 101/4 101/4       saying [14] 36/14 44/17 45/9
review [30] 4/1 4/15 8/10        101/25 102/17 104/1 111/14      47/5 75/18 75/18 85/5 86/17
 8/16 8/18 12/23 16/22 18/13     112/22 113/25 115/17 115/24     88/25 89/12 102/13 143/4
 21/14 21/16 21/18 21/22 24/9    116/1 116/3 116/8 116/10        150/8 158/6
 24/17 26/22 27/22 43/6 43/9     116/11 116/17 119/15 119/17    says [32] 36/13 50/8 52/9
 44/2 50/10 69/2 69/23 72/24     121/6 121/8 124/17 133/24       52/15 69/14 83/7 83/8 84/6
 77/11 81/11 88/3 91/9 99/11     136/1 139/21 139/23 144/16      99/5 119/16 120/25 124/22
 132/9 144/16                    144/18 149/18 151/9 151/18      125/20 125/25 126/17 126/19
reviewable [1] 111/21            160/16 160/18                   127/7 128/1 129/2 129/15
reviewed [3] 72/22 82/22        rule's [2] 11/15 11/16           129/19 130/14 130/22 131/15
 157/7                          ruled [2] 9/2 33/4               131/19 133/12 144/21 149/13
reviewing [3] 15/24 24/22       rules [10] 11/22 11/25 14/1      149/17 153/11 161/14 161/17
 147/23                          39/2 60/2 101/8 115/16         scam [1] 107/19
reviews [1] 115/21               135/22 135/24 161/8            scenario [1] 147/1
revisit [1] 158/22              rules' [1] 19/21                schedule [4] 9/12 52/17 61/8
rewrote [2] 116/2 133/24        ruling [7] 57/4 81/3 123/3       137/16
ridiculous [1] 134/16            141/20 141/25 142/2 153/17     scheduled [7] 5/6 6/11 6/14
right [99] 2/17 3/2 28/2        rulings [1] 64/10                9/12 10/8 52/24 65/21
 37/25 38/5 38/14 38/20 42/9    ruminating [1] 83/14            scheduling [4] 61/15 62/10
 42/14 42/20 42/21 45/15        run [2] 112/25 132/17            62/14 63/3
 47/13 47/14 48/12 53/18        running [1] 106/14              school [1] 162/20
 53/23 54/2 54/21 56/25 57/15   Russia [7] 35/5 43/16 47/8      Schweizer [2] 21/11 21/11
 58/1 58/5 58/15 58/15 58/21     121/24 123/7 123/9 157/19      SCO [3] 89/12 96/6 155/3
 59/9 59/13 59/18 60/10 63/14   Russia's [1] 101/18             scoffed [1] 154/7
 63/15 64/15 64/20 66/14        Russian [9] 29/2 33/2 80/16     scope [2] 3/14 22/18
 66/17 67/2 67/10 70/9 71/5      101/21 121/23 122/2 129/1      scrambling [4] 82/4 82/6
 72/11 72/20 73/9 73/23 74/10    129/14 129/23                   88/13 131/6
 74/10 75/6 75/22 76/16 76/16   Russians [6] 32/24 82/23        scratch [1] 128/6
 78/8 78/12 83/17 85/22 85/23    83/25 84/17 84/18 142/16       screen [1] 50/16
 87/1 88/7 89/8 90/1 90/21                                      screwed [1] 139/16
 90/25 91/13 91/15 91/16        S                               scrutinize [4] 17/11 25/19
 91/17 92/10 94/19 95/25 97/5                                    25/24 25/25
 99/7 100/6 100/6 102/11        sad [3] 130/9 134/16 134/16
                                saddled [1] 89/8                scrutinizing [1] 153/7
 103/8 103/11 104/15 104/25                                     scuttle [2] 106/4 116/25
 108/19 110/4 117/20 119/3      Safavian [2] 32/12 41/17
S                               80/16 80/17 80/19 101/7
      Case 1:17-cr-00232-EGS 135/22
                              Document  266152/2
                                                                simple [1]
                                              Filed 10/08/20simply
                                                               Page[9]
                                                                    190 20/25
                                                                             147/2
                                                                        of 19642/7
                                    151/25                                              44/19
Sean [1] 29/15                  sets [1] 101/16                  59/6 99/4 116/25 123/16
searches [1] 81/12              setting [7] 15/17 19/24          145/3 156/16
second [30] 7/18 11/14 14/10     19/25 51/21 61/14 103/1        since [31] 8/19 12/22 15/15
 18/6 26/23 28/1 33/5 35/15      111/9                           16/8 18/10 36/7 45/6 47/18
 37/5 39/22 40/16 40/24 46/6    settings [2] 15/14 20/5          48/13 55/1 55/2 68/20 85/12
 48/3 86/8 87/4 97/19 104/22    settled [2] 16/20 19/19          86/10 88/3 89/17 90/4 108/15
 105/2 105/18 105/25 106/7      settlement [2] 21/12 21/18       116/17 122/14 124/12 124/13
 129/19 141/24 144/9 151/22     settlements [2] 21/14 101/18     131/1 131/6 131/12 141/22
 153/7 154/6 163/16 163/16      seven [1] 108/22                 141/25 142/2 143/9 157/7
secretary [1] 130/3             Seventh [1] 96/23                157/12
section [6] 4/23 7/15 16/5      several [2] 89/9 95/18          single [5] 7/13 70/25 73/18
 30/17 98/10 134/23             severe [1] 34/23                 73/21 162/14
security [9] 31/4 31/11         shall [1] 13/1                  sink [1] 154/13
 88/10 129/21 141/6 142/21      shame [1] 107/8                 sir [6] 48/11 54/4 56/10
 154/5 159/9 159/10             share [1] 105/23                 56/23 57/17 100/11
see [19] 37/6 44/22 67/18       she [23] 49/3 49/3 50/7 50/7    sit [4] 53/20 134/19 136/3
 82/24 85/8 88/25 89/2 92/8      50/8 50/12 50/19 50/23 51/2     160/22
 92/8 92/17 100/8 104/7          52/8 52/9 52/14 52/15 89/17    sitting [1] 129/25
 105/10 114/4 120/10 122/7       89/19 89/20 110/9 110/20       situation [6] 14/8 39/23
 136/16 159/14 159/19            117/16 118/11 121/1 136/10      41/6 41/7 68/23 129/13
seek [5] 48/21 87/15 100/23      136/13                         situations [5] 40/4 40/9
 104/11 132/8                   she'll [1] 117/13                98/19 111/23 144/15
seeking [4] 11/19 12/2 21/3     she's [4] 51/1 96/4 136/7       six [4] 5/4 80/17 140/9
 24/19                           136/8                           141/6
seeks [2] 13/7 73/7             shed [2] 29/23 133/15           slightest [1] 123/14
seemed [1] 83/21                sheet [1] 105/10                smacks [1] 135/12
seems [4] 57/10 64/5 86/24      shift [1] 100/7                 smoking [1] 124/19
 95/11                          shifted [1] 137/18              so [163] 3/14 4/13 9/23
seen [3] 42/17 143/13 148/7     shifting [1] 85/7                22/16 29/6 31/8 35/10 36/2
seized [2] 78/5 159/11          shocked [2] 161/3 161/3          36/9 37/3 37/9 37/10 37/17
selected [3] 62/19 62/22        shortened [1] 118/15             37/19 38/11 38/14 38/16
 62/23                          shorthand [2] 164/6 164/14       38/23 39/14 46/19 47/2 47/17
self [1] 147/5                  shortly [1] 96/7                 48/1 48/3 51/8 51/9 51/17
self-correct [1] 147/5          should [65] 3/6 4/17 9/9         52/4 52/20 53/4 53/10 53/21
sell [1] 126/15                  13/17 14/16 14/22 17/16         55/25 56/6 57/4 57/9 58/5
Seminole [2] 98/4 98/6           23/15 24/3 36/17 36/19 39/25    58/6 59/9 59/18 61/24 62/3
send [1] 120/18                  41/23 41/25 60/23 62/12         62/13 62/20 63/8 63/10 64/3
sending [1] 141/12               64/24 67/13 68/2 68/2 71/3      68/2 69/17 70/3 70/9 71/2
senior [6] 31/5 34/10 42/13      71/5 71/6 76/8 76/14 79/2       71/22 71/23 73/12 74/20 75/6
 42/14 84/23 96/19               79/6 85/15 86/7 86/19 86/19     75/6 76/12 76/16 76/23 77/2
senior-most [1] 42/13            86/22 89/25 92/23 93/4 93/24    78/7 78/21 79/4 79/22 80/22
sense [3] 70/15 113/1 154/25     94/5 94/11 95/2 95/3 95/25      83/19 84/18 85/5 85/7 85/13
sent [9] 46/4 47/20 63/22        96/12 97/6 97/7 100/2 102/2     85/23 87/18 87/19 87/24
 115/20 115/23 116/1 141/1       102/6 102/9 104/18 104/20       88/17 89/5 89/20 91/1 91/6
 142/4 142/22                    110/13 134/3 134/15 135/16      92/20 93/4 93/5 93/7 93/23
sentence [9] 5/25 15/19 19/1     136/2 137/5 147/3 147/17        94/5 94/8 94/11 94/22 94/24
 19/13 20/12 73/4 97/12 98/9     152/9 152/21 155/18 158/17      95/3 96/11 99/13 100/10
 162/1                           159/20 160/18 163/3             100/24 101/1 101/22 102/8
sentencing [26] 5/6 5/7 5/12    shouldn't [1] 154/16             102/24 105/21 108/4 109/3
 5/16 6/2 6/8 6/9 7/18 7/19     show [8] 104/5 139/8 151/21      109/20 110/7 110/12 111/7
 20/16 52/14 68/9 68/17 68/21    151/25 152/25 153/1 155/16      114/15 115/7 115/23 116/2
 68/24 71/17 71/19 71/21 91/7    157/17                          116/5 116/19 117/14 117/24
 104/6 107/13 111/22 127/14     showed [6] 44/4 81/19 81/25      118/17 118/23 119/3 120/3
 137/15 137/16 137/17            109/2 137/21 141/3              120/7 120/24 121/6 124/25
separate [8] 7/11 29/17 46/7    showing [1] 34/19                126/17 127/17 128/4 128/10
 68/20 77/3 81/17 101/16        shown [5] 9/14 91/25 92/16       130/13 133/22 136/20 137/12
 101/22                          111/6 139/24                    137/13 138/18 138/23 140/1
separation [11] 12/16 15/13     shows [9] 19/6 26/19 28/25       140/5 141/21 142/7 145/22
 19/23 21/17 21/25 22/12 60/5    50/1 141/22 142/4 142/22        147/21 148/18 148/23 149/2
 96/23 111/11 111/15 112/13      146/5 148/3                     149/5 150/6 150/7 150/14
September [8] 1/6 10/4 10/5     shutting [1] 88/16               150/19 151/1 151/16 151/23
 10/6 10/9 61/14 63/4 164/10    side [5] 18/2 21/9 115/6         152/24 153/12 153/23 154/13
September 21 [1] 61/14           146/22 151/5                    155/6 155/9 157/21 157/25
September the [2] 10/4 10/5     sided [1] 139/3                  158/19 159/17 159/24 160/19
series [2] 72/7 81/10           sides [1] 89/12                 society [1] 132/22
serious [2] 73/11 153/10        sidestepped [1] 29/14           sole [2] 7/6 144/21
seriously [5] 52/1 52/1         SIDNEY [2] 1/14 2/11            solely [3] 12/11 91/7 101/8
 61/18 127/9 134/23             signed [3] 96/2 96/6 96/14      solemnity [1] 104/2
seriousness [1] 80/13           significant [9] 5/7 5/17        some [54] 2/17 2/21 3/1
serve [5] 3/25 15/2 15/5         6/24 39/9 51/10 54/19 62/11     15/22 20/4 21/24 28/7 36/5
 24/1 27/21                      82/24 147/25                    37/12 40/6 43/3 43/8 43/10
served [1] 133/7                significantly [3] 3/15 81/22     51/3 53/8 56/5 59/1 69/7
serves [2] 24/5 159/8            145/7                           72/11 72/22 73/4 74/13 78/7
service [1] 48/17               silence [1] 123/24               78/9 81/11 83/25 85/24 86/2
services [2] 12/21 136/5        silencio [1] 102/20              92/13 92/21 94/23 98/9
serving [3] 31/3 34/7 73/4      similar [4] 16/11 18/22          100/10 103/14 103/16 105/16
session [1] 38/4                 73/12 115/14                    106/5 108/6 109/3 118/1
set [10] 9/11 15/11 42/4
S                               125/20 126/6 126/8 148/10
      Case 1:17-cr-00232-EGS 149/11
                              Document
                                                                82/25 91/24 92/18 92/19
                                    153/2266 Filed 10/08/20 137/8
                                                              Page142/14
                                                                   191 of144/1
                                                                          196
some... [14] 118/2 119/9        standards [5] 27/3 109/23       Strzok's [3] 91/22 140/15
 124/19 128/9 130/13 134/3       122/8 126/3 126/13              147/16
 138/1 147/13 151/5 155/8       standing [7] 6/22 6/25 7/4      stuff [1] 89/9
 158/3 158/11 161/19 162/21      7/7 35/14 63/25 91/3           Stzrok [1] 91/20
somehow [1] 42/16               stark [1] 129/9                 sub [1] 102/20
someone [16] 6/4 48/1 50/20     start [6] 68/15 118/1 121/19    subject [5] 9/13 18/13 30/8
 52/12 52/13 58/25 60/6 68/14    148/18 150/22 150/23            127/23 134/18
 84/1 92/13 92/21 103/18        started [3] 68/17 117/21        subjected [2] 132/3 145/13
 118/22 127/13 138/24 161/4      118/17                         subjective [1] 33/19
something [13] 51/25 53/14      starting [1] 51/6               subjectively [1] 125/11
 54/3 70/6 77/20 80/18 117/21   starts [1] 150/24               subjects [1] 12/22
 118/22 145/22 151/3 152/9      state [4] 12/2 13/22 67/6       submission [3] 74/5 105/10
 158/4 159/19                    120/13                          131/17
Sometimes [1] 102/25            stated [14] 2/21 14/1 17/22     submissions [3] 8/14 122/21
somewhat [1] 50/16               19/9 21/6 21/21 23/25 25/18     163/12
somewhere [1] 67/3               33/12 120/22 121/14 121/17     submit [2] 125/15 160/3
son [5] 69/5 69/9 69/16          122/21 131/4                   submitted [2] 7/21 133/25
 128/2 140/4                    statement [41] 14/12 14/14      subscribed [1] 164/17
soon [4] 49/8 53/2 91/13         17/24 18/1 18/5 23/2 23/7      subse [1] 14/2
 138/2                           23/9 28/17 30/12 30/16 30/24   subsequent [3] 18/17 124/7
sorry [13] 37/18 45/8 45/13      30/25 32/8 33/8 33/9 35/18      157/17
 55/8 55/13 58/21 92/8 103/9     43/11 44/20 65/22 66/11 77/7   substance [1] 151/7
 117/2 117/12 117/16 124/12      77/14 77/16 79/13 79/13 81/4   substances [1] 72/16
 136/20                          81/8 81/22 84/6 87/21 94/11    substantial [11] 4/9 5/22
sort [8] 51/21 53/11 53/13       95/23 115/19 116/2 122/15       13/4 14/18 23/17 28/12 35/17
 73/21 93/14 96/23 155/15        124/23 125/6 125/21 127/25      59/16 134/22 134/24 144/20
 155/18                          161/22                         substantially [1] 27/15
sorts [2] 156/21 159/8          statements [49] 4/5 4/8 4/21    substantive [2] 26/21 98/24
sought [3] 5/18 7/10 129/24      5/15 7/14 8/6 28/10 28/22      substitute [1] 13/23
sound [2] 160/22 160/23          28/25 29/16 30/3 30/15 31/16   succinctly [2] 58/5 123/4
sounding [1] 133/8               32/3 32/14 32/17 32/22 33/14   such [19] 10/16 11/11 15/17
source [1] 141/5                 33/22 35/4 66/3 79/15 80/15     19/12 20/2 21/16 25/16 26/7
sparked [1] 11/20                85/11 92/24 93/2 94/4 94/6      26/25 31/11 41/25 79/10
speak [11] 2/24 9/23 56/12       101/15 106/1 108/7 108/22       86/24 124/9 124/17 129/9
 56/16 89/23 94/2 102/14         109/7 122/1 122/10 123/15       133/1 142/11 151/19
 136/8 138/16 138/19 138/24      126/2 126/11 126/12 126/22     Suffice [1] 9/25
speaking [2] 120/1 129/4         126/25 127/5 128/16 130/19     sufficient [6] 14/21 23/19
speaks [3] 127/12 131/22         130/23 130/25 131/3 139/11      41/20 78/24 102/16 127/1
 145/7                           161/17                         sufficiently [1] 14/7
special [19] 43/17 43/20        states [39] 1/1 1/4 1/10        suggest [7] 30/9 49/25
 44/4 44/5 49/23 50/9 60/6       1/19 2/3 2/7 3/21 5/24 8/16     113/16 126/10 127/11 149/22
 79/24 81/12 86/6 89/3 95/19     10/14 11/5 12/20 14/24 21/10    153/25
 96/2 131/19 145/15 145/19       30/20 39/17 48/16 48/17        suggested [9] 10/9 18/14
 145/20 157/25 158/3             48/20 48/21 50/21 55/11 56/3    34/15 38/25 62/17 62/23
specific [11] 33/18 33/18        57/6 57/8 58/2 58/8 64/7        102/1 108/6 156/10
 46/21 46/25 69/11 77/13 92/8    74/11 83/4 94/7 94/16 96/25    suggesting [3] 39/24 132/5
 99/17 108/11 124/5 156/3        100/2 106/9 109/5 117/1         152/20
specifically [4] 12/7 47/23      164/4 164/8                    suggestion [2] 115/21 115/23
 92/7 115/6                     stating [2] 7/21 8/3            suggests [5] 20/8 29/20 35/2
specifics [1] 42/23             status [7] 10/4 49/5 49/5        99/25 155/25
speculate [1] 95/15              56/7 56/19 57/19 58/13         suit [4] 39/15 39/18 152/10
speculating [1] 51/16           statute [1] 82/10                152/11
speedy [6] 16/4 16/10 16/16     stenography [1] 1/22            SULLIVAN [7] 1/9 93/7 111/18
 113/6 160/14 160/15            step [4] 67/13 85/24 88/11       115/14 120/9 123/12 136/1
spell [1] 163/13                 103/6                          sum [2] 121/17 151/7
spend [5] 2/17 9/23 60/18       steps [2] 67/13 86/2            summarize [1] 66/19
 129/8 129/10                   Stevens [5] 90/6 90/19          summary [6] 36/3 38/16 39/16
spent [3] 54/19 86/10 163/14     100/17 100/22 140/9             66/23 66/25 122/14
sphere [2] 12/22 13/3           sticks [1] 44/22                summer [1] 89/17
Spicer's [1] 29/15              still [9] 48/9 49/7 68/16       supplement [4] 2/22 60/22
spoil [1] 114/18                 91/3 91/4 116/1 136/17 139/6    110/6 110/19
spoke [5] 46/1 56/17 56/18       144/10                         supplemental [6] 4/3 8/14
 57/17 58/7                     stones [1] 121/15                9/17 27/24 105/10 134/15
spoken [3] 51/18 51/19 57/14    stop [3] 37/5 138/3 141/24      supplemented [1] 82/19
spokesperson [1] 49/17          stopped [1] 142/8               support [9] 8/15 12/10 27/8
spy [2] 141/14 142/5            straightforward [1] 122/6        63/21 64/12 66/12 85/5 88/13
squarely [2] 12/19 112/7        stray [1] 98/9                   116/9
squirm [1] 121/2                stream [1] 121/16               supported [3] 10/24 81/2
staff [3] 48/1 54/19 130/3      streamlining [1] 117/3           150/3
stage [3] 6/10 7/1 22/13        strength [2] 27/10 27/13        supporting [2] 23/3 87/1
stake [3] 73/6 101/23 101/23    stressed [1] 37/20              supports [1] 60/14
stamp [6] 15/2 15/5 24/2        stricken [1] 137/13             Suppose [1] 125/5
 39/25 120/18 133/23            strike [2] 59/24 59/25          Supreme [18] 11/22 12/3
stand [6] 17/16 75/14 91/4      strong [1] 112/11                13/21 18/10 18/17 19/8 20/3
 125/6 132/12 161/15            strongly [1] 107/15              40/21 60/2 98/3 99/1 115/15
standard [18] 7/5 27/17 31/3    structures [1] 97/1              115/20 116/2 120/19 124/22
 31/24 39/23 41/11 41/13        Strzok [10] 45/21 61/10 82/1     133/23 135/9
 74/21 78/22 93/21 93/25 99/5
S                               11/14 19/19 20/20 111/14
      Case 1:17-cr-00232-EGS 116/8
                              Document
                                                                 36/12 36/18 38/10 38/18 39/5
                                   137/7 266   Filed
                                          141/10     10/08/20 39/14
                                                  144/1         Page40/18
                                                                     192 of40/19
                                                                             196   40/20 41/7
sure [20] 38/20 40/10 54/7       146/9                           42/25 43/7 43/18 44/1 44/14
 55/8 64/16 65/20 68/4 68/16    textual [2] 11/9 116/7           44/18 45/4 45/5 45/6 45/9
 70/12 72/24 74/1 79/23 85/17   than [33] 5/9 5/25 8/20          45/11 45/11 45/12 45/19
 88/22 94/20 119/11 121/12       12/18 12/23 23/1 25/12 27/1     47/19 48/1 51/15 52/2 52/6
 141/1 160/9 162/2               27/2 28/16 44/3 55/7 56/4       53/11 53/19 53/20 54/10
surface [1] 128/7                56/23 57/10 57/16 62/14 63/4    54/11 60/1 60/16 61/24 66/10
surfaces [1] 131/17              71/15 92/19 96/9 99/12          69/7 69/7 69/10 69/21 69/24
surprising [2] 25/13 154/16      100/17 106/7 115/4 116/17       69/25 70/19 70/20 71/25
surrounding [2] 34/6 133/16      118/15 127/19 129/22 130/2      72/13 73/5 73/17 73/23 74/6
Surveillance [1] 46/9            144/20 145/8 159/18             74/7 74/8 75/10 77/9 77/13
sustain [2] 41/20 78/24         thank [32] 28/6 28/7 28/8        77/17 77/21 78/11 79/7 81/2
swore [2] 32/18 144/14           36/2 37/20 37/21 38/15 42/9     81/10 82/9 82/15 83/5 83/8
sworn [2] 7/21 7/22              47/13 66/14 67/2 67/10 71/10    83/17 85/18 85/21 85/24
system [6] 38/11 49/16 64/9      72/11 78/12 97/5 100/6 111/1    86/15 88/11 88/24 89/3 89/4
 71/13 112/10 158/17             117/7 120/2 136/4 136/5         89/22 90/11 90/11 91/20 92/4
T                                148/11 148/15 155/22 155/24     92/18 93/2 94/21 94/25 95/17
                                 158/20 158/21 163/5 163/10      98/15 99/16 99/21 99/24
table [2] 131/25 153/8           163/11 163/17                   101/13 101/16 101/19 101/23
take [19] 21/19 45/24 85/23     that [999]                       106/7 111/11 112/16 113/6
 86/18 87/4 91/11 92/24 93/4    that's [81] 5/7 6/4 6/8 7/1      114/6 118/17 130/17 133/15
 99/23 116/22 117/5 117/14       7/5 10/25 15/11 15/25 28/2      136/17 137/13 137/17 138/3
 117/18 118/14 134/22 134/23     37/25 38/13 44/8 44/18 45/15    138/18 139/1 139/2 139/9
 135/16 146/7 163/8              54/14 57/3 62/2 62/10 62/13     140/16 140/23 141/4 142/18
taken [3] 68/23 127/9 164/14     62/22 62/24 63/3 66/15 68/16    142/20 142/25 144/24 146/11
takes [4] 52/1 52/1 147/8        69/15 69/20 75/9 77/20 79/6     149/15 150/20 152/25 153/3
 153/7                           79/20 81/3 81/22 83/16 84/2     153/10 157/3 157/5 157/7
taking [4] 72/15 89/12 105/9     87/24 90/18 90/21 90/25         158/24 159/8 159/9 159/9
 151/5                           91/15 91/17 93/4 93/21 93/21    159/10 159/10 159/12 161/10
talk [8] 37/20 53/15 117/25      95/12 95/21 100/5 103/19       there's [57] 3/3 9/23 11/9
 121/15 140/18 142/25 144/1      103/20 105/23 106/3 108/9       12/10 39/19 39/24 40/5 41/6
 153/12                          109/20 111/21 115/13 117/5      45/16 50/16 57/16 60/22
talked [8] 43/14 84/17 84/20     118/16 119/16 119/18 122/6      68/19 74/24 83/11 84/24
 97/12 142/15 155/16 160/24      125/24 126/8 126/12 127/17      86/11 86/12 88/8 88/12 88/12
 163/12                          129/6 132/4 132/19 135/12       89/20 96/12 98/9 100/4 100/5
talking [14] 55/1 60/19          136/19 146/8 150/13 156/12      101/14 101/14 101/23 102/3
 76/17 76/18 83/25 86/11 88/5    157/13 157/23 161/6 161/14      105/5 105/22 106/22 108/5
 88/6 88/7 90/5 90/22 98/19      161/20 161/21 162/5 162/8       113/1 113/6 113/9 113/15
 138/21 150/17                   162/24 163/2                    127/4 128/5 128/9 128/10
talks [2] 98/10 133/9           their [31] 13/11 15/9 15/18      128/21 130/12 130/16 130/18
tam [1] 21/11                    26/18 32/7 41/4 45/18 45/18     131/9 132/16 132/18 135/13
tampering [1] 72/21              61/12 67/22 73/3 73/7 73/8      135/19 139/18 142/3 145/21
tape [1] 164/15                  83/18 83/23 83/24 109/9         149/15 155/17 162/1
targeting [1] 111/24             111/13 112/15 112/20 116/14    thereafter [4] 6/16 6/20
task [1] 15/20                   116/15 120/14 127/16 135/10     9/16 137/11
tax [1] 114/6                    139/8 139/11 139/15 144/21     thereby [1] 143/7
team [9] 33/3 34/8 34/10         154/11 160/19                  therefore [2] 39/6 133/22
 50/9 51/6 86/3 86/5 86/17      them [30] 36/7 43/21 70/5       thereupon [1] 10/16
 89/6                            73/3 85/19 91/14 93/23 95/3    these [38] 13/6 13/10 27/15
technical [3] 37/6 37/12         102/25 106/10 108/4 111/7       34/18 49/13 52/10 68/3 70/3
 80/11                           120/23 124/18 126/15 126/16     70/4 73/21 80/5 83/8 85/7
technically [1] 80/22            128/9 134/12 135/6 140/21       85/11 88/18 89/21 91/17
Ted [4] 90/6 90/19 100/17        140/23 140/24 142/15 142/16     93/12 94/3 94/6 95/20 102/23
 100/22                          144/7 149/5 151/25 154/23       104/17 105/25 108/11 110/2
tell [15] 2/19 3/2 44/25         154/23 155/9                    124/15 124/18 124/25 126/11
 57/13 57/17 62/15 92/2         theme [1] 73/9                   130/12 133/12 135/10 155/15
 103/15 108/1 114/12 117/17     themselves [7] 9/23 44/5         155/17 156/21 156/24 162/14
 118/22 135/24 156/24 161/3      81/20 130/4 139/7 155/4        they [137] 2/23 4/7 9/22
telling [9] 33/21 89/24          156/22                          10/6 33/20 36/8 39/18 40/6
 92/18 95/16 111/11 125/12      then [53] 2/21 2/22 18/10        40/7 41/5 41/6 42/3 42/5
 133/11 142/14 157/9             35/22 37/17 39/17 46/25         43/23 44/6 44/7 44/23 44/24
ten [2] 48/17 50/4               50/12 52/15 59/11 60/23         44/24 45/1 46/12 49/9 57/10
ten-page [1] 50/4                66/11 68/20 79/24 83/25         67/18 67/22 69/9 70/6 72/7
tendency [2] 30/17 122/11        84/22 90/10 101/19 102/13       72/13 73/3 77/19 78/2 78/4
term [1] 96/23                   104/5 104/10 107/5 107/16       79/19 81/16 83/9 83/9 84/4
terminate [2] 10/16 24/19        110/17 110/21 114/13 115/15     84/7 84/8 84/14 84/22 88/5
terminated [1] 59/4              118/8 118/22 121/14 121/17      88/8 88/15 88/16 88/17 88/18
terms [8] 41/4 43/6 73/11        127/2 127/14 127/15 134/14      93/13 93/17 93/18 93/24
 80/11 89/10 90/22 95/23         134/19 135/24 136/12 137/6      94/17 100/23 102/23 104/1
 128/11                          137/25 138/16 138/20 141/6      104/2 105/23 107/25 107/25
test [3] 30/23 45/23 122/10      141/12 143/9 145/25 146/8       108/9 109/3 109/23 109/24
testified [3] 34/14 90/14        147/7 151/13 154/22 156/13      112/20 116/20 116/20 120/14
 130/20                          161/19 162/6                    122/15 122/21 122/22 122/23
testify [6] 6/11 6/14 65/22     theory [4] 86/18 86/20 126/1     124/19 124/20 126/8 126/20
 66/8 69/20 132/14               155/6                           126/23 126/23 127/14 127/15
testifying [1] 5/11             there [147] 2/20 3/1 8/19        128/1 128/6 128/9 128/11
testimony [4] 44/13 45/5         9/22 22/14 22/19 22/20 22/22    128/12 128/12 128/13 130/14
 46/15 164/7                     23/22 26/24 29/6 33/11 36/4     132/3 132/8 132/13 132/21
text [12] 10/20 11/2 11/2
T                               155/13 159/4 159/16
      Case 1:17-cr-00232-EGSthought
                              Document
                                                                treatment [2]   115/4 140/5
                                    [10] 266  Filed
                                           42/24    10/08/20Trenga
                                                 81/13         Page[1]
                                                                    193 78/5
                                                                        of 196
they... [45] 133/14 133/16       118/20 125/8 152/14 152/15     trial [19] 6/18 10/17 15/2
 134/14 135/16 136/23 139/5      154/16 155/10 156/14 159/4      15/4 15/19 16/4 16/10 16/16
 139/7 139/9 139/14 139/18      threat [1] 128/2                 17/16 24/1 27/1 46/18 68/25
 140/23 141/5 141/10 141/17     threatened [1] 66/7              90/13 113/6 128/13 130/20
 142/16 142/24 143/7 145/8      threats [3] 31/10 69/4 140/3     160/14 160/15
 149/5 149/12 151/9 154/9       three [11] 4/8 12/10 27/12      Tribe [2] 98/4 98/6
 154/10 154/24 155/3 155/4       42/13 87/12 90/4 90/5 110/18   tribunal [2] 28/18 125/22
 155/10 155/13 156/10 156/10     148/22 150/11 156/6            tried [3] 13/17 85/22 91/12
 156/19 157/2 157/17 157/18     three-decade [2] 90/4 90/5      trigger [1] 145/12
 157/23 160/23 160/25 161/1     threshold [3] 28/16 29/14       triggered [1] 91/9
 161/1 161/5 161/6 161/11        124/2                          tripartite [1] 112/10
 161/20 162/7 162/16            through [13] 26/12 28/24        trope [1] 107/10
they'll [2] 126/16 132/10        37/13 43/1 49/15 81/11         troubled [1] 87/19
they're [11] 85/20 88/6 88/6     106/10 106/15 121/13 134/12    troubling [3] 88/20 125/4
 88/7 88/17 108/4 109/9 142/9    138/11 139/18 152/1             156/4
 156/17 161/3 162/7             throughout [1] 32/24            true [19] 38/25 42/17 50/2
they've [2] 125/4 161/8         throw [1] 44/21                  68/16 74/23 80/25 81/1 83/18
thing [19] 43/2 45/2 54/13      throws [1] 130/13                83/21 92/2 95/12 99/16
 54/21 59/14 61/17 76/12 77/5   tidbits [2] 124/19 134/12        111/17 111/20 128/1 136/10
 77/24 84/3 87/24 91/13 91/16   ties [1] 121/24                  152/17 152/18 157/23
 113/17 123/16 125/3 156/20     time [57] 2/17 3/9 4/4 6/4      Trump [16] 34/15 43/22 46/4
 161/24 162/14                   7/4 7/9 9/2 9/24 10/11 17/7     46/10 79/18 82/2 108/12
things [32] 43/10 51/5 54/5      24/20 29/8 32/24 38/9 49/3      121/22 123/6 131/20 141/15
 70/4 74/13 77/10 80/10 88/14    57/18 57/22 58/7 58/23 60/18    141/15 142/5 143/8 146/7
 91/13 93/14 93/18 93/20 94/8    62/11 63/1 63/6 65/3 65/3       146/8
 95/15 97/10 99/19 102/4         66/25 67/8 68/11 69/14 77/18   Trump's [3] 34/8 34/17 34/22
 103/14 103/17 104/3 109/3       79/8 79/23 80/20 81/13 88/24   truncating [1] 111/4
 115/3 124/16 124/16 127/15      92/12 96/21 100/10 104/16      trust [3] 48/24 142/12 163/2
 129/18 130/17 134/19 153/13     113/5 114/15 117/6 118/20      trusted [1] 141/13
 158/9 158/13 160/22             122/5 123/12 125/11 127/13     truth [5] 33/21 35/10 125/12
think [85] 23/25 36/2 36/4       139/2 140/5 141/15 145/14       142/14 153/23
 36/9 38/16 38/18 38/23 39/7     147/8 153/17 154/15 161/10     truthful [2] 33/1 35/17
 40/2 40/9 40/20 44/14 44/14     161/16 163/14                  try [4] 66/8 126/15 148/22
 47/21 55/17 55/22 57/9 60/10   timeframe [1] 62/4               152/24
 63/4 66/22 70/18 71/2 74/8     times [5] 57/9 57/14 105/13     trying [9] 32/2 54/20 76/15
 74/20 74/24 74/25 75/2 75/15    108/18 123/21                   91/16 91/16 107/24 124/23
 75/20 75/20 77/20 78/19        Times' [1] 57/11                 156/1 158/16
 78/25 79/2 85/9 88/1 90/9      tiny [1] 128/7                  turn [8] 31/24 38/21 41/10
 91/8 91/12 92/11 92/12 93/16   today [12] 42/15 65/7 65/16      42/8 87/17 121/9 151/22
 93/18 93/24 94/11 94/13 95/8    68/15 68/16 106/16 116/13       163/15
 95/12 95/18 96/11 100/20        133/8 134/4 143/22 158/18      turned [2] 81/24 90/12
 101/10 107/9 110/18 111/5       163/14                         turns [3] 19/18 127/6 133/14
 111/8 112/9 113/24 114/2       today's [3] 62/18 116/4         tweeted [3] 106/24 107/13
 118/2 118/14 118/24 121/16      162/2                           107/14
 127/17 129/19 130/5 131/24     together [2] 73/12 164/14       tweets [21] 34/22 93/14
 138/20 146/4 148/19 150/6      told [12] 33/13 43/13 89/3       93/17 94/22 94/25 95/9 95/11
 150/20 151/20 151/20 152/18     95/22 104/23 126/24 129/6       104/15 104/17 105/25 106/6
 152/20 154/12 154/15 155/10     139/4 140/21 142/15 154/18      106/8 106/8 106/13 106/22
 155/11 158/4 158/22 158/23      157/18                          106/23 108/23 109/7 110/2
 161/4 162/11                   ton [2] 90/11 90/11              147/15 162/25
thinking [3] 83/14 111/2        too [10] 66/24 76/14 95/10      twice [7] 79/24 91/2 103/23
 138/21                          98/15 98/17 130/9 132/13        104/12 124/11 125/13 136/21
thinks [4] 44/17 153/2 153/2     133/7 134/17 134/22            Twitter [5] 34/17 92/25 93/1
 154/13                         took [6] 11/23 61/18 69/16       94/20 106/15
third [6] 12/14 14/15 26/19      77/18 123/13 138/17            two [24] 4/6 4/21 9/17 9/22
 40/15 111/24 135/15            tooth [1] 126/7                  12/8 20/21 22/19 22/22 30/7
this [385]                      top [2] 107/20 160/18            32/19 40/20 45/19 57/20 94/8
thorough [1] 4/25               tormented [1] 107/19             97/10 99/10 101/16 130/2
those [73] 7/8 7/16 9/2         total [1] 60/14                  147/24 151/17 151/24 153/4
 11/23 13/12 27/3 28/24 29/24   totally [2] 77/6 80/14           153/13 153/13
 34/10 34/21 40/4 40/8 41/4     touch [2] 106/5 120/22          type [2] 99/17 153/6
 41/7 41/18 41/19 43/25 47/3    touched [1] 110/12              typical [1] 101/25
 47/12 52/24 52/25 53/13        toward [2] 34/20 106/19
 66/10 66/17 72/7 72/10 72/11   track [1] 119/14                U
 73/2 73/5 77/22 79/19 80/10    traditional [5] 17/12 20/14
 80/12 84/14 84/20 86/2 86/23                                   U.N [1] 101/18
                                 20/15 25/24 34/23              U.S [17] 4/22 6/22 7/15 16/4
 87/9 93/5 93/17 93/20 95/3     transcript [5] 1/9 1/22
 98/12 101/21 101/21 104/3                                       30/17 31/7 31/8 40/13 42/19
                                 44/11 152/8 164/13              43/5 44/12 91/1 96/4 96/15
 106/19 109/14 111/23 118/19    transcripts [4] 29/6 29/22
 122/3 122/25 123/7 125/14                                       96/18 99/20 147/20
                                 82/22 140/23                   uglier [1] 107/18
 125/18 125/23 126/3 128/1      transition [4] 33/3 34/8
 128/16 128/16 133/2 133/3                                      ultimately [7] 45/2 47/9
                                 34/10 129/24                    51/11 54/22 77/13 80/1 95/21
 135/9 135/24 138/15 144/4      transom [2] 105/8 131/11
 148/21 151/17 155/21 158/13                                    umbrella [2] 30/10 124/6
                                trap [1] 142/24                 unaffected [1] 125/1
 159/13 159/15 159/25           traveled [1] 121/24
though [15] 12/9 37/15 57/16                                    unafraid [1] 42/22
                                treat [3] 49/11 102/2 102/3     unambiguous [3] 17/21 41/4
 65/5 76/24 78/4 98/14 99/9     treated [2] 18/21 102/6
 101/22 107/5 130/1 135/6                                        41/7
U                               unsuccessful [1]
      Case 1:17-cr-00232-EGSunsupported
                              Document [1]
                                        266 19/4
                                                   22/5         violate [1]
                                            Filed 10/08/20violated
                                                             Page 194
                                                                              26/3
                                                                   [1]of 29/10
                                                                         196
unaware [1] 143/17              until [10] 6/2 10/6 36/13       violation [4] 4/22 7/13 26/6
unbiased [1] 64/8                39/2 58/12 65/25 87/2 141/9     123/22
uncharged [5] 75/25 76/3         141/18 157/24                  violations [2] 77/9 140/16
 76/4 76/9 76/21                untouched [2] 113/14 113/15     Virginia [5] 5/11 5/25 6/19
unchecked [2] 120/24 121/1      unusual [4] 50/22 100/16         65/24 78/1
unconsentable [1] 136/24         130/17 130/19                  virtually [1] 96/20
unconstitutional [1] 133/2      unwilling [1] 156/4             vital [1] 10/22
uncontrolled [2] 23/13 24/10    up [35] 32/6 41/5 41/5 41/6     vividly [1] 67/16
unconvincingly [1] 131/15        42/5 45/12 80/23 81/24 83/22   voice [1] 44/16
under [58] 13/14 15/11 15/23     84/13 85/1 87/20 102/25        voiced [1] 140/13
 16/4 17/20 18/21 18/23 18/24    104/5 116/24 121/17 121/20     void [2] 137/13 144/7
 20/10 22/11 30/13 30/16         124/20 131/8 131/14 131/25     voluminous [2] 64/16 163/9
 40/16 46/12 46/22 47/12         133/7 134/14 135/11 138/7      voluntarily [2] 5/2 103/22
 48/17 50/16 60/2 60/20 68/7     139/16 141/9 143/9 146/4       voluntary [1] 123/18
 69/3 71/15 71/15 73/3 76/1      157/14 157/25 160/2 162/2      volunteered [1] 84/16
 76/19 78/3 82/7 87/6 87/9       162/7 163/16
 88/10 89/1 98/12 100/18        update [7] 44/6 55/7 56/6       W
 102/19 107/6 107/7 112/22       56/8 56/11 56/19 58/13
 113/5 119/15 122/8 124/6                                       wait [5] 10/6 36/6 97/21
                                upheld [1] 73/19                 128/1 136/20
 127/22 127/23 128/11 136/21    upon [12] 5/20 16/24 24/19
 136/25 137/10 137/12 139/6                                     waiting [1] 145/2
                                 27/6 30/20 31/13 34/3 64/11    wake [1] 129/13
 144/13 144/14 156/9 156/14      67/20 72/4 74/4 164/7
 160/18 161/5 163/9                                             walk [4] 121/13 148/5 154/22
                                upside [1] 146/25                154/23
under 18 [1] 16/4               urge [2] 61/3 152/7
under the [1] 60/20                                             walked [1] 155/9
                                us [21] 43/13 44/20 62/15       walking [1] 100/8
underlying [8] 14/14 18/1        63/6 81/6 85/9 85/14 87/4
 23/9 29/21 32/1 82/20 133/15                                   wall [1] 44/21
                                 87/15 89/13 95/16 117/4        want [49] 2/19 10/11 36/5
 139/15                          130/8 132/21 133/11 140/11
undermine [1] 129/24                                             38/13 43/1 50/14 52/21 59/20
                                 141/18 143/13 146/17 156/11     62/7 62/25 64/22 64/23 69/5
underscore [1] 94/14             158/12
underscores [2] 70/14 71/3                                       74/6 76/20 84/7 87/25 88/1
                                use [10] 48/23 78/2 85/14        89/16 92/7 100/7 100/9
understand [7] 55/9 62/20        90/15 128/4 128/12 128/13
 63/14 68/17 96/5 113/2                                          102/14 105/16 105/23 108/9
                                 128/16 135/19 137/11            108/19 114/18 118/22 119/2
 118/25                         used [3] 32/5 43/22 108/2
understanding [11] 16/25                                         119/9 121/2 121/9 130/7
                                useful [1] 111/9                 135/18 136/14 138/11 141/25
 19/7 21/8 24/7 58/6 61/25      usual [2] 6/1 109/14
 69/8 76/23 96/8 114/3 118/21                                    142/25 145/21 146/12 148/11
                                utmost [1] 49/11                 152/11 158/6 158/21 160/21
understandings [2] 16/20        utterly [2] 128/8 134/11
 19/20                                                           161/7 161/7 161/16
understood [1] 17/5                                             wanted [12] 39/18 42/15
                                V                                47/15 54/3 58/18 61/25 62/3
undertaken [1] 35/3
undisputed [1] 96/1             vacate [2] 143/21 147/24         62/6 80/13 91/4 140/7 143/19
unduly [1] 63/10                vacation [2] 27/1 99/23         wants [12] 6/6 99/23 106/4
uneasy [1] 114/19               valid [5] 21/25 70/16 137/14     110/6 110/20 116/22 128/17
unequivocally [1] 145/16         139/21 144/8                    131/23 132/23 135/14 135/18
unfairly [1] 114/1              Van [7] 54/9 66/1 66/7 66/9      136/13
UNITED [38] 1/1 1/4 1/10         66/9 96/7 140/7                warrant [5] 14/21 23/20 29/3
 1/19 2/3 2/7 5/23 8/16 10/13   vary [1] 22/12                   114/12 155/20
 11/5 12/20 14/24 21/10 30/20   vehemently [1] 54/24            warranted [2] 17/2 123/15
 39/17 48/16 48/17 48/20        verdict [2] 41/21 98/21         was [298]
 48/21 50/21 55/11 56/3 57/6    versus [11] 2/3 11/6 12/20      Washington [2] 1/5 1/20
 57/8 58/2 58/7 64/7 74/11       19/24 21/10 30/20 48/20 60/3   wasn't [14] 51/13 62/19
 83/4 94/7 94/16 96/25 100/2     64/7 130/18 164/8               63/10 70/1 87/20 90/1 94/10
 106/9 109/5 117/1 164/4        very [35] 28/6 46/4 58/5         97/25 98/20 114/9 138/23
 164/8                           61/13 61/18 63/8 67/16 67/17    138/23 140/1 140/2
units [1] 101/22                 67/22 70/15 72/23 74/13 84/4   waste [1] 65/3
unjust [1] 93/22                 88/7 92/17 99/1 100/8 108/2    watch [1] 49/21
unless [7] 14/23 23/23 26/18     120/2 121/18 123/4 123/4       water [1] 121/17
 79/19 136/2 149/10 161/14       136/4 136/7 141/12 141/25      Watergate [1] 108/15
unlike [1] 18/24                 142/1 143/12 150/21 156/3      way [21] 26/11 43/16 51/17
unlikely [1] 69/9                160/9 162/15 163/1 163/6        57/22 70/20 73/9 77/4 80/11
unnecessary [2] 85/3 85/3        163/6                           81/7 83/22 83/25 85/1 103/23
unofficial [2] 69/8 69/21       vest [1] 16/21                   114/20 115/13 125/16 135/17
unopposed [9] 3/18 4/16 12/9    vested [2] 62/12 106/18          141/8 151/9 158/11 160/11
 20/25 24/15 24/21 26/15        vests [1] 11/4                  ways [1] 119/14
 98/24 134/21                   viable [3] 29/1 30/6 81/20      we [179]
unpersuasive [1] 22/6           vice [3] 29/15 130/1 130/18     we'd [1] 42/25
unprecedented [2] 61/4          victim [1] 24/24                We'll [4] 37/20 37/25 38/12
 100/16                         victims [1] 147/10               117/18
unqualified [1] 113/23          video [2] 2/4 28/4              we're [25] 37/10 39/24 42/22
unraveling [1] 80/2             view [14] 5/15 16/25 17/15       47/1 55/1 68/6 75/18 76/17
unreviewable [7] 11/17 27/17     40/11 40/11 80/20 82/3 82/23    77/11 87/16 88/9 89/6 89/7
 111/19 114/15 116/19 116/21     83/24 90/23 93/21 94/3          89/12 90/5 90/21 109/1 146/4
 133/13                          109/21 127/4                    153/12 155/25 157/6 158/6
unseemly [4] 116/24 119/22      viewed [2] 27/16 82/1            158/7 158/14 158/16
 121/3 121/7                    views [4] 33/20 63/21 89/10     we've [18] 66/5 85/17 91/12
unsettling [1] 92/17             94/18                           91/12 95/14 95/18 96/24
unspoken [1] 162/1              vindicate [1] 112/22             104/23 104/23 105/14 106/16
W                               128/24 131/22 132/4 132/25
      Case 1:17-cr-00232-EGS 133/11
                              Document  266133/14
                                              Filed133/15
                                                                 101/10 110/14 113/19 113/20
                                                    10/08/20 122/15
                                                               Page 123/5
                                                                    195 of125/7
                                                                           196
                                    133/11                                          125/12
we've... [7] 117/21 133/21       135/13 136/14 137/2 138/9       128/11 132/11 132/23 134/21
 143/24 144/3 155/16 157/7       142/1 144/15 144/22 146/1       147/23 149/9 149/12 149/14
 163/13                          146/14 146/22 146/23 146/24     153/9 153/15 154/4 154/7
week [8] 65/7 65/15 92/12        146/24 147/14 148/20 150/3      156/14 157/8 158/24 160/11
 94/23 107/16 134/5 145/22       150/5 150/8 150/10 151/21       160/15 160/17 160/25 161/10
 163/13                          152/6 152/12 152/13 152/17      161/18 161/19
weeks [5] 56/20 57/21 61/15      153/1 153/8 153/11 153/22      which [65] 3/21 5/5 10/9
 82/20 130/2                     157/4 158/2 159/16 161/6        12/19 16/10 19/9 30/19 30/21
weight [9] 28/17 93/5 94/5       161/7                           33/13 33/24 39/4 41/8 41/17
 94/12 94/22 95/2 96/12         what's [23] 40/2 55/15 63/11     47/4 49/7 49/11 50/21 54/19
 104/18 104/20                   63/16 65/12 65/13 65/16         61/15 66/19 68/12 70/13 77/3
weighted [1] 107/4               78/14 79/15 80/2 80/25 80/25    79/8 80/16 82/1 88/10 93/23
weird [1] 134/12                 83/16 87/4 88/20 92/1 102/15    97/13 97/18 102/19 103/23
welcome [2] 90/4 95/4            103/20 103/21 117/4 121/9       105/6 106/25 110/2 111/17
well [40] 8/12 11/20 21/1        146/1 163/3                     113/1 116/14 117/8 119/16
 25/3 35/22 41/12 43/9 51/2     whatever [5] 51/21 60/23         121/15 121/25 125/9 125/15
 55/20 57/5 57/7 57/23 62/22     63/5 93/6 110/23                127/1 127/5 128/19 132/25
 63/9 68/6 74/2 83/16 83/16     whatsoever [8] 40/1 54/10        133/17 134/8 135/20 137/16
 85/20 89/21 94/1 96/19 97/9     67/7 78/17 86/5 140/24 141/5    137/19 137/21 142/23 147/16
 97/21 107/20 110/21 116/17      143/11                          147/19 149/16 149/16 150/3
 127/15 130/19 133/4 136/22     wheelhouse [1] 15/20             150/5 151/14 151/24 155/6
 138/3 139/1 142/3 145/18       when [102] 2/19 11/10 12/24      159/10
 146/9 148/25 154/8 155/9        13/20 14/5 17/3 17/22 20/3     while [10] 21/4 26/22 31/3
 161/14                          20/10 20/19 21/3 24/22 30/17    32/21 33/22 38/12 55/5
well-connected [2] 11/20         30/25 32/6 33/10 33/10 37/23    130/23 140/14 142/23
 25/3                            43/14 44/13 44/16 44/22        White [8] 56/6 56/15 93/13
well-established [1] 21/1        47/10 47/11 52/8 58/12 60/8     126/20 126/21 140/19 142/23
went [13] 32/17 42/2 80/6        61/11 61/22 61/23 62/6 65/11    143/3
 87/14 107/25 115/4 115/8        68/10 72/12 73/6 77/8 77/11    who [55] 5/1 8/17 28/4 34/21
 126/19 126/20 126/25 143/4      78/21 81/18 82/17 82/25 84/3    43/13 45/5 45/6 45/20 45/22
 147/23 152/1                    89/5 90/25 92/3 97/4 97/23      46/11 46/11 46/16 51/7 52/11
were [88] 4/6 7/14 11/19         99/25 100/1 100/18 101/4        52/12 52/13 53/16 55/23
 20/6 28/10 28/25 29/24 30/3     105/11 105/13 107/12 112/4      56/12 56/16 61/5 68/2 68/14
 30/15 32/14 34/22 40/8 45/5     112/12 112/14 115/22 118/17     76/20 77/22 80/20 82/1 82/16
 45/6 45/19 45/19 51/7 51/20     119/6 119/13 120/1 120/5        84/9 84/19 85/24 88/13 94/2
 52/24 61/24 66/3 67/12 67/22    120/7 120/24 120/25 122/3       96/20 99/20 99/22 99/22
 69/22 72/8 73/4 73/24 74/6      123/11 123/20 124/12 124/13     101/14 103/18 103/24 106/4
 74/7 77/7 77/17 77/19 77/19     125/17 126/16 127/2 127/6       106/19 109/5 115/5 138/5
 78/7 80/18 81/2 81/16 82/10     127/12 127/25 128/25 131/13     139/4 140/12 140/18 141/13
 83/8 87/1 87/5 89/22 91/10      131/22 132/3 133/14 133/24      144/11 144/22 145/16 151/5
 92/4 93/12 93/23 94/13 97/4     137/15 138/7 140/9 140/21       154/15 162/23
 99/17 99/19 101/16 101/24       142/14 144/13 144/22 148/23    who's [2] 88/24 89/14
 103/4 107/24 108/12 109/14      149/24 154/2 154/9 154/9       whoa [1] 104/10
 117/9 118/17 120/14 122/21      155/3 155/9 156/14 157/1       whoever [1] 124/8
 123/19 124/19 126/23 128/2      157/21 157/25 163/8            whole [9] 40/12 46/7 88/24
 130/22 131/5 131/12 135/7      whenever [2] 128/17 134/20       89/5 98/10 99/25 113/17
 139/3 139/6 139/9 139/10       where [53] 22/20 22/22 26/24     159/6 162/11
 140/21 142/22 143/5 145/7       36/19 39/10 39/23 40/4 41/6    wholly [2] 13/3 60/3
 152/22 152/23 154/10 156/8      41/7 68/23 68/24 70/25 71/14   whom [3] 46/25 69/20 130/4
 157/3 157/9 157/13 158/11       72/8 73/18 73/20 77/17 81/16   why [38] 6/8 7/6 36/7 42/23
 159/8 159/9 159/10 159/12       87/1 87/8 98/19 100/23          51/22 55/15 62/10 70/14 71/3
weren't [3] 93/13 124/17         107/24 108/6 108/8 114/4        83/25 84/13 84/13 84/18
 128/1                           114/5 117/25 118/1 119/21       84/20 84/24 86/19 86/19
West [1] 104/9                   123/12 126/5 131/18 135/10      91/17 95/12 96/8 96/21 97/5
Whack [1] 134/9                  146/22 150/15 150/18 150/19     97/7 98/12 105/7 122/22
what [144] 2/21 9/24 9/24        150/22 150/23 150/24 150/24     122/24 128/4 130/11 134/3
 12/25 29/16 29/23 33/12         151/2 151/4 151/19 155/18       134/15 136/21 143/17 143/19
 33/12 36/12 37/6 37/7 40/15     156/21 158/17 159/14 159/19     143/20 149/23 159/13 163/3
 42/4 44/22 45/4 45/9 45/16      159/23 161/5 162/5             will [53] 2/4 4/13 14/11
 46/20 49/15 49/24 50/1 50/14   whereas [1] 19/1                 14/13 17/23 17/25 19/15
 50/18 51/1 52/20 52/23 52/24   wherein [1] 63/1                 19/16 22/15 23/6 23/9 24/20
 55/7 58/6 58/8 58/9 59/18      whereof [1] 164/17               28/4 37/14 38/6 42/8 48/23
 62/4 66/18 67/12 67/18 67/19   whether [101] 2/19 2/20 3/3      49/8 49/11 51/3 52/6 53/11
 67/23 68/2 72/20 74/18 78/8     3/5 3/10 4/14 4/17 5/17 9/9     53/12 53/14 53/16 53/16
 78/22 79/14 79/23 80/4 80/8     10/22 10/24 12/25 13/1 13/14    53/17 61/1 63/9 65/9 70/24
 80/18 80/22 81/3 81/7 81/9      14/7 14/20 16/3 18/12 25/6      71/7 71/8 74/5 77/3 78/19
 81/22 81/24 82/15 82/15         25/14 28/16 29/9 29/23 30/23    78/23 91/23 94/2 100/21
 82/20 82/25 83/10 83/17         31/20 33/6 33/20 35/8 35/20     101/13 102/21 108/9 122/7
 84/10 84/19 86/1 86/6 86/17     36/15 36/17 39/4 39/5 40/6      126/6 131/22 133/3 135/16
 87/20 88/4 90/18 90/21 91/20    40/17 40/18 40/19 40/23         135/23 147/13 149/1 162/4
 93/19 94/5 94/22 95/2 95/14     41/14 41/20 41/21 41/22         163/9
 95/21 95/22 96/5 98/11          41/24 44/25 45/1 47/7 52/2     willful [2] 27/13 157/15
 100/11 104/15 104/18 108/9      53/11 53/12 53/14 55/9 56/2    William [1] 131/19
 108/19 110/1 111/5 114/3        62/1 64/17 67/6 71/7 74/23     willing [1] 111/8
 114/20 114/25 115/1 119/15      75/4 76/8 78/23 78/25 79/1     willingly [1] 33/7
 119/16 119/18 121/9 123/20      79/5 90/8 91/4 92/13 93/22     willingness [3] 45/24 126/15
 124/1 124/22 124/23 125/10      94/18 96/17 99/3 99/19          147/12
 126/17 127/13 128/6 128/23
W                                131/16 133/9 137/23 139/24
      Case 1:17-cr-00232-EGS 145/12
                              Document  266146/20
                                              Filed146/22
                                                              70/10 72/5 72/21 72/23 73/15
                                                    10/08/20 73/15
                                                               Page74/9
                                                                    196 74/20
                                                                        of 19676/23
                                    145/14                                           77/5
win [2] 130/6 132/13             146/23 146/25 150/9 150/15   79/10 80/1 80/3 80/15 80/18
wind [2] 104/7 104/10            151/4 151/6 153/25 154/20    81/2 81/8 81/15 81/24 84/13
Wing [1] 104/9                   156/4 156/25 157/21 160/2    86/24 89/13 89/22 91/19 92/6
wire [1] 142/25                  161/4 161/17 162/5 162/8     93/16 95/6 96/11 97/9 98/2
wisdom [1] 37/16                 162/9                        98/7 99/13 100/14 100/25
wise [1] 146/24                 wouldn't [10] 57/6 76/6 86/9 102/19 102/21 104/22 107/7
wish [6] 35/25 62/15 70/17       86/15 87/15 93/1 145/1       107/12 111/2 111/8 111/13
 110/24 146/13 148/13            146/24 146/24 156/23         111/24 112/2 113/3 114/3
wishes [1] 118/11               Wray [1] 142/7                116/20 117/5 119/1 119/13
witch [9] 107/1 152/14          wrestling [1] 118/19          119/14 119/25 120/1 122/14
 152/19 152/22 153/3 153/15     writ [1] 57/24                122/14 123/3 123/20 125/6
 161/24 162/11 162/22           write [4] 45/12 48/15 58/25   134/14 135/3 135/15 135/17
withdraw [27] 7/20 8/9 8/25      59/11                        136/5 136/18 136/22 144/19
 49/6 67/14 67/20 68/1 68/5     write-up [1] 45/12            145/24 148/15 149/1 149/13
 68/8 70/7 70/14 70/17 71/5     writes [2] 83/15 83/18        150/14 151/20 151/23 153/5
 71/7 81/6 87/3 91/9 103/6      writing [8] 54/13 56/9 64/22 153/16 155/24 156/8 156/20
 104/11 104/13 137/23 139/5      65/4 83/13 94/21 107/6       158/18 158/20 159/19 159/22
 143/24 144/5 144/21 160/12      123/24                       160/7
 161/25                         written [5] 73/24 74/4 74/7 yourself [2] 68/10 151/15
withdrawal [1] 51/11             74/8 140/12                 yourselves [1] 2/4
withdrew [2] 81/5 96/7          wrong [9] 37/14 37/14 118/21
withheld [1] 90/13               118/22 139/17 153/2 153/3
withhold [1] 22/10               157/15 160/20
within [13] 7/15 12/19 48/4     wrongdoing [4] 32/1 43/3
 56/19 57/20 83/1 83/4 94/23     72/13 72/15
 129/22 137/9 144/21 145/22     wrote [10] 49/3 52/21 58/23
 163/12                          74/14 107/8 115/11 115/12
without [29] 9/1 10/17 12/1      147/1 147/7 153/21
 13/23 25/21 25/22 29/12
 74/19 74/24 75/3 75/5 75/8     Y
 75/11 75/16 75/17 75/19
 76/10 76/17 77/1 86/4 100/12   Yates [3] 85/1 140/20 143/3
 100/20 101/5 101/11 101/12     yeah [2] 68/4 83/8
 102/9 118/10 133/11 149/22     year [6] 5/9 10/4 99/1
witness [5] 6/12 6/14 6/18       107/14 125/24 162/19
 78/2 164/17                    years [7] 61/20 72/7 119/21
witnessed [1] 134/10             131/12 131/13 140/9 148/8
witnesses [10] 43/21 43/23      years' [1] 48/17
 45/3 45/20 46/19 46/24 87/13   yes [23] 37/1 37/2 45/12
 90/17 91/11 156/8               45/13 48/11 54/4 55/11 56/4
won't [2] 78/9 135/14            58/17 61/1 66/22 72/11 72/12
wonder [1] 50/18                 79/10 81/15 95/7 102/18
wondering [1] 83/17              103/7 111/1 118/13 136/18
Woody [2] 114/8 114/13           148/17 155/24
word [6] 29/5 29/5 154/19       yesterday [2] 91/21 135/8
 154/21 154/24 155/7            yet [10] 21/5 59/6 73/4
words [9] 32/5 86/1 108/2        88/18 105/11 140/13 140/24
 125/24 140/17 143/6 145/24      143/2 155/2 162/8
 159/1 161/2                    yield [1] 110/2
work [14] 43/8 46/2 55/20       yielded [1] 33/3
 55/23 59/7 67/22 109/1         York [3] 57/9 57/11 108/17
 109/17 109/18 111/15 111/16    you [387]
 139/15 147/9 147/22            you'd [2] 70/6 94/23
working [3] 43/13 67/17         you'll [2] 79/12 90/5
 111/4                          you're [16] 37/1 37/6 55/25
works [3] 38/9 127/17 127/18     57/4 62/16 75/6 75/10 78/8
worried [1] 99/17                80/12 93/15 100/21 105/19
worry [1] 130/10                 120/1 135/5 136/16 151/4
worse [2] 127/19 133/1          you've [11] 55/9 102/12
worth [2] 64/9 150/12            104/16 110/7 111/3 122/5
would [107] 3/24 11/11 15/15     123/19 123/20 143/22 149/12
 25/3 26/3 26/7 27/11 27/21      151/2
 28/1 29/23 35/9 35/10 36/4     your [157] 2/2 2/6 2/9 28/3
 37/23 38/18 39/12 39/18 42/1    28/3 28/3 28/5 28/7 36/2
 42/5 42/6 42/16 44/1 44/2       36/8 36/10 37/7 38/8 38/15
 44/19 45/2 46/3 46/14 46/17     38/16 38/25 41/12 42/10
 50/18 50/21 51/21 51/22         42/25 43/25 44/23 45/12
 51/23 52/17 53/2 53/15 53/21    46/24 47/11 47/23 49/22 51/4
 54/23 55/17 55/18 57/5 59/18    51/8 51/9 51/24 52/5 52/9
 63/6 63/7 65/16 66/24 67/5      52/15 52/18 53/4 53/10 53/13
 67/12 68/15 69/18 70/20         55/1 55/5 55/9 55/13 56/17
 71/12 72/5 75/2 75/15 76/24     57/14 58/22 59/9 59/10 60/10
 80/6 80/10 84/7 85/10 86/3      60/11 60/14 60/17 60/24
 87/6 89/13 93/16 94/14 95/1     62/20 63/11 63/15 63/16
 103/5 103/18 110/16 120/16      63/17 64/21 65/3 65/7 65/10
 120/17 120/19 120/20 121/13     65/12 65/13 65/15 65/16
 122/24 124/5 124/20 125/14      66/23 66/25 68/3 68/4 68/7
 125/18 126/14 129/15 129/20     68/10 68/13 68/18 69/1 70/2
